Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 1 of 240 PageID #:1       Jc
                    IN THE UMTED STATES DISTRICT COURT
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                       NORTHERN DISTRICT OF ILLINOIS                  JANzbzoz+
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                                                                                       f^
                              EASTERN DIVISION
                                                                CLERK U.S. DISTRICT COURT



  Zrfar Sheikh

        Plaintiff

        vs.                                    Case No.

 Bashir Chaudry, Bushra Naseer )        1:24-cv{0658
 Ambreen Qadir, Mahin Chaudry, )        Judge Martha M. Pacotd
 Ali Chaudry, Rabia Chaudry )           Magistrate Judge Sunil R- Hafiani
  minor children of Bashir              RANDOM I Cat.2
                                    )
 and Qadir, X'adi Rafati, Sadia )
 Aslam 75th Bldg Inc., Sadia Aslam, )
  Loc Gas Inc., Chicago 59th Inc., )
 Yakub Chaus & Yakub Chaus & )
 Co., Syed Jahantab, Hasan          )
 Safiuddin, South Chicago One Inc. )
 & Shmaila Rafiq, Amjad             )
 Chaudry, BCA investments Inc. )
 Junaid Ahmad, Congress Pulaski )
 Real Estate LLC




     VERIFIED COMPLAINT FOR FRAUDULENT
    TRANSFERS, CIVI CONSPIRACY FOR FRAUD,
 AIDING & ABETTING OF FRAUDULENT TRANSFERS
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 2 of 240 PageID #:2




                      TABLE OF CONTENTS
                                                                       Page

 Facts common to all counts                                            1



 Venue                                                                 2


 Parties                                                               2

                                                                       .,
 Plaintiff

 Defendants                                                            3




 Default by Defendants & filing of lawsuit                             7


 Debtor's assets prior to Judgment


 Current Status                                                        26


 Illinois Fraudulent Transfer Act                                      27


 Causes of Action                                                      28


 Count 1 & II Against Bashir for Fraudulent Transfer ...............   28


 Count III & IV Against Naseer for Fraudulent Transfer ..........      30


 Count V & VI Against Qadir for Fraudulent Transfer                    31


 Count VII & VIII Against Mahin for Fraudulent Transfer                33


 Count IX & X Against Safiuddin for Fraudulent Transfer.......         35
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 3 of 240 PageID #:3




  Count XI & XII Against Abdelkader & 75th Bldg. Inc., ...........   36


  For Fraudulent Transfers                                           36


  Count XIII & XIV Against Aslam, Loc Gas & Chicago 59th Inc., .     39


  For Fraudulent Transfers                                           39


  County XV & XYI Against Jahantab for Fraudulent Transfers          40


  Count XVII Against Rafati for Aiding & Abetting Fraudulent         42


  Transfer                                                           42


  Count XVII & XIV Against Rafiq for Fraudulent Transfer ...         44


  Count XX & XXI Against Qadir's LLC, Ali & Rabia,                   47


 Bashir's Minor Children for Fraudulent Transfers ........           47


 Fraudulent Transfer                                                 47


 Count XXII Against Chaus for Aiding & Abetting Fraudulent ....      48


 Transfers                                                           48


 Count XXIII Against Chaoudhri, Chaus and Raliq                      50


 For Civil Conspiracy to Commit Fraud                                50


 Count XxMgainst Chaus, Choudhri & Rafiq for Aiding                  5l

 And Abetting Fraudulent Transfers                                   51


 Count XXIV & XXIV Against Amjad, Bashir & BCA for                   52



                                        lil
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 4 of 240 PageID #:4




                                    iv
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 5 of 240 PageID #:5


                          IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                       EASTF'.RN NIVISION


     Zafar Sheikh

            Plaintiff

            vs.                                                        Case No.

     Bashir Chaudry, Bushra Naseer
     Ambreen Qadir, Mahin Chaudry,
     AIi Chaudry, Rabia Chaudry
     Fadi Rafati, Soufian Abdelkader
     75th St. Building Inc., SadiaAslam,
     Loc Gas Inc., Chicago 59th Inc.,
     Yakub Chaus & Yakub Chaus &
     Co., Syed Jahantab, Hasan
     Safiuddin, South Chicago One Inc.
     & Shmaila Rafiq, Amjad Chaudry
     Bca Investments Inc., Congress & Pulaski
     Real Estate LLC., Nusrat
     Chaudry, Junaid Ahmad




                        VERIEIED COMPLAINT FOR FRAUDULENT
                             TRANSFERS &           CIVIL CONSPIRACY


     NOW COMES THE PLAINTIFF ZAFAR SHEIKH and Complains of the

     Defendants as Follows:

                              FACTS COMMON TO AI.I, COUNTS

1.   In this fraudulent transfer suit, the Debtors Bashir Chaudry (Bashir), and Bushra Naseer

     (Naseer), who owned and controlled assets of way over $l-0,000,000.00 (Ten Million dollars)

     with the knowledge and substantial assistance of a number of Defendants named herein,

     engaged in a complicated scheme to hide, transfer and otherwise shield their assets from the

     claims of the Plaintiff. And while Bashir and Naseer were implementing their fraudulent
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 6 of 240 PageID #:6


     transfer schemes, they selectively transferred their assets worth millions of dollars to their

     friends, partners, their children including some minor children, relatives and a select group of

     purchasers in a calibrated and strategic deliberate defaults, all in violation of state laws, Court

     citations, and liens which prohibited the debtors from uansferring their assets.

2-   While the case against Bashir and Naseer was being prosecuted in State Court, both schemed

     with their attomeys, accountants and close friends and transferred their assets in derogation of

     the rights of the Plaintiff and in violation of the state court directives. This is an action to void

     the debtors fraudulent transfers pursuant to the provisions of the Illinois Uniform Fraudulent

     Transfer Act,740ILCS L60/1 et seq. (the "IUFTA"), an61 to recover damages from those who

     conspired with Bashir and Naseer in designing, implementing and executing their fraudulent

     transfer schemes. Plaintiff also wants the civil co-conspirators and schemers to be held liable for

     their malfeasance, illegal intrigues and civil conspiracies in aiding and abetting this racket.

                                              VENUE
3-   Venue is proper as this action is brought under 28 U.S.C. S1332 as this Court has diversity

     jurisdiction because (a) this action is betrween citizens of different States with the amount in

     controversy exceeding $75,000.

4-   In addition Venue is also appropriate in this Court pursuant to 28 U.S.C. S1391OX2), because a

     substantial portion of the events giving rise to the claims asserted herein occurred in this

     Judicial District.

                                             PARTIES
5-   Plaintiff

     Plaintiff Zafar Sheikh is a citizen of the State of Texas, who had lived in lllinois, prior to

     seeking retirement in Texas. Plaintiff while conducting business in Illinois had met the debtors

     and entered into different contracts, business transactions and promissory notes on which the
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 7 of 240 PageID #:7


     debtors reneged and defaulted.

6-   Defendants

     Bashir Chaudry aka Chaudry Bashir: (Bashir)

     Bashir is a resident of Lincolnwood, Illinois who entered into multiple agreements and contracts

     with the Plaintiff on which he defaulted. Bashir heads and directs other members of his family,

     organizes and incorporates different corporate entities, instructs his accountant to file corporate

     returns for himself and those in his family, hires attorneys for himself and other members of his

     family some of whom have been identified below. Bashir can be described as someone who

     conffols, directs, manipulates, steers, guides and orchesuates all schemes, which other

     defendants within his family rehearse, and can rightly be conceived as nothing more than

     pawns. A Court in law division of the Cook County granted a judgment in favor of the Plaintiff

     Sheikt and against Bashir for $1,535,000.00 inApril 2022. (ExhibitA).

     Bushra Naseer: (Naseer)

     Bushra Naseer is the sister in law of Bashir and wife of his brother, and resides in Lincolnwood,

     Illinois. A Court in law division of the Cook County granted a judgment in favor of the Plaintiff

     Sheil'tr and against Naseer for $257,000.00,in April2022. (ExhibitA).

     Ambreen Chaudry akaAmbreen Qadir: (Qadir)

     Qadir is the wife of Bashir and resides in Lincolnwood, Illinois. Bashir has created different

     entities and assigned beneficial interests in these entities to Qadir's favor. Qadir also maintains

     numerous bank accounts in her name for the benefit of Bashir.

     Mahin Chaudry: (Mahin)

     Mahin is the daughter of Bashir, lives along with her parents in Lincolnwood and is a fulItime

     student at a local college. During Iitigation with this Plaintiff, Bashir started assigning and

     transferring assets to Mahin, when she was a teenager. Needless to say Mahin is under direct
 Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 8 of 240 PageID #:8


control of Bashir and acts in accordance with Bashir's insrucdons.

Ali Chaudry: Ali

Ali is son of Bashir and lives with his parents in Lincolnwood, tllinois. Ali conforms with

Bashir's wishes and Bashir has assigned and transferred businesses and numerous other assets

to Ali's name.

Rabia Chaudry: Rabia

Rabia is daughter of Bashir and lives with her parents in Lincolnwood, Illinois. Rabia does as

instructed by his father Bashir, who has transferred and parked assets in Rabia's name.

SADIAASLAM: (SADIA)

Aslam is a resident of Morton Grove, Illinois and has been a parher, associate and close friends

with Bashir for over ten years.

Loc Gas Inc., (Loc Gas)

Loc Gas is an Illinois Corporation, which is owned and controlled by both Aslam and Bashir.

Loc Gas had been and still is the owner of a gas station located at 1224 West 59th Street in

Chicago, Illinois.

Chicago 59th Inc., (Chicago 59th)

Chicago 59th is an Illinois corporation which is owned by Aslam and purchased the 59th Street

gas station in a bogus carefully crafted strategic & deliberate default.

Soufian Abdelkader (Abdelkader)

Abdelkader is a resident of Cook County, owns 75th St., building Inc., Abdelkader owns

numerous gas stations and purchased the Note from the Hinsdale Bank in a short sale.

75th St. Building Inc., (75th St.)

75th St. is an Illinois corporation which is being managed by Soufian Abdelkader who

purchased the gas station located at 4l-5 S. Pulaski Avenue, Chicago, in a strategic & deliberate
 Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 9 of 240 PageID #:9


default from Bashir in a short sale disguised as a Note purchase.

Junaid Ahmed (Ahmad)

Ahmad is a resident of Cook County, owns Congress & Pulaski Real Estate Inc. Ahmad owns

numerous gas stations and has purchased the Gas station Note from Abdelkader.

Congress & Pulaski ReaI Estate Inc., (Congress & Pulaski)

Congress & Pulaski Real Estate Inc., is an Illinois corporation which is owned byAhmad, and

in whose name Ahmad has purchased the Note from AbdelKader.

Nusrat Chaudhri: (Chaudhri)

Chaudhri is a resident of Invemess, Illinois, and a close friend and relative of Bahir. Both

Chaudhri and Bashir have been business parmers since at least 2005 in one form or another.

Chaudhri is conspiring with Bashir in actively helping him conceal and shield his assets.

Shamaila Rafiq: (Rafiq)

Rafiq is a resident of Downers Grove, Illinois, and is 50olo owner with Bashir in the gas station

at7283 South Chicago Avenue in Chicago. The business is run under the corporate name of

South Chicago One Inc.

South Chicago One Inc.,

South Chicago One Inc., is an Illinois corporation which is jointly owned by Bashir and

Shamaila Rafiq. Gas station at7283 South Chicago Avenue, Chicago is owned and run under

this corporate entity.

Syed Jahantab (Syed)

Syed is a resident of Morton Grove, Illinois, and is son of Bashir's friend Sha Jee. Jahantab is a

business partner of Bashir, who has transferred and parked couple of liquor stores in Jahantab's

name.

Hasan Soufiuddin: (Safiuddin)
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 10 of 240 PageID #:10


Safiuddin is a resident of Aurora, Illinois. Bashir sold him a gas station business (not land)

which is located at 415 S. Pulaski Avenue, in Chicago.

Fadi Rafati: (Rafati)

Rafati is a resident of Cook County, Illinois, and is certified as an attorney. Rafati owns Rafati

& Ward / Rafati Law group, and was the attorney of record for Bashir and Naseer in litigation

involving Plaintiff SheiLtr at the Cook County trial (1-7-L-07L94). Rafati has actively aided and

abetted Bashir and Naseer to sell and hide their assets.

Yakub Chaus dba Yakub Chaus & Co., (Chaus)

Chaus is a resident of Cook County and maintains his office on Peterson Avenue in Chicago.

Chaus is a certified public accountant who has actively helped Bashir make numerous shell

companies with an intent to park Bashir's assets in the name of those companies in an effort to

hide the true ownership of the Companies.

Amjad Chaudry (Amjad)

Amjad Chaudry is a partner of Bashir and is a resident of Cook County. Bashir has parked a

recently acquired liquor store located in Wheaton, Illinois in Amjad's name.

BCA rh[yESTMENTS (BCA)

BCA is an Illinois corporation, was formed by Chaus for Bashir and Amjad and is registered in

the State of Illinois. Business run by Bashir in Wheaton has been parked in BCA'name.

                                 BACKGROUND
In April 2008 Plaintff Zafar Sheikh (Sheiktr) sold a gas station to Bashir

(Bashir) located at L224 West 59th Street in Chicago. (59th Street gas station). The price of the

gas station was set at $1,500,000.00, out of which $300,000.00 was credited to Bashir for

improvements by Bashir and the rest $1,200,000.00 was financed by Sheikh. Bashir signed a

Note and a mortgage for this amount (Exhibit B).
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 11 of 240 PageID #:11


B-    Few years later, in early 20L2 Bashir was able to refinance and obtain a loan from Hanmi bank

      for $775,000.00 which he paid Sheikh towards the $L,200,000.00 note. That still left a balance

      of over $425,000.00 payable to Sheikh.

9-    Other than that Sheil'tr had advanced an additional $l-00,000.00 to Bashir to help purchase the

      inventory of the gas station, and also made few other cash advances to Bashir for numerous

      equipment purchases at the gas station, totaling over $125,000.00. (Exhibit C).

      Upon getting partial payments towards the purchase of the gas station, in20L2 both Bashir and

      Sheilrtr finalized the accounting for the balance owed to Sheikh by Bashir, upon which Bashir

      signed a Promissory Note for $650,000.00 in favor of Sheikh, agreeing to pay the balance owed

      to Sheikh no later than 2014. (Exhibit D).

10-   In early February 20L2, Bashir sold 50% share in the 59th Street gas station to Aslam. Aslam

      was notified upon purchasing the gas station that Bashir owed Sheil'tr a balance of $650,000.00

      and that Bashir had signed a Promissory Note to pay Sheikh all amounts still owed on the gas

      station by 20L4. Aslam promised to make sure that those sums were paid to Sheikh on time, so

      the Gas Station could be owned and run free and clear of a]l liens.

11-   Apart from the $650,000.00, as mentioned above, Bashir and his sister in law Naseer obtained

      another $200,000.00 from Sheiktr and promised to pay that sum upon the sale of the gas station

      both owned at 415 South PulaskiAvenue in Chicago. (Exhibit E).

                 CHAUDRY & NASEEER'S DEFAULT PROMPTF.D ALAWSUIT

                                AGAINST THE BORROWERS

t2-   Bashir failed to pay Sheikh by 20L4 as agreed in the Promissory Note, causing a default on the

      obligations under the Note. Pulaski gas station was also sold by Bashir and Naseer and despite

      its sale failed to pay monies owed to Sheikh. Both Bashir and Naseer had violated the terms of

      their Notes and were in default on making payments on over $850,000.00 in loans.
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 12 of 240 PageID #:12


13- Sheikh made numerous attempts to collect and both Bashir and Naseer made promises to pay
      the amounts they owed, but never kept the promises.

L4- Sheiktt having failed to receive any payments finally filed a Complaint in Cook county Law
       division in 20L7 . (L7 -L-07 194).

15-    The lawsuit was finally adjudicated in April 2022. The Court granted a judgment in favor of

       Sheiktt and against Bashir for $1,525,000.00 and in favor of Sheikh and against Naseer for

      $257,000.00 respectively. (Exhibit A).

16-    Bashir and Naseer have since absconded and have failed to pay any money towards satisfying

      the judgments entered against them.

17- During the pendency of the lawsuit, (L7-L-07L94) and prior to its adjudication, Sheikh learned
      in 2019 that Bashir and Naseer were uying to sell the 59th Street and 41"5 Pulaski gas stations as

      well as some other assets that they had owned in anticipation of any judgment that the Court

      may enter against them. Sheilrtr filed a Motion on51612019, and notified the Court that Bashir

      and Naseer had fraudulently transferred the gas stations and/or were actively contemplating

      selling other assets that they owned. (Exhibit F). Sheikh asked the Court to avoid those transfers

      or issue an order which would prohibit them from disposing off their assets.

18-    At the hearings, Fadi Rafati, Counsel of Bashir and Naseer denied that their clients were trying

      to sell any of the assets and assured the Court that he will advise his clients not to sell anything

      during the pendency of the lawsuit. Court denied Sheikh's Motion without prejudice (Exhibit F:

      Iast page), and stated that the Court will not entertain any Motion to set aside fraudulent

      transfers or issue any other order to block the sale of Bashir or Naseer's assets till Sheikh

      prevails on his lawsuit and is able to secure a judgment in his favor.

19-    Despite Rafati's representations to the Court that he nor his clients were selling or

      contemplating Fraudulent Transfers, in reality Rafati was scouting for buyers for his clients and
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 13 of 240 PageID #:13


      after finding the buyers, cemented multiple deals to sell Bashir and Naseer's assets.

20-    Rafati also prepared all closing documents including Real Estate Purchase Agreements,

      accepting $100,000.00 as escrowee for the 59th Street gas station. Attached are Real estate

      agreements and $100,000.00 in Cashier Checks wired by Rafati as down payment and copies of

      escrow agreements. (Exhibit G). Likewise Rafati also prepared agreements to sell the business

      (not the property) at the 415 Pulaski gas station.

2L-   Earlier upon filing the lawsuit in 20L7, Sheikh had recorded lis pendens Notices with the Cook

      County Recorder of Deeds against Bashir & Naseer properties. The purpose of recording the lis

      pendens was to notify the public of the pending lawsuit in Cook County. (Exhibir H).




       PRIOR TO FTI,TNG THF. LAWSUIA RASFIIR ANTI NASEF.R'S ASSF'.TS. AI\TD

              THF.IR MACHINATIONS TO HINF,. OR TRANSE'F.R TI{F.IR ASSETS

22-   At the filing of the lawsuit by Sheikh in Cook County, Bashir and Naseer had considerable

      holdings which were conservatively estimated to be around $8,000.000.00 to

      $10,000,000.00. (Eight to ten million dollars). Some of those assets were disposed off by Bashir

      in Strategic deliberate defaults, while others were sold off in fire sales to avoid paying the

      Plaintiff. From the monies received from those sales, Naseer and Bashir purchased additional

      assets and businesses which they parked in names of their spouses, children and close family

      friends. Some of the assets that Bashir and Naseer owned at the signing of the Promissory Notes

      and at the filing of the lawsuit and during its pendency appear underneath. Plaintiff would like

      to point out that there may even be more assets out there which are not in this Plaintiff's

      knowledge and which may get known in due course of time, and in discovery.

      Gas Station atl224 W. 59th Street, Chicago




                                                   9
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 14 of 240 PageID #:14


23-   Plaintiff Sheikh sold this gas station to Bashir in 2008 for $1,500,000.00. Out of which

      $L,200,000.00 was financed by Sheikh. Bashir sold 50% shares in the gas station to Jahanzaib

      and his wife Aslam for $350,000.00, and all three operated the gas station under Loc Gas Inc.,

      The PIN Numbers of this property are: 20-17-13L-018 to 024.

24-   Sometime in 2016 Bashir and Aslam decided to go in strategic deliberate defoult, so the gas

      station could be foreclosed by the Bank. Purpose of this deliberate default was to wipe out all

      liens on the gas station, including the amounts owed to Sheikh, and then re-purchase the gas

      station in foreclosure sale, free and clear of all liens.

25-   Bashir and Aslam also worked out a deal with the }ender Hanmi Bank, prior to the foreclosure,

      which.was negotiated by their attorney Rafati, which assured Hanmi Bank, that once foreclosed,

      the property will have a ready buyer, namely his client MohammedAbdallah. Meantime Bashir

      and Aslam also assured the bank that they will not shut down the gas station during the

      foreclosure process and will continue to operate it.

26-   Rafati negotiated the price of the re-purchase of the property with the lender Hanmi bank and it

      was agreed between the parties that the Hanmi bank will re-sell the gas station to Rafati's

      client Abdallah for $700,000.00 after foreclosure.

27-   Mohammed Abdallah, Rafati's client was not the end buyer and was merely to act as a proxy,

      under whose name Rafati ananged to re-purchase the gas station. Since this loan was an SBA

      loan, their regulations prohibited re-selling the assets back to the original owners who defaulted.

      As such a third party to act as a proxy was needed to hide the transaction from SBA and

      Banking regulators.

28-   [n2020 MohammedAbdallah, as agreed with Rafati working as proxy for this transaction

      purchased the gas station from the bank for $700,000.00. Abdallah used 59th Property LLC to

      acquire the title of the gas station.




                                                     10
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 15 of 240 PageID #:15


29- On the same day Abdallah who had acquired the title under 59th Property, Ilc., re-sold the gas
       station back to Aslam and Bashir. In 2020 at its closing the gas station was estimated to be

       wonh at least two million dollars, but Aslam and Bashir managed to buy it back from Abdallah

       for $L.2 million dollars, which is a 40o/o discount of its then existing market value.

30- Aslam and Bashir financed the purchase of the gas station by obtaining a mortgage worth
       $1,200,000.00 from the Millinium Bank (Exhibit I). Aslam acted as the mortgagor.

31- All four of them which included Abdallah, Bashir, Aslam and Rafati shared the excess proceeds
       over $700,000.00 which they had paid Hanmi bank to purchase the gas station in foreclosure

       and funneled the balance of $500,000.00, the difference between what they paid the Hanmi

       bank and the $l-,200,000.00 loan (Exhibit I: Closing Statement) that they obtained from the

       Millinium bank back to themselves.

32- This deliberate sfiategic foreclosure, in the scheme of things, served two purposes for Aslam
       and Bashir. One they figured that foreclosure would wipe out all liens, and deprive the Plaintiff

       from recouping on his debt, and secondly it put additional cash in their pockets estimated to be

       over $125,000.00 for themselves and for other conspirators.

33- This Fraudulent transfer in a carefully calibrated deliberate default deprived the Plaintiff
       of an asset which could have been used to satisfy his debt and was equally useful in going

       around the lis pendens notices Sheikh had filed against the properties.

34-    The gas station was sold for $700,000.00 whereas its true market value is at least

       $2,000,000.00. In other words conspirators paid merely 1/3rd of the true value of the property,

       when the gas station was sold to Abdallah who acted as the proxy.

35- This fraudulent Transfer made the debtor Bashir insolvent which prevented him from satisfying
       his debts to the Plaintiff.

36- This Fraudulent Transfer was made by Bashir with actual intent to defraud the Plaintiff.



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      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 16 of 240 PageID #:16


37-   As a matter of fact nothing changed either before, during the pendency of the foreclosure

      proceedings or after foreclosure. Bashir and his partner Aslam retained the business and the

      possession of the gas station during foreclosure proceedings and continued to retain the control

      of the gas station after foreclosure by re-purchasing the business in a deliberate strategic default.

38-   The transaction was concealed and different entities and individuals were used by Bashir and

      Aslam to hide this transaction. Both had substantial help fromAccountant Chaus who made

      additional companies and corporations to hide the transaction. Chaus also deceptively helped

      Aslam and Bashir to triple the sales of the gas station, which he filed on their behalf with the

      Illinois department of Revenue and the Internal Revenue Service prior to these individuals

      applying the Ioan from the Millinium bank, which helped secure the loan.

39-   This transaction was contrived by Bashir and Aslam when a lawsuit was pending in the Cook

      County law division seeking judgment against Bashir for monies owed to the Plaintiff.

40-   The transfer of the gas station on record was to an insider, a close associate and partner of

      Bashir.

4L-   The transfer of this asset was substantial and comprised a major portion of Bashir's assets.

42-   The value of the consideration received by the debtor Bashir was way lower than the market

      value of the asset and was not reasonably equivalent to the value of the asset transferred or the

      amount received for this fabricated transaction.

      Gas Station at 415 South Pulaski Avenue, Chicago:

43-   Naseer and Bashir owned this gas station at 415 South Pulaski Avenue which they purchased in

      2015 for $2,2000,000.00. Fearing the judgment in the pending litigation could be entered

      against them, Bashir and Naseer sometime in early 2019 tried to sell the property. Since a

      Iis pendens had been placed on the property by Sheikh, the property could not be sold as Banks

      shied away from writing a loan for a property in litigation. The PIN Number of the property is:




                                                   t2
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 17 of 240 PageID #:17


      t6-1.4-LL2-037-0000

44-   To go around this hurdle, Bashir and Naseer decided to sell the business only, (without real

      property), in which purchasers usually do not search title deficiencies.

45-   Hasan Safiuddin who was an old acquaintance of Bashir was offered the gas station business at

      a discount. The business alone was worth $800,000.00 but was offered at a steep discount to


      Safiuddin. Safiuddin purchased the gas station for $450,000.00 in cash.

46-   The sale of the gas station business was concealed by Bashir and Naseer as the business is still

      being run under MDDS Inc., a corporation which is owned by Bashir and Naseer, potentially

      giving them de-facto control of the property.

47-   Few months later Bashir and Naseer also went into strategic deliberate default on this property

      as well and stopped making any mortgage payments to the Bank.


48-   During this period, when Chaudry had stopped making mortgage payment to the lender

      Hinsdale Bank, he was intoduced by a friend to One Soufian Abdelkader, who also owns and

      operates multiple gas stations in and around Chicago. Both Chaudry and Abdelkader concocted

      a plan, approached the Bank and worked out a 'short sale'arrangement       of the gas station in

      which the bank agreed to sell the Note to Abdelkader for slightly over $000,000.00. (Redacted:

      Cook County Court Protective Order).

49-   Bashir owned another property under Naseer's name at 3635 West Armitage Avenue in

      Chicago, and both this property and the gas station were on the same loan and with the same

      lender, (Hinsdale Bank) were purchased by Abdelkader in a so called 'short sale' camouflaged

      as a 'Note Purchase'for a sum cited earlier for slightly over $000,000.00. (Exhibit J).

      (Protective Order).

50-   The gas station was purchased by Chaudry and Naseer in 2015 for $2,200,000.00. It is

      estimated that the property now is worth at least $2,500,000.00. As such the gas station which




                                                  13
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 18 of 240 PageID #:18


      was sold for $000,000.00 in a deliberate and strategic default was sold at a substantial discount

      compared to its true market value.

      Sheikh has recently learned that Abdel Kader has tumed around and sold his 'Note' to another

      company known as Congress & Pulaski Real Estate LLC for $500,000.00 over and above what

      Abdelkader paid Hinsdale Bank.

5L-   These fraudulent Transfers have made Bashir and Naseer insolvent, making them unable to

      satisfy the judgments against them.

52-   These Fraudulent Transfer were made by Bashir and Naseer with actual intent to defraud the

      Plaintiff.

53-   The transaction was deliberately concealed and different entities, individuals and methods were

      used by Bashir and Naseer to hide this transaction with the help of their accountant Chaus.

      Chaus prepared all sales figures of the gas station and invented an additional corporation which

      he named Awad Inc. to facilitate this transaction.

54-   These transaction were contrived by Bashir and Naseer when a lawsuit was pending or a

      judgment had been entered against them in the Cook County law division.

55-   The transfer of the gas station business was made to an old friend and acquaintance of Bashir

      and Naseer.

56-   The transfer of this asset, comprised a major portion of Bashir's assets. Sale of this asset made

      Naseer and Bashir insolvent and unable to pay the debt and judgment which they owed the

      Plaintiff.

57-   The value of the consideration received by the debtors Bashir and Naseer was way lower than

      the market value of the assets and was not reasonably equivalent to the market value of the asset

      transferred or the amount received for this transaction.

      Liquor Store at 3635 W. Armitage Avenue, Chicago.




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      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 19 of 240 PageID #:19


58-   In 2001 Plaintiff Sheikh sold a liquor store located at 3635 West Armitage Avenue in Chicago to

      Bashir. The transaction included the real property as well and the sales price was set at

      $399,000.00 (Exhibit R). Bashir borrowed and assumed a mortgage for $350,000.00 from a

      local bank. The PIN Number of the property is: L3-35-305-047.

59-   Ln2012 Bashir went into a deliberate default on this property and stopped making mortgage

      pa)rments to the Bank. It left the Bank with a choice to either file foreclosure proceedings in the

      Court, which would have resulted in substantial legal fees, and eighteen months or more of

      receiving no payments on its loan or as an alternative, sell the property.

60-   Having cornered the Bank, Bashir pushed the Bank into agreeing to a 'short sale'and

      repurchased the property in his brother and sister-in-law Naseer's name. Naseer paid the Bank

      $206,000.00 (Exhibit S). Through this strategic and deliberate default, Bashir shaved off almost

      $L40,000.00 from the price he paid on original mortgage.

61-   Bashir continued to make payments thru his brother and sister in law on the $206,000.00

      mortgage at which it had re-purchased the property till the end of 202L and then went into

      another deliberate default and stopped making further payments to the Bank on his mortgage.

62-   It was learned recently by Sheiktr that few months ago Bashir has transferred the liquor store

      business to his son Ali. Since Ali is yet to receive his liquor license, he is using the liquor

      license of his mother Qadir, which Bashir had obtained few years earlier in his wife's name.

      Bashir's accountant Chaus played a significant part in perpetrating this transaction by creating

      different entities in an effort to hide the transaction from Sheikh.

63-   The total amount Bashir received for concocting this deliberate "short sale" of Armitage liquor

      store and the gas station as outlined above at 415 S. Pulaski Avenue was $600,000.00. Apart

      from pocketing 00,000.00, Bashir also managed to take these properties out of reach for Sheikh,

      which Sheikh could have sold after getting the judgment to recoup on his judgment. As noted




                                                    15
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 20 of 240 PageID #:20


       earlier, Note obtained in short sale by Abdelkader from Hinsdale Bank has been re-sold to

       another company 'Congress & Pulaski Real Estate LLC'which is owned by JunaidAhmed.

       Congress & Pulaski LLC owns and operates numerous gas stations, and has no history like

       Abdelkader of purchasing Notes from banks. This so called purchasing of "Note" was a back

       door attempt to purchase the gas station and liquor store which these two companies could not

       have purchased because of Sheikh's lis pendens placed on the properties as well as the

       'Memorandum of Judgment'which was recorded by Sheikh against the properties after the

       Court in Cook County entered the judgment in Sheikh's favor..

64- The combined value of 3635 Armitage liquor store and 4L5 S. Pulaski gas station is estimated to
       be around $2,800,000.00, which was sold to Abdelkader in a "short sale" for far less than

       its true market value for a paltry sum of $000,000.00 (Price withheld: Protective Order

       of Cook County Court). See Note below.

65-    This fraudulent Transfer made Bashir and Naseer insolvent, making them unable to satisfy the

       judgments against them.

66- This Fraudulent Transfer was made by Bashir and Naseer with actual intent to defraud the
       Plaintiff.

67-    The transaction was deliberately concealed and different entities and individuals were used by

       Bashir and Naseer to hide this transaction.

68- This transaction was contrived by Bashir and Naseer when a lawsuit was pending in the Cook
       County law division seeking judgment against Bashir and Naseer, and/or a judgment had been

       either entered or was about to be entered by the Court against these individuals.

69- The transfer of the liquor store property was made to an old friend and acquaintance of Bashir
       and Naseer.

       (7): Price paiil for these asseb is so low thatAbdlekader before proviiling documents in

       Response to Sheikh's Subpoena, insisted that Sheikh sign a non-disclosure agteemenL



                                                     16
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 21 of 240 PageID #:21


70- The transfer of this asset was substantial and comprised a major portion of Bashir's assets on
       which the debts owed to the Plaintiff could have been satisfied. This transfer has made Bashir

       insolvent and unable to satisfy Sheikh's judgment.

7L- The value of the consideration received by the debtors Bashir and Naseer, as well as Abdelkader
       and Congress Pulaski Real Estate Inc., or the transfer of liquor store by Bashir to his son,

       believed to have been made for no consideration at all was way lower than the market value of

       the assets and was not reasonably equivalent to the market value of the asset transferred or the

       amount received for this transaction. The transfer was made to a close family member, in this

       case to Bashir's son Ali.

       Sheikh would like to point out that Bashir has successfully used the strategic and deliberate

       defaults on multiple occasions on numerous other properties. Just few of the properties which

       fell victim to his deliberate and strategic defaults are listed below:

         -Gas station at 3700 West 111th Street, Chicago.

         - Strip Center at 61-19-6L3L S. Ashland Avenue, Chicago.

         -Priceless Groceries, 501W. Fairchild Road, Danville, Illinois.

         -Strip Center at 5049 West Madison, Chicago, Illinois.

         Grocery Store at 951 S. Lewis Avenue, in Waukegan.

72- In 20L5 Bashir and Naseer purchased the grocery store at 95L South Lewis Avenue in
       Waukegan, Illinois, a far northern municipality situated close to Wisconsin. The property is

       Iocated in Lake County and bears the PIN Number of 08-29-400-029-0000.

73- Naseer paid $417,000.00 for the real property and another $350,000.00 was paid for the
       business and fixtures of the property.

74- After the initiation of the lawsuit by the Plaintiff (17 L07!94), and in anticipation of a
       judgment being entered against Naseer, who had the property title parked under Sandal Inc.




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      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 22 of 240 PageID #:22


      transferred the corporation to her sister-in-law, Qadir, who happens to be the wife of the debtor

      Bashir. Chaus arranged to create new corporation in which Bashir shifted his newly transferred

      business for the sole purpose of hiding Bashir and Naseer's assets from this Plaintiff.

75-   This Fraudulent Transfer has divested Naseer and Bashir of another asset that could have been

      utilized by the Plaintiff towards executing and partially satisfying his judgment.

76-   The grocery store was transfened by Naseer to her sister-in-law Qadir, wife of debtor Bashir for

      very little or no consideration at all.

77-   This fraudulent Transfer has made Naseer and Bashir insolvent, making them unable to satisfy

      the judgments against them.

7B-   This Fraudulent Transfer was made by Naseer and Bashir with actual intent to defraud the

      Plaintiff.

79-   The transaction was deliberately concealed and different entities and individuals were used by

      the debtors to hide this transaction.

80-   This Fraudulent Transfer was contrived by Naseer and Bashir when a lawsuit was pending in

      the Cook County law division seeking judgments against Bashir and Naseer.

81-   This Fraudulent Transfer of the grocery store was made by Naseer and Bashir to an insider and

      a close relative of theirs, in this case to Bashir's wife Qadir.

82-   The transfer of this asset was substantial and comprised a major portion of debtor's assets.

B3-   The value of the consideration received by the debtor Naseer and Bashir was insignificant and

      way lower than the market value of the asset and was not reasonably equivalent to the market

      value of the asset transferred or the amount received for this transaction.

      Grocery Store at 1401 14th Street, Waukegan.

84-   Being flush with money by concocting multiple 'short sales'and 'strategic deliberate defaults'

      and holding a sizeable cash, Bashir over the next few months purchased numerous businesses.




                                                    18
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 23 of 240 PageID #:23


      One of the businesses that Bashir purchased was a grocery store located at 1401 L4th Street, in

      Waukegan, Illinois. Bashir paid over $100,000.00 in cash to purchase this business.

B5-    In an effort to hide the true ownership of the store, Bashir put the business in his daughter

      Mahin's name. Bashir also had all business licenses issued in Mahin's name as well.

B6-   Bashir also applied for a liquor license in Mahin's name, and had a liquor license issued for the

      business. The business is fully nm, operated and managed by Bashir and his daughter is merely

      a figurehead, who attended a local college when he purchased the store. Bashir always had been

      and remains the main beneficiary of all profits and proceeds of this business. Chaus made bogus

      and dummy companies to hide the ownership of the business.

87-   This fraudulent Transfer of $100,000.00 cash to purchase the business on his daughter's name

      made Bashir insolvent, making him unable to satisfy the judgments against them.

B8-   This Fraudulent Transfer was made by Bashir with actual intent to hide, hinder, delay and

      defraud the Plaintiff.

89-   The transaction was deliberately concealed and different entities and individuals were used by

      Bashir to hide this transaction.

90-   This transaction was consumed by Bashir when a lawsuit was pending in the Cook County law

      division seeking judgment against Bashir for debts he owed the Plaintiff.

91-   The transfer of $100,000.00 cash to Mahin and the purchase of business was made to an insider

      who happened to be the daughter of the debtor Bashir.

92-   The transfer of this asset was substantial and comprised a major portion of Bashir's assets

      which made Bashir insolvent and unable to satisfy his debts to the Plaintiff.

      Liquor Store at 4200 West Armitage Avenue, Chicago.

93-   With so much cash in hand, Bashir also decided to purchase a liquor store located at 4200 West

      Armitage Avenue in Chicago. For this business Bashir paid One named Aziz over $L30,000.00




                                                   19
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 24 of 240 PageID #:24


       in cash. The price included business, goodwill and inventory.

94-     As usual fearing a judgment in the lawsuit that was filed by the Plaintiff to recover the sums

       Bashir owed him, Bashir put the business in Syed Jahantab's name. Jahantab is the son of Mr.

       Shah Jee, now deceased, who was a close friend of Bashir. The fictitious chain of ownership

       and the legal entities made to hide the transaction were made by Chaus.

95-    AII licenses and leases of this liquor store are in Jahantab or on his entities name, but Bashir

       remains the true owner and maintains total control over the operation and management of the

       business. Bashir also remains the beneficiary of the profits and the proceeds of the business.

96- This fraudulent Transfer of $L30,000.00 cash to Jahantab and to purchase the business on his
       close friend's name made Bashir insolvent, making him unable to satisfy the judgments against

       him.

 97- This Fraudulent Transfer was made by Bashir with actual intent to hide cash from his creditors,
       and defraud the Plaintiff.

 98- The transaction was deliberately concealed and different entities and individuals were
       used by Bashir to hide this transaction.

99-    This Fraudulent Transfer was perpetrated by Bashir when a lawsuit was pending in the Cook

       County law division seeking judgment against Bashir for debts he owed the Plaintiff.

100- The uansfer of $1-30,000.00 cash and the purchase of business was made to an insider
       who happened to be the son of his close friend Shah Jee.

101- The transfer of this asset was substantial and comprised a major portion of Bashir's
       assets. It also made Bashir insolvent and unable to pay his debts to the Plaintiff.

       Liquor Store at4234 W. Fullerton, Chicago

L02- Apart from investing on Jahantab's name on the 4200 West Armitage business, Bashir also




                                                    20
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 25 of 240 PageID #:25


       invested over $80,000.00 on a business that Jahantab had been operating since 2005. This

       business was run by his father Shah Jee, but upon his death was taken over by Jahantab, Shah

       Jee's son.

103- Bashir invested this money to upgrade the store, purchase additional inventory as he converted

       the store to a liquor store, which previously didn't have a liquor license.

104- This fraudulent Transfer of $80,000.00 in cash to purchase the 50% share in the liquor store
       business with Jahantab made Bashir insolvent, making him unable to satisfy the judgments

       against him.

105- This Fraudulent Transfer was made by Bashir with actual intent to hide the cash from his
       creditors and defraud the Plaintiff.

106- The transaction was deliberately concealed and different entities and individuals were used by
       Bashir to hide this transaction.

L07- This transaction was contrived by Bashir when a lawsuit was pending in the Cook
       County law division seeking judgment against Bashir for debts he owed the Plaintiff.

108- The transfer of $80,000.00 in cash and the purchase of business was made to an insider who
       happened to be the son of his family friend.

109- The transfer of this asset was substantial and comprised a major portion of Bashir's
       assets.

       Gas Station at 7283-87 South Chicago Avenue, Chicago.

110- In 2005 Bashir purchased a gas station located at7283-87 S. Chicago Avenue in Chicago, in
      which Nusrat Choudhri was his partner. Both financed the purchase thru a loan from Allegiance

      Community bank (Exhibit K). The property consisted of gas station land as well as the business

      which sold fuels and additives. Both Bashir and Chaudhri managed, owned and operated the gas

      station. Bashir and Chaudhri are not only related but also close friends.




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      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 26 of 240 PageID #:26


1-1-1- According to an unverified "transfer document" which is not authenticated, notarized or

       certified, Choudhri claims that Bashir sold him his 50% share of the land on which the gas

       station/building was located for a symbolic sum of $10.00 (Exhibit L).

Ll2- It was learned that the real amount for which Bashir sold his 507o interest in the gas station was
       $800,000.00, as the total market value of the property 1-5 years ago was estimated to be

       $2,000,000.00.. This sum was financed by Bashir over a twenty five year period under which

       Chaudhri is paying this amount to Bashir in equal monthly installments. Under the agreement

       and in retum, Choudhri relinquished the business operation of the fuel station exclusively to

       Bashir, whereas the land which included the building and the structure itself was deeded and

       was to be retained by Chaudhri. After acquiring the business Bashir turned around and sold 50%

       of the gas station operation to one Shmaila Rafiq for $200,000.00.

       The partnership between Bashir and Rafiq is proven by certain documents which filed with the

       Cook County Recorder of Deeds in 2018 by Gas Depot Inc., which supplies fuel and related

       additives to the gas stations. Additional documents related to this transaction including a 'Right

       of First refusal'were also recorded by Byline Bank, signed both by Bashir and Rafiq. These

       documents gave Gas Depot right of first refusal to either purchase or decline to purchase the gas

       station property in case the property was ever sold. (Exhibit M). This 'Right of first refusal'

      document conveys the impression that Bashir may have re-purchased the real estate or partially

      purchased the real estate back from Chaoudhri, since only an individual having ownership

      interest in a property can grant the right of first refusal to a third party. Apart from the above, in

      2023 in response to a Citation issued to Chaoudhri in supplemental proceedings in Cook

      County, Chaudhri's filed a detailed response in which he acknowledged that the gas station

      business indeed is owned by Bashir and Rafiq. (Exhibit N: Pages 3,4).

113- The gas station @usiness and building) is estimated in 2024 to have a combined value of over




                                                    22
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 27 of 240 PageID #:27


       $2,500,000.00 (two million five hundred thousand dollars), whereas the business alone which is

       owned by Bashir and Rafiq is conservatively estimated to be worth $700,000.00. This gas

       station is one of the largest gas stations on South Chicago Avenue and co-incidentally one of the

       busiest.

Ll4- Choudhri and Bashir are related to each other apart from being close friends. Acharacter letter
       written by Mahin, Bashir's daughter to U.S. District Court Judge Kennelly asking him to show

       leniency in sentencing Choudhri after the conclusion of a criminal trial, shows that Choudhri is

       "like a second father'to Bashir's children. (Exhibit O). Truly a close relationship.

115- Both Choudhri and Bashir are trying to workout an ilrangement in which Rafiq is being
       pressurized to claim that she has purchased the shares of Bashir and has become the sole owner

       of the gas station, thus making her liable for facilitating this fraudulent transfer and any

       financial liability which could be fairly assessed at or over $350,000.00 as being the fair market

       value of the proceeds that she could have received from Bashir in a fraudulent transfer.

116- It is believed that Bashir and Chaoudhri are coercing Rafiq to make false statements as Rafiq
       feels threatened that if she doesn't follow the script, Chaoudhri who owns the building and is

       the landlord could cancel Raafiq's month to month lease or take other actions which could force

       her out of the business, resulting in Rafiq loosing her equity and investments.

LL7- This fraudulent Transfer of the 50o/o of the business shares of Bashir, to Rafiq made Bashir
       insolvent, making him unable to satisfy the judgments against him. Chaus made all corporations

       and legal entities in whose name Chaoudhri and Bashir could switch their assets back and forth.

       Chaus created South Chicago Once Inc., in whose name this gas station is being parked by

       Bashir and Rafiq.

118- This Fraudulent Transfer was made by Bashir to Rafiq with actual intent to hide his assets from
       his creditors and defraud the Plaintiff.




                                                    23
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 28 of 240 PageID #:28


119- The transaction was deliberately concealed and different entities and individuals were used by
       Bashir and Rafiq to hide this transaction with active help from Chaus.

t20- This transaction was contrived by Bashir when a lawsuit was pending, or a judgment was about
       to be entered against him in a court of law in Cook County. The transaction was concealed and

       was meant to hide it from being known to Bashir's creditors including the Plaintiff.

L21- The transfer of this asset was substantial and comprised a major portion of Bashir's assets
       which made Bashir insolvent and unable to pay his creditors.

       Purchase of a luxury Single Family House in Lincolnwood

L22- Having sold the gas station at 4L5 Pulaski Avenue, the liquor store at 3635 Armitage Avenue
       and the 59th Street gas station, Bashir was awash and loaded with substantial amounts of cash.

       Bashir knew that having that much cash after a judgment that had been entered against him, or

      was to be entered against him in a short order was risky. As such Bashir decided invest this cash

      in a way that it could not be easily traced. To perpetrate this scheme, Bashir decided to park this

      cash in real estate and purchased a luxury single family home in Lincolnwood, Illinois.

L23- Since Bashir Could not purchase the house under his or his wife's name, he asked Chaus for
      help. Chaus advised Bashir not to purchase the house under his own name and instead form a

      brand name LLC, which will be unknown to the Plaintiff Sheikh, and advised him to put the

      house into the newly minted LLC, which Chaus named Qadir's LLC (Exhibit P).

124- Chaus invented and structured the LLC in a way in which Bashir's two minor children Ali and
      Rabia were to be the members of the LLC. Since the children were minor and could not manage

      the LLC, Bashir was to act as a guardian and manage the affairs of the LLC.

125- Chaus knew that the new LLC was being formed to hide and shield the assets of Bashir from
      the Plaintiff. The purchase of the house was totally handled by Bashir in which Bashir located

      the house, made an offer to purchase the house, negotiated the sales price, hired Attorney Sheraz




                                                  24
       Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 29 of 240 PageID #:29


       Darr for closing, went to the closing of this house and paid $470,000.00 in cash to purchase the

       house (Exhibit Q). Bashir remains the owner of the house, but to defraud his creditors, Bashir

       parked the house in the name of the newly minted Qadir's LLC., which shows his minor

       children Ali and Rabia as being beneficial owners.

L26- This transaction was kept hidden by Bashir and perpetrated in complete secrecy.
L27- This Fraudulent Transfer was made by Bashir with actual intent to hide the cash from his
       creditors and defraud the Plaintiff.

L28- The transaction was deliberately concealed and different entities and individuals were used by
       Bashir to hide this transaction. The disposition of almost half a million dollars of cash made

       Bashir insolvent and unable to pay his debts to the Plaintiff.

L29- This transaction was contrived by Bashir when a lawsuit was pending in the Cook County law
       division seeking judgment against Bashir for debts he owed the Plaintiff or judgment was about

       to be entered against Bashir.

130- The transfer of $470,000.00 in cash to close relatives, in this instance to his minor children for
       the sole purpose of purchasing this luxury house in Lincolnwood was made to insiders with the

       intent to defraud the Creditors including this Plaintiff.

131- The transfer and disposition of $470,000.00 in cash is a substantial sum by any standard and
       comprised a major portion of Bashir's assets.

L32- The disposition of such a large sum of cash has made Bashir insolvent and unable to pay his
       debts, including the debt of the Plaintiff.

       Bashir invests in anAdditional $125,000.00 in a Grocery Store in Wheaton

L33- Plaintiff has just recently unearthed another investment by Bashir in which Bashir has invested
       over $L25,000.00 in cash and purchased a grocery store located at 326 West Liberty Road in

       Wheaton.




                                                     25
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 30 of 240 PageID #:30


L34- In this transaction Bashir paid $1-25,000.00 cash to a close associate Amjad Chaudry. Both
       invested and own this business on a 50/50 basis,, but to hide this asset, Chaus invented a brand

       new corporation he named BCA Investrnent, which shows Amjad Chaudry as being the sole

       owner of this business. Debtor Bashir's name is not even on the record.

1"35- Bashir invested this money with Amjad to hide and conceal his assets and to defraud and

       deceive the Plaintiff.

136- This disposition of over $L25,000.00 in cash has made Bashir insolvent and unable to pay his
       debts and liabilities too his creditors including to this Plaintiff.

                                       CURRENT STATUS

L37- Current status of Plaintiff's investigations in this matter are ongoing, and Plaintiff is
       attempting to reconstruct the universe of Fraudulent Transfers between and amongst the debtors

       Bashir, Naseer and their relatives and friends. So far Plaintiff has relied on some records filed

       with the Cook County Recorder of Deeds but true scope and extent of debtors conversions and

       transfers still remains under twap. There is a strong possibility that out there are assets which

       are owned by Bashir and Naseer, are hidden or concealed under layers of corporate or personal

       machinations. For example the purchase of the luxury estate uncovered just weeks ago by

       Sheikh was so well concealed by Bashir with help from a professional accountant and CPA

       Chaus, that to unearth or disentomb this transaction was practically an impossible task.

                    CHAUDRY & NASF,ER CAI\INOT SATISFYTHE JUDGMF"NTS

                                     WITH THEIR REMAINING ASSETS

138- Bashir and Naseer have represented that they have no assets with which to satisfy the
       Judgments, entered by Court in favor of Sheikh and against them . The house which is owned

       by Bashir at 6655 N. Monticello Avenue in Lincolnwood and the house owned by Naseer at

       3673 West Northshore Avenue in Lincolnwood have multiple judgments listed against them,




                                                      26
       Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 31 of 240 PageID #:31


       and those judgments which were placed on their properties before Sheikh's judgment are

       superior and have priority over the Plaintiff 's judgment.

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                                    TO THF. PLAINTIFF SHF.IKI{

              740 ILCS 160/6(4) states:

  (a) A transfer made or obligation incurred by a debtor is fraudulent as to a creditor whose claim
        arose before the transfer was made or the obligation incurred if the debtor made the transfer or
        incurred the obligation without receiving a reasonably equivalent value in exchange for the
        transfer or obligation and the debtor was insolvent at the time or the debtor became insolvent
        as a result of the transfer or obligation.


t4O-          740 ILCS 160/5 states in pertinent part:

       (a) A transfer made or obligation incurred by a debtor is fraudulent as to a creditor, whether
       the creditor's claim arose before or after the transfer was made or the obligation was incurred, if
       the debtor made the transfer or incurred the obligation:
         (1) with actual intent to hinder, delay, or defraud any creditor of the debtor; or
         (2) without receiving a reasonably equivalent value in exchange for the transfer or obligation,
       and the debtor:
       (A) was engaged or was about to engage in a business or a transaction for which the remaining
       assets of the debtor were unreasonably small in relation to the business or transaction; or
       (B) intended to incur, or believed or reasonably should have believed that he would incur, debts
       beyond his ability to pay as they became due.
        O) In determining actual intent under paragraph (1) of subsection (a), consideration may be
        given, among other factors, to whether:
       (1) the transfer or obligation was to an insider;
       (2) the debtor retained possession or control of the property transferred after the transfer;
        (3) the transfer or obligation was disclosed or concealed;
        (4) before the transfer was made or obligation was incurred, the debtor had been sued or
       threatened with suit;
       (5) the transfer was of substantially all the debtor's assets;
        (6) the debtor absconded;
          (7) the debtor removed or concealed assets;
        (8) the value of the consideration received by the debtor was reasonably equivalent to the value
       of the asset transferred or the amount of the obligation incurred;
       (9) the debtor was insolvent or became insolvent shortly after the transfer was made or the
       obligation was incurred;
           (10) the transfer occurred shortly before or shortly after a substantial debt was incurred; and
          (11) the debtor transferred the essential assets of the business to a lienor who transferred the
       assets to an insider of the debtor.




                                                   27
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 32 of 240 PageID #:32


1.41-         740 ILCS 160/8 states in pertinent part:

        (a) In an action for relief against a transfer or obligation under this Act, a creditor, subject to
      the limitations in Section 9, may obtain:
         (1) avoidance of the transfer or obligation to the extent necessary to satisfy the creditor's
      claim;
      (2) an attachment or other provisional remedy against the asset transferred or other property of
      the transferee in accordance with the procedure prescribed by the Code of Civil Procedure;
        (3) subject to applicable principles of equity and in accordance with applicable rules of civil
      procedure,
        (A) an injunction against further disposition by the debtor or a transferee, or both, of the asset
      transferred or of other property;
         (B) appointment of a receiver to take charge of the asset transferred or of other property of the
      transferee; or
        (C) any other relief the circumstances may require.
   (b) If a creditor has obtained a judgment on a claim against the debtor, the creditor, if the court so
       orders, may levy execution on the asset transferred or its proceeds.



                                       Causes of Action

      Count I: Against Bashir forAvoidance of Actually Fraudulent Tfansfers

       For Count I of its verified Complaint, Sheikh incorporates &e allegations contained in the

       preceding paragraphs 1 through L36 as if part and parcel of this Count, and further states as

       follows:

1,42- Bashir perpetrated each of the Fraudulent Transfers as noted above by disposing off gas stations

       on 59th Street, another gas station at 415 South Pulaski Avenue, liquor store property at 3635

       Armitage Avenue, grocery store at 951 S. Lewis Avenue in Waukegan, liquor store at 4200 W.

       Armitage Avenue, another liquor store at 4234 West Fullerton Avenue, luxury single family

       house at 7001 North KeelerAvenue in Lincolnwood and transferred them to his family friends,

       Spouse, son, daughters and other close friends and associates.

L43- These Transfers were made with the actual intent to hinder, delay or defraud Plaintiff.
144- These transfers made Bashir insolvent and unable to pay his debts.
145- Transfers were made when Plaintiff had filed or about to be filed, judgment rendered or
        about to be rendered and Bashir intended to put his assets out of reach for the Plaintiff.




                                                   28
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 33 of 240 PageID #:33


146-          The transfers were concealed and were kept a close secret by Bashir.

147-           WHEREFORE, Plaintiff prays that this Court enter a judgment in favor of the Plaintiff

              and against Bashir, thus:

A.            avoiding all the Transfers as itemized above,

B.            preserving the avoided Transfers for the benefit of the Plaintiff;

C.            awarding Plaintiff a money judgment against Bashir or/and his transferees, and

D.            granting all other relief which this Court deems is just and proper in the premises.

       Count II: Against Bashir forAvoidance of Constructively Fraudulent Tlansfers

L48- For Count II of its Verified Complaint, Plaintiff incorporates the allegations contained in
       the preceding paragraphs 1- through 136, and further states as follows:

149- Bashir made each of the Constructively Fraudulent Transfers including 415 Pulaski gas station,
       L224W.59th Street, Chicago, 951 S. Lewis Avenue, Waukegan, 4200 W. Armitage Avenue,

       Chicago, 3635 W. Armitage Avenue, Chicago and 4234 W. FullertonAvenue in Chicago and

       7001 North KeelerAvenue in Lincolnwood.

1-51- Each of the Constructively Fraudulent Transfers was made without the transferor receiving a
      reasonably equivalent value in exchange while the transferor was engaged or was about to

      engage in a business or transaction for which its remaining assets were unreasonably small in

      relation to its business or the transaction.

151- Each of the Constructively Fraudulent Transfers was made without the transferor receMng a
      reasonably equivalent value in exchange and the transferor intended to incur, or reasonably

      should have believed, that the transferor would incur debts beyond the transferor's ability to pay

      as the debts became due.


L52- WHEREFORE, Plaintiff prays that this Court enter a judgment in his favor and
      against Bashir thus:




                                                     29
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 34 of 240 PageID #:34


A.     avoiding all Constructively Fraudulent Transfers Bashir made as itemized above;

B.     preserving the avoided Constructively Fraudulent Transfers for Plaintiff 's benefit;

       C. awarding Plaintiff a money judgment against Bashir in the amount of the Constructively

       Fraudulent Transfers, plus post-judgment interest, and costs of the proceedings;

D.     and granting all other relief which this Court deems is just and proper in the premises.

       Count III: Against Naseer for Avoidance of Actually Fraudulent TFansfers

      For Count III of its Verified Complaint, Sheikh incorporates the allegations contained in the

      preceding paragraphs 1 through 136 as if part and parcel of this Count, and further states as

      follows:

153- Naseer perpetrated each ofthe Fraudulent Transfers as noted above by disposing off gas
      stations at 415 South Pulaski Avenue, Liquor store at 3635 Armitage Avenue, grocery store at

      951 S. Lewis Avenue in Waukegan, and transferred them to her family friends, sister-in-law and

      other close associates.

L54- These Fraudulent Transfers were made with the actual intent to hinder, delay or defraud
      Plaintiff.

155- These transfers made Naseer insolvent and unable to pay her debts. 156-                  Transfers

      were made when Plaintiff had filed or was about to file a lawsuit against Naseer and Naseer

      intended to put her assets out of reach to the Plaintiff.

L57- The transfers were concealed and were kept a close secret by Naseer.
158- WHEREFORE, Plaintiff prays that this Court enter a judgment in favor of the Plaintiff and
       against Naseer, thus:

A.    avoiding all Transfers as itemized above,

B.    preserving the avoided Fraudulent Transfers for the benefit of the Plaintiff;

C.    awarding Plaintiff a money judgment against Naseer orland her transferees, and

D.    granting all other relief which this Court deems is just and proper in the premises.



                                                    30
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 35 of 240 PageID #:35


       Count IV: Against Naseer forAvoidance of Constructively Fraudulent Thansfers

159- For Count IV of its Verified Complaint, Plaintiff incorporates the allegations contained in the
       preceding paragraphs L through 136, and further states as follows:

160- Naseer made each of the Constructively Fraudulent Transfers including 415 Pulaski gas station,
       3635 W. Armitage Chicago, and 951 Lewis Avenue, Waukegan.

16L- Each of the Constructively Fraudulent Transfers was made without the transferor receiving a
       reasonably equivalent value in exchange while the transferor was engaged or was about to

       engage in a business or transaction for which its remaining assets were unreasonably small in

       relation to its business or the transaction.

L62- Each of the Constructively Fraudulent Transfers was made without the transferor receiving a
       reasonably equivalent value in exchange for what the uansferor intended to incur, or reasonably

       should have believed, that the uansferor would incur debts beyond the transferor's ability to pay

       as the debts became due.

1-63- WI{EREFORE, Plaintiff prays that this Court enter a judgment in his favor and

      against Naseer, thus:

A.    avoiding the Constructively Fraudulent Transfers Naseer made as itemized above,

B.     preserving the avoided Constructively Fraudulent Transfers for Plaintiff 's benefit;

C.    awarding Plaintiff a money judgment against Naseer in the amount of the Constructively

      Fraudulent Transfers, plus post-judgment interest, and costs of the proceeding;

D.    and granting all other relief which this Court deems is just and proper in the premises.

      Count V: Against Qadir forAvoidance of Actually Fraudulent Thansfers

      For Count V of its Verified Complaint, Sheikh reincorporates the allegations contained in the

      preceding paragraphs 1 through 136 as if part and parcel of this Count, and further states as

      follows:




                                                      31
       Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 36 of 240 PageID #:36


L64- Qadir perpetrated each of the Fraudulent Transfers as noted above by fraudulently
       accepting the-gas stations at 415 South Pulaski Avenue, 3635 W. Armitage Avenue, and grocery

        store at 951 S. Lewis Avenue in Waukegan.

1-65- These Fraudulent Transfers were made with the actual intent to hinder, delay or defraud

       PIaintiff.

166- These transfers have made the debtors Chaudry and Qadir's sister-in-law Naseer
       insolvent and unable to pay theird debts.

t67-   Transfers were made when Plaintiff had filed or was about to file a lawsuit against the debtors

       which they intended to put their assets out of reach to the Plaintiff.

168-   The transfers were concealed and were kept a close secret by Qadir.

169-   Qadir was a mere proxy, while her husband controlled the businesses,

170-   WHEREFORE, Plaintiff prays that this Court enter a judgment in favor of the Plaintiff

       and against Qadir, thus:

A.     avoiding all Fraudulent Transfers as itemized above,

B.     preserving the avoided Fraudulent Transfers for the benefit of the Plaintiff;

C.     awarding Plaintiff a money judgment against Qadir or her transferees, and

D.     granting all other relief which this Court deems is just and proper in the premises.

       Count VI: Against Qadir forAvoidance of Constructively Fraudulent Thansfers

L71,- For Count VI of its Verified Complaint, Plaintiff reincorporates the allegations contained in

       the preceding paragraphs 1- through 136, and further states as follows:

L72- Qadir made each of the Constructively Fraudulent Transfers as outlined earlier including
       415 Pulaski Gas Station, 3635 W. Armitage Avenue and 951 S. Lewis Avenue, Waukegan.

L73- Each of the Constructively Fraudulent Transfers were made without the transferor receiving a




                                                    32
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 37 of 240 PageID #:37


       reasonably equivalent value in exchange while the transferor was engaged or was about to

       engage in a business or transaction for which its remaining assets were unreasonably small in

       relation to its business or the transaction.

L74- Each of the Constmctively Fraudulent Transfers was made without the transferor receiving a
       reasonably equivalent value in exchange and the transferor intended to incur, or reasonably

       should have believed, that the transferor would incur debts beyond the transferor's

       ability to pay as the debts became due.

175- WHEREFORE, Plaintiff prays that this Court enter a judgment in his favor and against Qadir,
       thus:

A.     avoiding the Constructively Fraudulent Transfers made and itemized above,

B.     preserving the avoided Constructively Fraudulent Transfers for Plaintiff's benefit;

C.     awarding Plaintiff a money judgment against Qadir in the amount of the Constructively

       Fraudulent Transfers, plus pre-judgment interest, and costs of the proceeding;

D.     and granting all other relief which this Court deems is just and proper in the premises.

      Count VII: Against Mahin forAvoidance of Actually Fraudulent Tfansfers

       For Count VII of its Verified Complaint, Sheikh reincorporates the allegations contained in the

       preceding paragraphs 1 through 136 as if part and parcel of this Count, and further states as

       follows:

L76- Mahin participated in and perpetrated each of the Fraudulent Transfers as noted above by
       fraudulently accepting the grocery store in her name, located at 1401 L4th Street in Waukegan,

       and the grocery store at 4200 W. Armitage Avenue, knowing that she was doing so at the

       instructions of his father, and was to act as a proxy and nominal owner for such purpose,

L77- The Fraudulent Transfer was made with the actual intent to hinder, delay or defraud Plaintiff.
178- These transfers have made the debtors including his father Bashir insolvent and



                                                      33
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 38 of 240 PageID #:38


       unable to pay the debts he owed.

t79- Transfers were made when Plaintiff had filed or was about to file a lawsuit against the debtors
       which the debtors intended to put their assets out of reach to the Plaintiff.

180- The transfers were concealed and were kept a close secret by Mahin.
181- Mahin was acting as a proxy, whereas her father Bashir controlled the business,
182- WHEREFORE, Plaintiff prays that this Court enter a judgment in favor of the Plaintiff and
       against Mahin thus:

A.     avoiding the Fraudulent Transfers,

B.     preserving the avoided Fraudulent Transfers for the benefit of the Plaintiff;

C.     awarding Plaintiff a money judgment against Mahin or her transferees, and

D.     granting all other relief which this Court deems is just and proper in the premises.

       Count VIII: Against Mahin forAvoidance of Constuctively Fraudulent Tlansfers

183- For Count VIII of its Verified Complaint, Plaintiff incorporates the allegations contained in the
       preceding paragraphs 1- through 136, and further states as follows:

IB4- Mahin made each of the Constructively Fraudulent Transfers and included 1401
       14th Street liquor store in Waukegan, Illinois.

185- Each of the Constructively Fraudulent Transfers were made without the transferor receiving a
       reasonably equivalent value in exchange while the transferor was engaged or was about to

       engage in a business or transaction for which its remaining assets were unreasonably small in

       relation to its business or the transaction.

186- Each of the Constructively Fraudulent Transfers was made without the transferor receiving a
       reasonably equivalent value in exchange and the transferor intended to incur, or reasonably

       should have believed, that the transferor would incur debts beyond the transferor's ability to pay

       as the debts became due.




                                                      34
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 39 of 240 PageID #:39


L87- WTIEREFORE, Plaintiff prays that this Court enter a judgment in his favor and against Mahin,
       thus:

A.      avoiding the Constructively Fraudulent Transfers so made for the liquor store located at L40L

       14th Street in Waukegan, Illinois.

B.     preserving the avoided Constructively Fraudulent Transfers for Plaintiff's benefit;

C.     awarding Plaintiff a money judgment against Mahin in the amount of the Constructively

       Fraudulent Transfers, plus pre-judgment interest, costs of the proceeding;

D.     and granting all other relief which this Court deems is just and proper in the premises.

       Count IX: Against Safiuddin forAvoidance of Actually Fraudulent Tbansfers

       For Count IX of its Verified Complaint, Sheiktr incorporates the allegations contained in the

       preceding paragraphs 1 through 136 as if part and parcel of this Count, and further states as

       follows:

188- Safiuddin participated in and perpetrated each of the Fraudulent Transfers as noted above by
       fraudulently accepting the gas station at 41-5 South Pulaski Avenue in

       Chicago, knowing that he was doing so to make that asset unreachable to the Plaintiff.

189- The Fraudulent Transfer was made with the actual intent to hinder, delay or defraud Plaintiff.
190- These transfers made the debtors including the transferor Bashir insolvent and unable to pay the
       debts he owed. Transfers were made to a close friend of Bashir.

191- Transfer was made when Plaintiff had filed or was about to file a lawsuit against the debtors
       and the debtors intended to put their assets out of reach to the Plaintiff.

192- The transfers were concealed and were kept a close secret by Safiuddin.
193- WHEREFORE, Plaintiff prays that this Court enter a judgment in favor of the Plaintiff and
       against Safiuddin thus:

A:     avoiding the Fraudulent Transfers,

B.     preserving the avoided Fraudulent Transfers for the benefit of the Plaintiff;



                                                    35
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 40 of 240 PageID #:40


C.     awarding Plaintiff a money judgment against Safiuddin, and

D.     granting all other relief which this Court deems is just and proper in the premises.

       Count X: Against Safiuddin forAvoidance of Constructively Fraudulent Thansfers

L94- For Count X of its verified Complaint, Plaintiff incorporates the allegations contained in the
       preceding paragraphs 1 through 136, and further states as follows:

195- Safiuddin made each of the Constructively Fraudulent Transfers and transferred an asset to his
       name namely the 415 Pulaski gas station in Chicago.

L96- Each of the Constructively Fraudulent Transfers were made without the transferor receiving a
       reasonably equivalent value in exchange while the transferor was engaged or was about to

       engage in a business or transaction for which its remaining assets were unreasonably small in

       relation to its business or the transaction.

197- Each of the Constructively Fraudulent Transfers was made without the transferor receiving a
       reasonably equivalent value in exchange and the transferor intended to incur, or reasonably

       should have believed, that the transferor would incur debts beyond the transferor's ability to pay

       as the debts became due.

198- WHEREFORE, Plaintiff prays that this Court enter a judgment in his favor and against
       Safiuddin, thus:

A.    avoiding the Constructively Fraudulent Transfers so made;

B.    preserving the avoided Constructively Fraudulent Transfers for Plaintiff 's benefit;

C.    awarding Plaintiff a money judgment against Safiuddin in the amount of the Constructively

      Fraudulent Transfers, plus pre-judgment interest, and costs of the proceeding;

D.    and granting all other relief which this Court deems is just and proper in the premises.

      Count XI: AgainstAbdelkader and 75th St. Building Inc., JunaidAhmad and Congress

      Pulaski Real Estate Inc., forAvoidance of Actually Fraudulent Tbansfers




                                                      36
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 41 of 240 PageID #:41


       For Count XI of its Amended Complaint, Sheikh incorporates the allegations contained in the

       preceding paragraphs 1 through 1L8 as if part and parcel of this Count, and further states as

       follows:

199- Abdelkader and his fuIly owned corporation 75th St. Building Inc., JunaidAhmad and his fully
       owned Congress & Pulaski RE Inc., participated in and perpetrated each of the Fraudulent

       Transfers as noted above by fraudulently accepting the gas station at 415 South Pulaski Avenue

       in Chicago, as well as liquor store located at 3635 W. Armitage Avenue, in Chicago, knowing

       that he was doing so to make that asset unreachable to the Plaintiff. Purchase was disguised as

       purchasing the Note on which Bashir deliberately defaulted.

200- The Fraudulent Transfer was made with the actual intent to hinder, delay or defraud the Plaintiff.
20L- These transfers made the debtors including the transferor Bashir insolvent and unable to pay the

       debts he owed, and transfers were made to a close friend or associate, and was made at prices

       way lower at what those assets would have been sold in the open market.

202- Transfer was made when Plaintiff had filed or was about to file a lawsuit against the debtors
       and the debtors intended to put their assets out of reach to the Plaintiff.

203- The transfers were concealed and were kept a close secret by Abdelkader, and Junaid.
204- WHEREFORE, Plaintiff prays that this Court enter a judgment in favor of the Plaintiff and
       against Abdelkader and 75th St., Building Inc., as well as Junaid Ahmad and Congress &

       Pulaski RE Inc., thus:

A.     avoiding the Fraudulent Transfers,

B.     preserving the avoided Fraudulent Transfers for the benefit of the Plaintiff;

C.     awarding Plaintiff a money judgment againstAbdelkader and his wholly owned corporation

       75th St. Building Inc., and against Junaid Ahmad and his wholly owned Congress & Pulaski

       Inc.,

D.     granting all other relief which this Court deems is just and proper in the premises.



                                                    37
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 42 of 240 PageID #:42


       Count XII: AgainstAbdelkader, 75th St. Building Inc., JunaidAhmad and Congress &

       Pulaski for Avoidance of Constructively Fraudulent T?ansfers

205- For Count XII of its verified Complaint, Plaintiff incorporates the allegations contained in the
       preceding paragraphs 1 through l-l-8, and fuither states as follows:

206- Abdelkader ,75th St. Building Inc., Junaid Ahmad and Congress & Pulaski [nc., made each of
       the Constructively Fraudulent Transfers which included the 4L5 Pulaski gas station as well as

       the Liquor store at 3635 W. Armitage Avenue in Chicago.

207- Each of the Constructively Fraudulent Transfers were made without the transferor receiving a
       reasonably equivalent value in exchange while the transferor was engaged or was about to

       engage in a business or transaction for which its remaining assets were unreasonably small in

       relation to its business or the transaction.

208- Each of the Constructively Fraudulent Transfers was made without the transferor receiving a
       reasonably equivalent value in exchange and the transferor intended to incur, or reasonably

       should have believed, that the transferor would incur debts beyond the transferor's ability to pay

       as the debts became due. Transfer was disguised as a Note purchase.

209- WHEREFORE, Plaintiff prays that this Court enter a judgment in his favor and against
      Abdelkader and his wholly owned corporation 75th St. Building Inc., JunaidAhmad and his

      wholly owned Congress & Pulaski RE Inc., thus:

A.     avoiding the Constructively Fraudulent Transfers so made;

B.    preserving the avoided Constructively Fraudulent Transfers for Plaintiff's benefit;

C.     awarding Plaintiff a money judgment against Abdelkader and 75th St. building Inc., and Junaid

      Ahmad and his wholly owned Congress & Pulaski Inc., in the amount of the Constructively

      Fraudulent Transfers, plus pre-judgment interest, and costs of the proceeding;

D.    and granting all other relief which this Court deems is just and proper in the premises.




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       Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 43 of 240 PageID #:43


       Count XIII: AgainstAslam, Loc Gas Inc., and Chicago 59th Inc., forAvoidance of

       Actually Fraudulent tansfers

       For Count XIII of its verified Complaint, Sheil'tr incorporates the allegations contained in the

       preceding paragraphs 1 through 136 as if part and parcel of this Count, and further states as

       follows:

2L0- Aslam, Loc Gas Inc., and Chicago 59th Inc., participated in and perpetrated each of the
       Fraudulent Transfers as noted above by fraudulently accepting the gas station at 1224 West

       59th Street in Chicago, knowing that she was doing so to make that asset unreachable to the

       Plaintiff.

2lL- The Fraudulent Transfer was made with the actual intent to hinder, delay or defraud Plaintiff.
2L2- These transfers made the debtors including the transferor Bashir insolvent and unable to
       pay the debts he owed.

2L3- Transfer was made when Plaintiff had filed or was about to file a lawsuit against the debtors and
       the debtors intended to put their assets out of reach to the Plaintiff.

214- The transfers were concealed and were kept a close secret by Aslam.
2L5- WHEREFORE, Plaintiff prays that this Court enter a judgment in favor of the
       Plaintiff and against Aslam, LOc Gas Inc., and Chicago 59th Inc., thus:

A:     avoiding the Fraudulent Transfers as outlined above of L224 W. 59th Street gas station.

B.     preserving the avoided Fraudulent Transfers for the benefit of the Plaintiff;

C.     awarding Plaintiff a money judgment againstAslam, Loc Gas Inc., and Chicago 59th Inc., and

D.     granting all other relief which this Court deems is just and proper in the premises.

       Count XIV: AgainstAslam, Loc Gas Inc., and Chicago 59th Inc., forAvoidance of

       Constructively Fraudulent Thansfers

216- For Count XIV of its verified Complaint, Plaintiff incorporates the allegations contained in the



                                                     39
       Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 44 of 240 PageID #:44


       preceding paragraphs 1 though 1-36, and further states as follows:

2L7- Aslam and Chicago 59th Inc., made each of the Construcdvely Fraudulent Transfers of 1224
       West 59th Street gas station in Chicago

2L8- Each of the Constructively Fraudulent Transfers were made without the transferor receiving a
       reasonably equivalent value in exchange while the transferor was engaged or was about to

       engage in a business or transaction for which its remaining assets were unreasonably small in

       relation to its business or the transaction. Transfers were made to close friends.

2L9- Each of the Constructively Fraudulent Transfers was made without the transferor receiving a
       reasonably equivalent value in exchange and the transferor intended to incur, or reasonably

       should have believed, that the transferor would incur debts beyond the transferor's ability to pay

       as the debts became due.

220-   WHEREFOR-E, Plaintiff prays that this Court enter a judgment in his favor and

       against Aslam, Loc Gas [nc., and Chicago 59th Inc., thus:

A.     avoiding the Constructively Fraudulent Transfers so made;

B.     preserving the avoided Constructively Fraudulent Transfers for Plaintiff's benefit;

C.     awarding Plaintiff a money judgment against Aslam, Loc Gas Inc., and Chicago 59th Inc., in the

       amount of the Constructively Fraudulent Transfers, plus pre-judgment interest, and costs of the

       proceeding;

D.     and granting all other relief which this Court deems is just and proper in the premises.

       Count XV: Against Jahantab forAvoidance of Actually Fraudulent Tfansfers of liquor

       stores at 4200 West Armitage Avenue & liquor store at 4234 W. Fullerton Avenue.

       For Count XV of its verified Complaint, Sheikh incorporates the allegations contained in the

       preceding paragraphs 1- through 136 as if part and parcel of this Count, and further states as

       follows:




                                                   40
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 45 of 240 PageID #:45


22L- Jahantab participated in and perpetrated each of the Fraudulent Transfers as noted above by
       fraudulently accepting the liquor stores located at 4200 West Armitage Avenue in Chicago, and

       an additional liquor store located at 4234 West Fullerton Avenue in Chicago, knowing that he

       was doing so to make that asset unreachable to the Plaintiff.

222- The Fraudulent Transfer was made with the actual intent to hinder, delay or defraud Plaintiff
       and were made to Jahantab, who is the son of Bashir's close friend Shahjee.

223- These transfers made the debtors including the transferor Bashir insolvent and unable to pay the
       debts he owed.

224- Transfer was made when Plaintiff had filed or was about to file a lawsuit against the debtors
       and the debtors intended to put their assets out of reach to the Plaintiff.

225- The transfers were concealed and were kept a close secret by Jahantab,
226- Jahantab acted as a proxy whereas Bashir controlled the businesses,
227- WHEREFORE, Plaintiff prays that this Court enter a judgment in favor of the Plaintiff and
       against Jahantab thus:

A.     avoiding the Fraudulent Transfers of the liquor/grocery store located at 4200 West Armitage

       Avenue, and another Iiquor store at 4234W. FullertonAvenue, in Chicago.

B.     preserving the avoided Fraudulent Transfers for the benefit of the Plaintiff;

C.     awarding Plaintiff a money judgment against Jahantab and,

D.     granting all other relief which this Court deems is just and proper in the premises.

       Count XVI: Against Jahantab forAvoidance of Constructively Fraudulent Thansfers for

       Liquor stores at 4200 W. Armitage & 4234 W. Fullertoq Chicago.

228- For Count XVI of its verified Complaint, Plaintiff incorporates the allegations contained in the
       preceding paragraphs L through L36, and further states as follows:

229- Jahantab made each of the Constructively Fraudulent Transfer of the Liquor/grocery store



                                                    41
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 46 of 240 PageID #:46


       located at 4200 West Armitage Avenue in Chicago, and another liquor store at 4234W.

       Fullerton Avenue, Chicago.

230- Each of the Constructively Fraudulent Transfers were made without the transferor
       receiving a reasonably equivalent value in exchange while the transferor was engaged or was

       about to engage in a business or transaction for which its remaining assets were unreasonably

       small in relation to its business or the transaction.

23t- Each of the Constructively Fraudulent Transfer was made without the transferor receiving a
       reasonably equivalent value in exchange and the transferor intended to incur, or reasonably

       should have believed, that the transferor would incur debts beyond the tansferor's ability to pay

       as the debts became due. Transfers were made to the son of a close friend.


232- WHEREFORE, Plaintiff prays that this Court enter a judgment in his favor and against
       Jahantab, thus:

A:     avoiding the Constructively Fraudulent Transfers so made of the liquor store located at 4200

       West Armitage Avenue and another located at 4234 W. Fullerton in Chicago.

B.     preserving the avoided Constructively Fraudulent Transfers for Plaintiff 's benefit;

C.     awarding Plaintiff a money judgment against Jahantab, in the amount of the Constructively

       Fraudulent Transfers, plus pre-judgment interest, and costs of the proceeding;

D.     and granting all other relief which this Court deems is just and proper in the premises.

       Count XVII: Against Rafati for aiding and abetting Fraudulent Thansfers, making false

       representations in Court:

233- For Count XVII Plaintiff reincorporates the allegations contained in the preceding paragraphs         1-




       to L36 and states further:

       234- Rafati appeared at the Court hearing on Plaintiff 's Motion for avoiding the fraudulent
       transfers during litigation (L7-L-07L9 ) and represented in open court that his client Bashir and

       Naseer have not sold nor they are trying to sell any property. Rafati further represented in open



                                                     42
       Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 47 of 240 PageID #:47


       court that he has advised Chaudry and Naseer not to sell any property which is perceived to be

       part of the litigation on which Plaintiff is asserting that monies are owed to him.

235- While assuring the Court of one thing, in reality Rafati was actively engaged in finding buyers
       for those properties, preparing agreements, acting as an escrow agent to hold funds for the

       closing of those properties, preparing agreements for sale of those properties and preparing

       closing documents for those properties.

236- Simultaneously Rafati made every effort to delay the proceedings in L7-L-07L94 by asking for
       continuances on frivolous grounds, so to delay the resolution of the case and the judgment of

       the Court. Those delays were to buy time so Chaudry and Naseer could sell their properties

       before the Court could enter its judgment.

237- Restatement (Second) of Torts S 876 is determinative as Rafati, Chaudry and Naseer's
       actions were concerted and establishe a legal relationship between a tortfeasor who acted in

       concert with his clients.

238- Additionally Rafati (a) committed a tortious act in concert with Bashir and Naseer pursuant to
       a common design, or O) knew that his clients conduct constituted a breach of duty and gave

       substantial assistance or encouragement to Bashir and Naseer as to their fraudulent transfers, or

       (c) gave substantial assistance to the debtors in accomplishing a tortious result after establishing

       a legal relationship with the tortfeasors.

239- That by virnre of this relationship, Rafati provided substantial assistance and encouragement
       and established a joint enterprise and a mutual agency and provided substantial assistance to

       Chaudry and Naseer to sell their assets.

240- Rafati's conduct was not restricted by failing to act or advise Chaudry and Naseer not to violate
       the Fraudulent Transfer Act, but in reality assisted Chaudry and Naseer to violate Fraudulent

       Transfer Act so they could dispose off their properties before court enter a judgment, which

       could enable the Plaintiff to execute the judgment against those properties that Rafati sold.



                                                    43
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 48 of 240 PageID #:48


24L- Liability under SS 876(b) and (c) 2 (Re-statement of torts) "is not based on common design or
       agreement, but on substantial assistance." Rafati did not merely fail to act, but also assisted

       Bashir and Naseer to dispose off their asseets.

242- Rafati actively participated and helped in perpetrating each of the Fraudulent Transfers as noted
       above by actively aiding and abetting their transfers.

243- Rafati knew his help to Bashir and Naseer was meant with an actual intent to hinder, delay or
       defraud Plaintiff, as these transfers were made during the Course of litigation.

244- Rafati knew that his providing assistance to Bashir and Naseer to sell and transfer their assets
       will make both Bashir and Naseer insolvent and unable to pay the debts they owed the Plaintiff.

245- Rafati knew that he was assisting the fraudulent transfers as a lawsuit against Bashir
       and Naseer was pending. Not only that Rafati had constructive notice of the issues in the case

       but had actual knowledge of the underlying issues, as he himself was representing Bashir and

       Naseer in the pending litigation.

246- WHEREFORE, Plaintiff prays that this Court enter a judgment in his favor and against Rafati,
       Rafati law group and Rafati & Ward.

A.     Spread the full amount of Judgments against Rafati, Rafati law group and Rafati & Ward, that

       the Court entered in the prior litigation (17-L-07L94) against Chadury and Naseer for

       $L,535,0000.00 and $257,000.00 respectively.

D.     Grant all other relief which this Court deems is just and proper in the premises.

      Count XVIII: Against Rafiq forAvoidance of Actually Fraudulent Thansfers

       For Count XVIII of its verified Complaint, Sheikh incorporates the allegations contained in the

       preceding paragraphs L through 1"36 as if part and parcel of this Count, and further states as

       follows:

247- Rafiq perpetrated each of the fraudulent transfers as identified herein this complaint by trying to
       conceal the ownership of the gas station located at7283-87 S. Chicago Avenue.



                                                   44
       Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 49 of 240 PageID #:49


248-   These Transfers were made vrith the actual intent to hinder, delay or defraud Plaintiff.

249-    These transfers made Bashir insolvent and unable to pay his debts.

250-    Transfers were made when Plaintiff had filed or was about to file a lawsuit against him, or a

       judgment was soon to be entered against Bashir. The main goal and purpose of Rafiq was to put

       his or Bashir's assets out of reach to the Plaintiff.

25t-   The transfers were contemplated and concealed and were kept a close secret by Rafiq.

252-   WHEREFORE, Plaintiff prays that this Court enter a judgment in favor of the Plaintiff and

       against Rafiq, thus:

A.     avoiding all fraudulent Transfers as itemized above.

B.     preserving the avoided Transfers for the benefit of the Plaintiff;

C.     awarding Plaintiff a money judgment against Rafiq or his transferees, and

D.     granting all other relief which this Court deems is just and proper in the premises.

       Count XIX: Against Rafiq forAvoidance of Constuctively Fraudulent TLansfers

253- For Count XVIIII of its verified Complaint, Plaintiff incorporates the allegations contained in

       the preceding paragraphs L through 136, and further states as follows:

254- Rafiq participated and engaged in making each of the Constructively Fraudulent Transfers
       identified herein above.

255- Each of the Constructively Fraudulent Transfers was made without the transferor receiving a
       reasonably equivalent value in exchange while the transferor was engaged or was about to

       engage in a business or transaction for which its remaining assets were unreasonably small in

       relation to its business or the transaction.

256- Each of the Constmctively Fraudulent Transfers was made without the transferor receiving a
       reasonably equivalent value in exchange and the transferor intended to incur, or reasonably

       should have believed, that the transferor would incur debts beyond the transferor's ability to pay

       as the debts became due.




                                                      45
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 50 of 240 PageID #:50


257- WHEREFORE, Plaintiff prays that this Court enter a judgment in his favor and against Rafiq
       by:

A.     avoiding all Constructively Fraudulent Transfers Rafiq made as itemized above;

B.     preserving the avoided Constructively Fraudulent Transfers for Plaintiff 's benefit;

C.     awarding Plaintiff a money judgment against Rafiq in the amount of the Constructively

       Fraudulent Transfers, plus pre-judgment interest, and costs of these proceeding;

D.     and granting all other relief which this Court deems is just and proper in the premises.

       Count XX: Against Qadir's LLC, AIi and Rabia forAvoidance of Actually Fraudulent

       Tlansfers of the Luxury House at 7001N. Keele4 Lincolnwood.

       For Count XX of its verified Complaint, Sheiktr incorporates the allegations contained in the

       preceding paragraphs 1 through 1"36 as if part and parcel of this Count, and further states as

       follows:

258- AIi, Rabia and Qadir's LLC participated in and perpetrated each of the Fraudulent
       Transfers as noted above by accepting $470,000.00 in cash and investing that money to

       purchase the luxury house in Lincolnwood, Illinois, knowing that this activity was fraudulent

       and money being transferred by Bashir to his minor children Ali and daughter Rabia and newly

       minted LLC by Chaus was an attempt to fraudulently transfer their assets, and in doing so was

       to make that asset unreachable to the Plaintiff.

259- Fraudulent Transfer was made with the actual intent to hinder, delay or defraud
        Plaintiff.

260- These transfers made the debtors including the transferor Bashir insolvent and unable to
       pay the debts he owed.

26t- Transfer was made when Plaintiff had filed a lawsuit against Bashir and a Court decision
       was expected or had been entered against the debtors and the debtors intended to put their assets

       out of reach to the Plaintiff.



                                                    46
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 51 of 240 PageID #:51


262- The mansfers were concealed and were kept a close secret by Bashir, Chaus, Ali, Rabia and the
       limited Iiability Company newly minted for this fraudulent purpose,

263- Ali, Rabi and Qadir's LLC acted as a proxy of Bashir whereas Bashir controls his minor
       children and the Qadir's LLC.,

264- WHEREFORE, Plaintiff prays that this Court enter a judgment in favor of the Plaintiff and
       againstAli, Rabia and Qadir's LLC by:

A.     avoiding the Fraudulent Transfer of the single family luxury house located at 700L North Kee1er

       Avenue in Lincolnwood, Illinois.

B.     preserving the avoided Fraudulent Transfers for the benefit of the Plaintiff;

C.     awarding Plaintiff a money judgment against Ali, Rabia and Qadir's LLC., and,

D.     granting all other relief which this Court deems is just and proper in the premises.

       Count XXI: Against Rabia, Ali and Qadir's LLC forAvoidance of Constructively

       Fraudulent TFansfers

265- For Count XXI of its verified Complaint, Plaintiff incorporates the allegations contained in the
       preceding paragraphs 1" through 1L8, and further states as follows:

266- Qadir's LLC, Bashir's minor children Ali and Rabia made each of the Constructively
       Fraudulent Transfer of receiving $470,000.00 in cash and for the purpose of hiding, purchased a

       single family house in Lincolnwood, Illinois.

267- The Constructively Fraudulent Transfer of cash and purchasing the house were made without
       the transferor receiving a reasonably equivalent value in exchange while the transferor was

       engaged or was about to engage in a business or transaction for which its remaining assets were

       unreasonably small in relation to its business or the transaction.

268- Each of the Constructively Fraudulent Transfer was made without the transferor receiving a




                                                    47
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 52 of 240 PageID #:52


       reasonably equivalent value in exchange and the transferor intended to incur, or reasonably

       should have believed, that the transferor would incur debts beyond the transferor's ability to pay

       as the debts became due. Transfers were made by debtor to his hildren.


269- WHEREFORE, Plaintiff prays that this Court enter a judgment in his favor and against Qadir's
       LLC, and Bashir's minor childrenAli and Rabia, thus:

A.     avoiding the Constructively Fraudulent Transfers of making $470,000.00 in cash to purchase

       the house at 7001 North Keeler Avenue, in Lincolnwood, Illinois.

B.     preserving the avoided Constructively Fraudulent Transfers for Plaintiff 's benefit;

C.     awarding Plaintiff a money judgment against Qadir's LLC, Ali and Rabia, in the full amount of

       the Constructively Fraudulent Transfers, plus pre-judgment interest, and costs of the

       proceedings;

D.     and granting all other relief which this Court deems is just and proper in the premises.

       Count XXII: Against Chaus dba Yakub Chaus & Co., for aiding and abetting Fraudulent

       and Constructive Tbansfers

270- For Count XXII Plaintiff reincorporates the allegations contained in the preceding paragraphs     1-




       to L36 and states further:

27I- Chaus dba Yakub Chaus & Co., made, invented, concocted and resurrected dozens of
       corporations and limited liability companies for Bashir and Naseer.

272- While inventing those entities Chaus knew or would have every reason to know that the
       purpose of making these companies for Bashir, Naseer, Qadir, Mahin, Ali, Rabia, Jahantab,

       Rafiq and Aslam was not for legitimate legal or professional purposes.

273- Chaus made these entities for the sole purpose of helping Bashir, Aslam, Naseer and Rafiq to
      hide their assets with the active intent, knowledge and complete complicity of deceiving and

       defrauding the Plaintiff by streamlining the fraudulent transfers into different entities,

       corporations and limited liability companies and giving the scheme a legal cover.



                                                    48
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 53 of 240 PageID #:53


274- Restatement (Second) of Torts g 876 is determinative as Chaus, Bashir and Naseer's actions
       were concerted and established a legal relationship between a tort feasor who acted in concert

       with his clients.

275- Additionally Chaus (a) committed a tortious act in concert with Bashir and Naseer and their
       designated proxies pursuant to a common design, or (b) knew that his clients conduct

       constituted a breach of duty and gave substantial assistance or encouragement to Bashir and

       Naseer as to their fraudulent transfers, or (c) gave substantial assistance to the debtors in

       accomplishing a tortious result after establishing a legal relationship with the tortfeasors.

276- That by virnre of this relationship, Chaus dba Yakub Chaus & Co., provided substantial
       assistance and encouragement and established a joint enterprise and a mutual agency and

       provided substantial assistance to Bashir and Naseer to sell their assets to their relatives, their

       children and their spouses in shell corporations and companies with the actual knowledge and

       actual intent to deprive the Plaintiff of the fruits of his judgment that was entered by a

       competent court of law in Cook County, Illinois.

277- Chaus's conduct as an accountant and a CPA was not restricted by failing to act or advise
       Bashir and Naseer not to violate the Fraudulent Transfer Act, but in reality assisted Bashir and

       Naseer to violate Fraudulent Transfer Act so they could dispose off their properties before court

       could enter a judgment that would enable the Plaintiff to execute the judgment against those

       properties that Chaus helped hide, conceal and disperse.

278- Liability under SS 876 (b) and (c)2 (Re-statement of torts) "is not based on common design or
       agreement, but on substantial assistance." Chaus did not merely fail to act, but rather assisted

       Bashir and Naseer in circumventing and violating laws.

279- Chaus actively participated and helped in perpetrating each of the Fraudulent Transfers as noted
       above by actively aiding and abetting their transfers.

280- Chaus knew his help to Bashir and Naseer was meant with an actual intent to hinder, delay or

                                                    49
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 54 of 240 PageID #:54


       defraud Plaintiff.

281- Chaus knew that his providing assistance to Bashir and Naseer to sell and transfer their assets
       wiII make both Bashir and Naseer insolvent and unable to pay the debts they owed the Plaintiff.

282- Chaus knew that he was assisting the fraudulent transfers as a lawsuit against Bashir and Naseer
       was pending and a judgment against these individuals was imminent. Chaus not only had

       constructive notice of the issues in the case but had actual knowledge of the underlying issues,

       as Chaus was the accountant of record for Bashir and Naseer throughout the trial at the Cook

       County.

283- WHEREFORE, Plaintiff prays that this Court enter a judgment in his favor and against Chaus
       and Yakub Chaus & Company.

  A. It is also prayed that the Court also spread the fuIl amount of Judgments against Chaus and
       Yakub Chaus & Company that the Court entered in the prior litigation (L7-L-07194) against

       Chadury and Naseer for $1,535,0000.00 and $257,000.00 respectively.

  B. Grant any other relief which is just and proper in the premises.
       COUNT Xxlll Against Choudhri, Rafiq & Chaus for engaging in Civil Conspiracy to

       commit fraud and help Bashir to defeat judgment

       Plaintiff reincorporates the allegations in the preceding paragraphs 1-136 and states further:

       Defendants Chaudhri, Chaus and Rafiq knowingly and voluntarily participated in a common

       scheme with Bashir and Naseer to commit an unlawful act to assist both debtors in delaying,

       hindering or defrauding the Plaintiff.

284- Defendants Choudhri, Chaus and Rafiq understood the general objectives of the debtor Bashir
       and Naseer's conspiratorial schemes, accepted them, and agreed implicitly to do their part to

       further those objectives.

285- As set forth in details above, Defendants Chaudhri, Chaus and Rafiq entered into an agreement



                                                   50
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 55 of 240 PageID #:55


       for the purpose of accomplishing, by concerted action, the unlawful purpose of hiding,

      transferring or otherwise shielding Bashir and Naseer's assets in violation of the Citation Liens

       that prohibited the debtors from transferring their assets, and otherwise in derogation of the

       rights of the Plaintiff, as part of the scheme to delay, hinder or defraud Bashir and Naseer's

      judgment creditors.

286- The course of conduct set forth above constitutes a civil conspiracy to commit fraud on Bashir
       and Naseer's judgment creditor which proximately caused harm and damage to the Plaintiff as

       debtor's assets were fraudulently transf erred.

287- Accordingly, Defendants Choudhri, Chaus and Rafiq are jointly and severally liable to Plaintiff
       for the harm and damage caused by their civil conspiracy with debtor Bashir and Naseer in the

       fraud committed on the Plaintiff.

       WHEREFORE Plaintiff prays that the Court enter a judgment against Choudhri, Chaus and

       Rafiq for the full amount of judgment that was entered against Bashir and Naseer for

       $1,535,910 and $257,000.00 respectively and spread them against the above named defendants.

       Count XXIV against Choudhri, Chaus and Rafiq for aiding and abetting Fraud and

       Fraudulent Tfansfers made by Bashir and Naseer to avoid judgment

       Plaintiff re-incorporates the allegations described above in the complaint and further states as

       under:

288- As set forth in detail above, Bashir and Naseer engaged in numerous schemes to fraudulently
       transfer their assets in an effort to delay, hinder or defraud his creditors, which injured the

       ability of the judgment creditors to collect on the amount of indebtedness owed to them by

       Bashir and Naseer.

289- Defendants Choudhri, Chaus and Rafiq were aware of their roles in judgment debtor Bashir and
       Naseer's fraudulent transfer schemes when they provided assistance to these individuals in the

       accomplishment of those schemes;



                                                    51
       Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 56 of 240 PageID #:56


290- Defendants Choudhri, Chaus and Naseer provided knowing and substantial assistance to Bashir
       and Naseer in the implementation and execution of judgment debtors fraudulent uansfer

       schemes.

291-   Accordingly, Defendants knowingly induced, participated and assisted in actively defrauding

       Bashir and Naseer's judgment creditor Sheikh through the implementation and execution of

       Bashir and Naseer's fraudulent transfer schemes in order to assist debtors in their efforts to

       delay, hinder or defraud his creditors.

292-   Defendants Choudhri, Chaus and Rafiq knew that after the assets of the debtors Bashir and

       Naseer ale transferred, the debtors will become insolvent and their remaining assets will not be

       able to payoff the judgment that was entered in favor of the Plaintiff Sheilrtt.

293- The course of conduct set forth above constitutes aiding and abetting a fraud on the Plaintiff,

       which proximately caused harm and damage to Plaintiff Sheikh in the amount of debtors assets

       that were fraudulently uansferred. Accordingly, Defendants Choudhri, Chaus and Rafiq are

       jointly and severally liable to Plaintiff for the harm and damage caused by their aiding and

       abetting Bashir and Rafiq in the fraud committed upon Sheilrtr by selling, shifting or

       transferring assets which could have been utilized by Sheilrtr to recoup on a judgment entered

       by the Court.

294-   WHEREFORE Plaintiff prays that the Court enter a judgment against Choudhri, Chaus and

       Rafiq for the full amount of judgment that was entered against Bashir and Naseer for

       $1,535,91-0 and $257,000.00 respectively and spread them against the above named defendants.

       Any other relief that this Court deems is just and equitable.

       Count XXIV: AgainstAmjad Chaudry & BCAforAvoidance of Actually Fraudulent

       Thansfer




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      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 57 of 240 PageID #:57


       For Count XXIV of its verified Complaint, Sheikh incorporates the allegations contained in the

       preceding paragraphs 1 through l-36 as if part and parcel of this Count, and further states as

       follows:

       Amjad Chaudry received $120,000.00 from debtor Bashir and both acquired a grocery/liquor

       store in Wheeling. Under the arrangement worked out between Bashir and Arshad, the business

       will remain under the name of Amjad, but profits will be split equally between both principals.

296- This Fraudulent Transfer was made with the actual intent to hinder, delay or defraud Plaintiff.
297- These transfers made the debtors including the transferor Bashir insolvent and unable to
       pay the debts he owed.

298- Transfer was made when Plaintiff had filed a Iawsuit against Bashir and a Court decision was
       expected or had been entered against the debtors and the debtors intended to put their assets out

       of reach to the Plaintiff.

299- The transfers were concealed and were kept a close secret by Bashir, and Arshad. AlI documents
       for the corporation were prepared by Chaus, who created a brand new corporation for such

       purpose.

300- Business is under Amjad's name whereas Bashir controls the business.
30L- WHEREFORE, Plaintiff prays that this Court enter a judgment in favor of the Plaintiff and
       against Bashir, BCA andAmjad thus:

A.     avoiding the Fraudulent Transfer of this liquor and grocery store.

B.     preserving the avoided Fraudulent Transfers for the benefit of the Plaintiff;

C.     awarding Plaintiff a money judgment againstArshad and Bashir.

D.     granting all other relief which this Court deems is just and proper in the premises.

       Count XXV: AgainstArshad & BCAforAvoidance of Constructively Fraudulent

       T!ansfers




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      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 58 of 240 PageID #:58


302- For Count XXV of its verified Complaint, Plaintiff incorporates the allegations contained in the
       preceding paragraphs L through L36, and further states as follows.

303- Bashir invested upwards of $120,000.00 to purchase the liquor grocery store and Arshad was
       instrumental in helping him set up this business. Both secured the help of Chaus in organizing

       the corporate set up under which both concealed the ownership of the business.

304- The Constructively Fraudulent Transferring cash by Bashir to Arshad and purchasing the liquor
       store was made without the transferor receiving a reasonably equivalent value in exchange

       while the transferor was engaged or was about to engage in a business or transaction for which

       its remaining assets were unreasonably small in relation to its business or the uansaction.

305- Each of the Constructively Fraudulent Transfer was made without the transferor receiving a
       reasonably equivalent value in exchange and the transferor intended to incur, or reasonably

       should have believed, that the transferor would incur debts beyond the transferor's ability to pay

       as the debts became due. Transfers were made to an old friend Amjad.


306- WHEREFORE, Plaintiff prays that this Court enter a judgment in his favor and against
       Amjad, BCA and Bashir and thus:

A.     avoiding the Constructively Fraudulent Transfers of making $120,000.00 in cash to purchase

       the Grocery store at 326 West Liberty Street in Wheaton, Illinois.

B.     preserving the avoided Constructively Fraudulent Ttansfers for Plaintiff's benefi[

C.     awarding Plaintiff a money judgment against Arshad in the full amount of the Constructively

       Fraudulent Transfers, plus pre-judgment interest, and costs of the proceedings, proceedings,

D:     and granting all other relief which this Court deems is just and proper in the premises.




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      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 59 of 240 PageID #:59


/S/ZafarSheikh
Zafar Sheikh
4619 Herzog Street
Austin. TX.78723.
(847) 4t4-9670
Zafarsheikh3 L3@aol.com




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Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 60 of 240 PageID #:60



                             VF.RTFICATIrlN
        l, Zaf.ar Sheikh, the Plaintiff in this case do hereby cenify under oath    under the

penalty of perjury and in accordance with the laws of the United States that I      read the

attached complaint and further that the foregoing allegations, events and

described herein this complaint are true and correct to the best of my             and belief.

(28 U.S. Code S L746).




/S/ZafarSheikh                                                      January 20
Zafar Sheikh




                                            56
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 61 of 240 PageID #:61




       EXHIBIT A
         Iudgments Entered Against
         Bashir Chaudry for 91,535,905.00
         Bushra Naseer for 9257,000.00
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 62 of 240 PageID #:62




                                         UIW DIVISION

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 Bushra Naseer, Beshir                    )
 Chaudry,                                 )
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                             MEMORAI{IIUM OF JUDGMENT
       On the266 of April, 20].2't Judgment was entered in this Court in fevor of Pleintiff

       T,prfc;r Shelkh and egainst Ilefendant Bashir Chaudry, whose address is:



       6677 North Monticetlo Avenue,
       Lincolnwood. Itlinois. 6A7 D-

       The amount ofjudgtrent entered ageinst Beshir cheudry is $I, 535, 90s.00

      (One Million Five Eundred Thirty Five Thousand Nine Euudred and Five ltolars).

                                                         May9,2Q22


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                 :                                     Cincrit Judgg Law Division.
                                                       Room 2I0I
      Plaintift TalarSheikh
      3t55 WestWallen Avenug
      Chicago. IL. 60645.
      Tele: (847) 414-9670
      Emait Zafarsheikh3l3@oLcom                               Cirouit Judgo
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Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 63 of 240 PageID #:63




                          IN TEE CIRCUIT COURT OF TEE COOK COI'NTT
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                                    MEMORANDI'M OF JTIDGMENT

        On the 266 of April, 2022rt Judgmentwas enterd in thb Cogrt in favor of Plaintiff

        Talsrsheikh and against Defendant Bushra Naseer, whose address is:


       3673 WcstNorth shore Avenue,
       Lincolnwood. Illinois. 6VTo,.

       The enount of judgment entered ryqinst Buchra Nareer is $H7,$0.fi1

       (fwo llundrcd and Fifty Seven Thousand Dollars).
                 .        CircuitJudre
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                                                             May 9,2022
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                                                        Circuit Judge, Lew Divbion.
                       Cirolufr Court-2101              Rmm210l
       Plaintiff:7a[ar Sheikh
       3155 lMest W.llen Avenue,
       Chicago. IL. 60645.
       Teb: €aD $4-9670
       Emsil: Zafarchelkhii l3@aolcom

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Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 64 of 240 PageID #:64




       EXHIBIT B
         Note Signed by Bashir Chaudry
         For fi1",200,000.00 to Purchase
         Gas Station
                 Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 65 of 240 PageID #:65


    $                                         October,2000

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             Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 67 of 240 PageID #:67
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                                            NOr.E

          FoR VALUE RFcEn'ED, ttre undersigned
                                                         hereby jointly and severally promises
  bPaytothe orderof theMorlgagorttreprirripal
                                                         zum of one Mlliom TwoHundred
  Thotrsand dollars no cenb (fl^m,000.00)
                                                togEtlrer with interest thereon at the
                                                                                         ra& of
  nine percent (9%) on the original and
                                          the unpaid balance. said eum st alt be paid
                                                                                           in the
  manner descriH hereinunder:

  one thefirstday of themondr, and thereafhrattlreend
                                                               of eachttirty day period and
  the first payment being due on the
                                       First of May 20ffi.

 AII payment will first be apptied to the
                                            Inier€st and thqr to the prirripal.

 rhis Not€ can be pre-paid at any tirne in whole
                                                     or in part, wirhout any penarty.
 This No'te ehall at the option of the holder
                                                thereof be rurmeairately d.ue and payable

 uponfailueto make any paymentduehereunder,
                                                        orfor breachof any cpnd.ition of any
 securityintwst, morlgage, pledgeagreenrerrtor
                                                      guaranty as collateral secufityforthis
 Note orbreach of *y $ecurity agreementormortgage,
                                                             it arty,oncollagal granhd, in
whole or in par[, as collateral ,*,Try for
                                             this Note or upon the filing by any of the

undersigned of an aesigrrment for the benefit
                                                  of the creditora, banknrptcy, or for r€li€f

under any provision of the Bankrupuy
                                          code, or by suffering an involrrntary p.dtion
                                                                                              in
banknrptry orreceivership notvacated within
                                                   ftirty d"yr.
In the evsrt Eris Note ir in default, and placed
                                                   with an attromey forcollectiory then the
undersigned agrees to pay all reasonable
                                            athomey fees and court cosb and other
                                                                                         coat' of
collection which may have to be undertaken
                                                by the holder of this Note. payments not
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24
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 made within five days of ie due date shall be subi,ect to a lae ctrarge
                                                                           of 2 pment of the

 said payment AII paymarts heflcurd€rshall be made tro such addressag
                                                                              may from time

 to time be designaH by this or any holder drereof.

 TrIE undereigned ard all other partiea to this Note, whether ae endoroeru, g'aranto*
                                                                                               or
 sureties walve demdnd, Presenftientand protestandall noticcs &ere,to
                                                                             and firrttrer

agrBe b remainbound notnrithstandingany octension, modification,
                                                                           waiver, or otler
indulgence by ary holder or upon the diocharge or release of any
                                                                    obligor hgrnder or

to ftis Note, or uPon ttrc exchange, subtitution, or release of any collateral
                                                                                 grarrted as

secudty forthisNste.

signed and sealed under the penalty of p.riury this   ++ &y ofi{arch 200s.




Motummed Bashirchaudry
MCB Lrc.
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 70 of 240 PageID #:70




       EXHIBIT C
     Copies of Checks for Miscellaneous
     Advances Made to Bashir Chaudry
   tor your records.                    - EB-
       Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 71 of 240 PageID #:71
   -Save thisEopy
                                        trrprn Tlunp Banrr
           CASHIER'S GHECK - Customei, Receipt
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                                                                                                                      March 11,20p8
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Pay to the
 Order of: CHAUDHYM. BASHIR*

 Amount: F1FTYTHOLI9AND oVfio US Dou.ARs

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         Memo:                 CUSTOMER PURCHASE                                         ..,*.-.'"'ijil
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         Purchased by:        ZAFAR IQBALSHEIKH                                   *-:;;r,.L'
                                                                                  i:lr'- '
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         Transac{on #:        52p17870                                          '-::,
         Cost   Center:        2442                                       NON.NEGOTIABLE
         Method of Purchase: Transfer
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Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 76 of 240 PageID #:76




       EXHIBIT D
     Promissory Note Signed by Bashir
     Chau dry for $650,000.00 in Favor of
     The Plaintiff Sheikh
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 77 of 240 PageID #:77




                                    PROMSSORYNpTE

          This Promissory Note is made aod entered on the 27s of Feloruary 21l1,and is
        issued by Moharnmed Bashir chardry of 6655 North Monticello ,{,rr**,
 !:*g
 Lincolnwood, Illinois, hereinafter to be knoum as the homisor, and is made in favor and
 benefit of 7afur Sheikb currently a resident of4555 North Cenfral Avenue, Chioago,
 hqeinafterto be knowu as the Promisee.

         Both parties as stated bereinabove had some financial transactions going as far
 back as th9 year 2ffi6,in ufiich Bashir Chadry has owed money to zararlneifl.
                                                                                    Both
 parties had been desirous to settle their outsanding balance andwent
                                                                        over thcir many
 accomtl peltaining to lots aud gas station and have finished accounting. As per this fir,al
 acoountilg the total amount owed as of this date by Bashir Chaudry to-Zrfrr Sn"*t it
 9650,000.00 (Six hrmdred and fifty thousand dollars andzsocerils). The pnrmisor hnc
 undertaken to pay this amormt by the 1$ of January 2014. This fir,al sua of $d50,000 .*
                                                                                        { *;
                                                                                          '   a6       ez
 also inclndes the Note for $i00,000.00 that Bashfu-Chaudry signe,d upon closing
                                                                                      tn" 'tr+'*4tu - t?-
 gas station loan in November iOtt,in frvor of TafarlAn*qasheikh                   "f
                                                                       and that Note  was 5,
 has be€n addd to rcach tlre finat figure of $650,000

 2-     Both Parties acknowledge that the sum of $100,000. that thc prromisee gave to the
        Pnomisor in November 2011, is aot apart of this Note, which is m additionat
        sum, which the Promisee bad agreed to pay back by the ls of March 2012, ud
        bas issued checks forthat amounl wtrichwill be cashed afterthat due d*e.

3-      Both Parties also acknowledge that this Note does not cover the strip ceirter which
        bolh prties have under consEustion at 583E South Racine Avenue in Clicago.
        That srip celrter is pgrt ofa separate agreement u/hich the Parties have signed md
        entercd into previously, and the building and leasiug/sale of tbat strip celrterwiU
        be exclusively governed by that aSre€meut Ifthere ee any fisure business deals
        anongst both parties, this Note will not affwt those transactio1s, as prties will
        make and enterifio newagreements, whichwilt be signed separateli and will not
        bear orimpa.st &isNote inany way orfonn.

+       The lot il.6l55sodh Asbland in Chicago has not been transferred to Bashir
        Chaudry or any organization controlled by him and is beiqg rwerted back to
        Tafar Sheilfr as per this 4greement.

5-      ETGNTS OF DEFAULT: The Promisorwi[ be in default upon ocoufi€nce of any
        one of the events, citcumstances or conditions:

        A:     Failure of the homisor on the Note or ary other obligation Promisor have
               with the homisseeto make palments u&en due, or

        B:     A default orthe breach by the Promisor, own€r or aoy co-signm. eodorser,
               surety, or grrarantor under anyterms ofthis Note, or any other loan
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 78 of 240 PageID #:78




              sgreexneot, aay security agreements, mortgage, deed to secure debt, deed
              ortust, orany other docume,nt orinstrum€nf widencing, guranteeing,
              securing or othennise relating to the Note or any other obligations
              Promissor have with the Promisee under this Note.

             The malcing or furnishing or any verbal or writteir rcercs€otationsr
             stat€m€nts orwarranties to the homisee whic;h are false, incorrest or
             incompletc in any msrerial r€spect by or on behalf of the homisor or any
             Co-signor, endomer, suretJr, or guaraotor of the Note or any other
             obligations Promissor have with the Prromissee under this Note.

       D:    The death, dissolrtrion or insolvency or the appointmcnt of the receiver by
             or on behalf ofthe voftmtary or iuvoluntary termindion, or enistence by,
             or the commencement of any proceedings under any present or firture
             fderal or state insolve,ncy, taotnptcy,L-orga"ioi.iiq vohmtary or
             invohmtary, composition or debtor relief law by or against the promissor,
             or my other co-signor sursty or grrarantor ofthe Note or anry other
             obligations homissorhave made with the promisee, or anymaterial
             changes affecting the status ofthe Promisor,

             Failurc to pay or providc proof of alry tax, assessmeir! rcNrt, insurmce,
             premium or escrow, escrowdeficieocy, on or before its due darc.

            CONFESSION OF JLJDGMENT: Promissorhereby irrwocably
            authorizes and enrpowers an attorney at lawto appear in any court of
            record to confess judgment against the homissor for the mpaid amormt of
            thisNote as Enidenced by an affidavit sipedby thekomissee or its heirq
            ogflts, succ€ssors and assigns, setting forth ths amount/s the,n due, plus
            aftomeys costs and expenses plus cose of suits if file4 and to release all
            emorc and waive alt rights of appeal.

      5-    COLLECTION OF DCIENSES: On or after an Event ofDefrult
            Promissee may recover ftomPromissor all fees and CIlpenses in co[ecting
            enforcing mdprotecting liabilities md reasonable orpenses inrealizing on
            any secr:rity incrrred bythe Promissor, plus expenses of collecting and
            enforcingthe Note, such e,|pcnses wil also inchde reasonable Attomey
            costs and fes, inorred by the Pnomissee as well as paralegal fees and
            other costs associared witb the litigatioa

            SECURITY: The Note is s€cured by the assets and the collderal held by
            the Promisor

      7-    GENERAL PROMSIQNS:

            Time is ofthe essence in Prromissor's lrcrformancc of all dr*ies aod
            obliguions imposd bythe Note.
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 79 of 240 PageID #:79




          b        rn"   \* will be governed by the laws of thc stare of llliaois.
          c-       The Note shall in,re to the uements of and bind
                   represenadve/g s,ccmsors and assips of the prties,
                                                                       the n"rr",p**rr
                                                                               pr"ria"a howwer
                   that thePromisor, who is taking the tian and/oionas'th"
               '   as"ign, kansfer, or delegare any of the obliguions             -oory, maynot
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                                                                 "t *rig
                   the Pronisee lendiugthis s,m will u"
                                                                            tni, Notono* to aoy
                  o,e atanytime. ThisNote will stayaprirde *aI"raa*ti"r
                                                                                        doqment
                  and the Parties have agreed not to ;*r:.d it with
                                                                       the R*rrd", of deeds.
                  Therc arE no oral or vcrbal aSIwE@ts U.t r"*
                                                                       tn p*to og.Cirrg tni.
                  Note.
         d-       In ee s'veof sf fiting of Bmknqptcy g,' promissor
                                                                         hcreby agrces not to
                         this Note a Frr of any order-oiaecrcc seetingproiecEon
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                 Banknrytcy court In the event of honoir* rrt
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                 be considered as trying to p"'petude fra4        bt;-ffirg     "lrr*;*ill
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                 Prronissee and thus unduly trying to c,nrich himself.
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                 Prromissee to the prromissor hereuader wilr d
                                                                                          personal
                 deli,ery or after the                            "drti"",eoitt"
                                                by the ftgular, certified  or rigistcred -"ir,
                pgstagp pre-paid at the-nailing
                                          address shounherein ftis Note.
        g-      The term Prromissoras impliedinthis Noterefers to
                                                                           chaudry Bashir md
                the term Promisee as impliea iD this Note refe,rs b
                                                                         zafush;ikL
        h-      All-hTrlings rc for
                                       $e purposc of convenieirce oory
                omissions will notaffect ordiluetheNotc in any,ray          -a *y
                                                                             o,rorn.
                                                                                      e,,o* or




Ctadry M. Bashir
                                                                  %-,*fl*"
                                                                  Zatu Sheikh
homissor                                                          homisee
6655 NorthMonticello
                                                                  4555 Nor& Cffial, #5
Lincolnurood IL. 60176.                                           Chicago. IL. 50630.



I, a NoEy Public in and for the State of Illinois do hereby
certi& tbat &c individuals narn€d hereinabove Aia                       )
                                                   ryp"r.-'
befor€ me and signed&is instrumqt oftheirown nG *iff.                   )ss
                                                                        )




                              Xdry F.ubllc, strr. of uthob
        Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 80 of 240 PageID #:80



                                                    AGREEMENT

                      This Agreement is signed between Bashir Chaudry of 6677 North Monticeilo
               Avenue, Lincolnwood, lllinois, hereinafter to be known as Chaudry, and Zafar
                                                                                                           Sheikh of
               4555 North CentralAvenue, Chicago, lllinois, hereinafter to be known as Sheikh. Both
               Parties have agreementsthat formalize the note payable by Chaudry to Sheikh and it
                                                                                                                  is
               hereby reiterated and agreed as foltows:
            1- That under those prior agreements the Second Party owes the First party a sum of
e-( bo-{n      $ge&e00- This amount will be paid by Chaudry to Sheikh along with the statutory
               interest as soon as the financial condition of Chaudry and the businesses owned
                                                                                                              by him
               improves, including but not limited to the Central Market's profitability and the gas
               station owned by him at PulaskiAvenue. This sum as mentioned herein is owed
                                                                                                             by
               Chaudry to Sheikh since 2008 and has no bearing or conseguence either or
                                                                                                      because of
               the entrance or non-entrance of the agreements between chaudry and sheikh that
              concern the Central Market in lndiana. The contracts and promissory note/s
                                                                                                       signed by
              Chaudry are stand-alone agreements and are not dependent nor contingent
                                                                                                       upon any
              agreement, nor they will be affected or distracted by any dispute as to the
                                                                                     compliance
              or non-compliance of any other agreement. Bashir Chaudry was atso advanced by
              Sheikh a sum of 5100,000 for the inventory of the gas station located
                                                                                     at tz24west 59th
              Street, in the City of Chicago, which remains unpaid. The current Lessee of
                                                                                          that Gas
              Station has notified Bashir Chaudry that out of that sum, he will be paying g42,000
                                                                                                  to
              Bashir chaudry very soon. That amount of $42,000 wiil be passed on
                                                                                                and paid
              immediately to zafar sheikh upon its receipt by Bashir Chaudry. Chaudry
                                                                                                   has also agreed
              to pay $gz,ooo to sheikh, that sheikh dispensed and spent for the visas ofJaved and
              Shahid chaudry to legalize and earn residency forthem in sweden.




              Bashir Chaudry                                          Zafar Sheikh

     l, a Notary Public for and in the State of ltlinois, do hereby certify
                                                                           that the above named
     individuals did appear before me on the           3l of Decemb er 2}Lil,and I checked their
     state issued drivers licenses to verify their true identity, and they put
                                                                               their hands below at their
     own free will in my presence.


                                                                    OFFICIAL SEAL
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      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 81 of 240 PageID #:81

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Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 82 of 240 PageID #:82




       EXHIBIT E
      Advances of $200,000.00 made to
       Bushra Naseer and her Agreement
       to Pay.
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 83 of 240 PageID #:83




                                    I-OAN AGREEMENl-
        This Agreement to get a small term loan is entered
                                                           into by & betu,een Aneeqa Sheikh
       of 3155 west wallen Avenue, Chicago, [llinois,
                                                         hereinafter referred to as the Firsr
       Party and Zafar Sheikh & Bashir Ctra-uary
                                                  of chicago *i iin"otnwood respectively
       to be referred to as the Second party.

           Whereas the Central Market is in dire need
                                                        of cash to run its operations and have
       asked for a short term Ioan of forty five thousand
                                                          dollarsto sustain their operations.
       Therefore the First Party is .*t"oding a short
                                                      term loan. The conditions of the loan are
       hereunder:


      l- The
         Iro    party will exrend a loan of forty five rhousand
                                                             doilars.
      2-     loan will be.for the purchase oigroceries for
                                                           Central market grocery         store in
           Lake Station,Indiana.
      3- The loan will be returned to the First parry by the Second party and will
                                                                                         have
           priority over all other loans and amounts.
      4- In case Central lt'Iarket is sold, or leased, the loan of the First party will
                                                                                        be paid
          either.from the loan proceeds or from the proceed""oti".t"a
                                                                            from the sale of the
          mventory.
      5- The central Market has also fired a claim
                                                        against selective Insurance company,
          and in case the storecould not be sold, or
                                                        bLed, in thatcase the money received
         'fromlhe insuranceclaim wil be used io puythe First party.Attorney
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                                this.arrangement, ano the funds wil directry uansfemed
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         me lnsururnce claim to the first paffy.
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     6- In case the business picks up, in that case
                                                       the cenfral market will pay the money
         direcfly to the first party.




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Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 84 of 240 PageID #:84




           County ofCook               )
                                       )
           State of lllinois           )




 l, a Notary Public in and for the State of lltinois, do hereby
                                                                  certify that the above named
 individual did appear before me on tf,"           3 I
                                                     of December 2015, and whose identity
was checked by me against the personal State issued identifications,
                                                                     signed this Affidavit in rny
presence of his own free will,




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Notary Public




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Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 85 of 240 PageID #:85




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Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 86 of 240 PageID #:86




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Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 87 of 240 PageID #:87




       EXHIBIT F
 Motion Filed By Plaintiffin l7-L-07194
 To Avoid and Bar Fraudulent Transfers
By Debtor Bashir Chau dry
          Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 88 of 240 PageID #:88




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                       (3) before the transfer was made or obligetion was ieure4
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                       tbrcatod wie suiq
                      (4) thc tansftr ruas of nrbstantially eU ec dcbtor's asscts;
                      (5) 6E vrlrc ofthc cmsidcration rcccirrcd by the debtor uns rcasonably

                      ralrc of the assct tansfcncd or tbe arnouut of tha oblignioo incuncd;
                       (6) the debtor wzs ineolvcotorbecame insotvcnt sbrtly afterthctransfcrwas
                      the obligdior. iDcuuEd;
                      (7) the tranrfcr occunld sortly befort or shordy aftcr a subdmial
                                                                                              dcbt was
                      9- 740ILCS150/6(r)s6rcu
                            (a) A transfer ruadc or obligation incrnrcd by a dcbtor is fraudrrlcnt as   t
                               qfrose claim msc before the tmsftr was rnadc
                                                                                  or the ohligation rrus
                               thc debtor nsdc thc transfcr or incuned thc obligrtion without
                               reasoaably oquiwtef,t\ralrrc in orctrange forthc taosfer or obligation                 the
                               &btorwrs insolvm Etthattin€ ortbc dcbtr bccamcinsolvcnt as a                           of the
                               trusfer or obligation.
                      10.    7't0   rcS 160/8 rtah!:
                              (a) In an action for Elief qgningt a trangfcr or obtigation gndcr ttris Acg ri crcdibr,

                              subject to thc limitations in Scctiou 9, may obtain:
            Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 91 of 240 PageID #:91

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                              (A) str injunction against firrtsr disposition by the dcbto or,     *"rft*[ or bodr,
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                             onm the rcal cgtsb urd thus quasionfiol overthe business,

                             d. tbc valrr of &e considcration rcccivrd by defcodant Chaudry and
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                             the business to Mr. Safi.
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                      Za&r Sheitt/Ptaintifilro-se
                      3155 WegtWallcnAve.,
                      Chicago. IL 60645.
                      Tele (847)414-%7a
               Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 95 of 240 PageID #:95
    Order

                             IN TIIE CIRCUIT COURT OF COOKCOI,INTY,ILLINOIS



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Attorney   N',, 2Q 82 4              ,
Name:
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Atty.   for:                                 lK
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Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 96 of 240 PageID #:96




 CONTRACTS TO PURCHASE 59TH
 street Gas station and Down payments
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 97 of 240 PageID #:97
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  Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 99 of 240 PageID #:99




                                                       EXHIBITA

                                       E$CNOW AqREE.MENT
     RE: Real Es6te Sales Contr&$ berweer,
             f'Bllyer") fir t?24 W. JgthSr,,Chicra€o, $$ammed Abdallaf, flSellcr,) a*d LOC, tnc.
                                                       ttthds 6CI;ai**

    Funds in 6re wrr *rng*J
                               sf gI00,000 (.E.rae't. Morry,) represer*r.*g*re
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   ror orthe above desc{r{p;**y,
   the event'rrrerthe sryeis:Lew
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Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 100 of 240 PageID #:100




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 Affo?prd: F.{di
                      Brq., ac Besrsuts




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  Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 101 of 240 PageID #:101




               This Real Estate sates contract ("contract')
       2a20'by and between Mohamrned
                                                                is entered inro as    ottn*&&vof JULy,
                                           Abdultah, an individuar, ("Abdallah,)
                                                                                       and Loc, lRc." an Illinois
       corporation (..LOC').

                                                   &EcIrArs
              WHEREAS, Abdallah purchased from
                                                          the forecrosing render, Hanmi Bank, the
                                                                                                        foilorving
      property:

              A.      t224 W. 59'h Sileer, Chicagr, Illinois
                                                               60636 (..properfy,,)
             WHEREAS, Prope*y is current{y being
                                                            *sed as gasorine service station and uses
                                                                                                              rerared
      thereto; and

             wIIERrAs, Loc, ar an affiriate nf Loc- is
                                                              reasing/operating rhe property
             WIIEREAS' Loc is thoroughly famitiar
                                                              with the prope4y and thc operati'ns being
  conducted at the property; and

            WHEREAS' toc desires to purchase
                                                           the property fronr Abdallah or an affiliate
  Abdallah' and an affili*te of Abdallah
                                                                                                                  of
                                            desires to sell the properry to Loc, provided
                                                                                                 Abdarah or its
  affiliate otrtains legal title to the Property
                                                   fronr lhe current legal titleholder of the
                                                                                                above described
  Propeny;

            Now' TI{EREr0RE, in cnnsideration of the foregoing
                                                                             Recitars, rnutual promises an6
 covenants set forth in this contract
                                    and for nther good and valuable consideration,
                                                                                   the r.eceipt and
 sufficiency of which is hereby acknowtedged,
                                               Abdatlah and Loc (coltectively referred
                                                                                         herein as
 the "Pamies) agree as foltorvs:



 I'        Purqhflse Price' Abdallah through
                                                   an Iltinois lirnited riability company to
                                                                                                be creared and
fonned by Abdallah (''Abdaltah Affiliate")
                                                   shall sellthe property to Loc and Loc
                                                                                                shall purchase
the Property from Abdallah sr
                                 Abdallah Affiliate at the purchase price
                                                                              as set fo*h below:
                         Ono Mlllion Ttyo Hundred Thousanrl
                                                                     Dollars ($1,200,000.00)
          The purchase price tess the eamest
                                               money deposit plus or minus any prorarions
                                                                                                 or credits
shall be paid at the time of closing.
  Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 102 of 240 PageID #:102




       2.Int.heeventAbdaIlahorAbdallahAffiliatedoes
       not obtain legal title to tho Property
                                                 for whatever iea$on, then Abdallah
                                                                                          shalt not be obligated ro sell
      that particular property io
                                     LOC.
      3'      Lgc'$ Tennination Risht. Loc shall
                                                                 be required to purchase the above described
      Properly from Abdallah or Abdallah
                                                 Affiliate except in rhe event that Abdallah
                                                                                                   notifies Loc that it
      or the Abdallah Affiliate ftas not bee-rr
                                                     able to obrain legar titre to a property.
                                                                                                     [n the event that
      Abdallah or Abdallah Affiliate is
                                             unabte to obtain legal titre to
                                                                               e properqy. then Loc, upon written
      notice lo Abdallah' may terminate
                                                its obligation to purehase that specific
                                                                                              property. The earnesr
    money paid by Loc regarding
                                         said property shall be fully refunded
                                                                                     to him within five bu.siness crate
    after Abdallah receives the
                                     notice of tenrrination under this
                                                                         e lause.
   4'        Abdaflaft's ?ermination BieEl[ ln
                                                        the event rhar Abdallah or Abdallah
                                                                                                   Affiliate is ,nable
   to obtain legal tirle to a property,
                                            then Abdallah shall have the right
                                                                                    to terminate its obligafion to sell
   that property to Loc by givipg
                                              Loc written notiee of said terrnination. In the
                                                                                                          eveflr sueh
   tennination is given' the sarnest
                                            money paid by Loc pertaining
                                                                                    to said property shall be fully
   refirnded to him.

  5'        closirr& Provided Abclallah or Ahdallah
                                                              Aftiliare obtains legal title ro the property,
                                                                                                                   the
  closing on that parl'icutar proper(y
                                             sl'rall t*ke place pursuant to notice
                                                                                      from Loc no later than July
  ll' 2021' citywide fitle corporation ora iitle company
                                                                      of Abdailah,s choosing shall arrange to
  close the hansactioR at a location
                                            in 'Chicago, lllinois. ln the event
                                                                                    Loc fails to close through no
  fault of Abdallah' then the earnest
                                            money deposit rnade by Loc
                                                                             for that particular property shall be
 ,'orfeited to Abdallah not
                               as a penalty but as liquidared
                                                                   damages for that particular property. _I.lre
 Parties agree that it would
                               be difficult to establish actual
                                                                   damages for a failure to close by Loc
 thal the paynrent of the eamest                                                                                 and
                                      rnoney deposir wourd be a fair
                                                                         damage amount.
 6.        Iaraest Monev! Ar *re time of executiqn
                                                               of this Contract, LOC shall deposit with its
 counsel as escrow€e the
                         sum of$I00.000 as earnest money
                                                             forthe prepar{y. proofofsaid deposit
shall be delivered to Abdallah
                               or his counsel. In the event Loc fails
                                                                      to perform in accordance                 with
the terrns otthis contracq
                              Abdallah shall be entitled to receive
                                                                         the eamest money deposit Abda,ah
or its afliliate shall be entjtled
                                     to have buyer's counsel pay the
                                                                           eamest money deposit in the event
Loc is in defhsh under this contrapt pursuant
                                                         to the terrns .f the Escrow Agreement.
hereto as Exhibite is a                                                                                  Aftached
                          copy ofthe Er*ow Agreement
                                                               to be executed.
  Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 103 of 240 PageID #:103




      7'      Prior Title rlrforryatiou; within fourtecn days (14)
                                                                         after execution, Abdallah shall provicle
      to LOC or its counsela title commitment.
      8'     Deed{Bllt of sqlc' The deed to be issued
                                                              to Loc shall be a special waranfy deed from
      Abdallah Affiliate' The bill of sale pertaining
                                                        to any equipment or personar property at each
                                                                                                          of the
    Property shalt be a quitclaim bill of sale
                                                 and shall not contain any representations
                                                                                              or rvarranties and
    shall not identi$' any specific personal
                                               properry, Abdallah and Abdallah Affiliate
                                                                                              do not nrake any
    representatio$s or waranties regarding
                                               its ownership rights, secured party creditor
                                                                                               rights, or rights
   to transfer or convey any personal property
                                                     or equipment ar the property to    Loc. Abdallah does
   not know what personal property and equipment
                                                             at each of the property may be transferre4 or
   conveyed to LQC by Abdallah or Atrdattah
                                                      Affiliate, Loc agrees to accept the quitclainr bill of
   sale liom Abdallah Affiliate and to
                                         accept att personal property, incruding equipment,
                                                                                                 at each of rhe
   Property in its o.AS IS - WHERE IS,,
                                                 condition, including any legal title disputes
                                                                                            or securetj
   interests of third paxies. Abdaltah's
                                            or AMatlah Afliliate's only obligarion is to quitclainr
                                                                                                           any
  interest it has,   if any, in the personal properly to t,oc. flowever, Abdallah shall
                                                                                                    convey kr
  Abdallah Affrliate all interests. if any, it has
                                                     currently or later acquires in the real property listcd
                                                                                                               in
  the recitals above, personal propsrty'
                                           inventory, equipment and fixtures as they relate
                                                                                             to any nnrl all
  of the Property' At the closing of a property,
                                                     Abdallah will release any secured interest it nray have
  to tlle personal property, including wirhout
                                                  limitation equipment, inventory, shetving, registers
                                                                                                          and
  fixtures, at the pmperty rerated to the operation
                                                      of the business.
 9'        "AS IS - WH$RE IS',. Except as expressly s€t rorth in this
                                                                            contract, the parties
 acknowledge and agree Abdallah has
                                            nst made, and does not make and hereby disclaims
                                                                                                          any
 express or implied reprssent8tions and
                                           warranties regarding or retating to the surface
                                                                                               or subsurlace
 environmental conditions, the surface
                                            or subsurface geo-technical condilions, susceptibitity to
 flooding' value' Iayout, sguare footage, ineome"
                                                        expenses, zoning, use and occupancy restrictions,
operation' regulatory conrpliance' environmental
                                                          compliance, liability under any environmental
Iaws and laws and regulations relating
                                         to hazardous materiars or underground storage
                                                                                       tanks. and
 legal requirentents or any other matter or
                                              thing affecting or relating to the property. Loc
acknowledges that' except as expressly
                                           set forth in this contact, no such representations
                                                                                                or
warranties' expressed or imptiod'
                                  have been made" and Loc is not rerying
                                                                           on any such expressed,
implied' or considered warrant5r or representation.
                                                    ln accordance with the foregoing, Loc or his
designated grantee agrees to takE the
                                       Propeffy in their .'AS IS-WHERE IS- condition,
                                                                                         rvith all
  Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 104 of 240 PageID #:104




     ftults' and in so agrceing, Loc acknowledges
                                                             and rcpresents that it has inspected the property
                                                                                                                   and
    haq rnade such investigations as
                                            he deems appropriate as to th6 condition
                                                                                            affecting the property,
    including without rimitation, the
                                            conditions described above. In so doing,
                                                                                            Loc represents that ir
    has retained such experts and
                                       consultants to assist in such inspections
                                                                                       and investigations as it has
    deemed appropriate. In agreeing
                                            to purchase the Properry in their *As IS-WHERE
                                                                                             IS,, condition
    and without any representation or warranfy
                                                              expressed or implied, Loc acknnwledges
                                                                                                                  and
    represent$ that it has factored         t'AS
                                      the          Is-Iyl{ERE ls " condition of the pmpsrry into
                                                                                                       the purcrrasc
   price that has been agreed to
                                      for each propsrty. Furthermore, Lo{ acknowledges
                                                                                                     antl represent^s
   that it has had adequate tima to perform
                                                    his due diligence investigation o.f rhe property.
                                                                                                         The te*ns,
   representations and covenants
                                      of this section shall survive the crosing. Loc
                                                                                             has retainod his own
   legal eounser and has eonsurted
                                      with them on this contract.
   10.
                                                                                         LOC shall take Isgat rjltts
  to the properties subject to any existing
                                                   title conditions, current real cstate tilxe$ not due
                                                                                                       and payatrle
  sttbject to paragraph 22 below, existing
                                                   leases ineluding options to purchase. tenancies
                                                                                                      or ocoupant$
  at the Property' Loc agroes ro teke title
                                                           subjecr to att of the ma$ers raised in said
                                                                                                                title
  commitments and rights of Fuel
                                       Line Managenrent, i.t,c to supply fuelto the property.
                                                                                                         Abdallah
  and Abdallah Afliliate shatl have
                                       no obligation to investigate" represent or warrant
                                                                                                 the status nf any
  existing leases' tenancies or occupaffs
                                                and Loc shall accept full responsibility regarding
                                                                                                         any
  existing leases' tenancies and occupants.
                                                  There shall be no rcdit or offsets at closing regarding
 security deposits' There shall be no
                                         credit af closing regarding rents unless Abdallah
                                                                                              can detcnnine,
 in its sole discredon" the renf amount
                                          to be credited if Abdallah has actually received
                                                                                             rent.
 I I'     Inde,m+i{ication' Notwithstanding anytiring
                                                           to the conrrary in this contract, Loc agrees to
 and does hereby ind+nmify, defend,
                                            and hold harmless Abdallah and Abdallah Affiliare.
                                                                                                                             ,d



                                                                                                       their                 I
officers' and their shareholders' and
                                         each oftheir $Jccessors and assigns,                                                r
                                                                                  from and against any anrl
all liabilities' claims, demands, suite, administrative                                                                  i
                                                          proceedings, causes of action, costs, <tarnageso               it
                                                                                                                         i
personal injuries and proporty                                                                                           2
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                                   damages, losses, and expenses" both                                                   I
                                                                            known and unknown, present                   I
and future' at law or in equity,                                                                                         i
                                  arising out of, by virfus of, or rerated in
                                                                              any way to Loc's operation                 *
                                                                                                                         x
of tlre Property pursuant to the terms
                                        of trris contract and its Lease Agreernent.
12' confidentialitv' The Parties shatl treat this contract                                                               x
                                                                                                                         i
                                                                          as confidential in all respec.fs and.
except as required by law or
                                expressly authorized in writing by the parties,
                                                                                          will noi disclose the
existence of contents of this
                                contract to anyone other than to the parties,
                                                                                           respective officers,
          Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 105 of 240 PageID #:105
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,hil




             directors' members' agents, employees,
                                                              suceessors and assigns, tax authorities,
                                                                                                         attorneys, and/or
             aecountants (each of whom each
                                                  Pany shall advise that the contract is
                                                                                             confidenfial and will instruet
             and require to keep strictry confidentiar
                                                                without any further disclosure). Any
             confidentiality provisions of this
                                                                                                           breach   .f the
                                                  contract will be considered a materiar
                                                                                               breach of the conrract and
             will subject the discloser of the confidences
                                                                to b* liable to the other party and/or parties
                                                                                                               to danrages
            and rernedies available in law
                                              or in equity.
il1.
fr!         13' Remediesr [n the e'vent Abdallah or Abdallah Affiliate
TJ
il
                                                                                    fails to perform in accordance with
            the tcrms of this contraot, the
                                           sole remedies available to Loc are to
                                                                                   obtain a refund of his earnest
            m6ney deposit that he has rnade pertaining
                                                       to the pa*icular properSr that is the
                                                                                             subject of the breach
           ol'contr*ct clairn or seek specific performance.
                                                                      Loc shall hove no other righrs *r remedies to
           pursue against Abdallah or
                                        Abdatlah Affiliate. [n tlrc event Loc
                                                                              fails to perfonn in accordance
           with the terms of this contraot, then
                                                    Abdallah shall be entitred to reccive the
                                                                                                 earnest money deposit
           for the particular psoperty that Loc
                                                   fails to close on in breach of this
                                                                                         contract. The payment of the
           eamest rnoney to Abdallah or Abdallah
                                                          Affiliate repre5ents the liquidated danrage
                                                                                                            arnount thir
          parties have previously
                                    agreed upon; and the forfbiture of the
                                                                               earnest mgney is not a penalty. As set
          forth in parngraph 6 of this contract,
                                                    the earnest money for the property
                                                                                             is $100.000. In rhe event
          that Loc fails to cause an sarn*st
                                                rRoney deposit for a particular property
                                                                                             to be paid t. Abdaltah or
          Abdallah Affiliate or objects to an
                                                   earnest money dcposit payment to
                                                                                      be made to Abdalrah rlr
          AMallah Affiliate" then in the event
                                                    Abdallah or Abdallah Aftiliate prevails
                                                                                                   in any titigation to
         collect the eamest money' Abdellah
                                                  or Abdnllah Affiliate shall be entitiled
                                                                                             to recov€r inrerest on thc
         eamest rnoney 4mount from
                                         the date payment was clemanded by
                                                                                     Abdallah or Abdallah Affiliate
         until il is paid at the rate of l8% perannum.
                                                                In addition. Abdallah or Abdallah Affiliate
                                                                                                               shall be
         entitled to recover its reasonable
                                               attorney fbes and costs from Loc.
                                                                                          The word ,.prevails,,   shall
         mean Abdallah or Abdallah Affiliate
                                                   is awarded by judgment rhe earnest
                                                                                              money it is craiming is
         owed to Abdallah' or the parties enter
                                                   intcr on agrsed order to pay the earnest
                                                                                               money to Abdalah or
        Abdallah Affitiatc.
        14' clpsins costsr It shatl be tlre obligation of
                                                                     Loc, at its sole co$t, to obtain the survey for
        each properly and pay for its
                                        own loan policy, all endorsements. r€questfd
                                                                                              on said loan policy or
        owner's policy and escrow coss,
                                             except Abdalrah shafl pay for the
                                                                                   owner,s poricy of titre insurance
        in the amount of the purchase price
                                               and setler's oustam,ry portions of city,
                                                                                           counry- and state transfer
        taxes" Each parfy shall pay their
                                             own attorney fees. Loc shall be responsible
                                                                                                 for any inspeetions,
  Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 106 of 240 PageID #:106




      licenses or other requirements necessary
                                                        and required by any federal, state or local
                                                                                                       authoriry in
     order to close the tflansaction.
     15' Grante&' [n the event Loc elects to accept tirle to o property
                                                                                      in the name of an entity that
     he forms and cpntrols, ("designated
                                                grantee') he shall notifu Abdaltah at least
                                                                                                ten business days
     prior to closing as to the name of
                                           the entity that is to be the grantee in the quitclaim
                                                                                                   deed and bill of
    sale' Loc shalt fumish to Abdallah at the
                                                        tirne of said notice, and assignment of his interest
                                                                                                               to the
    entity; and the legal documents showing
                                                     tlre formarion of the entity and authority of the
                                                                                                   entity to
   accept title' LoC shall remain liable
                                                   to Abdallah and shall not be released of any liabi{iry-
                                                                                                                    r.
   Abdallah uncrer the terms of this contract
                                                    as a resurt of tfie assignment.
   l6'        Relen*e' when Abdallah Affiliate tskes
                                                             title or goes into legaltiile on one of the properry,
   then Abdallah shall have no further
                                        obligation ts Loc under thjs contract, a*d l,oc
                                                                                         shall lo,k
   solely to the Abdallah Affiliate regarding
                                              the performancs of this contract as ro thnr particular
  property.
   11' cqon*{4lio& rhe Pa*ies shall cooperate and shall take
                                                                              such funher actions and execute
  such documents that may be reasonably
                                                 necessary to effestuate the purposes of'this
                                                                                                contract.
  t8'     $ntirp Aqreoment' This contract represents the entire understanding
                                                                               between the parties in
  relation to the matters dealt with
                                     herein and supersedes all previous covenants
                                                                                  antl representations
  made hetween the Parties in relation
                                            fo the contract, whether oral or written.
                                                                                          All prior negotiations.
 promises and representations
                                 and statemenls of faet and/or cpinion are merged
 'l lris
                                                                                   into rlhis Conlract.
           contract rnay only be modified if such
                                                  modifications are in writing and signed by a
                                                                                                  duly
 autharized representative of each parfy
                                              herein.
 19' [linois Lawr validify, consideration and enforceability
                                                                           of this contreet shall be construed
 under and goveraed by the raws
                                    of the srate of lflinois.
 20' Resl Fitats Brol$r: Neither patry has retained a rear estare
                                                                               brokar and there are no broker
commissions due regarding the sale
                                          of the property.
21. Escroll Closinq. Each fansaction shall close in a deed
                                                           and money escrow.
22' RbaIEslqteTarPm{ation. Therealestatetaxesshall
                                                                           beproratedbasedon 1007oofthe
rnost recent ascertainable full year
                                        real estrate tax bill .
23' Title Insurance coyer4Fe' It shall be the obligaion
                                                                      of Abdallah, at his sole expensq ro
obtain a title commitment owner's
                                        title insurance for the property. Abdallah shall not
                                                                                             be required to
pay any costs regardingextended
                                    covsragaor any other endorsements.
        Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 107 of 240 PageID #:107




            24' Dectrfistion/condemnalion. I(, prior to delivery of the
                                                                                  deed, a property shall be destroyed
fli        or rnaterially damaged by fire or other casu4lty"
s                                                                  or the props.ty is taken by condemnation, then
h
#          Loc shall not have the right to terminate this contract (and
                                                                              receiving a refund of earnest money).
          Abdallah shall not be obligated lo repair
                                                           or replace damaged irnprovements. In the eyent
                                                                                                                        the
          insurance proceeds or condemnation
                                                      arvard exceeds the purehase price for
                                                                                               a pa.tieular pruper-ty,
          then Abdallah shatl be entitled to
                                               terrninate its obligation to sefi thar particular property
                                                                                                            to Loc, and
          Abdallah shall refund it earnest money
                                                         deposit on that properry to hirn. 1'he provisinns
                                                                                                                  or. the
          Ljniforrn vender and Purchase Risk
                                                  Act of the $tate of Iltinois, shaU be applicable
                                                                                                     to this co'tract.
         except as rnodified in this paragraph.

         25' Tflr Rqnortixs comnliance seller agrees to provide
                                                                               to ths Internal Revenue service the
         sale of Real Estate 1099 fbrm as required
                                                           by law. This contract and the transacrion desgribc.d
         herein rnay be subject to the provi5ions
                                                      of the Foreign Investm€nt in Real properfy fax
                                                                                                 Act of l9g0
         and all amendments thereto (the
                                              "Act"). Abdallah and Loc shall execute or cause ro be executed
        all documents and take or cause to be taken
                                                           all action n8ce$scqf in order that Loc shall have
                                                                                                                     no
        liability. either a*ual or potential, under
                                                      the Act.
        26' Atlornev Fees' In the event either parry is required to
                                                                                   enforce the provisions of this
        contrect against the other par(y, then the
                                                         party tlrat prevails in the litigation shall be
                                                                                                            entitled t(}
        receive from the other party its reasonabte
                                                        aftorney fees, court costs and eNpenses that it
                                                                                                            incu*ed in
        prosecuting the I itigation.

       27" Notice' AII Notices shall be in rvriting and shall be
                                                                          served by one party or attorney tCI rhe
       other pafiy or attorney' Notice to any
                                                 one ofa multiple person party shail be
                                                                                            sufficient notice to all,
       Notice shall be given in the following
                                                 maaner:
       (a) By personal delivery of such Notice; or
       (b) By mailing of such Notice to the addresses recited
                                                                        herein by regular mait and by certified
       mail' return receipt requested. Encept as
                                                    othenvi.se provided herein, Notice serverl
                                                                                                  by certified nrail
      shall be effbctive on the date of
                                          mailing or
      (c)     By sending facsimile transmission. Notice
                                                                 shall be effective as of the date and time of
      facsimile hansmission, provided that
                                                the Notice transmined shall be tent on Business
                                                                                                      Days during
      Business Hours. In the event fax
                                           Notice is transmitted during non-business h.urs,
                                                                                                the effective date
      and time of Notice is the first hour
                                             of the next Business Day; or
        Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 108 of 240 PageID #:108




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           (d)       By sendinge'mait transnrission' Notiee
                                                                   shall be effectiveas of the date end timeof
                                                                                                                  email
          transrnission' provided that the Notice
                                                     transmitted shall be sent during Business
                                                                                                  Hours. ln the event
          email Notice is transmifted during
                                                non-business hours, the offective date
                                                                                            and fime of Notjce is the
          first hour of the next Business Day after
                                                      hansmission; or
          (e)     B;' commercial overnight delivery (e.g.,
                                                                  FedEx). such Notice shall be effective 0n the next
          Business Day floilowing deposit with
                                                 the ovenright derivery company.
         (f)     Busihess Days are Monday through
                                                         Friday excluding any Fcderat holidays. Business
                                                                                                                Flours
         are g:00 A.M, to   5:00 p.M. centralstandard    tirne.
         29' Rishb/obrls'tions' Loc's- de$rgnated granree shall
                                                                              have no greater rights than Loc: and
         any obligations and liabilities imposed
                                                 uppn Loc shall be binding upon his designated
                                                                                                granr€e.
         Loc shall not be rereased of any liabirity under this
                                                               conhaet because Loc erects to designate a
        grantee to tako legal title.

        30. Patriot Act, LOC and each and every .,persoo,, or..entily,"
                                                                                    affiliated with LOC that hss an
        eeonomic interest in Loc or that
                                            has or will have an interest in the transaction
                                                                                               contemplated by this
        contrect or in any propefly that is the
                                                     subject rnatter of this contract or will participate,
                                                                                                              in any
        manner whatsoever in the purchase of
                                                 the property, is
                (a)      not a,,blocked"person liste<l io the
                                                                   Annex to Executive Otders Nos. I 2g47, l30gg,
        and l3ZZ4,:
                (b)     in full compliance with the requirements of the pATRIor
                                                                                               Rules and all other
       requirements contained in the
                                          rules and regulations of the office of Foreign
                                                                                                   Assets controt,
       Depar_tment of the Treasury (OFAC);

               (c)      operated under policies" procedures,
                                                                  and praetices, il'any, that are in compliance with
       the PATRIOT Rules and available to
                                               Abdallah for Alldallah's review and inspection during
                                                                                                            normal
       business hours and upon reasonabte
                                             prior notice;
               (d)     not in receipt of any notice ftom the secretary
                                                                           of state or the Afiorney General of the
      United states or anJ other deparfmen!
                                               agenc)r, or offioe of the unitod $tates claiming
                                                                                                     a violation or
      possible violation of the PATRIOT
                                            Rules;
               (e)     not listed as a specifically Designated Terrorist
                                                                              or as a blocked persor on any lists
      maintained by the OFAC pursuant
                                           to the PATRIoT RulBs or any other list of terrorists
                                                                                             or terrorist
      organizations pursuant to any of
                                           the rules and regulations of the 0FAC issued pursuant
                                                                                                            t. the
  Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 109 of 240 PageID #:109




       PATRIOT Rules or on ary other list
                                                     of terorists or tenorist organizations pursuBnt to
                                                                                                                  the
       PATRIOT Rutes;
              (fl      not a person who has been deterrnined
                                                                by com,petent authority to be subject to
                                                                                                            any of
       the prohibitions contained in the PATRIOT
                                                      Rutes; and
              {g)      not owned or eonffolled by or now acting
                                                                      under/or wi[ in the future sct for or
                                                                                                                 on
      behalf'of any person or entily narned
                                                   in the Annex or any other tist promulgared
                                                                                                        under the
      PA?'Rlor Rules or any other person who
                                                      has been determined to be sutljec.t to the prohibitions
      conrained in rhe pATRIOT Rules.

             LOC covenanfs and agretss that in the
                                                       event Loc receives any notice that Loc
                                                                                                     or any of its
      beneficial ownerE or affiliates or participants
                                                          heconre listed on the Annex or any other
                                                                                                                list
      pronTulgated under the PATRIOT
                                           Rules or inrl.icted, arraigned, or custodially
                                                                                            derainecl on chargcs
   inv*lving money laundering or predicate
                                                    crimqs to money laundering, LOC shall imraediately
  noti{y Abdallah and' in such event this
                                               cortract *hall autolnaticalry be deemed terminated,
                                                                                                        in which
  event the sntire earnest money deposit
                                               shall be forfeited to Abdallah as liquidated
                                                                                                 damages and the
  parties shatl have no further rights
                                              or obligations under this cont,acl, except lbr those
                                                                                                          righb,
  liabilities, or obligations that survive
                                             a termination of this Contrac.
  3   1. Closing Docurilents.
           (a) Abdallah or Abdallah affiliate shall deliver
                                                                to the title company, as escrowee, for each
 closing the follswing documents:

                    (i) special warranty Deed subject to the exceptions
                                                                         noted in this contrac(
                    (ii) Quitclaim Billof sale as described in seetion g
                                                                              of this conrra*;
                    (iv) owner's ALTA form limited so{ely to
                                                                   acts of Abda[ah or Abdallah affiliate;
                    (v) GAp turde*aking;
                    (vi) FIMTA cerrificate; and
                    (vii) such other doeuments as shall be reasonably
                                                                           requested by LOC to firtfill the
intent of the parties under this Contraer.
          (b) LOC shall deliver to the title company, as eseroweei
                                                                              for each closing the follorving
documents:

                 (t) Direction to cause the title company to pay the eamest
                                                                                          money dsposit to
Abdallah or Abdallah Affiliate;

                (ii) balance of purchase price for the property;
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 110 of 240 PageID #:110




                   ('ii) state of lllinois, applicable county end
                                                                        rscar transfer kx decrarafions
  stamps; hnd                                                                                                  and

                  (iv) such other documents as shalt
                                                          be *asonabty requested by Abdagah
                                                                                                     or Abdarah
  Affiliare to furfi, the intent of
                                      the parries undsr this contr&*.
          (c)     The p*rties shall exEeute
                                               the above doeumenr$ as needed and
                                                                                         direct rhe title compan),
 to deliver the docunrents
                             to the other party as is uquat
                                                              ard customary in cook county. Iginois.

         rN wITNEss wIrEREoF, th"
                                               Parties have entered into this
                                                                                contract as of the date as first
 above wiitten.




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    tc Aurhorized
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                                                  TCI
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 111 of 240 PageID #:111




                                                    SXHIBTTA

                                        ESCROW AGREEMENT
     RE: Real Estate Sales Contracr between
                                                          Mohammed Abdallah (,.Selle;,,; and LOC,
           ("Buyer,') for tZ24 W.Sfth St.,                                                                      tnc.
                                              Ctriougs,   fii#i, oOi:i"'"',

    Funds in the total amount of
                                   $100,000 ("Earne$t Mqney") representing
                                                                    'ni'hlj,      the earnest money deposit
    fbr of rhe above describea property,;;;
   the event that the $weis Law'ri*'r, p.c.
                                              ;-;i*a     w;trr daai          rndney  ar taw (o.Escrowee,,) in
                                               ol-rrnurornuJrrirr.,'aiii"ers wrinen notice
   that Loc or his affiliate is in                                                               to Escrorvee
   ftrr a paricular propers be paid
                                   uefauli *t-**rru,      d"*3&;o        li."in" ,u* oi ii,r'e-."r, Money
                                      to aoJariJ or an affiriate of Rlaailah.
  shall pay rhe amounr ,*questla                                                    rn that evenr? Escrowee
                                                    "ffiii* *iiii,
                                    Ay afoaii-afr to it or its
  during said I0 dav oeriod rr..ow.e                                           t0 days. of such notiee unless
                                       ieJ;.; fil l#;;H.rney                      wrinen norice srating rhar
  l?fi,?jJ,:'":fl:*:,:::ot
                               il:a-#,li;i{,$       rhe Earnest Money shourd nor be rereased
                                                                                                   or oaid to
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  e"*"         :lxiill[':;,';i[::ffix**:**"-:id[:Ii::.i.yT.:?trxB:i.;{i:
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                       rne barnest MoEev subject to the
                                                        E)rms of this Escrow agrrrdt. Notice
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 NoticeinanyofherformwiU-ri'Ur"ff""tisw.ssErrrtu                          when received       by Sscrowee. L-&'L

   Escrowee is hereby xpressly authorized
                                             to regard and to eompty with and obey
 judgments or clecrees                                                                   any and all order$,
                       enteredor issued by any court with
                                                             or without jurisdiution, and in case the said
  Escrowee obeys or compr,ies
                               with
  liable to any of the parties hereto
                                      ;;t  r*rr n ,t"r, "iuag,i"rt o,ulro     of any court it sha, not he
 compfiancq nCIwithstanding any
                                        ;;,      othe, persin, il ;;     corporation    by reoson of such
                                   ,u"h oJ!r, judgment
 he subsequently reversed, nioaid.a,
                                                           *   a"J.*   i"  entered  without  jurisdiction or
 regarding this escrow; to which
                                       ,rrurr.a, ilffi;;rlll',I,',n        case  of any  suir or proceeding
                                 sui'd gscrs*.e is or. may bo at
the contents hemof forany and all                                   any rime a parry shall have a lien on
                                      coets, attorneys'ani sslicitorl, fees,
solicitors shau be *rYI3tY t"tuintJnrlp.iarry"e,nproyeJ'u-Jorr,r,              whet-her such attorn.ys or
tncuned or become liable for                                                expenres   which ir may have
                              on account ir,.r*i ano'ir slratt uu *iirr"o

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Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 112 of 240 PageID #:112




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Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 113 of 240 PageID #:113




        EXHIBIT H
        Lis Pendens Notices Filed by the
        Plaintiff with Cook County
        Recorder's Office
             Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 114 of 240 PageID #:114




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         Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 115 of 240 PageID #:115

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            Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 116 of 240 PageID #:116



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Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 120 of 240 PageID #:120




        EXHIBIT I
        Title Company Closing Statements
        To Re-Purchase 59ft Street Gas
         Station byAslam
                  Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 121 of 240 PageID #:121




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          Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 123 of 240 PageID #:123




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    FirctAmerican Exchange
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 Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 124 of 240 PageID #:124




                           PURCHASE AND SALE AGREEMENT

         THIS PURCIIASE AND SALE AGREEMENT (flre "Agreement") is made by
                                                                                             and
 between CEICAGO 59ih INC . ("Purchaser"), and Mohamryred Abdallah("Seller,,),
                                                                                           and is
 entered into as of this 23d day of July ,2020 (the ..Effective Dote,,).
 lvIrEREAs, Properly is curlently bemg used as gasoline service station and uses related thereto;
 and

 \ilrrEREAs, Loc, or ao affiliate of Loc, is reasing/operating the property


       l. Purchase Price
   Purchaser hereby agrees to purchase at a price of One Million two Hundred
                                                                                   thousand
Dollars (1.200-000-00) {the "Pur*hare Prise'), otr the terms set forth herein, the following
described real Estate which is located in Coot County, Illinois, that certain real property
                                                                                          and all
improvements thoreon and cortrmonly known as l224Weat596 Street in Chicagoo
                                                                                  Illinois 60636
(the "Proper-ty)' Purchaser's obligatioas here,under are subject to a
                                                                      mortgage contingency. The
full balance of the Purchase P,rice and any eustumary fees payable by purehaser must be,paid at
Closing in good funds.

    Purchaser shall deposit Sl0g.qgg as earnest moaey (*Earnert Money") with Rafati Law
Group, P.C to be held in trustwithin I businoss days of the Effective Date, to be credited towards
the Purchase Frice, and Purchaser agrees to pay or satisfy the balance ofthe purchase price,
                                                                                                plus
or minus prorations, at the time of closing.


    2- Seller Coyenauts

    Seller agr€es to Sell the real,estat,e andpropety described above at the Purchase price and on
the terms set forth herein, and to convey or cause to be conveyed to Purchaser or their nominee
title to the Property by a recordable Speoial lVarranty Deed, with e proper Bill of Sele, suQject
only to (a) covenants, conditions and restrictions of''reeord; (b) private, public and utility
easements and roads and highways if my; (c) paty wall rights and agreemenB, if
                                                                                     any; (d)
existing leases and tpnancies, if any; (e) mortgage or tnrst deed specified below, if any;
                                                                                          *a tO
proper,ty taxes not yet due,and payable at the tfune of Closing.


   3. Cloping Obligafions

   Seller shall provide title as stated in paragraph 5 below.
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 125 of 240 PageID #:125




   4. Closine Date

      a' closing shall be on or about 365 days from the date of this agreement, or on the date,
          if any, to which such time is mutually agroed to by tho parties in writing (the ,.Closing
          I)ate'), at the offioe ofthe Title Comp&rry, providedPurchaser has not objected
                                                                                             to any
          title exceptions within five (5) business days of receiving a commitrrent from a
          nafionally recognized Title Compauy"

      b. Seller shall deliver possesslon to Purchaser at the time of Closing. Seller egxees to
          deliver possession of the real estate in the same condition as it is at the
                                                                                      date of the
          Effeotive Date, nomral wear aad tear excepted and subject to existing tenancies.

  5, Title and Survey
     a.   Title. Closing Coets. .It shall be ffe obligdion Chicago 59s inc, at its sole cost, to
          obtain tbe survey for oach property and pay for its swn loan policy, all endorsemen6
          requested on said loan policy or ownerls policy and esclo
                                                                            , except Abdaltah shall
          pay for the orrnrer's policy of title insurance ih the amount"ort
                                                                         of the purchase price and
          Selle/s custornary portions of city, county and state transfer taxes.. Each party shall
          pay their own attorney fees. Chicago 596 inc shall be rosponsible for *y i*p"oti"rr.,


     b.   Survey. Purehaser shall be responsible for any survey they may require at their own
          expense.


  6. Brokers
     Seller arld Purohaser both represent and acknowledge that there are no Real Estate Brokers
     involved in this transaction.

 7. Convevance Liens aud Eneuinbrilics

    Seller shall eonvey, or cause to be convoyed, title to the Buyer by special warranty
                                                                                                 or
    trustee's deed (or by other appropriate deed if title is in tnrst oran estate)
                                                                                   subject to those
    items specifled in Faragraph 2 above.


 8. Prorations
     . Real Estate Tax Proration. Thc real estate taxes shall be prorated
                                                                            based on l00yo of the
    most recent ascertainable firll year real estat€ tax bill.
 Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 126 of 240 PageID #:126




     9. Dsmaee bv Casualtv before Closine

        Ifthe improvements on the property shall be deshoyed by hatue or materially damaged by
        fire or other casualty prior to closing the provisions ofthe Uuiform Vendor and purchaser
        Risk Act of Illinois shall apply.

     10. General Conditions And Stipulations


        a. Both Seller aad Purchaser agre€ to execute all accoptable documents and provide all
            infomrationnecessa{f to enable anylender to issue a commitunentfor mortgage q trust
            deed and to coruplete this sale"


        b. All notices herein required shall be in writing and served upon the patties at the
            addresses shown on this contiact or upon the attorney for such parrf.


        c. The parties due herein agree that timo is of the essence.
        d. Seller shall pay for the State of Illinois and any applicable Cook County realestate
           transfer tax stanrps. Any municipal tansfer tax shall be paid by the Seller.

    I l. Contingencies


       This agreement and this tansaction are contingent upon Purchaser being able to prosure
       financrng frorn a conventional lender in the forrn of a corventional mortgage. If purchaser
       is not able to plofltre said financing then Purchaser shall have the right to cancel this
       agreement and be entitlod to the retum of all earne$t money paid. purchaser shall have 365
       days from the date of siping this.asr"esrreflt to produco to seller a firm commitrnent for
       financing.

        AS IS" CONDITION; This Contract is for the sale andpurchase of the Real Estrte ia its
"As rs" condition as oftheDate of Offer. Buyer acknowledges that no representations, warranties
or guarantees with respect to the condition of the Real Estate have been made by Seller or Seller's
Desigaated Agent other thau those known defects, if any, disclosed by seller.
          Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 127 of 240 PageID #:127
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          Datpd thir 2Sd day of
                                  July ,Z0AO
          PURCEASE&

          lhicago Sgth inc.
          Byl Sadia Aslam
                                                    ltlohemmed Abdaltah




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Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 128 of 240 PageID #:128




                  BUYER:



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                 SELLERT




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Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 129 of 240 PageID #:129




        EXHIBIT I
         'Note' Purchase by AbdelKader
          To Acquire 415 Pulaski Gas
           Station
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 130 of 240 PageID #:130




           THESE DOCUMENTSARE
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           ORDERAND MAYBE FILED
           LATERUNDER SEAL WITH
           COURT'S PERMISSION
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 131 of 240 PageID #:131




        EXHIBIT K
        Mortgage to Purchase 7283-87
        South Chicago Gas Station by
        Bashir & Choudhri
     Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 132 of 240 PageID #:132
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 EORPONATE MANAGEMENT CO&IPANY, A
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 consideration of the sum of Ten
 Dollare ($10.00) and other good and
 valuable considerat,ion in hand paid
 by the party of the seeond part,
 Ehe receipt whereof is hereby acknowledged, and pureuant to authorlty of the Board of
 Directors of said corporation, by these presents does REMfSE, RELEASB, ALIBiI Al{D CO![I/EY unto
 Ehe party of the second parE, and to its auecessors and aaslgms, FOREI/ER, all the following
 described real estaEe, situated ln the County of Cook and state of fllinois known and
described as follows, to wit:
Lois 9, 10 and rf in. Block 13 of Cornell Subdivieion, being a Subdivision of the WesE L/2 of
the Nortblvesr t /4 of SecEion 26', Townahip 3s North, Range 14, Eadt of Ehe Third principal
Meridian, in Cook County, Illinois.
        Together with all and singular the hereditaments and appurtetrenees thereunto belonging,
or in anywise appertaining, and Ehe reversiou and reveraions, remainder and remaLnders,
renEs, issues and Brofits thereof, and all the estaEe, right, tiEle, interest, claim or
demand whatsoever, of the parEy of the firEE part, either in law or equlEy, of, in and to the
aborre described premleee, with the herediEaments and appurtenences: TO HA\rE AND IO HOIrD the
said premises as ab6ve deecrLbed, with the appurtenancli, unEo Ehe party of the Eecond part,
it,s successors and iesigns forever.
       And tbe party.'of the first part, for itself, and iLg Euccessora, doeg covenant, promise
and, agree, to and wifh ttre party of the second part, ite succeasors and aesigns, uhat it has
not done or suffered to be done, anything whereby the said prepisee hereby granted are, or
may be, in any manner incumbered or charged, except as herein recited; and Ebat the said
premlses, against all persons lawfully claimiag. or to claim tbe game, by. Ehrough or under
it, it wfLL WARR"AIIT AIID DEFEND, subject Eo: all unpaid general. Eaxes and special aesessments
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       Permanent ReaI Estat.e Index ltumber(s) : 2O-26-t10-025-0000
       Address(es) of real estat,e: 7283-87 S. South Chicago Aveaue, Chicago, IUinois 60519
       fN I{IT!{ESS WHEREOF, said party of the first parE hae caueed ite corporate EeaI to be
hereEo affixed, and has caused its name to be sigmed to Ehese presenEs by its Pfesldeng, aud
attesEed by its Secretary, Ehe day and year firsE above writEen.
                                                         MTDWBST CORPOR.ITE !,IANAGEI{BNT COMPANIr,
                                                         a corporation,




This instnrment prepared. by:          Frank R. Dufkis, Esg., L20 North Lagalle                   , sultse 1350,
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      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 134 of 240 PageID #:134



I   llinois Anti-Predatory
Lending Database
Program
    Gertificate of Exemption


                                                                      Doc#r 0905791100 Fre: ${12,ff)
                                                                      Eugene'Ocno' Moorc HflSP Fe:0t0.00
                                                                      Oook Oounty Beoordrr ol Dcrdt
                                                                      Deteitr?/iAfl}0im 0g:15 PM Pg: t ot'14




       ReportMoilgage Fraud
           800-532{785

The property identifted    as:            PIN: 20-2&110-0254000

Addrecg:
Sfred:             7283$l S. ChicagoAventn
Shaet line 2:
Gitp Chicago                              State: lL                        ZIP Gode: 60619



Lender Alleglance0ommunityBank
Borrorer South Bound PrcPertis, UC.




Loan I liortgage Amount $250,0m.00

    This propery is locabd within Coolt County and is enanr$ ftrom tre ruquirumcnts of 765 lLC.S77l70 d s€q. beeuse it is
    not oumer-occufied.




Gertifbate number: A7497EDEOE3B4S06-8C94-8923E8648091                                 Execu0on date: O1E7f2ACfi
                                                                0905731 100 Page: 2 of
   Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 135 of14240 PageID #:135




RECORDATIOTTI BEOUESTED BY:
   Allegiance Community Bank
   8001 W. 183rd Strest
   Tinley Park,lL 60+87


WHET{ BECOBDED fIAIL TO:
   Alleglance CommunltY Bank
   8001 W. 183rd Street
   Tinley Park, lL 60487




This Mortgage prePared bY:
       JEANNE LOCKREY
       Allegianco GommunltY Banlt
        8001 W. l83rd Strost
        Tinley Park, lL 60t[87



                                                  MORTGAGE

                                                                                                                LLC
                                                       axecuted botween souTH BOUiID PBOPERflES'
THIS MORTGAGE dated January 27, 2l}g,ig made and
an lltinoic umlted uaoufiiffiany-{refened to uow
                                                      a!'Grantor"l rnd Allegiance community Bank' whose
                           Sgaet, Tlnley Park,lL 60/87 (refened to be6w ae
                                                                           "Lender"l'
addre* Is BO01 W. lgi;a
                                                                  mortgsges' warrants'. and-.conveys to Lender atl
GRAI{T OF MORTGAGE. For Yahable Ooneidsradon, Grantol
                                                                         ieal property' together with all existing or
ol Grantor's right, title-nd interest in and to itre iolfowing described
                                                                    fixtureoi'all' easaments, rights of way' and
aubsequently erected oi amxea buildings, i*pror"rnent-r and
appurtenances; all water, water rights, *rt"r.our.", and
                                                            ditch rights (including stock in utilhies wkh ditch or
                                                         profits retating to th6 rial property, including without
irrigation rights); ,no aii other riihts, royatties, and                iReal Propertv"t located ln cooK county'
rimitation a, minerare, oit, oas, g6oth6rmar anJ simitar
                                                         mstters, {$re
State of lllinoie:
                                                                                             l'jUEsT 1/2
   LOT 9,10 AIID 11 tt{ BLOCK 13 0F COBI{E!"L     SUBOtVlStOit' BEII{G A SUBDlVlSloil oF THE
                                             je, TOWUSHIP 38 l\lORTH,   RAttlOE 14 EAST  OF THE   THIRD
   OF THE NORTHWEST ir4 OF SECTIOI{
   PRII{CIPAI MERIDIAIII' lN COOI( COUiITY, lLllilOls'
                                                                    SOUTH CHICAGO AVE" CHICAGO' lL
The fteal Prcpsru or its addrees ir commonly known ae 7283'81-S'
60619. The BaalProperty tax idantification number is 2o-26'110{'25'0000'
Grantor presently assigns to Lender all of Grantor's right,
                                                            title, and interest in and to all present and future
leases of the property and all Bents from tt. itop.iv.
                                                             ln addition, Grantor grants to Lendor a Uniform
                                                                 Rents'
Commercial Code security intorest in the Personal Property and
                                                                sEcUnlW NTEREST tI{ THE BEIUTS
THls MoBTGAGE, tr{cLuDtNG T}tE AsstGttlMENT oF REI{TS Al{D THE
                                                (A}  PAYMEI{T OF THE INDEBTEDITESS AilD
                                                                                               (E}
AND PERSONAL PROPEtrfY, IS GIVEN TO .ECUNE                                 DOGUMEIIITS. AI{D THIS
pERFORMAtTtcE oF ANy AI{D Atr oBUGATrOr,rS Urorn n{E IIOTE' THE RELATED
                                                 SHALT   BE VAI'JD  AND  HAVE PBIORITY OVER AII
MORTGAGE. TI{IS MORTGAGE Ig INTEITIDED   TO AND
                                                                 LIENS, EXCEpTnNG SOI'ELV TAXES
suBsEouEt{T tlENs AND ENCUMBBAI{CES, INGLUDIIiIG STATUTORY
                   LEvtED ON THE BEAi PROPERTY, To THE      EXTEI{T   OF THE MAxnIuM AMOUNT
ANo ASSESsMENTS
                                                                      OT THE FOLLOWING TEBMS:
SECURED HEREBY. THIS MORTGAGE IS GIVETII AIIID ACCEPTED
  Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 136 of 240 PageID #:136


  Loan No; 11907145
                                                         MORTGAGE
                                                         (Continuedl
                                                                                                                       Page 2

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 ntj.:::l?l AND MAlirrEilArrrcE oF rH E pRopEnry. Grantor agrees that Grantor's possession
                                                     IIlT"lJ;,1                                                  and use of

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     andcontrolof                                an        of oefaurt, Grantor may
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    complhnoe wfth Environmontal
    period of Grantor's
                                      Laws' Grantor represents and
                        ownarship or tne proporty,                          wanants to Lendsr thau (1,
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    treatment' disposaf ralease
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    about or from the Rropertv;                            ;;;il"rs
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    except as previously disclosed                                     J.i,"o, ,,rrron to bsrieve th.t th"r"
                                   to anJ actnowbageO                                                        has been,
   any Environm"n*'-?y-:r,tui                                 ry f"""A"r,in writing, (a) any braach or violation
   threatened release of any
                                    t"v                      *rnurrrtrro,                                             of
                              Hazaraor's '.i-i"n"rrtion,
                                                                             storago, tr'atment, disposar,
                                          sufr"t.n..   on,'unoui,  r-ooriol.from
                                                                                                             rerease or
   or occupants of the Property'
                                  or (cl ;;v ,",r31 o,, *,r"ut"n"iliirtron the propertyby any prior owners
   relating to such maters;                                                          craims ot anykind by any person
                              and
   writins' (a) naither Grantor       til' l_t"pt as praviousty JirJi."o too, and
   use' generate' manufacture,
                                   ;t ;;; Jffi:::l*o"i                                    acknowLdged by Lender in
                                                                ,g"ri irlther authori.ua u."i oi the property
   or from the Propertv; and (b)
                                store,   i*,           ,"[rrllnv
                                               Ji"pore of or                 Hazardous substance on, und6r,
                                                                                                                   sha,
   tederal, state, and tocat          "n,
                                              rr"iactivity ,hril
                                                           ;;;;;q:rcted in compliance with a, appricabre         about
                                taws,'r"r;[d;
   Laws. Grantor authorize" r"ni",              ano ordinanc"i-i".lilirg
                                     -rij'iir'igrno                  without limitation au Environmental
  tests' at Grantor's expense'                   to enter
                               as Lender may deem ,pproptJiu-roi"t"rri*
                                                                       ;;r;;;
                                                                 properry to
                                                                             make such inspections and
  this section of the Mortg's"'                                          compriance of the property with
  and shall not be construidto
                                 a"y'i";ori',i*,             maa" uv L"noe, shail be roi i"no.r,s
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                                            rrsponsibility                                             purposes onry
  other person' The representations
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                                      and warranti",        "r,                                            or to any
  investigating the property
                             tor Hazaroou,             "orrrinJr*i# .r" (11
                                               iro.trn.o G;*ilffi;by            based on Grantor,s due dirigence
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                        toi inoumnitv or .on'riur,ion                                releases aio waives any future
  :i1[tr'"tXi:lit:#                                       ,rr",                  becomes riabre for creanup or
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 ownership or interest, in
                                storage, ai.potrr, release o,                                 ]ft,1i'ki:ffi,ti
                                                                ttriuat"nJ rerease occurring prior
                             the Prop-eriy, *tt.rt". or not the
                                                        sarha was or should have besn
                                                                                                   to Grantor,s
 The provisions of this_                                                               knorrn to Grantor.
                         ""ctiorrli;il.-il;;.ge, inctuding it".oitigrtion to indemnify ana defond,
 survive the pavment of the
                                lndebtedi"rr rii,rr".satisractiin'.io-itorr"rance                                   sha,
                  bo affected ov renoei's-aJqii.-irion                                     of the rien of this Mongage
 ;if"rt,lilL:"t                                          oi                        properry, whethsr
                                                              "nvlii,"'"ii"'. he                       by forecrosure or
 iluioanca' waste' Grantgr
                               shall not cause,           or parmit any nuisanc,e nor commit,
anv stripping of or waste on                    ":1,j-l.lor .ny pnl"ri                        permit, or guffer
                                  or to trre iroperty                          property. wi*ior,
generality of the foreqo.ing'
                               Grantoi-wlli no,-r"ror", or grant        of the                     rimiting
                                                                   to any other party ihe dght to remove, the
Xff?,,,ffi:*r:ffif,r;         "ir
                                   ;il;;rj. Jrl,, cr"v,-s"oja,-.",,,       ,r*,                             any
                                                                            or rock prooucts without Lender,s
Removal of lmprovements'
                                Grantor shall not d:T-"1':l
without Lender's prior written                                    or remove any
                                                                         lmprovements from the Real property
                                             al a. conoition to *," LrJvar

ffi:ff"flii:T,il,#iotrlilfu;o-i'iiut"'to,.v ; i;;;;'i" reprace such rmprov.meils with
                                   "onr"iil'                               of any rmproverrnt",
                                                                                 may                       Lender

Lendo:'s Bight to Enter'
                            Londer and Lender's agents
                                                              and representatives may enter
                                                                                              upon the Rear property




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                                              ii                   pscszst too Page: 4 ot 14
    Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 137 of 240 PageID #:137


                                                    MORTGAGE
Loan No: 11807145                                    tContinuedl                                                  Pago 3
                                                                                     I          -                 -


    at all reasonable times to attend to Lender's interesB and to inspect tho Beal Property for purposes of
    Grantor'o complianco with the terms and conditions of this Mortgage.

    Gompliance wlth Govemmmtal Beguhsnsnts. Grantor shall promptly comply with all laws, ordinances,
    and regulations, now or hersafter in effect, of all govemmental suthorhies applicable to the u8e or
    occrpancy of the Property, including without limitation, th6 Amoricans With Disabilities Act. Grantor may
    contest in good faith any such law, ordinance, or regulation and withhold compliance during any
    proceeding, including appropriate appeals, so long as Grantor hae notified Lender in writing prior to dolng
    go and so long ae, in Lendsr's sole opinion, Lender's interestg ln the Property 816 not ieopardized. lsnder
    may require Grantor to post adaquate security or a surety bond, reasonably satlsfactory to Lender, to
    protect Lender's interest.
    Duty to proteEt. Grantor agress neither to abandon or leave unattended th6 Property. Grantot shall do all
    other acts, in addition to those acts set forth above in this section, which lrom the character and use of tho
    Property are reasonabty nec*sary to protsct and preserve the Property,
                                                                                                                 payable
DUE ON SALE - CONSE]UT By LEttlDER. Lender may, at Lendar's option, declare immediately due and
all sums secured by this Mortgage upon the sata or transfer, without Lend6r's prior written consent, of
                                                                                                          all or
any part of the Reai Property, or any interest in the Real Property. A 'sale or trangfor" moans tha conveyance
of R-eal Property or any right, titla or interast in the Real Property; whether legal, benaficial or equitable;
whether voluntary or invol-untary; whether by outright sale, deed, installment sal8 contract,
                                                                                                land contract,
                                                                           (3t years, leare-option contract, or by sale,
contract for deed, leasehold inter83t with a term greaier than thre€
assignment, or transfer of any beneficial interest in or to    any  land trust  holding title to tho Real Property, or by
any-other method of conveyance of an interest            in  the  Real  Property.     lf any Grantor is a corporation,
partnership or limited liability company, transfer        also  includes   any   change    in ownorship of more than
iwenty-five pcrcent  (2b%l   of tha voting    stock,  partnerhip   interests  or limitsd  liabilhy company intercats, as
the ca8€ may be, of such Grantor.       Howevor,   itris option  ehall not  be exercised    by  Lender if such exercisa is
prohibited by federal law or by lllinois law.
                                                                                                              palt of this
TAXES AI{D UEilS.      The fOllOwing proviSions relating to the taxes and liens on the Property are
Mortgage:
    paymant. Grantor shall pay when due (and in all events prior to delinquency) all taxes, payroll taxes,
                                                                                      against-or on account of the
    special taxgs, assess*"nis, water chargee and sewer service charges levied
    property, anO snall pay ,"trrn Ou" all clalms for work done on or foiservices rendered or material furnished
                                                                                       priority ovor or equal to the
    to the property. Grantor shall maintain tha Property free of any liens having
    interest of Lender under this Mortgage, oxcopt for the Existing lndebtedness refarred
                                                                                              to in this Mortgage or
                                                                                     of taxm   and assegsments not
    those liens epecifically agreod to in writing by Lender, and excgpt for the lien
    due as further epecified in the Right to Contest paragraph'
    Rlght to contort. Grantor may withhold paymGnt of any tEx, 88sao8ment, or
                                                                                        claim in connection with a
                                                   pay,'so long as Lender's intereet in the Property is not ieopardized'
    good faith dispute over the obligation to -nonpayment,
    lf a lien arises or is iira as a-result of                    Grantor ehall within lifteen (15) days after the lien
    arises or, if a lien irfited, within fifteen  (15) days aftsr Grantor has notica of thB filing, s6curo the discharge
                                                                                                                       or
    of the lien, or it requesied by Lender, deposit with Lender cash or a sufficient corporate sur€ty bond
    othsr security satiriactory to Lender        in an  amount   sufficient to discharge  the   lian ptus any  cos$  and
                                                                                                       under the lisn' ln
    attorneys. feB8, or other chargas that could accrue as a result of a forectogure or Sale
                                      jefend   itself and Lender and shall satisly any adverse iudgment before
    any contsst, Granor shall
    entorcement against the Property. Grantor shall name Lender as an additional obligee under
                                                                                                              any Eur6ty
    bond furnished in the contest      proceedings.

    Eyldence of pryment. Grantor shalt upon demand furnish to Londer satldactory
                                                                                               evidsnce ol payment of
    the taxes or assesgmgnts and shall authorizo the appropriate governmental oflicial
                                                                                       to deliver to Londer at
    any time a written statgmont of the taxes and assessments against the Property.

    Notice of Gonrtruction. Grantor shall notify Lender at laast fifteen (15) days bsfore any work
                                                                                                                        is

               any services are fumished, or any matsrials are supplied to tho Property, if any
                                                                                                mochanic's
    commgncgd,
                                   -t -i*'tiJ*" -"'
  Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 138 of 240 PageID #:138


                                                       TUIORTGAGE
 Loan l\lo: 11BO7I4S
                                                         (Gontinuedl
                                                                                                                      Page 4


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                                    r., .nJ *iriil ffiH ;:ffi',lilrJll.;'"ffJ
    satisractorv ro Lender rhat G rantor

             DAMAGE INsuFAltlcE' The followins provisions
[[?['rHI                                                             retating to insurins the property are
                                                                                                             - a psrt of this
   Maintenance of lnsurance' Grantor
                                          shall procure and maintain policies of
   extended cov€rage endorsements on                                                  fire insurance with standard
   lmprovements on the. Real Property
                                             a replacement ,.;;-;;r the fuil insuraute'-valuo             covering a,
                                        in an amount sufficient to avoid application
   and with a standard mortgagee tfrr"                                                   of any coinsurance clause,
                                               in favor ot fenOei. Grantor shall also procure
   comprehensive goneral liability ingurance
                                                in..sg9h rorr*g"-rrorn,.
                                                                                                         and maintain
  being named as additional insureds                                             Lender may request with Lender
                                       in trrn liability insurli-c" p",il,*.""Additionaly,
  such other insurance, including but not                                                     Grantor sha, maintain
                                              limited tt r,rrriJ, ulrin""" interruptaon
  Lender may require' Policies strall                                                      and boilar insurance as
                                       be *rittun by such in"rrun.u companies
  reasonably acceptable to Lander'                                                   and in such form as may be
                                     Grantor shdl deliver," i."J.i
  containing a stipulation that coverage                                           of coverage from each insurer
                                           will not be cancelled or-diminished
                                                                      ""rtificateswithout
  days' prior written notice to t-enoerina
                                            not containing any disclaimer of the insurer,s
                                                                                            riinirum of ten (10)
  give such notice' Each insurance policy                                                      liabitity for failure to
                                            also       stratt inct-ude ,n                 providing that coverage in favor
    of Lender will not be impaired anf *",                                "naorrarent
                                    !n              u,  any act. omission    or defaurt   of Grantlr * .ny oth'r porson.
    should the Real Property be located
                                              in'an area designated uy ttre Director of the-Federal
    Management Agency as a special flood                                                                         Emergency
                                                hazard                             to obtain and maintain Federal Flood
   lnsurance' if available, within 45 auvs                 1ea,.eiantoial"",
                                               ,rtlr notice is gircn by Lrnder that tho property is located
   special flood hazard atea, for the full
                                           unpaia principat ua6nce oi ir,a.ban
                                                                                                                        in a
   securing the loan' up to the maximum policy                                        and any prior riens on the property
                                                       limits sut unoeitne lrtationat Flood lnsurance program,
   otherwise required by Lender, and to ,rintrin                                                                      or as
                                                       such insuran""'t"i *," t6rm of the loan.
   Application of Procsedl'
                               .Gra11or
                                          shall promptly notify Lendq of               loss or damage to the property.
   Lender mav make proof of- loss   if Grantor irilr io i" * *itrrii ;;;.;n ?Iy days
   not Lender's security is impaired, Lender                                     {15)        of the casuatty. whather or
                                                 mr.y,
  rnsurance and apply the proceeds to                    ?t Lender's etectlon, receive and retain the proceads of any
                                           the reduction of trra mo-eu't-eaness, paymsnt of
  Property' or the rostoration and repair                                                           any lien affecting the
                                            of tne rroperty. rr renoer-elects to apply the proc€ods
  and repair, Grantor shall repoir or ieplace                                                                to restoration
                                                the aamageo                     lmprovements in a manrer satisfactory
  to Lender' Lender shall,          satisfactory proof ol ,ucr,   "r;;J;yJ
  proceeds for the reasonable,upon                                                   puy or reimburse Grantor from the
                                 cost of repaii or restoration if"*p"niiirr.,
                                                                        drantor is  not
  Any proceeds which have not been disburuad                                             in default under this Mortgage.
                                                      within 1so day;;ftlirr,"i, receipt and which Lender
 committed to the repair or restoration                                                                            has not
                                             of the Property strait oe-usea first to pay any
 Lender under this Mortgasg, then                                                                      amount    owing   to
                                       to pay accrued interest, and the iemainder, if
 principal balance of the lndebtedne$s.                                                      any, sha[ be apptied to the
                                                  ii^t-enoer h"ld" ;"y-;roce"us after payment
 lndebtedness, such proc@ds shail bo paid                                                                  in fug of the
                                                to Grantor u* aiunioir, in-rrr.r,, may appear.
 compliance with Existing lndsbtedne3s. During
                                                          the period in which any Existing tndebtedness
 below is in effect' compliance with the insurance                                                              deecribed
                                                            provisions contained in the instrument
 Existing lndebtedness shatl constitut" torpti"nre                                                      evidencing such
                                                          with the insurance provisions under this Mortgage, to
extent compliance with the terms of this                                                                               the
                                              Mortgage would constitute a duplication of insurance
lf any proceeds from the.insurance U"core p"VJUb                                                            requirement.
                                                             on loss; ttra pr-ovisions
                  applv ontv to that portion of th€ pro..#r''nil'iurro,, in this Mortgaga for division of
',ffi"l"^*:ll                                                                           to the hotjer or the Exisring
Grantor's Report on lnsurance. Upon roqu€st
                                              of Lender, however not more than once a ye'r,
                   I
furnish to Lender report on each
                                  existing policy of insuranc" ,horJing,
                                                                                 {l)
                                                                                             Grantor shall
                                                                            the name of the ineurer; {2)
the risks insured; (3) the amount
value of such properry, and the
                                   oi      n.
                                           poii"v, (4) th; ;il"iy'in.rr"o, the thon current
                                                                                             rsplac'menr
                                 manner of Oeierminins if,li-IduJ,            ,"0
                                                                         (S) the expirarion date of the
policv' Grantor shall' upon requ$t of
                                          Lender,- r,"rr-un lno"plio"n, appraiser
determine the cash value replacement                                              satisfactory to Lender
                                     cost of the property.




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                                           irfi ;i osmzrl ioo Pase. 6 d 14
    Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 139 of 240 PageID #:139


                                                   MOHTGAGE
 Loan l[o: 11807145                                 (Continuod)                                                Page 5


 LEIIIDER'S EXPENDITURES. lf any action or proceeding is commencod that would materially affect Lender's
 interest in the Property or if Grantor fails to comply with any provislon of this Mortgage or any Relatod
 Documents, including but not limited to Grantor's lailure to comply with any obligation to maintain Existing
 lndebtednsss in good etanding as required below, or to discharge or pay when due any amounts Grantor is
required to discharge or pay under this Mortgage or any Related Documants, Lendar on Grantor's behalf may
(but shall not be obligatod to) take any action that Lender daeme appropriate, includlng but not limited to
discharging or paying all taxeo, liens, security interests, encumbrances and other claims, at any time levied or
placed on the Property and paying all costs for insuring, maintaining and preserving the Property. All such
expenditures incurred or paid by Lender for such purposes will then bear interest at th€ ratc charged under the
Noto from the date incursd ot paid by Lender to ths date of repayment by Grantor. All euch expenses will
become a part of the Indebtednegs and, at Lender's option, will (Al be payable on demand; (B) be added to
the balance of the Note and be apportioned among and be payable with any installmont paymsnts to bscomB
due during githar (1) tha term of any applicable insurance policy; or l2l tho remaining t6rm of tho Note; or
(Cl be troated as a balloon paymsnt which will ba due and payable at the Note's maturity. The Mortgage also
will secure payment of these amounts. Such right shall bo in addition to all other rights and remediee to which
Lender may be entitled upon Default.

WARRAITITY; DEFENSE OF flIf"E. The tollowing provisions relating to ownership of the Property are a part bf
this Mortgage:
    Title. Grantor warrants that: {a} Grantor holds good and marketabla title of record to the Property in fee
    eimple, free and clear of all liens and encumbrancee other than those sst forth in the Real Property
    description or in the Existing lndebtednass ssction below or in any titls insurance policy, titls report, or final
    titlB opinion issued in favor of, and accopted by, Lender in connection with this Mortgage, and {bl Grantor
    has the lull right, power, and authority to ex€cute and deliver this Mortgaga to L6nder.

    Defenso of Title. Subject to tho exception in the paragraph above, Grantor warants and wil! forever
    dsfend the titlo to the Property against the lawful claims of all persons. ln the ev€nt any action or
    proceeding is commenced that guostions Grantor's tide or the inter$t of lsnder under thls Mortgage,
    Grantor shall defand the action at Grantor's expense. Grantor may be the nominal party in such
    proceeding, but Lender shall be entitled to participate in the proceeding and to bo ropresented in the
    proceeding by counsel of Londer's own choice, and Grantor will deliver, or Gau8e to be deliv€rad, to Londer
    such instrumonts as Lsndsr may roguest from time to time to pormit such participation.
    Gompliance with Lawa. Grantor warrsnts that the Property and Grantor's usa of tha Property complies
    with all existing applicable laws, ordinancss, and regulations of governmental suthorities,
   Surulval of Representatlons and Wananties. All represantations, warrantigs, and agreements made by
   Grantor in thls Mortgage shall survive the sxecution and delivsry of thie Mortgage, shall be contiltuing in
   natur6, and shall remain in full force and affeet until suoh time as Grantor's lndebtsdness shall be paid in
   full.
EXlSTll{G II{DEBTEDIIESS, The following provisions concerning Existing lndebtedness are a part of this
Mortgage:
   Existlng Lien. The lien of this Mortgage securing the lndebtedness may be sacondary and inferior to an
   existing lien. Grantor expressly covsnants and agrees to pay. or see to the paymant of, the Existing
   lndebtodness and to prevont any default on such indebtedness, any default under the instruments
   ovidencing such indebtedness, or sny default under any security documents for such indebtadness.
   No Modilicaiion, Grantor shall not enter into any agrsemant with the holder of any mortgage, deed of
   trust, or other security agreemant which has priority over this Mortgage by whlch that agreement is
   modified, amsnded, extended, or renewed without the prior written conssnt of Lender. Grantor shall
   neither request nor accopt any future advances under any such gecurity agreomont without tha prior
   writton consent of Lender.
COIUDEIIINATION. The following provisions relatlng to condomnation proceedings are a part o{ this Mortgege:
                                                  *-*- *.1+-t-
                                                           I'i'
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 140 of 240 PageID #:140


                                                    MORTGAGE
   Loan No: 11g07fiB                                (Continuedl
                                                                                                              Page 6

      Proceedings' lf any proceeding in condemnation is
                                                             filed, Grantor shall promptly notify        in ,r*"
                                              steps as.mav be n"r"*"rv to d6f6nd the action
      :11,:*?='.j^::r|j.|Tp"rr:1t.-*11
      award.   Grantor may be. tha nominat party in such proceedins,                              ""*and obtain the
      the proceeding and to be represented in-the proceeding
                                                                       L; Lenaer shal be entitted ;Hi"tflLJ?;
                                                                   by-counsel of its own choiee, and Grantor will
      doliver or cause to be delivered to Lender such instrum-ents
                                                                      anc io"urentation as may be requested by
      Lender from time to time to permit such participation.
       Application of Net Proceeda. 11 all or any part
       proceedings or by any proceeding or purchasl
                                                              of the property is condemned by eminent domain
                                                       in lieu of conoemnation, Londer may at its election require
       that all or any portion of the nei proceeds of the
       rostoration of the Property. The net proceeds
                                                            award be applied to tt" lnd"bt"onass or the rapair or
                                                        of the award shall mean the award after payment of all
       reasonable costs, expenses, and attorneys'
                                                  fees incurred ov i"noa, in connection with the condemnation,
  llulPoslTlotu oF TAxEs' FEES AIiID GHARGES
                                                  BY eovEnNMEttITAt AuTHoRtTtEs. The foltowing provisions
  relating to governmentar taxes, fees and charges
                                                    are a part of this Mortgage:
     Curont Taxes, Fees and Charges. Upon request by
                                                                Lender, Grantor shall execute such docurnents in
     addition to this Mortgage and take whatever other
                                                           sction is roquested by Lender to perfect and continue
     Lender's lien on the Real Property. Grantor shall
                                                            reimbuise tenaar for all taxes, as described below,
     together with all expenses incurred in recording, pertecting
                                                                   oicontinuing this Mortgage, including without
     Iimitation all taxes, fees, documentary stamps, ina
                                                          otner          for recording or registering this Mortgage.
     Taxes. The following shallconstituta taxes to which this "f,.rg"*
                                                                 section applies: {1) a specific tax upon this type
    of Mongage or upon a, or any part of the rndebtednese
                                                                 secuieo by this Mortgage; {2r a specific tax on
    Grantor which Grantor is authorized or required
                                                       to deduct from payments on th6 lndebtednese socured by
    this type of Mortgage; (3) a tax on this type of
                                                         Mortgage chargeable against the Lender or the holder of
    the Note; and (4) a specific tax on all or any portion
                                                             or ine lnaeutedness or on payments of principal and
    interest made by Grantor.
    subsequent    Taxec' lf any tax to which this ssction applies is enacted subsequent
    Mortgage, this event shall have the same effect as                                       to tha date of this
                                                         an Event of Default, and Londer may exercise any or all
    of its available remedies for an Event of Default as proviueJ
    before it becomes delinquent, or (21 contests the                                              l
                                                                   below unless Grantor either (1 pays the tax
                                                          tax as provided above in tho Taxes and Liens section
    and dePosits   with Lender cash or a sufficient corporate    'rri.ty
                                                                         bond or other security satisfactory to

sEcuRlrY AGREEMENT; FII{AI{CING srATEltJlENTS. The
                                                   fottowing provisions relating to this Mortgage 6s a
security agreement are I part ol this Mortgage:
    security Agreement. This instrument shatl      constitute a security Agreement to the oxtent any of the
    Property constitutes fixtures, and Lender shall have
                                                          all of the righis oi a secured party under the Uniform
    Commercial Code as amended from time to time.
    security lnterert' Upon request by Lender, Grantor shall
                                                                 take whatever action is requested by Lender to
    perfact and continue Lender's security interest
                                                    in the Rents anJ personal property. tn addition to recording
   this Mortgage in the real property records, Lender ,.v, rt
                                                                 ,nv time and without fufther authorization fiom
   Grantor' file executed counterparts, copies or reproductions
                                                                     of this Mortgag8 as a financing statement.
   Grantor shall reimburse.l-ender for all expenses incurred
                                                               in perfecting or continuing this security intorost.
   Upon default, Grantor shall not remove, 86ver or detach
                                                                the personal property from the property. Upon
   default' Grantor shall assemble any Personal Property not
                                                              affixeJto the property in a manner and at a place
   reasonably convenient to Grantor and Lender and
                                                         make it avaitaote to Lender within three {3) days atter
   receipt of written demand from Lender to the extent p"rmittJ
                                                                    [v appricabre raw.
   Addreeses. The mailing addresses of Grantor
                                                {debtor} and Lender {secured party} from which information
   concerning the security interest granted by this
                                                      rvrortguge rnry be obtained (each as required by the
   Uniform commerciar code) are as rtut"d on
                                             ih" first page- o-t tt is toro.tgage.
FURTHER AssuBAt{cES; ATT0RNEY-|N'FACr.
                                                  The following provisions rolating to further assurances and




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                                                               0905731 1m Page: 8 of 14
    Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 141 of 240 PageID #:141


                                                 MOBTGAGE
Loan Jtlo: 11807145                              (Continuedl                                               Page 7



attorney-in-fact are a part of this Mortgage:
    Further Aoeurancet. At any time, and from time to time, upon roquost of Londor. Grantor will make,
    sxecute and deliver, or will cause to b6 mad€, executed or delivored, to Londor or to Lender's designee, and
    when requested by Lender, o6u6e to be filad, rscorded, rafiled, or rerecorded, as the caso may be, at such
    tim6s and in such offices and places as Lender may daem appropriate, any and all such mortgages, deeda
    of trust, security deeds, security agreements, financing statements, continuation Statements, instrumBnts
    ol further assurance, certificates, and other documents ss may, in the sole opinion of Lender, be nacessary
    or dasirable in order to Bffectuate, complote, perfect, continue, or pr€servo     (1)  Grantor's obligations
    under the Note, this Mortgage, and      the Related Documents,  and   {2t   the liens and security interests
    created  by this Mortgage   on  the Property, whether now owned   or hareafter acquired by Grantor. Unless
    prohibited by law or Lender agroos to th€ contrary in writing, Grantor shall reimburse Lender for all costs
    and expenses incurred in connection with the matt€rs refensd to in this paragraph.
    Attomey.'rin-Fast, lf Grantor faile to do any of the things referred to in tle preceding paragraph, Lendar may
    do so for and in the nams of Grantor and at Grantor's expense. For such purposes, Grantor hereby
    irrevocably appoints Lander as Grantor's attorney-in-fact for th€ purpose of making, executing, delivering,
    filing, recording, and doing all other things as may be necessary or desirable, in Lender's sole opinion, to
    accomplish th6 mattors referred to in the preceding paraglaph.
FULL PEBFOBMANCE,         lf
                          Grantor pays all tho lndobtodness when due, and otherwiso performs all the
obligatione imposed upon Grantor under this Mortgage, Lender shall execute and deliver to Grantor a suitable
satiafaction of this Mortgage and sultable stst€monts of termination of any financing stat€ment on file
evidencing Lender's security interest in the Hents and the Personat Property. Grantor wlll pay, il permlttsd bY
applicable law, any reasonable termination fee as dgtermined by Lender from time to time.
REIIuSTATEMENT OF SECURIW IIITEREST. lt payment is made by Grantor, whether voluntarily or otherwiae,
or by guarantor or by any third party, on the lndebt€dness and thereafter Lender is forced to romit the amount
of thai paymont (A) to Grantor's trustee in bankruptcy or to any similar porson under any federal or stato
bankrupicy law or law for tha relief of debtors, {Bl by roason of any iudgment, decree or order of any court or
administrative body having jurisdiction over Lender or 8ny of Lender's propeny, or (Cl by reason of any
sstrlement or compromige of any claim made by Lender with any claimant (including without limitation
Grantor), the lndebtedness shall be considered unpaid lor the purpose of enforcement of this Mortgage and this
Mortgage Bhall continue to be elfective or shall be rsinstated, 88 the casa may bE, notwithstanding any
canciilation of this Mortgago or of any noto or other instrumGnt or agroe[rEnt evidencing the lndebtednsss and
the Property will continul to secure thc amount repaid or recovered to tho same 6r(ont 8s if that amount nsver
had boen originalty receivsd by Lender, and Grantor shall be bound by any iudgment, decroe, order, settlemont
or compromise relating to the lndebtodness or to this Mortgage'
EVEIIITS OF DEFAUIT. Each 0f the following, at Lender's option, shal! constitute an Event of Dafauh
                                                                                                            under
this Mortgage:
   payrnent Default. Grantor fails to make any payment when due under the lnd6btednoss.

   Dglault on Other Paymofis. Failure of Grantor within the tims roquired by this Mortgage to mcko any
   paymGnt for taxes oi insurrnce. or any other paytnent necsssary to pr€vent filing irf or to effect discharge
   of any lien.
   Othsr Defaulte. Grantor lails to comply with or to perform 8ny othor term, obligation, covenant or
   condition contained in this Mortgage or in any of the Belated Documents or to comply with or to perform
   any term, obligation, cov€nant or condition containod in any other agreemont between Lender and Grantor.
   Defauh in Favor of Third Partlss. Should Grantor dcfault under any loan, oxtongion of credlt, eecurity
   ogrBement, purchase or sales agroomont, or any other agreamont, in favor of any other creditor or p8rson
   tliat may materially affect any of Grantor's propsrty or Grantor's ability to repay the lndebtednoss or
   Grantor's ability to perform Grantor's obligations under this Mortgage or any related document.
   Fatse Statomentr. Any w6rranty, rspresentation or statement made or furnished to Lender by Grantor or
                                          l'
     Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 142 of 240 PageID #:142


                                                       MORTGAGE
   Loan No; 118;07145.                                 (Continuedl
                                                                                                                  Page 8

      on Grantor's behalf under this Mortgage or                                                           --------...:--:-
                                                     tho Related Documents is farse or misleading
      respect' either now or at the time made                                                       in any material
                                               or furnishod o, u""om"s-irr* o, misleading
                                                                                           at any time thereafter.
      Defoctive collateralization-' This Mortgage
                                                   or any of the Rerated Documents ceasos
                                                                                            to be in full force and
                                                           to create a varid and pedectea seruriiv.intorest
      :ffii!]H:'r*tr:?"ffi      :;il|.'o"""'it-oo"r,,urt                                                     or rien)
      Death or lnsolvency. The dissolution of             (regardtess of whether eloction
                                               .Grantor,s
      member withdraws from the limited liability.orprny]oi"-ni                             to continue is made), any
      going business or the daath of any memblr,                      ott", termination of Grantor,s existenca as a
                                                     th; ins;;en;; crantor, the appointment of a receiver for
                                                      for the oeneiit"iof creditors, any type of creditor
      any part of Grantor's property, any assignment
      the commencement of any proceeding ,nder                                                            workout, or
                                                   any bankruit"f or. inrotruncy laws by or against
                                                                                                        Grantor.
      creditor or Forfeiture Proceedings. commencement
     judicial proceeding, self-help, re-possession           of foreclosu.re or forfeiture proceedings,    whether by
                                                   or any other me;iod, by any creoitii bt Grantor or by
     governmental agency against any property                                                                  any
                                                  securing thc lndebtedn""r. rnl, inauJes a garnashment
     of Grantor,s accounts, including deposit accounts,                                                     of any
                                                           with Lender. Howevar, this Event of Default shall not
     apply if there is t gggd faith diipute by Grantor
                                                           to tn. ,.riii,y o, reasonableness of th6 claim which is
     the basis of the creditor or forfeiture pioceeding "r
                                                        and if Grantor gives Lender written notice of the
     or forfeiture proceeding and deposits'witn Lenlemoni.r                                               creditor
     proceeding' in an amount dstermined
                                                                   oi, surety bond for the cr'ditor or forfeiture
                                             by Lender, in its sole discietion, as being an adoquate
     for the dispute.                                                                                  reserve or bond

    Exicting lndebtednees' The payment of any
                                                      instatlment of prinoipal or any intorest on the Existing
    lndebtedness is not made within tha time required
                                                        by the promissory note evideneing such indebtedness,
    a default occurs under the instrument securing                                                           or
                                                     ,uc-h indebtedness and is not cured during any applicable
    grace period in such instrument, or any
                                            suit orlther action is commenced to forecloge any existing
    the Property.                                                                                       lien on

    Breach   of other Agreement' Any breach by Grantor under the
                                                                   terms of any other agreemsnt between
                                                               -ferioa
    Grantor and Lender that is not iemedied within
                                                     any grace         provided therein, including without
    limitation any agreemont concerning any indebtedness
    existing now or later.
                                                         ir othsr obligation of Grantor to Lender, whether

    Evants Affecting Guarantor. Any of the preceding
                                                       evonts occurs with respect to any Guarantor of any of
    the lndebtednes8 or any Guarantor dies or becomls
                                                        in.orp"tunt, or revokes or disputes the vatidity of, or
    liability under, any Guaranty of the lndebtedness.
    Adverre Change' A material adverse change occurs in
                                                         Grantor's financial condition, or Lender believes the
    prospect of payment or performance of the
                                              lndebtedness is impairaa,
    Insecurity. Lender in good faith believes itself insecure.
RIGHTS AIID REMEDIES         oN DEFAUIT. upon the occurr€noe of an Event of Default and
thereaftor' Lender, at Lender's option, may exercise                                               at any time
                                                       any one or more of the following rights and remedies, in
addition to any other rights or remedies provided
                                                  by law;
   Accolorate lndebtedness. Lender shall have the right
                                                        at its option without notico to Grantor to declare the
   Bntire lndsbtedness immediately due and payable, includint
                                                               r'nv pr"prv*ent penalty that Grantor would bs
   required to pay.

   UCC Remedies' with. respect to all or any part of
                                                     the Personal Property, Lender shall have all the rights and
   remedies of a secured party under the Unifom Commercial
                                                              Code.
  Gollect Rents' Lender.shall have the right, without
                                                       notice to Grantor, to take possession of the property
  and collect the Rents, including amountJ past
                                                due and unpaid, ano apply the net proceeds. over and above
  Lender's costs, against the lndebtedness. ln furtherance
  other user of the Property to make payments
                                                             of this right, Lender may roquire any tenant or
                                                  of rent or usa fees directly to Lender, lf th6 Ronts are
  collected by Lender, then Grantor irrevooably
                                                 designates rrnori as Grantor,s attorney-in-fact to
                                                                                                            endorso




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                                                               0905731 100 Page: 10 of 14
   Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 143 of 240 PageID #:143


                                                 MORTGAGE
Loan I{o: 11807145                               (Contlnuedl                                                Pago 9


   instruments receivod in payment thereol in the name of Grantor and to negotiato the same and collect the
   proceads. Payments by tenants or other users to Lander in rasponsa to Lender's demand shall satisfy the
   obligations for which the payment8 are made, whsther or not any propar grounds for the demand existed.
   Lender may exercise its rights under this subparagraph either in person, by agant. or through a receiver.

   Mortgagee in Pocserclon, Lender shall have the right to be placed ss mortgagoe in poasession or to have a
   receivar appointod to take possession of all or any part of the Property, with the power to protsct and
   preservo the Property, to op€rdto the Property preceding foreclosure or sale, and to collact the Rents from
   ths Property and apply th6 procoeds, over and above the cost of the roeeivership, against the
   lndebtedness. The moftgagee in possession or receiver may servo without bond if permitted by law.
   Lender's right to the Eppointment of a rsceiver shall exist whether or not the apparent value of the Property
   exceeds the lndebtedness by a substantial amount. Employment by Lender shall not disqualify 6 person
   from eerving as a recsiver,
   Judlcial Foraclorure. Lender mey obtain a iudicial decree forecloaing Grantor's intereet in all or any part of
   tho Property.
   Daliciency Judgrnart. lf permitted by applicable law, Lendar may obtain a judgment for any dsficiency
   remaining in the lndebtedness due to Lender after application of all amounts raceived from the exercise of
   the rights provided in this section.
   Odrer Bemedies. Londer shall have all other rights and remedios provided in this Mortgage or the Note or
   available at law or in oquity,

   Sale of the Property. To the extent permitted by applicable law, Grantor hereby waivee any and all right to
   have the Property marshalled. ln exercising its righB and remedies, Lender shall be free to sell all or any
   part of the Property together or separately, in one sola or by separate sales. Lender ahall ba entitled to bid
   at any public sale on all or any portion of the Proporty.
   Irlotlce of Sale. Lender shall give Grantor reasonable notiee of the time and place ol any public eale of the
   personal property or of th€ tim6 alter which any pdvate sale or othar intended disposition of the Personal
   property is to be made. Raasonable notice shall mean notice given at leaet tan (10) days before the time of
   tho sals or disposition. Any sale of the Personal Property may be made in conjunction with any sale of the
   Real Property.

   Elecdon of Bemcdhs. Election by Lender to pursue any remedy shall not exclude pursuit of any other
   ramedy, and an election to make expenditures or to take action to perform an obligation of Grantor under
   this Mortgago, attor Grantor'e lailure to perform, shall not affect Lender's right to declare a default and
   exercise its remedies. Nothing under this Mortgage or otherwiso shall be construed 8o as to limit or rastrict
   the rights and rernedies available tc Lender following an Event of Default, or in any way to limit or resrict
   the rilhts and ability of Lender to proceed directly against Grantor and/or against any othar co'makor,
   guarantor, sur6ty or endorgar and/or to procaed against any othor collataral direcdy or indiractly eecuring
  the lnd€btedness,
   Attorneys, Faes; Expeneeo. lf Lender institutes any suit or action to enlorce any of the terms of this
   Mortgaje, Lender shalt be antifled to rocovar ouoh eum aB tho court may adjudge reaeonablc as attorneys'
   fees at-triat and upon any appeal. Whether or not any Gourt action is involved, and to the extBnt not
   prohibited by law, alt reasonable exponoes Lender incurs that in Lender's opinion aro nocessary at any time
   ior the prot;ction of its interest or the enforcement of its rights shall become a part of the lndabtedness
   payabte on demand and shall bear interest et the Note rate from the date of tho axpenditure until repaid.
   Lxp"nsas covered by this paragraph include, without limitation, however $ubiect to any limits under
   apblicatte law, Lender's attorneys' fees and Lender's legal expenses, whether or not thars i8 a lawsuit,
   including attorneys' fees and expenses for bankruptcy proceedings (including efforts to modify or vacEt8
   any aut;matic stay or inlunction), appsals, and any anticipatsd post-iudgmBnt collection sorvices, the cost
   of searching rocords, obiaining title ieports (including loreclosure roports,, eurvoyors' roports, and appraisal
   fees and title insurance, to tht extont parmittod by applicable law. Grantor also will pay any court Gost8, in
   addition to all other sums provided by law.
   Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 144 of 240 PageID #:144


                                                     MORTGAGE
 Loan No: 11801145                                    (Continuedl
                                                                                                                  Page 10

NorlcEs' Any notice required to be given under this Mongage,
                                                                           incruding without limitation any notice of
 ::j::lt'l#,u"1".T',j:-:1":jll^.,,,*,gl:"i.jl,-*lir,
 actually received by telefacsimile {unless otherwise
                                                              uJ  ffi,iil
                                                          -r"qrir"J           effective *r,en a"tuairy derivered, when
 recognized overnight courier, or, if mailed,
                                                                           iv
                                                                            taw), when ouror-i1;j"1rffi"'J'T:i,#ffi;
                                               when depositeo in th, unitea states mail, ss
 registered mail postage prepaid, directed                                                       first ctass. certilied or
                                              to the aoir"rser                   the beginning of this Mortgage. All
 copies of notices of foreclosule from the holder
                                                    of any lion "no*i'n.u.
to Lender's address' as shown near the beginning of this which has priority ovar this Mortgage shall ba gent
notices under this Mortgage by giving formai written
                                                                M;il"g" Any party may change its address for
                                                         notice to trri ittrer partiss, specifying that the purpose
the notice is to change the party;s address. For notice purposes,                                                       of
                                                                       Grantor agrees to keep Londer informed at all
times of Grantor's current address. Unless otherwise'pariu"J'o,
                                                                          requirea by hw, if there is more than one
Grantor, any notice given   by Lender to any Grantor is deemed to be notico given
                                                                                           to all Grantors,
MlscELtANEous PRovlsloilS. The following miscellaneous
                                                                        provisions are a part of thjs Mortgage:
   Amendments' This Mortgage, together with any
                                                       Related Document$, constitutes ths entire understanding
   and agreement of the parties as to the matters
                                                    set forth in this Mongage. No alteration of or amendment
   to this Mortgago shall- be effective unless given in
                                                        writing anJ-"ign"o
   charged or bound by the alteration or amendmsnt.                 - J    by the party or parti's sought to be

   Annual Raports' lf the Property is used for purposes
                                                          other than Grantor,s residence, Grantor shall furnish
   to Lender, upon reguest, a certified stat€ment of ne-t operatinl                           property
                                                                              income received
                                                                                       from the          during
   Grantor's previous fiscal year in such form and detail
                                                          as Lender shall require. ,,Net operating income, shall
   mean all cash receipts from the Prop€rty less
                                                 all cash expenditures made in connection with the operation
   of the Property.
   caption Headings' caption headings in this Mortgage
                                                              are for convenience purpo3es only and are not to be
   used to interpret or define the provisions of this filortgage.

  Governing Law' This lllortgago wlll be governed by federal
                                                                 law appricable to Lender and, to the axtont not
  proompted by fedoral law, the lawe of tha $tato
                                                    of llllnoh wihout regard to hs confl']cta of taw provialons.
  This Mortgage has been acceptod by Lender in the
                                                      state of ilrnoia.
  No Waiver by lender. Lender shall not be deemed
                                                        to have waived any rights under this Mortgage unless
  such waiver is given in writing and signed by Lender.
                                                               No delay or omission on ths part of Lender in
  exercising any right shall operate as a waiver of such right
                                                                  or any other right. A waiver by Lender of a
  provision of this Mortgage shall not preiudice
                                                 or constitute a waiver of Lender,s right otherwise to demand
  strict compliance with..that provision or any other provision
                                                                 of this Mortgage. No prior waiver by Lender,
  nor any course of dealing between Lender and Grantor, shall
                                                                   constitute a waiver oi ,ny of Lender,s rights
  or of any of Grantor's obligations as to any future transactions. Whenever
                                                                                 the consent of Lender is
  required under this Mortgage, the granting of such consent
                                                             ly leno", in any instance shall not constitute
  continuing consent to subsequent instances where such consent
                                                                  is required and in all cases such con$ent
  may be granted or withheld in the sole discretion of Lender.
  severability' lf a court of competent iurisdiction finds any provision
                                                                         of this Mortgage to be illegal, invalid,
 or unenforceable as to any circumstance, that finding shall not
                                                                   maie the offending provision illegal, invatid,
 or unenforceable as to any othsr circumstance. li feasible, the offending pror'i.lon
                                                                                           shall ba considered
 modified so that it becomes legal, valid and enforceable. lf
                                                               tire offending provision cannot be so modified,
 it shall be considered daleted from this Mortgage. Unless othlrwise required by law, the illegality,
 invalidity, or unenforceability of any provision ot-this Mongage
                                                                       shall not affect the legality, validity or
 enforceability of any other provieion of this Mortgage.
 Merger' There shall be no merger of the interest or estato created
                                                                    by this Mortgage with any other interest
 or.estato in the Property at any time held by or for the benefit
                                                                    of Lender in anv capacity, without the
 written consent of Lender.
 succassors and Aseigns. subject to any limitations
                                                         stated in this Mortgage on transfer of Grantor,s
 interest, this Mortgage shall be binding upon and inure
                                                         to the benefit of the parties, their successors and




                          Vt to *:e6e6 9g1te/9060
                                                              0905731 100 Tage: 12 of 14
   Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 145 of 240 PageID #:145


                                                    MORTGAGE
Loan Nol 11807145                                   (Continuedl                                         Pago 11


    assigns. lf ownership of the Propefty becomes vested in a person other than Grantor, Londcr, without
    notioe to Grantor, may deal with Grantor's succsssors with reference to this Mortgago and the
    lndebtedness by way of forbearanco or extension without releasing Grantor from the obligations of this
    Mortgage or liability under the lndebtedness.
    Time io of the Ecssnce. Time is of tha essence in the performance of this Mortgage.
    lilaive Jwy, All partler to this Mortgage hareby wdve dre dght to any jury tial ln any actlon, proceeding,
    or counterclaim brought by any party againut any ofter party.
   Waiver of Homenead Exemption. Grantor hereby releaees and waives all rights and bsnefib of the
   homestead exemption laws of the $tate of lllinois as to all lndebtedness eecured by this Mortgage.
MAXIMUM LIEI{. At no tme ehall the pr'mcipal amount of lndabtednatc cccurod by the lliortgrgo, not
krcludng suml advanced to protset the mcurity of the Mortgago, erceed 91,250,000.00.
DEFlillTlONS. The following capitalized words and terms shall have tho following meanings when used in this
Mortgage. Unless specifically statod to the contrary, all referonces to dollar amounB shall mean amounte in
lawful money of the United States of Amarica. Words and tarms used in the singular shall inctude tha plural,
and the plural shall include the singular, as the context may require. Words and terms not othenflise defined in
this Mortgags shallhave the meanings attributed to such tsrms in the Uniform Commercial Code:
   Bonower. Theword nBorrower" means SOUTH BOUND PROPEBTIES, LLCand includes"all co-signers and
   co-makers signlng the Note and all their successors and assigns.
   Defauh. The word "Default" moans the Default Bst forth in this Mongago in the section titled 'Defauh".
   EnvlronmentalLaws. The words "Environmental Laws" mean any and all atate, federal and local itaflJte8,
   regulations and ordinances relating to the protection of human health or the environment, includlng without
   limitation the Comprehensivo Environmental Response, Compensation, and Liability Act of 1980, as
   amended,42 U.S.C. Section 9601, et seq. {"CERCLA'1, the Superfund Amendments and Reauthorlzation
   Act of 1g86, pub. L. No,99-499 ('SABA"!, the Hazardous Materials Transportation Act,49 U.S.C.
   Section 1801, et seq., the Resource Conservation and Becovery Acl,42 U.S.C. Section 6901, et 88q., or
   other 6pplicable state or lederal laws, ru1e8, or regulations adopted pursuant ther€to.
   Event ol Defauh. The words "Event of Default' mean any of tha avents of default Bet forth in this
   Mortgage in the events of default section of this Mortgage.
   Exlaing lnde$tedness, The words 'Existing lndebtedness" mean the indebt€dness desoribed ln the Existing
   Liens provision of this Mortgage.

   Orantor, The word nGrantorn means SOUTH BOUND PBOPERTIES, LLC.
   Guarantor, Ths word "GuErantor" mGans any guarantor, suro'ty, or accommodation party of any or all of
   tho lndebtednoss.
   Guaranty. The word "Guaranty" means the guaranty llom Guarantor to Lender, including without limitation
   a guaranty of all or paft of the Note.
   Haeardous Suhstances, The words "Hazardous Substances' mean materlals that. becauso of thoir
   quantity, concentration or physical, chemical or infectious characterietic6, may cause or pose a prosent or
   potential hazard to human health or the environment when improperly u3ed, treated, stored, disposed ot,
   genaratod, manufacturad, transported or otherwlse handled. The words "Hazardous Subgtances' ara used
   in tneir very broadest sense and include without limitation any and all hazardous or toxic subgtances,
   materials or wast6 as defined by or listed under the Environmental Laws. The term "Hazardous
   Substanees" also includes, wlthout limitation. petroleum and petroleum by-products or any fractlon thereof
   and asbestos.
   lmprovements. The word "lmprovomsntsn means all oxisting and future improvemants, buildings,
   structures, mobile homes affixed on the Real Property, facilities, additions, replacements and other
        Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 146 of 240 PageID #:146                       lh*+.fratrp
                                                                                                                                     F.D   .




                                                           MOBTGAGE
      Loan No: 1180714S
                                                           {Continued}
                                                                                                                           Page 12

         construction on the Real property.
         lndabtedness. The word "lndebtedness,"
                                                      m.e1ns all principal, interest, and
         €xp€nses Pavablo under the Note or *d:,:9                                        other amounts, costs and
                                                         oo.*"-ni",-iog"tn", with a[ ,.ene.oars of,
         modifications of' consolidations of and substitutions                                        extensions of,
                                                               for ttre Note or Berated Documents and
         expended or advanced by Lender to                                                             any amounts
                                                 discharge Gr;^,*'; ;tigatrons or expens.s
                            obtigations under this Mortiag., tog*i.r-iriih                    incurred by Lender to
         *1ff:r3:t#or's                                                     interest    on' rr"t liount$ as provided in

         Lender' The word "Lender" means Allegiance
                                                           community Bank, its succes3ors and assigns.
        Mortgage' The word 'Mortgage" means this
                                                           Mortgage between Grantor and Lender.
        I{ote' The word "Note" means the promissory note
         amount of $25o,ooo.0o from Grantor                         dated January 27,200g, in the orlglnal prlncipal
                                                 io Lender, tos",ili;ith;ll renewals of, extensions
        of' refinancings of, con'olidations of, and sutstitutil;                                         of, modifications
        rate on th€ Note is 7.500% based on year
                                                                    i;r-;; promissory note or agraement. The
                                                                                                                   interest
                                                a      of 360 days.
        Pereonal Property' The words *Personal
                                                      Property" mean all equipment, fixtures, and
        personal property now or hereafter                                                               other articles of
                                             owned by drantor, ,n; no.w or hereafter
        Property; together with all.accessions, parts,                                   attached or affixed to the Rear
                                                        and addiiions to, allreplacemants of, and
        any of such propeny; and togethe, *ith                                                       allsubstitutions for,
        and refunds of premiums) from any
                                                    afi.p.ceeJrir.frii"g      without limitation all insurance proceeds
                                             sare or other disposiiion oiti" property.
        Property' The word "Property" means collectively
                                                              the Heal property and the personal property.
        Beal Property' The words "Reel Property"
                                                     mean the raal property, interests and rights,
       in this Mortgage.                                                                             as further described

       Related Documents' The words "Rerated
                                                   Documents' mean ail promissory not$, credit
       agreements' environmental agreements, guaranties,                                         agreements, roan
                                                                  security agreements. mortgages, deeds of trust.
       security deeds, collateral mortgages, ana
                                                   alt ottrer instrumtni*, ,graurents and documents,
       or hereafter existing, executed in ionnection                                                 whether now
                                                      with the tnaeoteaness.
       Rents' The word "Rents" means all present and future
                                                            rents, revenues, incomo, issues, royalties, profits,
       and other benefits derived from the property,


    GRANTOR ACKNOW|."EDGES HAVIIIIG
                                             READ AI.t THE PROVISIONS OF THIS MOBTGAGE,
    AGREES TO ITS TERMS.                                                                               AND GRANTOR

    GEANTOF:


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                                                                0905731 100 Page: 14 of 14
     Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 147 of 240 PageID #:147


                                                   MORTGAGE
Loan [tlo: 11807145                                (Continuedl                                              Page 13




                         LIMITED TIABILITY COMPANY ACKI{OWTEDGMENT


srArE   oF -W                                                        l
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cour{rY   o, 0r'r,        a-
                                                                     l


0n   this       d,'7n          day of   (?tr*tno /                           me, the undersisned Notary
                                                                   ' A/K/A BASHIR
                                                                -,M-before
Public, persoi-ally appeared IASHIR ir.                  CHAUDRY                     M. CHAUDHRV.
                                         ol SOUTH BOUI{D PROPERilES, LLC and IIIUSBAT CHAUDHRI,
                                        of SOUTH BOUIID PROPERflES, LLC, and known to me to be members or
designated agents of the limited liability company that axecutad the Mortgage and acknowladged the Mortgage
to be rhe free and voluntary act and deed of the limited liability company, by authority of statute, its articles of
organization or its opetating agreement, for th6 uses and purposcs therein mentioned, and on oath statod that
they are authorized to          this Mortgage and in fact executed the Mortgaga on behalf of the limited liability
company.

By                                                            Recfulhg at

Notary Publlc ln

My commiaeion expiree




LASER PRO t-enaing, Ver.5.43.00.003 Copr. Har{and Financial Solutions, lnc. 1997,2009. All Rights
                          Reserved. - lL R:\CF|\LPL\G03.FC TR-762 PB-5
            Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 148 of 240 PageID #:148



                      5q;tit        Tire; Jf-J
           RECORDATION REOUESTED BY;
              Allegiance Community Bank
    lif
    O)         8001 W. 183rd Street                                                     Doo#r 0094134@9 Frc: 0{8.00
    t"                                                                                 Eoganc'Oana' Moon BH# Fcc:fi 0.00
    o          Tinley Parl, tL 60/187
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    J                                                                                  Ooo[ O(llllly Boocdrr ol Drrh
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 (\        WHEN RECOBDED MAIL TO:
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TL
           Thi, Mortgage prepared by:
                   LUS CHAVEZ
                   Allegiance Community Bank
                   80Ol W. 183rd Street
                   Tinley Park, lL 60487



                                                            MORTGAGE

          THIS MOBTGAGE dated ltlovember 30, 2006, Is made and sxecuted b€rwosn 9OUTH BOUI{D PROpERTIES,
          LLC, an lllinois limited Liability Gompany {refened to bdow ai "Grantor"l and Allcaianct Community Bank.
          whose address is 8001 W. 183rd Stroet, Tinley Park. lL 00487 lrefared to bdow !r "L!nder"!.

          GRANT OF MORTGAGE. For valuabla concideration, Granlor mortgages. warrants, and conveys to Lendar all
          of Grantor's nght, title, and interest in and to thc tollowing described real property. togethcr with all existing or
          subsequently erected or affixed buildings, improvoments and lixturss; all easements, rights ol way, and
          appurtenances; all water, water rights, watercourse$ 8nd ditch rights (including stock in utilities with ditch or
          irrigation rights); and all other rights, royaltiee, and profits relating to the real property. including without
          limitation all minerals, oil, gas, geothermal and similar matters. ltre ,,Ro8l property"l located in COO* County,
          Stata of lltlnols:
              LOT 9, 10, AND 11 IN BTOCK 13 OF CORNELL SUBDIVISION, BEING A SUEDIVISIOIU OF THE WEST 1I2
              OF THE                  114 Of SECTION 2S. TOWNSHIP 38 IIIORTH, RANGE 14 EAST OF THE THIRD
              PRINCIPAL   MERIDIAI{, II{ COOK COUIITY, ILLINOIS.
                      'IIORTHWEST
          The Rsal Property or its addrsss io commonly known aa 7283-7?87 S. SOUTH CHTCAGO AVE., CHICAGO, lL
          60619. The Real Properiy tax ideniificrtion numbcr h 20-26-ll0.o25-oo0o.
          Grantor presently assrgns to Lender all ol Grantor's righr, tltle, and interest in and to all present and luture
          leases of the Propofiy and all Bents from the Property. ln addhion, Grantor grants to Lender a Unitorm
          Commercial Code security inte/est in the personal propaty and Rsnts.
          THIS MORTGAGE, INCLUDTNG THE ASSIGNMETTT OF REI{TS AT{D THE SECURITY INTEREST tN THE RENTS
          AND PERSOITIAL PROPEBTY, IS GTVEN TO SECURE                IAI
                                                           PAYMENT OF THE INDEBTEDIIIESS AND (B}
          PERFOFMANOE oF ANY AND ALI OBLIGATIONS UI{DER THE NOTE, THE RELATED DOCUMET\|TS, AIttD
                                                                                                 THIS
          MOBTGAGE. THIS MORTGAGE IS GIVEN AND ACCEPTED ON THE FOLLOWI{G TEBMS:
          PAYME {T AND PERF0RMANGE. Except as otherwiso provrded in this
                                                                                 Mortgage, Grantor shall pay to Lender
          all amounts secured by this Mortgage as thoy become due and shall strictty pe*Lrm all ol Grantor's obligations
          under this Mortgage.

                                                       Box 15

                                                                                                                                $V
        Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 149 of 240 PageID #:149



                                                       MORTGAGE
       Loan No: 11802984                               (Continuedl                                              Pago 2

l$
lo,    POSSESSION AND MAlttlTEItlAItlCE OF THE PROPERW. Grantor agrees that Grantor's possession
t\
lo     the Property shall be governed by the following provrsions:
                                                                                                 and use ot
IJ
IN        Posrceeion and Use. until the occurr€nce of an Event of oetault, Grantor may (ll romarn rn posspssion
loAI
          and control of the Propertyi l2l use, operate or manage the Property; and (31 collect the Rents lrom the
 (L
          Property.

 *tr
 @
          Duty to Maintain. Grantor shall maintain the Proporty in tenantable condition and promptly perform all
c.)       repairs, replacements, and maintenance necessary to preserve its value.
AI
o
N         Compliance lMth Environmental Larvs. Grantor represents and warrants to Lender that:
(')
AI
                                                                                                        11l During the
lr)       Deriod of Grantor's ownership of the Property. there has been no use, generation, manufacture, storage,
rii       treatment, disposal, release or threatened release of any Hazardous Substance by any p€rson on, under,
F         about or lrom the Property; {21 Grantor has no knowledge oJ, or reason to beli€ve that there hae baen.
o         except as previously disclosed 1o and acknowledged by Lander in writing, (a) any breach or violation of
o
uJ
J         any Environmental Laws. {bl any use, generation, manufacture, storage, treatmont. disposal, release or
TL
          threatened release of any Hazardous Substance on, under, about or from the Property by any prrcr owners
          or occupants of the Property, or (c) any actual or threatened litigation or ctaims ot any kind by any person
          relating to such maners; and (31 Except as previously disclosed to and acknowladged by Lender in
          writing, (a) neither Grantor nor any lenant, contractor, agent or oth6r authorized user ol the property shall
          use, generate, manufacture, store, treat, dispose of or release any Hazardous Substance on, undsr, about
         or {rom the Property; and lb} any such activity shall be conducted in compliance with all applicable
         federal, state, and local laws, regulations and ordinances, including without limitation all Environmental
         Laws. Grantor authorizes Lender and its agents to enter upon the Property to make such inspectionr and
         t€sts, at Grantor's expense, as Lender may deem appropriate to determine compliance of the Prop€rty with
         lhls section ol the Mongage. Any inspections or tests made by Lendar shall be lor Lender's purposes only
         and shall not be construed to create any responsibilrty or Iability on the pan of Lender to Grantor or to any
         other person, The representations and warrantres contained hsrein are based on Granlor's due diligence in
         investigating the Property for Hazardous Substances. Grantor herebv (1) releases and waives any future
         claims against Lender for indemnity or contribution in the evenr Grantor becomes liable for cleanup or other
         costs under any such laws; and (21 agrees to indemnily, delend, and hold harmless Lender against any
         and all claims, losses. liabilities, damages, penalties, and expenses which Lender may directly or indiractly
         sustgin or sullar resulting from a breach ol this section of the Mortgage or as a cons€quonce of any use,
         generation, manufacture, storago, disposal. release or threalensd release occurring prior to Grantor's
         ownership or interest in the Property, whether or not th€ same was or should have bean known to Grantor.
         The provisions of this section of the Mortgaga, including the obligation to indsmnify and defend, ehal
         survive the payment o, the lndebtedness and the satislaction and reconveyance of the lien of this Mortgaga
         and shall not be affected by Lender's acqursitron of any rnterest in th€ Property, whethar by foreclosure or
         other'wrse.

        Nuisanee, Waste. Grantor shall not cause, conduct or permit any nuisance nor commit, permit, or sulfer
        any stripping of or waste on or to the Property or any portion of the Propafty. lMthout limiting th€
        generality of the foregoing, Grantor will not remove, or grant to any other party th6 right
                                                                                                     to r€move. any
        timber, mineralu (including oil and gasl, coal, clay, scoria, soil, gravel or rock producti without Lender,s
        prior written congent.

        Removal ol lmprovements. Grantor shall not demolish or remove any lmprovements lrom the Real property
        without Lender's prior written consent. As a oonditron to the removal of any lmprovements, Lender may
        require Grantor to make arrangements satisfactory to Lender to replace such lmprovements
                                                                                                                 with
        lmprovemerrts of at leasl equal value.
        Lender's Right to Enter. Lender and Lender's agents and representatives may ontor upon the Real property
        at all reasonable trmes to attend to Lender's interesrs and to inspect ths Beal property for purposes of
        Grantor's compliance with tho terms and conditions of this Mortgage.
        Compliance with Governmental Requirements. Grantor shail
                                                                        Dromptly comply with all taws, ordinances,




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            Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 150 of 240 PageID #:150
                                                                             063413406S Page: 3 of 13




                                                               MORTGAGE
            Loan No: 11802984                                  {Gontlnued}                                                  Page 3

     $
     o)        and regulations, now or herealter in effect. of atl governmental authorities applicable
I


    f.-
               occupancy of the Property, including without limrtation, the Amancans With Disabilities
                                                                                                                 to the us6 or
    o
    o                                                                                                          Act. Grantor may
    J
     r.-       contest tn good faith      any such law, ordinance, or regulation and withhold cornpliance during any
    o          proceeding, including appropriate appoals, so long as Grantor has notified
    AI                                                                                     Lender in wiiting prior to doing
               so and so long as, in Lender's $ole opinion, Lsnder's intsrests in the Property Iro not jeopardized.
                                                                                                                     Lsnder
    (L         may require Grantor to post adequate security or a surety bond, reasonably satislactory to Lender,
    6                                                                                                                    to
    ':q        prot€ct Lender's interest.
    F.
    (')
    N
    o          Duty to Protcct. Grantor agrees neither to abandon or teave unattended the property, Grantor
    6t
                                                                                                                  shall do all
               other acts, in addition to those acts BGt lorth above in this section, which lrom the character
    (Y)
    6l                                                                                                         and usE of the
    rr)
               Property are reasonabry neceseary to prot'ct and preserve the property.

    F
    'Ii    DUE oN SALE 'coNsENT BY [ENDER. Lender fray, at Lender's option,
                                                                                       dectara imm€diately due and payable
    o       all sums secured by this Mortgage upon the sale or transfer, without Lender's prior writton
                                                                                                            consont, of all or
    o       8ny part of the Raal Property, or any interast in the Real Property. A "salg or transfor', means
    uJ
    J                                                                                                          the convoyanco
tL         of Real Property or any right. title or interesr in the Real proper0; whethff tegal, benefioial or equitable;
           whether voluntary or involuntary; whgther by outright sale. deed, installmont sale contract, land contract,
           conlract for dsad, leasehold interest with a term greater than three (3) years, lease-option contract, or bv sale,
           assignment, or uansfer of any beneficial interest in or to any land trust holding title to ths Bsal propcrty, or by
           any other method of convoyance of an int€r€st in the Reat Property. lf any Grantor is a oorporation.
           partnership or limited lisbility company, transfer also includes any change in ownership
                                                                                                                of moro than
           twenty-five percent (25%l of tha voting stock, partnership interects or limited liability company interests, as
           the case may be, of such Grantor, However, this option shall not be exercised by Lender il such exercise is
           prohibited by fedoral law or by lltinois law.

           TAxEs AND LIENS. The following provisions relating to th€ tax6s and liens on the Property are part of rhis
           Mortgage:
              Payrnent. Grantor shall pay when due (and in all events prior to delinquencyl all taxes. payroll taxes,
              epecial taxes, assassrn€nts, water charges and sewor service charges levied against or on eccount of thg
              Propeny, and shall pay when due all claims for work done on or for services rendered or material furnished
              to the Property. Grantor shall maintain the Property free of any liens having priority ovsr or cquat to the
              interest of Lender under this Mortgage, axcopt for those liens specifically agreed to in writing by Lendar,
              and excePt lor the lien of taxes and assessmonts not due as further specified in tha Right to Contest
              paragraph.

              Bighr to Contest. Grantor may withhold payment of any tax, assessment, or claim ln connection with a
              good faith dispute over the obligation to pay, so long as Lender's inter$t in the Property is not jeopardized.
              lf a lien arisos or is filed ae a result ol nonpayment, Grantor ehall within tiftoen (151 days after tho lien
              arisss or, if a lion is filed, within fifteen {16} days aftsr Grantor has notice of the filing, sscure tha discharge
              of the lien, or if requested by Lender, deposit with Lender cash or a sufficiant corporate sursty bond or
              other security satis{actory to Landor in an amount sufficient to discharge the lien plus any coits and
              attorneys' fees. or othar chargos that could accrue as a result of a foreclosure or sale under the lien. ln
              any cont€st, Grantor shall defend itsslf and Lendar and shall satisfy any adverse judgment before
              enforcament against the Propeny. Grantor shall name Lender as an additional obligee under any surety
              bond lurnishod in the contBst proceedings.
              Evidence of Payment, Grantor shall upon demand furnish to Lendor satisfactory evidencs ol payment ol
              tha taxes or assassments and ehall authorize the appropriate governmental official to dclivar to Lender at
              any time a writtsn statEmsnt ol the taxes and assessmonts against the property.
              lrlotice of Conetruction. Grantor shall notify Lender at least lifteen (15) days befora any work is
              commenced, any gervices are furnished, or any materials are supplied to the Propeny, it any mechanic's
              lien, materialmen's lien, or other lien could be assened on account of the work, scrvices. or materials and
              the cost oxceeds $25.000.00. Grantor will upon rsquost of Lender furnish to Lender advance assurances
              satisfactory to Lender that Grantor can and will pay the cost of such improvements.
                    Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 151 of 240 PageID #:151
       H*w@




                                                                   MORTGAGE
               Loan No: 11802984                                   {Continued}                                               Page 4

l\t
Io)            PROPERTY DAMAGE II{SURANCE. The tollowing provisions relating to insuring the property are a part of rhis
lF-
lo             Mortgage:
I3
lF-
t<)                 Maintenance of lnsurance. Grantor shall procure and maintain policies of fire insurance with standard
 (\
                    extond€d coverage endorsemants on a replacement basis for the full insurable value covering all
 o-                 lrnprovements on the Real Property in an amount sufficient to avoid application ol any coinsurance ctaus6,
 co
 s                  and with a standard mortgagee clause in favor ol Lender. Grantor shall also procur€ and maintain
F-
(r)
                    comprehensive general liability insurance in such coverage amounts as Lender may roquett with Lender
c{                  beirrg named as additional insurads in such liability insuranc€ policies. Additionally, Grantor shall maintan
o
N
(t,             ,   such other tnsurance, including but not limited to hazard. business interruption and boiler insurance as
\lr)
N
                    Lender may require. Policies shall be written by such insurance companies and in such form as may be
rli                 reasonably acoeptable to Lender. Grantor shall deliver to Lendsr certificates ot covergge trom each insursr
F
(f                  containing a stipulation that coverage will not be cancelled or diminished without a minimum of ten {10}
a                   days' prior written notice to Lender and not containing any disclaimer of the insurer's liability for failuro to
ul                  give such notice. Each insurance policy also shall include an endorsement providing that eoverage in fayor
J
lr
                    of Lender will not be impaired in any way by any act, omission or default of Grantor or any other p€tson.
                    Should the Real Property be located in an area designated by the Director o, the Federal Emorgency
                    Management Agency as a special flood hazard area, Grantor agrees to obtain and mgintain Federal Flood
                    lnsurance, il available, within 45 days after notice is given by Lender that the Property is located in o
                    special flood hazard arca, tor the full unpaid principal balance ot the loan and any prior liens on the propsrty
                    securing the loan. up to the maximum policy limits set under the National Flood lnsurance Program, or as
                    otherwise reguired by Lender, and to malntarn such tnsurance for the term of the loan.
                     Applicarlon of Proceeds. Grantor shall promptly notify Lender of any loss or damage to the Property.
                     Lender may make proof of loss il Grantor lails to do so within filteen (151 days of the casualty. Whether or
                    not Lender's security is impaired, Lender may, at Lender's election, receive and retain the proceeds of any
                    insurance and apply the proceeds to the reduction of the lndebtedness. payment of any lien aftecting the
                     Property, or the restoration and repair of rhe Property. ll Lender elects to apply the proceedt to rostoration
                     and repair, Grantor shall repair or replace the damaged or destroyerl lmprovements in a manner satisfactory
                     to Lender. Lender shall, upon satistactory prool of such expenditure, pay or reimburse Grantor from the
                    proceeds for the reasonable cost of repair or restoration if Grantor is not rn delault undar this Mortgaga.
                    Any proceeds whrch have nol been disbureed wrthin 180 days after thoir receipt and which Lender has not
                    commrlted to the repair or ra8toration of the Property shall be used first to pay any amount owing to
                    Lender undar this Mortgage. then to pay accrued interost, and the remainder, if any, shall be applied to the
                    principal balance of the lndebtedness, lf Lender holds any proceeds after payment in full ol the
                    lndebtedness, such proceeds shall be paid to Grantor as Grantor's interesrs may appear.

                    Grantor'e Report on tngurance. Upon request of Lender, however not more than once a year, Grantor ghall
                    lurnish to Lender a report on each existing policy ol insurance showing: {11 the name of the imurer; 12}
                    the risks insured; (31 the amount ol the policy; (4) the property insured, tho th€n current replacement
                    value of such properti, and the mann€r ol determining that value; and (5) the expiration date ol the
                    poltcy. Grantor shall, upon request of Lender, have an independent appraiser satisfactory to Lendor
                    delormrne the cash value replacem€nl cost of the Propeny.
              LENDEF'S EXPENDITUBES. lf any actron or proceeding is commenced that would materielly a{lact Lender's
              interest in the Property or if Grantor fails to comply with any provision of this Mortgago or any Related
              Documents, rncluding but not limited to Grantor's lallure to discharge or pay when due any amounts Grantor is
              required to discharge or pay under this Mortgage or any Related Documents. Lendcr on Grantor's behall may
              (but shall nol be obligared to) take any action that Lender dasms appropriate. including but not limitod to
              discharging or paytng all taxes, liens, securrty interests. ancumbrances and other claims. at any rime levied or
              placed on the Property and paying all costs for insuring, maintaining and preserving the Propeny. All such
              expenditures tncurred or paid by Lender tor such purposes will thon baar intsrest at the rate charged under the
              Note trorn the date rncurrsd or poid by Lender to the date ol repayment by Grantor. All such expenses will
              become a part ol the lndebl,edness and, at Lender's option, wilt (Al be payabte on demand; (B) be addsd to
              the balance of the Note and be epportroned among anrj be payabte with any installment poyments to become




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        Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 152 of 240 PageID #:152
                                                                         0634134069 page: 5 of 13




                                                           MORTGAGE
        Loan No: 11802984                                  (Gontinuedl                                                  Prge 5

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IF      due during either (11 the term olany applicable insurance policy; or (2)
tF-                                                                                  the remaining term of the Note; or
loo     (c) be treated as a balloon paym€nt which will be due ana payabie at
  J                                                                            the Note's maturity. The Mortgage aloo
  t-    will secure payment of these amounts. Such right shall be in addition to alt
                                                                                     other rights and remedies to which
 o
 (\     Lender may be entitled upon Default.

        WARFANTY: DEFENSE or T[LE. The following provisions relating to ownership
 0                                                                                of the property are a part of
 to     this Mortgage:
 _tq
F.
(v)
N
           Title. Grantor warrants that: (ai Grantor holds good and marketable title of rocord to tho property
o                                                                                                                        in fse
(\I        simple, free and clear of all liens and encurnbrances other than those sst forth in the Real property
(9
N          description or in any title insurance policy, title roport, or final title opinion igsuad in favor
lo                                                                                                            of, and accepted
           by, Lender in connection with this Mortgago, and (b) Grantor has the full right, powor,
rjj                                                                                                           and aurhority to
F          execute and deliver this Mortgage to Lender.
o
o          Defence of rhle. Subject to the exception in the paragraph abov6, Grantor warrants
UJ                                                                                              and will forever
J          defend the tifle to the Propeny against the lawful claims of all persons. ln
Lr                                                                                       the event any action or
           proeeeding is cornmenced that questions Grantor's title or
                                                                      the imorost of Lender under thia Mortgage,
           Grantor shall defend the action at Grantor's 6xpensa. Grantor may be the nominal pany ln suctr
           proceeding, but Lender shall bc Entitlod to participats in tho proceeding and
                                                                                            to be represented in ths
           proceeding by counsal of Lender's own choice, and Grantor will deliver, or causo
                                                                                            to be detivcred, to Lender
           such instruments as Lender may request from timo to time to permit such participation,
          Compliance with Laur8. Grantor warrants that the Propeny and Grantor's use of the property
                                                                                                      complies
          with all existing applicable laws, ordinances, and regulations of governmental suthorities.
          Survival of Represantatlons and Warranties. All representations, warrantias, and agreements made by
          Grantor in this Mortgage shall survive the execution and delivery of this Mongage, siall be continuing an
          nature, and shall remain in full force and effect until such time as Grantor's lndebtedness shall be paia in
          full,
       CONDEMNATIOIII. The following provisions relating ro condemnation proceedingE are a paft of this Mortgagsr

          Procaedlogs- lf any proceeding in condemnation is filed, Grantor shall promptly notify Lander in writing,
          and Grantor shall promptly take such steps as may be neceseary to defend the actaon and obtain the
          award. Grantor may be ths nominal party in such proceeding, but Lender shall be entitled to participate in
          lhe proceeding and to be represanted in the proceeding by counsel of its own choice, and Grantor will
          deliver or caus6 to be delivercd to Lender such instruments and documentetion Es ntay bs requested by
          Lender from time to time to permit such participation.
          Appllcation of ilet Proceede. lf all or any part of tho Property is condemned by eminont domain
          proceedings or by any proceeding or purchase in lieu of condemnation, Lender may at ita election require
          that 8ll o, any portion of the net proceeds of th6 award be appliad to the lndebtednsss or the repair or
          restoration of the Proporty. Ihe net proceeds of the award shall mean the award a{ter payment of all
          reasonable costs, expgnses, and attornoys' fees incurred by Lender in connection with tho condemnation.
       IMPOSITION OF TAXES, FEES AND CHARGES BY GOVERNMENTAT AUTHORITIES- The following provisions
       relating to governmental taxes, fees and charges are a part of this Mortgage:
          Curront Tale8, Faer and Charges. Upon request by Lender, Grantor ehall execute such docurnonts in
          addition to this Mortgage and tako whatevor oth6r action is requestsd by Lender to perfect and continue
          Lender's lien on the Real Property. Grantor shall reimburse Lender for all taxes. as described below,
          together with all expenses incurred in recording, perfecting or continuing thE Mortgaga, including without
          limitation all t5;"", fees, documentary stamps, and other charges for recording or rejisiering this Mortgage.
         Taxet. The following shall constitute taxes to which this section applies: ll ) a specific tax upon th6 typ€
         of Mortgage or upon all or any pan of the lndebtedness secured iy ttris Mortgsge; (21 a specific tax on
         Grantor which Grantor is authorized or required to deduct from payments on the lndebtadness secured
                                                                                                                   by
         this tvpe of Mortgage; {3} a tax on this type of Mortgage ctrargeable ageinst the Lender or the holder ol
          Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 153 of 240 PageID #:153



                                                        MORTGAGE
       Loan No: 11802984                                {ContinueU}                                              Page 6

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 N         the Note; and (41 a specific tax on all or any portion of the lndebtedness or on payments of prineipal and
 o         rnterest made by Grantor"
 J
 t-
o         Subeequent Taxes, It any tax to which this section applies is enacted subsequent to the date of this
N
          Mortgage, this event shall have the sams effect as an Event of Default. and Lender may exercise any or all
=-
o         ol irs available remedies {ot an Event of Default as provided below unless Grantor either (t} pays the tax
o         before it becomes delinquent, or l2l contests lhe tax as provided above in the Taxes and Liens section
:q
l'-       and deposits with Lender cash or a suflicient corporate surety bond or other $ecurity satisfactory to
c.)
c\t
c)        Lender.
N
c)
(\l    SECURITY ACREEMENT: FINAiICING STATEMEI{TS. The following provisions relating to this Mortgage as a
6
       security agreement are a part ol this Mortgag€i
rii
F
o         sacurity Agreement. This instrument shall constitute a security Agreement to the extont any of the
o         Property c(rnstitute.s lixtures, and Lender shall heve all of the rights ol a secured party undcr the Unilorm
          Commercial Cods as amendsd lrom time to time.

          Security lntsrest. Upon request by Lendor, Grantor shall take whatever action is requasted by Lender to
          perfect and continue Lender's security interest In the Rent,s and Personal Property. ln addition to recording
          this Mortgage in the real property records, Lender may, at any time and without lurther authorization irom
          Grantor, file executed counterparts, copies or reproductions of this Mortgage as a financing stetement.
          Grantor shall reimburse Lender for all expenses incurred in perfecting or continuing this security interest.
          Upon default, Grantor shall not remove, sever or detach the Personal Property from the Property. Upon
          default, Grantor shall assemble any Personal Propelty not affixed to the Property tn a mannff and at a plac€
          reasonablv convenient to Grantor and Lender and make it available to Lender within three {3} days after
          receipt of wrrnen demand from Lender to the extent permrtted by applicable law.

          Addresses. The mailing addresses ol Grantor ldebtorl and Lender (secured partyl lrom which information
          concerning lhe security interest granted by this Mortgage may be obtained (sach as raquired by the
          Unitorm Commercial Code) are as stated on the first page of this Mortgage.
      FURTHER ASSURANCES; ATTOBNEY-IN'FACT. The following provisions relating to further assurances and
      attorney-in-facr are a part of this Mortgage:
          Further Aseurances, At any time, and from time to time. upon .equest of Lender, Grantor will make,
          executs and deliver, or will cause to tre made, exesuted or delivered, to Lender or to Lender's designee, 6nd
          when requested by Lender, cause to be filed, recorded, refited. or rerecorded, as the cage may be. at such
          trmes and rn such offices and places as Lender may deem appropriare, any and all such mortgagss, deeds
          ol trust. security deeds, security agre€ments, financing statements, continuation statements, instrumgnts
          ol lunher assurance, certilicates. and other documents as may, in the sole opinion of Lender, be necessary
          or desrrable in order to erfectuate, complete, perfect, continue, or preserve {1) Grantor's obligations
          under the Note, this Mortgage, and the Related Docuryrents, and l2l ths liens and security interests
          created by this Mortgage as first and prior liens on the Property, whether now owned or hereafter acguirod
          by Grantor. Unless prohibited by law or Lender agrees to the contrary in writing, Grantor shall reimburse
          Lender lor all costs and expenses incurred in connection with the matfers referred to in this paragraph.
          Attorney-in-Fact. lt Grantor fails to do any of the things referred to in the preceding paragraph, Lender may
          do so for and in the name of Grantor and at Grantor's expense. For such purposes, Grantor hereby
          irrev6cably appoints Lender as Grantor's attorney-rn-fact for the purpose ol rnaking, executing. delivering,
          filing, recording, and doing all other tfungs as may be necessary or desrrable, rn Lender's sole opinion. lo
          accomplish the matters re{erred to in the preceding paragraph.
      FULL PERFORMANCE. ll Granlor pays all the lndebtedness when due, and otherwiso performs ell the
      obligations imposed upon Grantor under this Mortgage. Lender shall execute and dehver to Grantor a suitable
      satistactlon of thrs Mortgage and suitable statements of termination of any linancing ststement on file
      evtdencing Lender's security interest in the Rents and the Personal Propefty. Granlor wrll pay, if perrnitted by
      gpplicable law. any reasonable terminatlon tee as determined by Lender lrorn time to time.




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       Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 154 of 240 PageID #:154
                                                                     06341340@ Page: 7 of 13




                                                       MORTGAGE
      Losn No: 11802984                                (Contlnuedl                                               Paga 7

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lo)
lF-   REINSTATEMENT OF SECURITY IIITEREST. lf payment is made by Grantor, whcther voluntarity or otherwise,
to    or by guarantor or by any third party, on fie lndebtedness and thereafter Lender is forced to r6mit tha amount
l3
tt\   of that payment (A) to Grantor's trustee in bankruptcy or to any similar pereon under any federal or state
l-
to
l'    bankruptcy law or law for the ralief of debtors, {B} by reason of any judgment, decree or order of any court or
      administrative .body having jurisdiction over Lender or any of Lender's proporty,     or{C) by reason ol any
=
(L
      sBttlement or compromise of any claim made by Lender with any claimant (including without limitation
co
s
l'-   Grantorl, the lndebledness shall be considered unpaid for the purposc of enforcement ol this Mortgago rnd this
ci)
AI    Mortgage shalt continue to be effective or shall be reinstated, as the case may be, notwithstanding any
o
AI    cancellation of lhis Mortgage or of any note or other instrument or sgreement evidencing the lndebtedness and
(7'
N     the Property will continue to secure tho amount repaid or recovered to the sam6 extcnt Es il that amount never
ro
iiF   had been originally received by Lender, and Grantor shall be bound by any judgment, decr6€. ordsr, settlement
      or compromise relating to the lndebtedness or to this Mongage.
o
o
UJ
      EVEIiITS OF DEFAULT. Each of the following, at Lender's option, shall constitute an Event of Default under
J     this Mortgage:
IL
         Payment Defauh. Grantor fails to make any payment when due under the lnd6btedn6sg.
         Default on Otfier Paym€nts. Failure of Grantor within the time requlred by thls Mongage ro m6ke any
         payment for taxes or insurance, or any other payment nocossary to prevent filing of or to effect discharge
         of any lien.
         Other Defaultg. Grantor lails to comply with or to perrorm any othar tenn, obligation, covenant or
         condition contained in this Mortgage or in any o{ the Related Documents or to comply with or to perform
         any term, obligation, covenant or condition contained in any other agleomsnt betwoen Lender and Gramor.
         Default in Favor of Third Parties. Should Grantor dofault under any loan, extension of credit, security
         agreement, purchase or sales agreement, or any other agreement, in lavor of any othel craditor or perion
         that may matorially affact any of Grantor's proporty or Grantor's ability to repay the lndebtedneas or
         Grantor's ability to perform Grantor's obligations under this Mortgage or any related document.
         FElsr Statsmsnts. Any warranty, repr€sontation or statement made or furnlshed to Lender by Grantor or
         on Grantor's behalf under this Mongage or th€ Rolsted Documents is false or misleading in any matetial
         r$pcct, either now or at the tims made or lurnished or becomes false or mielaading at any tim€ thereafter.
         Defeotive Collaterallzation, This Mortgage or any of the Relatod Documents c€ases to bB in full lorce and
         affect {including failure of any collateral document to craats a valid and perfected gecurity interest or llen}
         at any time and for any reason,
         Deatfi or lnsolvency. The dissolution of Grantor's {regardless of whether election to continue is madel, any
         member withdraws from the limited liability company, or any other tgrmination ol Grantor's existence as a
         going businsss or the death of any member, the insolvency of Grantor, the appointment of s raceiver for
         any part of Grantor's property, sny assignment for the benstit of creditors, any type of creditor workout, or
         the comm€ncernent of any proceeding under any bankruptcy or insolvency laws by or agalnst Grantor.
         Credltor or Forfeiture Proceedings. Commencement of foreclosure or torfeiture procaedings, whether by
         judicial proceeding. self-help, repossession or any other method, by any craditor ol Grantor or by any
         governmontal agency against any property securing the lndsbtedness, This includea a garnishment of any
         o, Grantor's aocounts, inoluding deposit acbounts, with Lsnder. However, this Evont of Default shall not
         apply if there is a good faith dispute by Grantor as to the validity or reasonablenoss of the claim which rs
         tho basis ol the creditor or forfeiture proceeding and il Grantor gavos Lender wrinon notioe ol thB creditor
         or forleiture proceeding and deposits with Lqndar monies or a Burety bond for the creditor or forfeiture
        proceeding. in an amount determin€d by Lender, in its sole discretion, as being an edequate roservs or bond
        for the dispute.
        Breach of Other Agreunent. Any breach by Grantor under the terms of any other agreoment batween
        Grantor and Lender that is not remedied within any grace period provided therein, including without
        limitation any agreement concerning any indebtedngss or other obligation of Grantor to L6ndor, whgth€r
        Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 155 of 240 PageID #:155



                                                        MORTGAGE
      Loan No: 11802984                                 {Continuedl                                             Page 8

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IF        existing now or later.
IN
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lo        Events Affecting Guarantot. Any of the preceding events occurs with respect to any Guarantor
l-J                                                                                                      of any of
  N
 o        the lndebtedness or any Guarantor dies or becomes incompotent, or revokes or disputes the validity of, or
 N        liability under, any Guaranty of the lndebtedness.
 (L      Adverue Changa. A material adverse change occurs in Grantor's linancial condition. or Lender believes
6                                                                                                              the
':q      prospect of payment or perlormance ol the lndebtedness is imparred.
t-
(Y)
N        lnsecurity. Lender in good taith believes itself insecure.
N
(Y)
N     RIGHTS At{D REMEDIES ON DEFAULT. Upon the occurrence ol en Event of Dslault and ar
lo                                                                                                        any tirne
      thereafter, Lender, at Lender's option, may exercise any one or more of lhe following rights and remedies, in
di
F     addition to any other rights or remediss provrdod by law;
 o
 o       Accelerate lndebtedness. Lender shall have the righr at its option without notice to Grantor to declare the
 uJ
JLL      entire lndebtedness immediately due and payable, including any prepaym€nt p€nalty which Grantor would
         be ret;uired to pay.

         UCC Remediet. Witlr respect to all or any part of the Personal Property, Lender shall have all the rights and
         remedies of a secured partv under the Uniform Commercial Code.

         collect Rents. Lender shall have the right, without notice to Grantor, to take posscssion ol the property
         and collect the Renrs, rncluding amounts past due and unpaid, and apply the net proceeds. over and above
         Lender's costs, against the lndebtednoss. ln lurtherance ol this rrght, Lender may require any tensnt or
         other user of the Property to make payrnents of rent or use fees direcfly to Lender. lf the Rents ars
         collected by Lender, than Grantor irrevocably designates Lender as Grantor's attorney-in-fact to endorse
         instruments received in payment thereol in the name of Grantor and to negotiate the sama and collect the
         Droceeds. Payments by tenants or other users to Lender in response to Lender's demand shall satisfy the
         obligations for which the payments are made, whether or not any proper grounds lor the demand existed.
         Lender may exercise its rights under this subparagraph oither in person, by agent, or through a receiver.
         Mortgagee in Possetsion, Lender shall hove the right to be placed as mortgagee in possession or to have a
         re,c€iver appointed to take l)ossess,on of all or any part of the Property, with the power to protect and
         presslve the Property. to operate the Property preceding foreclosure or sale, and to collect the Rents from
         the Property and apply the proceeds, over and above the cosr of the receivorship, against the
         lndebtadness. The mortgagee in possession or recoiver may serve without bond if permitted by law.
        Lsnder's right to the appointment of a receiver shall exist whether or not the apparent value of the proporty
        exceeds the lndsbtedness by a substantiat amount. Employment by Lender shall not diequalify a person
        lrom serving as a receiver.
        Judicial Foreclosure. Lender may obtain a judicial decree loreclosing Grantor's intarest in all or any part of
        the Property.
        Deliciency Judgment. lt psrmitted by applicable law, Lender may obtain a judgment for any defioiency
        remaintng in the lndebtedness due to Lender atter applicstion of all amounts received from the sxercise of
        the rights provided in thrs section.
        other Remedlee' Lender shall have all other rights and remediee provided in rhis Mortgag€ or the Note or
        avarlable a1 law or rn equiry.

        Sale of the Property. fo the extent permitted by applicable law, Grantor herebv watves any and 6ll right to
        hav6 the Property marshalled. ln exercising its ilghts and remedies. Lender shall be lr8€ to sell all or any
        part of the Properry together or separately, tn one sals or by separate sales. Lender shall be ontitled to bid
        at any public sale on all or any portion of rhe property.
        Notice of Sale. Lender shall give Grantor reasonable notrce ol the trme and place of any public sale of the
        Personal Property or of the time alter which any private sale or other rntended drspoeition of the Psrsonal
        Propertv is to be made, Fleasonable notice shall mean notiee given at least
                                                                                    ten (101 days before the time of




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         Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 156 of 240 PageID #:156
                                                    0634134069 Page: I of 13




                                                          MORTGAGE
        loan No:11802984                                   (Contlnuedl                                           -   Pagc 9

  !+
  C'J
            the sale or disposition, Any sale of the Personal Propeny may be made in coniunction with any sale of the
 F.
 o
 o          Real Property,
 J
 r\
 o          Electlon of Remedlec. Election by Lender to pursue any remedy shall not exclude pursuat of any othar
 (\I
            remedy, and 8n election to make expenditures or to take action to perform an obligation of Grantor under
 0-         this Mortgage, after Grantor's failure to perform, shall not affect Lender's right to dechre a default and
 co
 sF-        exercise its remedies. Nothing under this Mortgage or otherwise shall be construed so as to limit or restrict
 (v)
            tho rights and remedies available to Lender following an Event ol Default, or in any way to limit or restrict
sl          the rights and ability of'Lender to proceed directly against Grantor and/or against any other co-maker.
o
N
(V)         guarantor, surety or endorser andlor to proceed against any other collateral directly or indirectly securing
N
ro          the lndebtedness.
rjj
t-          Attorneys' Fear; Expensee. ll Lender institutes any suit or action to enforce any of th6 torms of this
o           Mortgage. Lender shall be entitled to recover such sum as the court may adjudge reasonable as attorneys'
o
UJ
J
            fees at trial and upon any appeal. whether or not any court action it invotvad, and to the axtent not
l!-         prohibited by law, all reasonable gxpensos Lender incurs that in Lender's opinion ale nac6osary at any time
            for the protection of its interest or the enforcement of hs rights shall become a part of tho lndobtednass
            payable on demand and shall bear interest at the Notc rate from ths date of the expenditure until rapaid.
            Expenses covered by this paragraph include, without limitation, however aubjoa to any limitg under
            applicable law, Lender's attorneys' fees and Lender's legal expenses, whother or not thers is a hwsuit,
            including attorneys' fees and expensas for bankruptcy proceedings lincluding elforts to modify or vacat€
            any automatic stay or iniunctlonl, appeals, and any anticipated post-judgment collection eervicos, the cost
            of searching records, obtaining title reports {including lorecloeure repons}, surveyors' rsports, and appraisal
            fees and title insurance, to ths extent permitted by applicsble law. Grantor also will pay any court costs, in
            addition to all other surns provided by law.
        N0TICES. Any notice required to be given under this Mortgage, including without limitation any notice of
        default and any notice ol sale shall be given in writing, and shall be elfectivo when actually deliversd, when
        actually received by telefacsimile (unless otherwise reguired by lawl, when deposited with a nationally
        recognized overnight courior, or, if mailed, when deposited in the United States rnail, as first class, certified or
        registered mail postage prepaid, directed to the addressss shown near thd beginning of thie Mortgage. All
        copies of notic$ of foreclosure from the holder ol any lien which has priority ovsr this Mortgagc shall be sent
        to Lender's addrees, as shown near the beginning of this Mortgage. Any party may change its address for
        notices under this Mortgage by giving forrnal written notice to the othor parties, specifying that th6 purpose of
        the notice is to change the party's address, For notice purpos€s, Grsntor agrees to keep Lender informod at all
        times of Grantor's current addrese, Unless otherwisa provided or required by law, if thors is more than one
        Grantor, any notice given by Lender to any Grantor is deamed to be notico givan to all Grantors.
        MISCELLANEOUS PBOVISIONS. The following miscellaneous provisions ar6 a part of thie Mortgage:

           Amendmentr. This Mongage, together wlth any RBlated Documents, constitutes the gntire undorstanding
           and agreement o, the parti€s as to the matters set forth in this Mortgoge. No alteration of or amendment
           to this Mortgage shall be effective unless given in writing and signed by the pany or parties sought to be
           charged or bound by the olteration or amendment,
           Annual Reportr. lf the Property is used for purposes other than Grantor's residence, Grantor shall furnish
           to Lender, upon raquest, a certilied statemBnt of net operating income received lrom th6 Property during
           Grantor's previous fiscal year in such form and detail as Lendsr shall roquir€. "Net operating income" shall
           mean all cash receipts lrom the Property less all cash expenditures mad€ in connsction with the operation
           of the Property.
           Gaption Headinga. Caption headings in thie Mortgage are for convenience purposes only and are not to be
           used to interpret or define the provisions of this Mortgage.
           Governing Law. This Mortgage wlll be governed by federol law appticabb to Lender rnd, to th6 sxtent nol
           preempted by federal law. the laws of thc Stats ol lllinoia wtthout regard to lts conflicts ol law provldons.
           Thie Mortgagr har been rcceptsd by Lender in tho Srate of llllnols.
         Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 157 of 240 PageID #:157



                                                          MORTGAGE
       Loan No: 11502984                                   {Continuedl                                           Page 10

tO)
 t\       No YUaiver by Lender. Lender shall not be deemed to have waived any rights under this Mortgage unless
o
o         such warver rs given in writing and signed by Londer. No rlelay or omission on the part of Lender rn
J
t-        ererclsing any right shall operate 8s a waiver of such right or any orher right. A warver by Lender of a
o
(\        provrsion of thrs Mortgage shall not prejudice or constltute a waiver of Lender's right otherwise to
                                                                                                               dernand
          strrcr compliance witlt thar provisron or any other orovisron of this Mortgage. No prior warver by Lendar,
=
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          nor any course uf dealing between Lender and Grantor, shall conglitute I waivar of any of Landar's lghts
co
st*       or of any of Grantor's obligations as to any future transactions. Whenever the consant of Lender is
(r)       required under this Mortgage, the granring ol such consent by Lender in any instance shall not constitute
N
o
C!        continuing consent to subsequent instances where such conssnt is required and in all cas€s such consBnt
(t
AI        may be granted or wrthheld in the sole discretion ol Lender.
6
rii
F         Severability' lf a court of competent iurisdiction finds any provision o{ this Mortgag€ to be illegal, invalid.
o         or unenforceable as to any circumstance, that iinding shall not make the olfending provieion illegal. invalid,
o
UJ
          or unenforceable as to any other circumstance. lf feasible, the oflending provision shall be consrdered
J         modrfied so that tI becomes legal. valid and enforceabl€. l, rhe oflending provision cannot be so modified,
LL
          It shall be considered delered from thrs Mortgage. Unless otherwiso required by law, the jllegality,
          tnvaltdity, or unenforceability ol any provision of this Mongage shalt not affect the legality. validity or
          enforceability of any other provision of this Mortgage.
          Mergar. There shall be no merger of the interest or estate created by this Mortgage with any other interest
          or estate in the Properry at any time held by or for the benefit ol Lender in any capacity. without the
          writ'ten consent ol Lender.

          Successors and Assigns. Subiect to any limitations stated in this Mortgage on transfer of Grantor's
          intersst, this Mortgaga shall be brnding upon and inure to the benelit o{ the parties, their succsssorc and
          asslgns. li ownershtp of the Property becomes vested in a person other than Grantor, Lender. without
          notice to Grantor. may deal with Grantor's successorr with ro{erenco to this Mortgagc and the
          lndebtsdness by way ol torbearance or ext€nsion without releasing Grantor lrom the obligations of this
          Mortgage or liability under the lndebtedness.
          Time is ol the Essence. Time is ot the essence in the perlormance of this Mortgags.
          Waive Jury. All partiet to this Mortgage hareby waiue the right to any jury trial in any acdon. procceding,
          ot counterclaim brought by any party Bgain$t alry other pafiy.
          Waiver of Homestaad Exemption. Grantor hareby raleases and waivas all rights and benelits of the
         homestead exemption laws ol the State o{ lllinois as to all lndebtedness eecured by this Mortgage.
      MAXIMUM LIEN. At no time shall the principal tmount of lndebtednegs securad by the Mortgago, not
      including sums advanc€d to ptotact the secudty of the Mortgage, exceed $ 1,369,000.00.
      DEFlIttlTlONS. The following capitalized words and terms shall hav6 the following meanings when used in this
      Mortgage. Unless specifically statsd to the contrary, all references to dollar amounts shall mean amounts in
      lawlul money ol the United States o{ America. Words and terms usod in the singular ahall include the plural,
      and the plural shall include the singular, as the context may reguire. Words and terms not othsrwise defincd in
      this Mortgage shall have the meanings attributed to such torrns in the Uniform Commercial Coda:
         Borouver. The word "Borrower" means SOUTH BOUNO PROPERTIES, LLC and includes all co-signers and
         co-makers signing the Note and all their successors and assigns.
         Default. The word "Default' means the Default set {orth in thrs Mortgage rn thE section titled 'Detault"
         Environmental Laws. The words "Environmantal Laws" mean any and all state, federal and locat statutes,
         regulations and ordinances relating to the protection of human health or the environmant, including without
         limitation the Comprehensive Envrronmental Response, Compensation, and Lrability Act of 19801 as
         amended, 42 U.S.C. Sectrcn 980'l , et seq, |"CERCLA"I. the Superlund Amendments and Reauthorizatron
         Act of 1986. Pub, L. No.99-499 ("SARA"). the Hazardous Materials Transportation Act,49 U.S.C.
         S€ction 1801, et seq,, the Rosource Conservation and Recovery Act,42 U.S.C. Section 6901, et seq., or




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      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 158 of 240 PageID #:158
                                                                   0634134t89 Page: 11 of 13




                                                       MORTGAGE
      Loan No: 11802984                                (Continuedl                                               Page 11
 I
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 o       other applicable state or federal taws, rules, or regulations adopted pursuant
 o                                                                          thsreto,
 J
 N       Event of Default. The words "Event of D€fault" mean any of the events
 o                                                                             of default set forth in this
 N       Mortgago in the events of default section of this Mortgage.
         Grantor. The word "GrEntor" means sourH BouND pRopERTrEs, LLc.
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:f
         Guarantor' The word 'Guarantor' means any guarantor, suroty, or accommodation party
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c7)
         the lndebtedness.
                                                                                                        ol any or alt of
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o
6l
(7'     Guaranty. The word 'Guaranty" means the guaranty from Guarantor to L6ndsr, lncluding without
N                                                                                                    larnitation
ro      a guaranty of all or part of the Note,
ii
F        llazardous Substances. The words "Hazardous Substances' m6an matori8ls that,
6                                                                                                   bEcause of their
        quantity, concentration or physical, chemical or infectious charactffistics,
o                                                                                    may causo or poso I pr6gcnt or
u,l
J       potsntial hazard to human hcalth or the environment when improperty
                                                                                  used, treated, stored, disposad of,
TL      gonotated, manufactured, traneportsd or otherwisc hendled. The words ,,HSzardoue
                                                                                               Substancos" are used
        in their very broadest sense and include without lirnitation any and all hazardous or toxic substances,
        materials or waste as defined by or listed under the Environmental [aws. The term .Hazardoue
        Substances" also includes, without limitation, petroleum and petroleum by-products or any fraction thereof
        and asbestog

        lmprovements. The word "lmprovements" msans all existing and lurure improvements, buildings,
        structurss, mobile homes affixed on the Real Property, facilitios, additions, replacoman6 and other
        construction on the Rsal'Propefty.
        lndabtadnecc, The word "lndebtednoss' means all principal, interest, and other amounts, costs and
       oxpenses payabla under the Note or Related Documents, together with all rengwalg of, extensions of,
       modifications of, consolidations of and substitutiona for the Note or Rolatod Documrntg and any amounts
       expended or advanced by Lender to discharge Grantor's obtigations or expensoo incured by Lender to
       enforce Grantor's obligations und6r thi6 Mongage, togather with interest on such anrounte as provided in
       this Mortgage,
       Lendsr. The word "L€nder" means Allagiance Comrnunity Bank, its succesgors and assigns,
       Mortgage, The word nMortgage' means this Mortgage bstween Grantor and Lender.
       Not€. The word "Noten maans the promissory note dsted November 30, 2006, in thc origlnal prlncipal
       tmount of 9373,388.54 fiom Grantor to Lender, rogether with all rsnawals of, axtenrions of. modifications
       of, refinancings of, consolidations of, and substitutions for the promissory notc or agrccment. The interest
       rats on tho Nots is 8.250%. Psyments on the Note are to be made ln accordanco wlth the following
       payment schedule: in 59 ragular paymBnts of $3,646.66 each and one inegular last payment sstimatad at
       $299,$45.64. Grantor's first payment is due December 30, 2008, and all subsequent payrnents are due
       on the same day of each month after that, Grantor's final payrnent will bo due on Novembar gO, ZO11,
       and will be for all principal and all accrusd lnterest not yet paid. Payments inctude principal and interest.
       The maturity date of the Nota is November 30, 2Ol 1.
       Psreonal Property. The words "Personal Propeny" mean all equipment, fixturE8, and other artictes of
       personal property now or hareafter owned by Grantor, and now or hereaftar attach€d or aflixad
                                                                                                            to the Real
       Property; together with all accessions, parts. and additions to, all roplacsments of, and all aubstitutions for,
       any ol such property; and together with all prbcaeds (including without limitation all insurance prooecds
       and refunds of premiumsl from any sal6 or other disposition of the property,
       Property. The word "Property" means collectively tha Real Property and tho Personal Property.
       Heal Property. The words "Real Propefiy" mean the regl property, intgrests end rights, as further described
       in this Mongage.
       Rslated Documents. The words 'Related Docurnents" mean all promissory notes, credit agreements, loan
       agreem€nts, environmental agreements, guarantios, security agroomcnts, mortgages,
                                                                                            Jeeds of trust,
           Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 159 of 240 PageID #:159
                                                                    063413408 Page: 12 of 13




                                                                MOHTGAGE
                Loan No;11802904                                (Continued)
                                                                                                                         Page 12

 I                security deeds, collateral mortgages, and all other.instruments,
 F-
 o                or hereafter existing, executed in connection with
                                                                                     agre.ments and documonts,
                                                                     the lnaebteonesi.
                                                                                                                  *;;;
 J
 F.
 o                Rentsi The word "Rents' means all present and future
 (\                                                                         rents, revenuos, incomg, isgues, royalties, profits,
                  and other benefits derived from the property.
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         Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 160 of 240 PageID #:160
                                                                          063413408 hge: 13 of 13




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(D           llmitcd lirblllty compsry rhat erecutcd the Mortgage dated NovEMBER 30. 2066 and
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trj          rcknowlcdged the Agreement to be thc frct and votuorary act rrO-IE-O''ottfre lirr*ted lirblllty
rli          corrpanyr by outbority ofslatule, its artlcles oforganizaflon or its operrting rgrecmcnli for thc uses
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o            rnd purposer thercin mentioned, and on orth Etrtrd thrt he/shc are authorlzed to erecute thls
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             rgrecment rnd ln fact exccuted the Agrement on behaif of the tlmited liabillty eompany.
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            on thls day bclbre nre, the undcrcigncd Notrry pubuc, pcrsonatty appeured NUSRAT
            QHAUDHRt' Momber of SOUTH BOUND PRO!EIRT!ES'!J,C., an tttinotc lJmilr{ Liabittty
            c'omPa"y. and known to rffiGifridecignated                    agent of the limitcd [rblllty compsry
            that executcd the Mortgage drted NOVEMBEB 30. 201t6 and acknowlcdged the Agreemeni ro be
            the free and voluntary rct and deed of the llmited llablllty somprny, by authority oi statute lts
            articles of organization or ib operating sgreemeflt, for the ueerrnd purp$st therein mentloned,
            lnd on oath statcd thrt he/shc rre ruthorlzcd to Gxecttte this lgreement ind ln frct executed the
            Agrecmcot on behrlfof the llmited lhbility compmy,

            6ivcn under my hrnd and otlicirtreol this JPi day of Nc^ra.-. rrr-              _, 20!h-.
            rry, J^ L0l-o,                                     Rertdtngat

            Notrry Publlc in and for the State of iEl\, .,o. s

            My commirsion explres         3lr*l..,
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 161 of 240 PageID #:161




       EXHIBIT L
        Unverified Document Provided
        By Choudhri to Purchase 7283-87
        South Chicago Gas Station for
        $10.00
   Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 162 of 240 PageID #:162




JULY L,2017




AGREEMEITIT TO INA'{SFER UI{ITS




ITWAS MUTUALTYAGREED BYTHE MEMBERSTHATBASHIR M CHAUDHRYWITLTMNSFER
                                                                      HIS 5OO
uN,Ts lN SOUTH BOUND PROPERIES, LLe EFFECTTVEOLIAL!ilOI2 TO                 g10.
                                                            NUSRAT H.
                                                                CHOUDHRT FOR
(TEN DOITARS)




BY slGNlNG BELow, ALt M EMBERS AGREE To rHE ABoyE
                                                    TRANSFER.




                                                                   N Choudhry Bates No. 1
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 163 of 240 PageID #:163




 JULY I,2OTI



 MINUTES OF THE MEETING OF SOUM{ BOUI{D PROPERTIES, LLC.


MEEfiNG WAS CALLED ON BYNUSRAT CHOUDHRI A}ID IVAS CALLED INTO
MOTION ON JULY I,2O1I AT s.OOPM.

DURING THE MEETING FOLLOWING ACTTVIES TOOK PLACE:

   I) IT WAS DECIDM T}IAT TIIE COMPA}TY WILL BE RTJN BY NUSRAT
     CHOUDHRI         IYILL BE THE SOLE rcA% UMT OWNER OF SOUTII
     BOUND PROPER
  2) BASHIR CHAUD}IRY WILL SELL ALL OF rIIS 5OO I]NITS TO NUSRAT
     CHOIJDHRI ON O1/O I/20I2.
  3) TUTURE UNITS WILL BE GTYEN FIRST TO FRIENDS ANID RBLATIVES
     AI{D TIIAN TO OUTSIDE PARTIES.
  4) VENDOR PRICE NEGOTIATION ON PURCHASES WAS ALSO DICUSSED.
AFTER T}trS TTIE MEETING !T'AS ADJOURN.


DATED:     JULY I,2OI7




+T-. fijssn,rf // ho**,
NUSRAT CHOUDHRI
MEMBER




                                                              N Choudhry Bates No.2
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 164 of 240 PageID #:164




        EXHIBITM
Agreement to Purchase Fuel and 'Right of
First Refusal' Signed by Bashir & Aslam for
7283-87 South Chicago Gas Station.
       Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 165 of 240 PageID #:165




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                   being locacd in the city                                                          hoperty, said
         Ifim                                   "iililcrico, C"*;;f c6&istare of llinois, dcscribcd as
         LEGAL DESCRIPTION ATTACTIED
                                                     HERETO AS EXHIBIT A.

         Permanent Iudor Numben        : 2A_26.110_025-0000
        coMMoNLy KNowl.r AS: 7287 souTH
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                IN umllEss lvIIExEor, thc sryplier
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        Motor F,el sales Peuolam st ppry
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                                                             as of the date first writton above.

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        GAS DEPOTOIL COMPA}.IY




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       Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 166 of 240 PageID #:166
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       Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 167 of 240 PageID #:167
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      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 168 of 240 PageID #:168




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a           Bank, an Illinois SEtE Chart€rd Bs* ('"riority Licoholdet') and Gas Dcpot, Inc. aka
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            Gas Depot Oil Conpaoy ('subodined Licoholdcd).


                   WEDREAS, Priorig Lienholder is the holdcr of a ftronismry Noto (6G .Noe")
            ftom sou& Bordhoperties, LLCf'BonouEr"I ssorutd by a Mortgage and Assig@€ot
            of Rents datcd Llarch 26,2018 on rcal propcrty locdcd atTils}-7zvl S Sourh Chicqgo,
            Chicago, IUinoiE 6061 9.

                     WTIERIAS' Bormwrrotuts a cerain Gas Station ad aonc*tory convcniensc
            storc with 8 fucling shtions locabd at7z$-nfi S Sorilh Chicago Avc., Chicagg
            Illinois 60619 (oollcctively, the "CollateralJ as dcscribcd on E &ibit A athohd haeitr

                   UffiREA$ Subordinabd Lien Holdcr has cntercd into a Motor Fuel Salcs
            Pefrolerm Srmly Agrcement with Sou& Chicago Onc hc. md Shammila Rrfiq and
            Bashir Chandry (trcrciruftcr rderd to as thc "Ihilcd) that rclars to thc supply of
            motor firls to tLe Dealer at thc ral Propcrty th* is tlrc sccurity for tlrc Pricity Ucn
            Holders loan which has bacn rocorded agairutthc propcrty in thc Cook County Rccordcr
            oflhcds on August 28,2015 as doctmcnt nuabcr 1524050101.

                  WEEREAS, as a condition of mnting thc Priority IraD to Bomowcr, Priority
           Limlrolder has rcquirtd Bonorrcrto obain ad delivcr a vali4 bindh& cnforccable and
           unsondition&l subordinstim of rll cuncnt 8nd fthre rightq powEm, and privilcgcs of
           Subordinated Lienholder h th€ CollrtffEl to thc nght, powerc, aod prvilegss ofPriority
           Lienholder in tre Cotlaeral. Subordin*ed Umholdsr has dstcrmiasd thst the orccrtion
           and delivery of this ltsec,ment is in ib bost intucst CId in furttrcrancc of itr corpordc
           PurPoses.

                         NOW' THEREFORA, in orderto induoe Priority Lknlroldsr to orHrd or
           maintain ths Priodty [.oan, and fm other geod ad valuable oonsidcration, Subordinatcd
           Lienholdc hercby agrecs as follows:

                   t     $ubordinrtion Subordinded Li€oholder hereby absolrtely and
           uconditiondly nrbondinatcs all of its curoot and fntnrc d$b, porcrq and pivileges in
           any seority intcrest, lien or tevy in the Colldcral, aid any obligations of Dealcr or its
           sucomsols and asigns to the secudty int€rest of Priority Licnboldu in the CollalEral.

                                                                                SubordtulhoAgm:avJ
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 169 of 240 PageID #:169
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              Subordinated Limholder finrthr agre that so long as Priority Limhotdcr has any
              security intcrest in srrch Collateral, Subordinsted Lienholder will not o(crcisc any rights
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              qf aly) with respect to the Collateral, iochding the dgbb of dis[ess, repossesion or
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N                       L   RiSLb to Enicr Prumlrer. Priority Lignholder shall have the rigtrt, from
             time to time, withort obligation or clrrgo, to enbr upon tb Prcmises for the purpoee of
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             the rivcnt of Default by Bonuwer, and a Fomclosuls ortsansfrr of ouncrship of propcrty
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o            resulting trerefron to lcnder or a tldrd party, Priority Lienholders Motor Fucl Sales
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JtL          Peholqrm Supply Agrccmcnt and any modific*ioug amadmenb or reneqr8ls thcb,
             slrall h tslnimhd and of no firthcr forcc ard effcgt.

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             thd (D Bonowcr is not in dcfault undcr thc Noc snd (ii) Subordinad Umholdcr b8s
             full tight, powEr and authority to execute and pcrfom this Asra@cnt withort tbe
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                        {   Succcsors aod/or Agignr lhe provisions of this Agreen€ut shdl be
             birding upon (a) tlre Subordinatod Ucnholdff ard its srrc,Bsors and sssigls; and (b) the
             Bonourcr ard ib suseEssor and ,qsigFs irrltdhg ary pcrson now or hcrcaftcr holding
             any inerest in the Premiscs; and shall hlrrc to the bcnsfit of thc Primity Licnholdcr and
             its suocsssols and assigrs, itrcluding any aesigtres or Eansferce o{, or participet l& eG
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             respect t0 the nrbjcct rnattcr hcrcof, Thffo arE no unwrifim ag1t€mcnts bctnrecn the
             psrties.

                        6     Noticcs Notices rcquired by this Agreement shell bs in u,riti4, urd shall
             be deemed deliverod upon rcceipt, to th following ad&Esses:

                        Priorlty Lhnholdcn Byline Bank, ao Illinoin Stae Chartcrcd Bank
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                                           180 North IaSalle Suitc 400
                                           Chicaqo. ilhoir60601

                        Subodindod LhlhoHer Grr Dcpot Oil Comprny
                                                   8fl)0 N. Wauteeu Rd Suite 200
                                                   Mortoa &ovc. IL 60053



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        Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 170 of 240 PageID #:170
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               Priodty Ueoholdcr in ordcr to so rccord thirAgrccment

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               forcclosrrc proceedings with respcct b, fu Prcmiscs or other 8ctiotr upon tbo sollsi€ral
               muring the Note, suoh procccdings shall be, and shill bc spccifically advcttiscd ss
               being rmder md subject to the tcrms, waditions, licn opc'rdion and payurcnt of thc
               Priority Loan"

                       lL      Sln'urbffi, Thc invalidity or unenforccability of any provision of tbis
               Agrment shall not affest tbc validity or mforccability of aoy othsr provision
                       p.      hrthsr Amurrncs. Ulrtil such time as ttc Priorig Loan is fully repaid
               and satisfiGd, Subordindd Ucnholdcr Sall executc, aoknowledgo and dclitrcr, upon
               dennsn{ any and dl firtbcr subordinatiotrs orother insrumem6 in rccordablo brm as thc
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       duly exooutcd, scal€d ad dstivad u of the dab first writbn above.

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Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 173 of 240 PageID #:173




        EXHIBIT N
    Choudhri Representations in
    Srpplemental Proceedings Certifying
    That Bashir & Aslam Own 7283 South
    Chicago Gas Station
                   Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 174 of 240 PageID #:174
    Hearing Date: No hearing scheduled
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                                                       NUSRAT CHOUDIIRY

                           Now coMES Nusrat and choudhry ('oNusrat" or o'Movant") by and through his
                  attomey, Konstantine Sparagis, of the Law Offices of Konstantine Sparagis, P.C., and as its

                  Reply in Support of Motion to Quash Third Party Citation by Zafar Sheik ("Judgment Creditor"

                  or "Zafaf') states as follows:

                                                          INTRODUCTION

                          1.       This matter arises out of Judement Creditor's attempt to collect a judgment

                  against Bashir Chaudhry ("Bashir" or "Judgment Debtor"). Bashir is not a family member or

                 relative of the Movant except for a similarly spelled name which is common in their community.

                 The Judgment Creditor is abusing the supplementary proceedings by attempting wholesale

                 fishing expeditions into the financial affairs of non-debtors which are beyond the scope of both

                 Supreme Court Ftule 277 arrd735II-CS 5/2-1402.

                                                      T]I\DERLYING FACTS

                          2.       On or about October 11, 2A22, the Judgment Creditor issued his frst subpoena to

                 Nusrat which was quashed pursuant to this Court's prior order on May 3l , 2023 .
       Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 175 of 240 PageID #:175




               3.      On or about June 12,2A23, Judgement Creditor again caused a third party citation

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o)     and rider to be served on Nusrat. See Ex. A to Motion.
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F             4.       On June 30,2023, Nusrat filed his Answer to the Third Party Citation indicating
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       that he did not hold any assets or property of the Judgment Debtor and his answers and
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(r)    objections to the third party citation and request for documents. See Ex. C to Motion. In an
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o      attempt to appease the Judgment Creditor's curiosity and cooperate in his investigation,
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o     Respondent produced documents related to the sale and transfer of Bashir's interest in
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Jl!    Southbound Properties, LLC from July 1, 2011. Nusrat also provided minutes of meeting,

      cancelled certificates, new certificates effectuating the transaction, and the most recent Secretary

      of State annual report identi$ring Nusrat as sole Manager of a transaction completed more than

      10 years ago.


              5.      Instead of recognizing the transaction for what it was   - a legitimate documented
      transfer of a membership interest in an LLC made more than 6 years before the Judgment

      Creditor even filed suit, Zafar proceeds under a fundamental misunderstanding of basic

      Illinois law rcgarding limited liability companies, members and their relation to assets of the

      company. In Illinois it is well settled that:

             A limited liability company (LLC) is a legal entity distinct from its members. It is
             an independent legal entity which has legal rights and obligations, differentiating
             it from a joint venture. See Firsl Mid-Illinois Bank & Trast, N.A. v. Parkcr, 403
             Ill.App.3d 784, 792,342111.Dec. 922,933 N.E.2d t}ts, t22t (2010). . . .fllinois
             law clearly states, however, that membership in a limited liability company does
             not confer any ownership interest in the prope4y, real or personal, of the LLC.
             805 ILCS 180/3G-1(a) (West 2008) (member of an LLC is not a co-owner of and
             has no transferable interest in, property of a limited liability company). A member
             of an LLC owns only its membership interest in the LLC. Bank of America, N.A.
             v. Freed,2012IL App (lst) 110749,fl 41, 368 Ill.Dec. 9G,983 N.E.2d 509.

      Peabody-Waterside Dev., LLC v. Islands of Waterside, LLC,2OI3IL App (sth) l2O49O,ng,gg1
      N.E.2d 1,021, t024
            Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 176 of 240 PageID #:176




                      6.      How do we know Zafar is operating under a fundamental misunderstanding?
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 o)         Because in his response he conflates the membership interest by tying it to the real estate
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l'-         repeatedly and erroneously.
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                      7.      More egregious are his flat-out false statements made in connection with his
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            Response. This is not a new development, but it has now gotten to the point of flouting Illinois
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o           Supreme Court Rule 137. Regardless of his pro se appearance                  - he still owes a duty to this
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 o          Court and the parties to state well grounded facts that are accurate in which he fails miserably.
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JLL         To wit:

                      False Statement                                    Fact as Outlined by Exhibitst

                      Para 1: Refers to parties' relationship as         Southbound Properties, LLC is not a

                      "partnership"                                      parhrership

                      Para 3:        Bashir Choudlri personally - Ex. I is the deed and acquisition loan for

                      purchased a gas station from Midwest the subject property. Upon information and

                      Corporate Management Company belief Bashir has no interest in and is not
                      ("Midwest") in which he is sole the shareholder of the sole corporation

                      shareholder.                                       involved in the transaction, Midwest. See

                                                                         deed executed by David Gray and Daniel

                                                                         Elkin.

                                                                        - Bashir did not 'lersonally" purchase the

                                                                        gas station which was purchased by
                                                                        Southbound Properties, LLC.



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            Eash of these assertions or facts are supported by the documents submitted as exhibits in connection with the
        motion by the Judgment Creditor.
       Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 177 of 240 PageID #:177




                                                           - The mortgage is signed by both original

                                                           members or managers of Southbound
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                                                           including Nusrat and Bashir. Ex. 1.
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             Para 3 - South Bound Properties, LLC is       See mortgage attached as Exhibit 1. This is
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             owned "solely" by Bashir.                     clearly false.
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o           Para 5 & 6: Conflates the identity of the As outlined in Plaintiffs Ex. B Southbound
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 o          ownership of the property located at 7283 owns the real properly not the gas station
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            S Chicago Ave., Chicago, lI- with the operating at the location which is owned
            operator of the gas station which was and operated by South Chicago One, Inc.

            South Chicago One, [nc.                       Further, the Motor Fuels Supply Agreement

                                                          is executed by Bashir and an individual
                                                          named Shammila Rafiq.




            Para 6: Nusrat produced unverified bogus      Nusrat produced (1) an agreement to

            documents claiming Bashir sold his 50%        tansfer units; (2) executed minute of
            interest in the gas station and South Bound   meeting authorizing the sale; and (3)

            Properties for $10 which is estimated to      cancelled and reissued certificates of the

            have a $1.2 MM value.                         transfer of the membership units from 2011

                                                          in South Bound Properties, LLC. There are

                                                          no more or less documents necessary to

                                                          make the transfer and unlike the Plaintiff

                                                          misplaced assumption no "ceremonial

                                                          llosing" such as with he transfer of real

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       Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 178 of 240 PageID #:178




                                                           estate through a title company. Further,

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o)                                                         there is no basis for the value of $1.2MM
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I.-                                                        merely conjecture and speculation and
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                                                           inadmissible opinion.
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            ParaT: If Bashir (debtor) had sold his 50%     See above and Ex A. The transfer of the
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o           interest in the gas station, there would be    membership units was solely a sale of the
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 o          closing statements from title company, membership units. There was no transfer of
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!tL         checks issued by the title company,           the real estate which always belonged to the

            inventories and the price paid.               LLC and the gas station was owned by a

                                                          separate company.

            Para 8: Why did the Debtor enter into gas     Again, those agreements were signed by

            supply agreements in 2018.                    South Chicago One, Inc. a separate entity

                                                          and any inquiries should be addressed to the

                                                          company or the Debtor. Ex. C.

            Paru 9: Debtor enters into subordination The subordination agreement at Ex. C is

            agreement with Byline Bank.                   executed by Gas Depot, Inc. in favor of

                                                          Byline Bank. The Dealer is again identified

                                                          as the station operator South Chicago One

                                                          which is owned by Shammila Rafiq and the




            Para l0: Nusrat has never denied that This inquity is better directed to the

            Bashir is running, operating or profiting     operator, South Chicago One, Inc. in which
       Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 179 of 240 PageID #:179




                 from the gas station.                       Nusrat has no personal interest. Upon
             I
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O)                                                           information and belief, Bashir is no longer
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TL                                                           owner. However, even if the Debtor was
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(\l                                                          still a shareholder of South Chicago as
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o                                                            tenant under the lease with South Bound
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o                                                            Properties, that would still provide no basis
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tr                                                           for Nusrat (or South Bound for that matter)

                                                             to be deemed to be holding any property or

                                                             assets of Bashir as the tenant is South

                                                             Chicago.

              Para 11-15: Attacks on counsel and             These statements are               intemally

              allegations that Bashir and Nusrat are contradictory and without any basis or

              related.                                      merit as directed to undersigned counsel.

                                                            Moreover, Bashir and Nusrat are not related

                                                            either by blood or through marriage.

              Para 17: Argument repeating many of the       Denied.

              facially false statements outlined above.



             8.          As is evident from the above,       ually every paragraph contains false or
      misleading asser
                  assertions, conjecture and speculation     ied as fact. The "factual" allegations made
             'ing
      by the Judgment
              udgment Creditor are demonshablv false i                    bv his own exhibits. They
                                                             contuadicted by                   Thev are

      not facts at all - but nevertheless, assuredly intended to persuade this Court. The Plaintiff is pro
       Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 180 of 240 PageID #:180




       se, but no skanger (as this Court knows) to legal proceedings, and upon information and belief, a

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o)     hained attorney in his native counky. Regardless, this does not excuse him from either
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J      conveniently misstating facts or propositions of law - and certainly does not excuse facially false
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       factual assertions in the context of these legal proceedings.
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               9.      It is the law in Illinois that"pro se litigants are presumed to have full knowledge
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o      of applicable court rules and procedures and must comply with the same rules and procedures as
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o     would be required of litigants represented by attomeys." In re Est. of Pellico,394111. App. 3d
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TL     1052, 1067, 916 N.E.2 d, 45, 57 (2009) citing to Steinbrecher, L9'7 lll.Zd. at 528,259 lll.Dec. 729,

      759 N.E.2d 509.

              10. Movant is unfamiliar with the remaining legal proceedings launched by the
      Judgment Creditor against several other third parties, but believe from appearing in this matter

      there are many. The Judgment Creditor is free to pursue legitimate collection efforts, but that

      does not include impermissibly harassing Movant through a wholesale fishing expedition into his

      and his businesses' personal finances which are prohibited by Supreme Court Fiule 277 and.735

      ILCS 5/2-1402 and the caselaw interpreting those statutes - particularly related to non-debtor

      third parties. Especially, when the lynchpins of those efforts are based on demonstrably false

      factual assertions.

              11. Make no mistake about it, the Judgment Creditor's conduct in these proceedings -
      and particularly as directed to Nusrat have been solely for the purpose of harassing and

      intimidating him and his family. We realize that this Court has not had the benefit of the past

      papers filed in this case, but initially, the Judgment Creditor did not issue a third party citation in

      this Court, but rather attempted to violate Movant's probation and his liberty by issuing a

      subpoena in federal court against Nusrat in connection with his collection efforts in an unrelated
       Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 181 of 240 PageID #:181




       proceeding. Movant's original motion to quash before Judge Heneghan which was granted

tO)    outlined as follows:
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F.            Further, this attack on Respondents fNusrat] is primarily for the purpose of harassing
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              them. lndeed, either concurrently or prior to turning to this Court for assistance in his
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              collection against the Judgment Debtor, the Judgment Creditor filed a petition to
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o             intervene in Respondents federal case which the Federal Court summarily denied.
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 o            Regardless, the import of the activity by Judgment Creditor (a trained attorney in
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JLL           Pakistan) is to attempt to violate the Respondent's (a non-debtor and non-parfy to these

              proceedings) probation to have him incarcerated. A copy of the docket enkies are below:


       02/2712023     6.6     MOTION to lntervene; Notice. (Exhibits) (ph, ) {Entered: OZ|28/2O231


       03/0L/2023     67      MINUTE entry before the Honofable Matthew t,'Kennelly as to Nusrat H.
                            Choudhry: The Court has received a motion,from a ngn-pafi in thii case {hfar
                            Shiekh) who identifies himself as a civiljudgment creditor of Bashir Choudhry. Mr.
                            Sheikh identifies Bashir Choudhry as a business partner of defendant Nusrat
                            Choudhry. Mr. Sheikh appears to contend that the defendant has helped Bashir
                            Choudhry conceal assets and thus avoid paying Mr. Sheikh's judgment. He asks
                            the Court to compel the defendant to disclose certain information for use in
                            attempting to collect on his judgment, Mr. Sheikh characterizes this as a matter of
                            the defendant's cornpliance with the terms of his supervised release. The Court
                            disagrees. lf Mr'. Sheikh is right then the defendant arguably may have committed
                            a civil wrong or a separate crime. But there is nothing in the terms of the
                            defendant's supervised release that requires the defendant to disclose the
                            info-rrnation Mr. Sheikh is asking for here. He will need to follow the appropriate
                            civil process in connection with the case in which he obtained the judgment. And
                            if Mr. Sheikh believes that the defendant has committed or assistance in the
                            commission of a crime he may report it to the appropriate law enforcement
                            authoritles. The Court denies however Mr. Shiekh's rnotion to intervene 66 . The
                            Clerk is directed to mail a copy of this order to: Zafar Sheikh; 3166 West Wallen
                            Ave.; Chicago IL 60645. Mailed notice. (kp, ) (Entered:03/Ot/2O231




       See Movant's Combined Motion to Quash and Response to Rule to Show Cause dated April 19,
       2423;Para.5 attached hereto as Exhibit 1.
       Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 182 of 240 PageID #:182




                12. These initial efforts, as outlined above, were properly and summarily rejected by
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o      the federal court and Judge Heneghan properly granted the prior motion to quash - and this
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N      Court should likewise grant Movant's motion to quash here. The Zafar has engaged in a pattern
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ft     of vindictive, oppressive and harassing conduct against Nusrat butkessed by false statements,
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N     conjecture and iruruendo. All of which are sufficient basis to grant the Movant's motion to
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      quash.
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               13. Indeed, even when provided documents either by Nusrat or by himself that
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      facially thwart his legally theories, Zafar fashions them out of whole cloth in order to continue

      his assault. Movant voluntarily produced transaction documents which conclusively show that

      Bashir has had no legal ownership interest in South Bound Properties, LLC from 12 years ago in

      order to satis8r his inquiry - but instead, he mangles those documents into a convoluted mess in

      order to continue his crusade thereby wasting this Court's time and the Movant's resources

      without any regard for this Court's rules and regulations including under Supreme Court Rule

      t37.

               14. Rule 137 provides that:
               The signature of an attorney or party constitutes a certificate by him that he has
               read the pleading, motion or other paper; that to the best of his knowledge,
               information, and belief formed after reasonable inquiry it is well grounded in fact
               and is warranted by existing law or a good-faith argument for the extension,
               modification, or reversal of existing law, and that it is not interposed for any
               improper purpose, such as to harass or to cause unnecessary delay or needless
               increase in the cost of litigation. * * * If a pleading, motion or other paper is
               signed in violation of this rule, the court * * * may impose upon the person who
               signed it * * t an appropriate sanction. (Emphasis added.) l34lll.2dR. 137.

               15. The test is "an objective standard of what was reasonable turder the circumstances
      at the time the assertions were made." Wittekind v. Rusk,253 Il1. App. 3d 577, 580,625 N.E.2d

      427, 429 (1993). Therefore, "subjective good faith is not sufficient to meet the burden of Rule
                                                       8
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 183 of 240 PageID #:183




       137." Id. Indeed, "a pro se small claims litigant some leeway in presenting a claim which

sO)   appears unreasonable, but when such a claimant engages in the harassment involved here, he
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F-    must suffer the consequences." Id. at 429-30 citing to Mentzer, 236 lll.App.3d at 731, 177
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      Ill.Dec. at 42,6A2 N.E.2d at937 . Regardless, we digress.
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s             16. As outlined in the Motion and the Movant's filed response to the requests, and the
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o     third party citation answers the requests are patently objectionable. See Mot. to Quash; Paras. 6
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o     & 7 and Ex. C. The Movant has fully complied with their third parry citation response
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Jt!   obligations under Illinois Supreme Court Ptule 277 and 735 tr-CS 5/2-1402. The Judgment

      Creditor's dissatisfaction with the response is not relevant to the Movant's response obligations

      under Illinois Supreme Court Fiule 277 and 735 tr-CS 5/2-1402. The requests should be

      quashed and denied.

                                               ARGUMENT

         I. Zafar's Response Provides No Basis to Denv the Motion to Ouash
             17. The Judgment Creditor's argument in opposition to the motion to quash is found
      atParugraphs 16-20. Other than a formulaic recitation to the statute, he makes no further citation

      to any law or precedent to support his position even though "argument and citation to relevant

      authority are required" by Illinois courts. Davis v. Fields,2019lL App (ath) 190362-IJ,n22.

             18. Moving to the substance of the response, there, the Judgment Creditor repeats in
      some fashion or another the same false facts as outlined above in support of his misguided

      efforts. But the real doozy here which crystalizes the depth of his indifference or
      misunderstanding is found in Paragraph 18 of his response.

             19. There (paraphrasing his argument) the Judgment Creditor asserts that the Movant
      mistakenly believes that by producing indisputable evidence that Bashir has not been a member
       Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 184 of 240 PageID #:184




      of South Bound Properties, LLC since 2011 satisfies the inquiry. But that is exactly the point -

so)   the transaction occurred in 201 1 and Nusrat does not hold any property of the judgment debtor
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F.    and has not for 12 years. Facially, there are no assets in his hands upon which to execute. As
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      argued further below, that production satisfied the inquiry into what property or assets are held
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(,    by Nusrat for Bashir as of the citation.
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o         II. The Purpose is to Discover Assets or Propertv in the Hands of Third Parties
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o             20. As stated in the motion and outlined in Section 2-1402 of the Illinois Code of
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tr    Civil Procedure supplementary proceedings allow discovery of assets of the judgrnent debtor and

      apply those assets to an underlying judgment. Stonecrafters, Inc. v. Wholesale Life Ins.

      Brokerage, [nc.,393 Ill. App. 3d 951, 958 (2d Dist. 2009); Pyshos v. Heart-Land Dev. Co.,258

      Ill. App. 3d 618, 622-23 (l't Dist. 1994). Section 2-1402 applies only to "properly of the
      judgment debtor in the hands of a third party or property of the judgment debtor, if the citation is

      directed to him." Bank of Aspen, v Fox Cartage, Inc.,l4l I1l. App. 3d369,373 (2d Dist. 1984).

      Here, the Respondents have answered they hold no such properly of the Judgment Debtor as set

      fbrth in the Exhibits.

              21. "[N]othing in the code authorizes the entry of a judgment at a supplementary
      proceeding against a third parfy who does not possess assets of the judgment debtor." Pyshos,

      258 Il1. App. 3d at 623. The only relevant inquiry regarding a third party citation is whether the

      third party is holding assets of the judgment debtor. BMO Harris Bank N.A. v. Joe Contarino,

      Inc., 2017 IL App (2d) t60371, n 32. The burden is on the petitioner to show that the citation

      respondent possesses assets belonging to the judgment creditor. Schakv. Blom,334 lll. App. 3d

      729, 133 (lst Dist. 2002). Similarly, "[b]efore a judgment creditor may proceed against a third

      party who is not the judgment debtor, the record must contain some evidence that the third party


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        Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 185 of 240 PageID #:185




       possesses assets of the judgment debtor." Inre Marriage of Takata & Hafley,383 lll. App.3d

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o)     782,790 (3d Dist. 2008). The coun has no jurisdiction otherwise. Id. A. cotart cannot compel the
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JF-    turnover of assets held by a third parfy when the judgment debtor has no right to recover those
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       assets. Mid-Am. Elevator Co.,287Ill. App. 3d at 587.
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               22.     Here, the Judgment Creditor has provided no evidence that the Respondent is in
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(f     possession of any assets of the Judgment Debtor ottrer than the Judgment Creditor's self-serving,
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o      speculative, vague and misguided conclusions which are contradicted by his own exhibits. He
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tr     requests documents from Respondent from parties other than the respondent and related to

       persons or entities other than the Judgment Debtor and over an unspecified period seemingly

       going back 20 years or more. The requests are facially improper and should be quashed.

           III.Fishins Expeditions Aeainst Third Parties Not Allowed Under the Statute

               23. Illinois courts have noted that in connection with supplemental proceedings, a
       general "fishing expedition" for assets may be had only on the initial citation. Fed- Loan Corp.

       v. Harris,lT lll. App. 3d 49,5V57,308 N.E.2d L25,127 (1974). Given the above cited cases

       and the protection afforded to third party non-judgment debtors, Movant posits that the fishing

       expedition is likewise limited to the debtor and inapplicable against third parties.

              24.      In Fischer, a divorced spouse who had won a child support judgment against her

       former spouse commenced a third party citdtion to the judgment debtor's parents for the purpose

       of locating him. Fischer v. Kellenberger, 73 lll. App. 3d 550, 551 , 392 N.E.2 d 733, 734 (1979).

       The parents moved to quash because the inquiry had nothing to do with the question addressed

       by Section 1402 - namely the discovery of assets cu:rently in the hands of third parties. The trial

       court granted the motion to quash and was affirmed on appeal with the appellate court holding

       that "the statute requires the purpose of the proceeding to be to discover assets or income of the


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         Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 186 of 240 PageID #:186




         debtor and to compel the application of discovered assets or income to the satisfaction of the

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        judgment." Id. at 552. Here, Movant has satisfied the inquiry by providing indisputable
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f-       documentation that Bashir is no longer a member of South Bound and that ends the inquiry.
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                 25.     A case more analogous to the case at bar is a federal decision interpreting and
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s(,c!   applying the Illinois supplementary proceedings and citations statutes. ln Lorillard the judgment
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o       creditor issued third party citations to non-debtor, First Chicago Bank and Trust, searching for
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 o      assets regarding non-judgment debtor companies, S&D and Gas Mart. Lorillard Tobacco Co. v.
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 u,
JLr     Montrose Wolesale Candies & Sundries,lnc., No. 03 C 48M,2008 WL tg}gll4, at *l (N.D.

        Ill. Apr. 30, 2008). S&D and Gas Mart filed motions to quash and dismiss the citations which

        were granted. Lorillard responded that it could discover their assets because it believed the non-

        debtors were holding assets in the form of comingled cash of the judgment debtors. Similar to

        the judgment creditor here, Lorillard posed their investigation as follows:

                Lorillard says that both inquiries are appropriate because it can discover assets of
                not only the judgment debtors that might be in the hands of third parties, but
                assets of those third parties that might be in the hands of fourth parties, so long as
                it believes those assets are kaceable to the judgment debtor. Here, it is Lorillard's
                theory that S & D Pantry, [nc. and Harwood Heights Gas Mart are holding assets
                of the defendants and that those assets have been commingled in S & D's and
                Harwood Heights' respective bank accounts. The argument seems to take
                Ill.Sup.Ct. R.277(a) a step too far.

        Id,. at*2-

                26.    Relying on the oft cited principle that citations filed on the third party [must seek]

        to discover assets of the judgment debtor, not to discover the assets of the cited [third) parry. Id.

        This is precisely the problem confronted here as outlined in the Movant's Motion and as outlined

        in Movant's Exhibit C. Indeed, and unmistakably the Judgment Creditor seeks all kinds of

        information involving third parties and fourth parties from Nusrat and going back over 25 yearc

        and must be quashed.

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      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 187 of 240 PageID #:187




8                                               CONCLUSION
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             WHEREFORE, Nusrat Choudhry respectfully requests an order from this Court quashing
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      further relief this Court deems equitable and just.
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F                                                                  Respectfully submitted,
H                                                                  Nusrat Choudhry
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                                                                   By:/s/ Konstantine Sparagis
tr                                                                 One of Defendants Attorneys
      Konstantine T. Sparagis (6256702)
      Law Offices of Konstantine Sparagis, p.C.
      900 W. Jackson Blvd., Suite 4E
      Chicago, lL 60G07
      (312) 7s3-69s6
      gus@konstantinelaw. com
      Cook County Atfy #: 43048




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Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 188 of 240 PageID #:188




        EXHIBIT P
        Documents Filed with Illinois
        Secretary of State Showing Qadirs
        LLC is Owned by Bashir's Minor
        ChildrenAli & Rabia.
          Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 189 of 240 PageID #:189

 ,.,, LLC-50.1                                                lllinois                                    F|LE   #    10684315
                                                  Limited Liability Company Act                           Due    prlorto: 07 10112023
 Secretary of State                                       Annual Report
 Department of Business Services                                                                                           FILED
 Limited Liability Division                Filing  Fee:                                     75.00
 501 S. Second St., Rm.351                 Series Fee, if required:                                                    June 9,2023
 Springfield,lL 62756
 217-524-8008
                                           Penalty:                                          0.00
 www.ilsos.gov
                                           Total:                                           75.00                  Alexi Giannoulias
                                                                                                                   Secretary of State




 1. Limited Liability Company Name:QADIR'S LLC
      Registered          HASSAN ALIQADIR


                          LINCOLNWOOD, tL 60712-3713

2. State or Country of Organization: IL                                       Date Organized in orAdmitted to lllinois: 0712212021

3. Address of Principal Place of Business:
      6655 N MONTICELLO AVE                 LINCOLNWOOD, IL 60712


4.   Name and business address of all managers and any member having the authority of manager:
      CHAUDHRY, RABIA B
      6655 N MONTICELLO  AVE                 LINCOLNWOOD, IL 60712
      HASSAN ALI QADIR
      7OO1 N KEELER   AVENUE                LINCOLNWOOD, IL 60712




5. Entity managers afiirm their current existence.
6. Changes to the registered agent and/or registered office must be submitted on Form LLC-1.36/1.37.
7. I affirm, under penalties of perjury having authority to sign thereto, that this Annual Report is to the best of my knowledge
     and beliel true, conect and complete.

                                                                       Dated:          June 9                                  2023
                                                                                              Month/Day

 HASSAN ALI QADIR

 MANAGER
                                                                     Title


                                                    a company or other entity, state



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         Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 190 of 240 PageID #:190

                                                              lllinois
*,,LLC'5.5                                        Limited Liability Company Act
                                                                                                          F|LE #10684315
                                                   Articles of Organization
                                                                                                                     F!LED
Secretary of State Jesse White
Department of Business Services           Filing Fee:           $150                                              JUL222021
Limited Liabillty Division
wwwcyberdrivei llinois.com                                                                                       Jesse White
                                          APProved BY: MME                                                     Secretary of State

1. Limited Liability Company Name: QADIR'S LLC

2. Address of Principal Place of Business where records of the company will be kept:
     6655 N MONTICELLO AVE

     LTNCOLNWOOD, tL 60712

3. The Limited Liability company has one or more members on the filing date.
4. Registered Agent's Name and Registered Office Address:
                  RABIA B CHAUDHRY
                  6655 N MONTICELLO AVE
                  LTNCOLNWOOD, tL 607 12-37 13

5, Purpose for which the Limited Liability Company is organized:
     "The transaction of any or all lawful business for which Limited Liability Companies may be organized under this Act.'

6. The LLC is to have perpetualexistence.
7. Name and business addresses of all the managers and any member having the authority of manager:
    CHAUDHRY, RABIA B

    6655 N MONTICELLO AVE

    LTNCOLNWOOD, tL60712




8. Name and Address of Organizer
    I affirm, under penalties of perjury, having authority to sign hereto, that these Articles of Organization are to the best
    of my knowledge and beliel true, correct and complete.

    Dated: JULY 22,2021                                      SHERM DARR
                                                             lOOO SKOKIE BLVD, STE 565
                                                             WILMETTE, IL 60091


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         Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 191 of 240 PageID #:191

 ,.,., LLC-50.{                                                                                           FILE   #     10684315
                                                 Limited Liability Company Act                           Duo     priorto: 07n1l2022
Secretary of State                                         AnnualReport
Department of Business SeMces                                                                                        Filed Electronically
Limited Liability Division                Filing Fee:                                       75.00
501 S. Second St., Rm.351                 Series Fee, if required:                                                September 19, 2022
Springfield, lL 62756
217-524-8008
                                          Penalty:                                        100.00

www.ilsos.gov
                                          Total:                                          '175.00                       Jesse White
                                                                                                                     Secretary of State




1. Limited Liability Company Name:QADIR'S LLC
    Registered Agent: HASSAN ALI QADIR
                        6655 N MONTICELLO AVE
                        LINCOLNWOOD, tL 607 12-37 13

2. State or Country of Organization: lL                                     Date Organized in orAdmitted to lllinois: 0712212021

3. Address of Principal Place of Business:
    6655 N MONTICELLO AVE                  LINCOLNWOOD, IL 60712


4. Name and business address of all managers and any member having the authority of manager:
     CHAUDHRY, RABIA B
     6655 N MONTICELLO AVE                                   lL 60712
     7OO1 N KEELER AVENUE                  LINCOLNWOOD, tL 60712




5. Entity managers affirm their current existence.
6. Changes to the registered agent and/or registered office must be submifted on Form LLC-1.36/1.37.
7. I affirm, under penalties of perjury having authority to sign thereto, that this Annual Report is to the best of my knowledge
   and beliel true, correct and complete.

                                                                      Dated:          September 19                             2022
                                                                                              Month/Day

  HASSAN ALIOADIR

  MANAGER



                                      lf applicant is a company or other entity, state Name of Company



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       Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 192 of 240 PageID #:192
              Office of the Secretary of State

              ilsos.gpY

 Business Entity Search



Entity lnformation


Entity Name QADIR'S LLC

Principal           6655 N MONTICELLO AVE
Address             L^1N   co                 uo, 20000
                                :Nw-o?o   *      ]
                                                          I
File Number         10684315                              1   Status         ACTIVE on 06-09-2023
                                                          I




Entity Type                                               I ryp"ofLLG        Domestic

org.                                                          Jurisdiction   IL
Date/Admission 07 -22-2021
Date

Duration            PERPETUAL

Annual                                                        Annual
Report              06-09-2023                                Report         2023
Filing Date                                                   Year

Agent               HASSAN ALI QAD]R                          Agent          10-08-2021
lnformation         6655 N MONTICELLO AVE                     Change Date
                    LI NCOLNWOOD, L 6A7 Q.37 1 3




Services and More lnformation
Choose a tab below to view services available to this business and more information about this business.




 Purchase Master Entity Certificate of Good Standing
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 193 of 240 PageID #:193




        EXHIBIT Q
        Deed For the FIouse at 7001, N. Keeler
        Fraudulently Purchased by Bashir in
        Qadir's LLC's Name Owned by his
        Minor ChildrenAIi & Rabra
      Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 194 of 240 PageID #:194


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        EXHIBIT O
    Bashir's Daughter Mahin's Letter to

    Iudge Kennelly About Close relations
    & Friendship between Bashir &
    Choudhri
 Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 199 of 240 PageID #:199
  Case: 1:19-cr-00639 Document #: 51-1- Filed: OLIOBIZL Page 23 oI34 PagelD #:1280



 Judge Maithew F- KAnnelly
 united stat* Distrld Gourt
 Northern'Distict of lllinois
 219 S $eartrqfi,$treet
 Clfeago,IL S0S04

Honmable Judge Kennelly,

I arn writing this letter on Mrdf of Nusrat Choudhry vyhom I flBferto as Un# Nusret.



I l,larre knarn Und+ Nuerct for my entire lifu. My faher and he ore very doesfrt6;rdr
                                                                                       and
therefore our families are fairly close, I gnew up eeeing Uncle Nusrat as a sccond father. He was
always there from gnaduations to bir8day paili€$ b saddsr fffe eyen6. He nm the first peffion
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Unele Nu*rat frae sffi.ffised his happiness ard loys fur hts kids and others. He mslres sure.
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is hday.
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 200 of 240 PageID #:200




        EXHIBIT R
        Bashir's Mortgage of $339,000.00
        To Purchase the Liquor Store
         Property at 3635 W. Armitage.
         (Page 2 shows the amount).
                Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 201 of 240 PageID #:201
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              BECOROATION REOUESTED BY:                                                         Sogr-oB-24 ic.=r.+p
                                                                                                [ook County  Reccrder 1j.fr0
                  U,S. Bank National Assoctation
                  9918 Hibert Street 2nd Ftooi
                  San Diego, CA grtgt


              WIIEN RECORDED MAIL TO:
                                                                                                        il//lrry,/,!il#!li/lnt
                  U.S. Bank National Associafion
                  9918 Hibert Steet. 2nd Ftoor
.                 San Diego, CA 9i131

\-_
I                 Clostng Audtt Deparrment


    r
    1*1 Loan No.6517312741                                                                            FOR BECORDER'S USE ONLY



    N
    q
             Thls Mortgage prepared by:        U.S. Bank National AssociaUon
        ,q                                     9918 Hibert SbeeL Second Ftoor
    c\                                         San Dlego, CA 92131

    (                                                            MORTGAGE
 $ Tllls MORTGAGE lS DATED AUGUST 9, 2001, between Baahir M. Chaudry, whose addrcrs ie 3635 West
 \Armitage Avenue, Chlcago, tL 60647 (refened tro below as "Grantorn); and U.S. Bank Nauonat Assoclailon,
$ whoee addreEs is 99tB Hibert Street,2nd Floor, San Dtego, CA 9213t iA;;; -oetow ao ,'Lend6r,,).
SO*n, OF MOBTGAGE. For valuabte consideration, Granlor morlgageo, warrants, and conveys to Lender all
Ll of Grantor's right, title, and interest in and to the tollowing described reat property, togelher with all existing 0r
             subsequently erected or affixed buildings, improvements and fixtures; alt'easemenls, rights ol way, ind
             appurtenances; all water, water rights, watercourses and ditch rights (including stock in utiiltles with rtitch or
             irrigation rights); and all dher lights, royalties, and profits relating to the real proforty, including without limitation
             all minerals, oil, gas, geothermal and similar matters, located ln Coof Ctiuilty, 'Ctate of lllinois (the ,,Real
             Property,,):
                            I
                     LOTS AND 2 tN BLOCK 2 OF S. I}ELAMATEFE SUBDIVISION OF TTIE NORn{ €O FEEr OF IHE
                     EAST 1/2 OF mE NORTHEAST tt4 oF THE SouttwEST 114 oF SEGTTON gs, TowNsHli lo xoRnr,
                     BANGE 13 EAST OF TI.IE TTIIBD PRINCTPAL     IN COOK COUNTY, ILLINOIS.
         The Real Property or its address is comrnonly known     'I'IERIDIAN,
                                                                     ae 3635 West Armitage Avenue, Chicago, lL. The Heal
         Property tax id entif ication number is 1 3-35-305{47-0000.

         Glqtor presently assigns to Lender all of Grantor's right, title, and interest in and to all leases of the property and
         all Rents from the Property. ln addition, Grantor granis to Lender a Uniform Commercial Code securify iirterlst in
         the Personal Property and Rents.
         DEFINITIONS. The tollowing words shall have the lollowing meanings when used in this Mortgage. Terms not
         othenvise derined in this Mongage shall have the meaningi attributed to such terms in the Uniiorm Commercial
         Code. All references to dollar amounB shall mean arnounta in lawful money of the Unlted States of America.
                Grantor. The word "Grantor' means Bashlr M. chaudry. The Grantor is the mortgagor under this Mortgage.
                Guarantor. The word nGuarantor" means and includes without limitation each and all of the guarantors,
                sureties, and accommodation parties in connection with the lndeiledness.
                lmprovements. The word "lmprovements" means and includes wirhout limitation all existing and future
                improvements, buildings, structures, mobil.e homes affixed on the Real property, facilities, additions,
                replacements and other construction on the Real property.




                                                                                     Box 3,p3-cT!
  Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 202 of 240 PageID #:202
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 08-09-2001                                           MORTGAGE                                                       Page 2
 Loan No 6517312741                                     (Gontinued)

     lndebtedness- The word "lndebtedness' means all principal and interest payable under the Note anct any
     amounts expended or advanced by Len<ter to discharge obligations of Grantor or expenses incurred by Lendei
     to enlorce obligations of Grantor under this Mortgage, together with interest on such amounts as provided in
     this Mortgage. At ,no_t]Tg
                                .shall tfe prlnclpal amount ol tndeitednese secured by  lhe Morlgage, not
                                                                                    -tire-note
     i$-!gq!..9^!ums advanced to protect the'security of the tytortgage, eiceea-               amount of
     $339,000.00.
     Lender. The word 'Lender' means U.S. Bank National Association, its successors anct assigns. The Lender
     is the mortgagee under this Mortgage.

    !ll_o.19..a9e...
                     The word nMortgage" means this Mortgage between Grantor and Lender, and includes without
    llmltau0n all asslgnments and security interest provisions relating to the personal properi!, and Rents.
    Note. The word "Noten means the promissory note or credit agreement dated August g, 2001, ln the orlglnal
    principal amouIll of
    PrrncrPar amount    ot $339,W.00
                           [3dMu !9 from lrom Grantor tot0 Lender, together with all renewals of, extensions of,
                                        onsolidationsof,andsub$titutionsforrhepromissorynoteoragreement'
    The interest rate on the Note is a variable interest rate based upon an index. The index curenfly is 6.75096
    per annum. The interest rate to be applied to the unpaid principal balance of this Mortgage
                                                                                                  strall be at a rate
    of 1.750 percentage point(s) over the lndex, resulting in an initial rate of 8.500% per annum, NOTICE: Under
    no circumstances shall the interest rate on this Mortgage be more than the maximum rate allowed by
    APPIICAbIE IAW, NOTIGE TO GRANTOR:           THE NOTE CONTAINS A VARIABLE INTEREST BATE.
                                       ,persona.l ploperty"
    !91-s_ti_n-ql Ploperty. The. words                      mean all equipment, fixtures, and other artictes of
    Rgllo_qal EqP-e.ny nglv qt heleafter owned by Qfan!Q1, and now or hereaftei attached or affixed to the Reat
    1;oper[v; together with. all accessions, parts, ind additiirns to, ali reptacdnreiitb oilanii afbdijdiitjrtidis ior. ann
    PJr,'filr?'fB#,',tif,r'ffn$?1J3T; SiL#Si#&#n.lytlt *lil,.t,limiiation'ati lnsuranli"Fi&;eb;' il6
    Properry. The word oProperty" means collectively the Real Property and the personal property.

    Eflril?lfiHa.&t g3,t#X.'Real Propertv" mean the property, inrerests and rishts described above ln the
    Eelated Documents. Tfie words 'Related Documents' mean and lnclude without limitation all oromissorv
    notes, credit aqreeoents, loan agreements, environ-rnenial-iqreenidnis. ;iaianE'eil'lecriiitv-'a6i#ffi-rii'd
  . T,o,ll9_ageq, oe-eqqof trust, and allother.instruments, agreements
                                                             -         and doculnents, whether noW oI herealtei
    ext$tng, executeo in connection with the lndebtedness.
    Rgnts. Thq wqrd 'Rents" means alt oresent - and future rents, revenues, income, issues, royalties, profits, and
    other benefits derived from the propeity.
THIS MORTGAGE, INCLUDING THE ASSTGNMENT OF HENTS AND THE SECUB|TY INTEREST tN THE REI{T.Sn1
A'ND PERSONAL PROPERTY, lS GIVEN TO_SF99BE (1) PAYMENT OF THE TNDEBTEDNESS AND                                          (4b
PERFORMANCE OF ALl- OBLIGATTONS OF GRANTOR UNDER THIS MORTGAGE AND THE REI-ATEd
                                                                                         f,?
DOCUMENTS. THIS MORTGAGE lS GIVEN AND ACCEPIED ON TtlE FOLLOwIN6                            TEBMS:                         ,ifj
l*lllFl'I#t?ffi?iB,[TfJ[?E;'?3'fl'#oTI3#'3,9:Ii$f,ii#1i.,.iltf'68#b,3{Ti,"[f[?lf't7,3'.'o?i]1?'.,.fil
under this   Mortgagel                                                                                                         F
                                                                                                                               b
POS-SESSION. A.l'lp MAINIENANCE QE THE PROPERTY. Grantor agrees that crantor's possession and use 0f .".{
the Property shall be governed by the iollowing pioiisi6-ris:
    Poesesslon and Use. Unlil in default or untit Lender exercises its rioht to collect Rents as orovided for in the
    Assignment or, Rents rolm executed 6vGianror-i'n a6nhtc[6ri'wiif iffi il6;'ti:"bHft5i-niii"rl?hi'ih"ii
    possesslon ano control of and operate and rnanage the Properly and collea the'Redt's from the pidpertv.
    Dutv to Malntain. Grantor shall maintain the Property in tenantabte condition and promptly perlorm alt repairs,
    repfacements, ano maintenance rieCbssani to pie5eirie'its    ieffi:'
  Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 203 of 240 PageID #:203

 08-09-2001                                            MORTGAGE                                                        Page 3
 Loan No 6517312741                                      (Continued)




     unoer,.1no.ul.or lrom the property and (iD any such activiw shall be conducted in compliance with all
     applcaole leoeral, state, and local laws, regulations and ordinimces, includino without limitaiirin those laws.
     Legulations, and ordinances described abov'e. Grantor authorizes Lender ancl its aoents to ehter             uoon thd
     Property to make such inspections and tests, at Grantor's exoense. as Lender mIv deem -a6-orciririhte to
     determine comptiance of the Properry with this section of the Mortoabe, Anv insoecfions or tejsis made bv
     Lender  snat be
     Lenoer shall  oe for  Lenoers purposes onlv
                       Tor Lender's             onry and  sna[ not be
                                                     ano shall         construed to crelte
                                                                    De constrrJecl            ahv resoonsibilitv or liabiliti,
                                                                                      create anv                     tiabititv
     on the part of Lgnder to Grantor br to any-inbther person. The reoresentations and wdnahiieC coniaineO ttereifi
     are based on on-Grantor's
                      Grantor's due dilioence
                                      diligence      invebtigatinq the Piooertv
                                                     invebtioatino                 lot hazardous
                                                                        Pioperty for               waste and hazardous
                                                                                        hazadous wasre                     -oi
     substances. Grantor hereby (a)- releases and fiaive5 anv lutrire 6taims aoainst LenOei-toi inoemnitv
     contribution in the event Grantcir'becomes liable for cleando or other costs irnOei aiv such-iaw5. anO'tul
     agrees to indemnify and hold harmless Lender asainst anv and all claims. lossCs. liabilitiea.-damaoda:
     penalties, and expenses which Lender may directlv -or indireitlv sustain or sufler resultino from a breach oi
    lhis section of th-e Mortqaqe or as a consequence of anv use. oeneration. manufaclure.-storaoe,
                                                                                                  -?hb            disoosal.
     release or thleatened reledse of a hazardoui waste or sribCtan'cd on the oiooertles.               orovisions 6f-thii
    section of the Mortgage, including the obtigation to indemnify, shail survivdtna oayment oi itre-ltnaedteOness
    and lh.q satisfaction and reconv_eyance ol the. lien of this Mortgage.anrt.shall'not be affected by Lender'e
    acquisition of any interest in the Pioperty, whether by foreclosure-or-otherwise.
    NuiSance, Waste. Grantor shall not cause, conduct or oermit anv nuisance nor commit. oermiti or sutler anv
    stripping of or waste on or to the Propertv
                                             'or or anv Dortiorf of the Prboertv. without limitinb-anv
                                                                                                     the ocineraliw of the
    loregoing, Grantor will not remove.          6rant to anv other Dartv ihe rioht to remove.            iimber. minerals
    (includin$ oil and gas), soil, gravel or rock produas vfithout th'e prior writtEn consent of [endi:r.
    Removal of lmprovements. Grantor shall not demolish or remove anv lmorovements from the:Real Prooertv
    without the prior written consent of Lender. As a condition to the rembval'of anv lmDrovementi. Lender'mair
    require Grantor to make arrangements satisfactory to Lender to replace sdch lmprov'ements with
    lmprovements of at least equal valfe.
    Lender's RlEht to Enter. Lender and its aqents and reoresentatives mav enter uDon the Real Prooertv at all
    reasonable Emes to attend to Lender's ilte.regts and' to inspect the ?roperty'for purposes of Grantor's
    compliance with the terms and conditions of this Mortgage.
    Compliance wlth Governmental Requirements. Grantor shall oromotlv comolv with alt laws. ordinances. and
    regulations, now or hereafter in effect, of all oovernmental authoiities'ariolicatjld to the use or bccuoancv rit the
    Property, including without limitation, the Ariericans With Disabil'tties Abt. Grantor mav contest ih qood faith
    any such law, ordinance, or regulation and withhold comoliance durino anv oroceedino. includino a6orooriate
    apDeals, so tong as Grantor has notified Lender in writin'o orior to doiiro sb'and so loh'o as. in'fender'd sole
    OpiniOn, Lender's interests ln the Property_are not jqopudized. Lender'may require Gralntor'to post adequate
    security or a surety bond, reasonably'satiSfactory t<i Ldnder, to protect Lend6r's interest.
    DUty to Protect. Grantor agrees neither to abandon nor leave unattended the Prooerw. Grantor shall do all
           acts, in addition to those acts set forth above in this section, which from thri chilacter and use of the .
    pioperti'a'reieasiiiiaiitinriiiiEaii'Io-p-roi6li'aiipr-eieri;eiitrdF'iopbni:-
    Qther                                                                                                              " ""8
                  -
DUE ON SALE CONSENT BY LENDER. Lender may, at its option, declare immediately due and payable all g1
sums secured by this Mongage upon the sale or transfer, without the Lender's prior written consent, ol all or any .lfJ
part of the Real Property, oI any interest in the Real Property, A 'sale or transfer' means the conveyance of Red                p
Proper$ or any right, title or interest therein; whether iegal, beneficial or equitable; whether voluntary or
involuntary;.wfretneiby outright sale, deed, installment sde Contract, land contract, contract lor deed, leasehold
                                                                                                                                 !)
                                                                                                                                 $
interest witn a term greater than three (3) years, lease-option contract, or by sale,       asrignrrni,-;r-ffi;il;;ilt:.t
beneficial interest in or to any land trust holding title to the Heal Property, or by any other method ol conveyance
of Real Property interest. lf any Grantor is a corporation, partnership or limited liability company, iransfer also
includes any change in ownership of more than twentlFfive percent (25%) of the voting stock, partnershlp intereste
or limitec, liability company interests, as the case may be, of Grantor. However, this option shall not be exerclsed
by Lender il such exercise is prohibited by federal law or by lllinois law.
TOGS AND LIENS. The following.provisions relating to the ta(es and liens on the Property are,a part of this
Mortgage.
   Payment. Grantor shall pay when due (and in all events prior to delinquencg all taxes, payroll taxes, special
   taxe$, assessments, water Charoes and-sewer service chhroes levied aoainS{ or on acbbuirt of the Proberw.
   Sncl shall pay when due all cla'ims for work done on or fri'r services rEndered or material furnished tb ttiti
   Property. Grantor shall maintain the Prooertv free of all liens havino orioritv over or eoual to the interest of
   Lender under this Mortgage, except lor the lfen of taxes and assess-mbnts dot due, and except as dherwise
    providerl in the followind' p-aragrapti,
   f,ight To Contesl Grantor may withhold Davment ol anv tax. assessment. or claim in connection with a oood
   Iatth c,ispute-over the obligation-to pay, so'tong as Lendei's interest in the property is not jeopardized. lt a-lien
   aflses or is filec, as a result of nonpayrnent, Grantor shall within fifteen (15) ilavs after the lien arises or, if a
   lien is filed, within fifteen (15) days hft'er Grdn[or nIs noiiCe oi the ti'ting; b#uie'the iiiCciiiiriii otlniitien,'or it
   Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 204 of 240 PageID #:204

  08-{,9-2001                                                  MORTGAGE                                                             Page 4
  Loan No 6517312741                                             (Continued)


        !ffit"T,*rb/o rL3fi33l'i,dfflttJfuil#frrf,tfr1rcash or a surricient colporate s.uretv.bqld or orner securirv
        S[i[fls{'ji1itl!i}:*ii,,qni'r,,5i,{i?if"i{&id:,-'-E':.?
               "iriri'n"am?"Iehorr-
                                                                .-.:d'!lfJii'?1,'rtfrfl,'[:;,eIj"A1fui-tffl
                                                                                                    rttf,lIt
        eii,iior                             ar'?h"soiiltr;ix 1lyiJ33 'Jf8$"l,,f'3?,3,i'[oJ331.J]1,3fl#T;\*"
        proceedings.

        F-y!^aplqe -o-f faymqnt. Grantor shall upon demand turnish to Lender satistactorv evidence ot oavment of the
                                                                                 oiluai'id'd;ii'ii'io-Gn ilei at any time
        l1?1'3[??:'%s;Tfi;1,?l]o,ll3J lff]'lli1tg5"f,',8'la;ffi1;gtor'*g'sflll
        Notiee ol Conslruction. Grantor shall notify Lender at least fifteen (15) davs betore anv work is commenced.

    rui:fi!ffeii,:&'['JlliJB:d           ll,1?ffii1.1?,,"1'fi:iiEg*.li:1i[',383,'tr [3ty,,[iS:,'8?*iei"*i,ti5l,?ffi$i
    o! Lender rurnish to Lenderadvance-asiuianCdi;iiiari:cdiiio'ffiJbiint'iiiiiittr ;fi''i;b'ilit"ffi'thEiEii
    of such improvements
 PROPERTY DAMAGE INSURANCE. The following provisions retating to insuring the property are,a part of this
 Mortgage.
       Maintenance of lnsurance. Grantor shall procure and maintain policies of fire insurance with standard
       extended coverase gndolsements on a r6plaCemeni-tiasis'toi'rtr'6-'iutt-'iriiuidiiie vliui,"iiive.niiilli
       lmprovements on lhe Real Proparty-in-an amou'ntJ[riEientid-iioib--aobiilati6n tii'ii'iib]nsrjiinia-irl-,iijlai?
       wrn a slanoarO mortgagee clause in favor ol Lender. Grantor shall dlio Drocure and mainlain Comoretiehsive
       gqrigral liability insuiance in suqh coverase amounis as lender mavl&GEi-wTih-tifia;i'bdiil''fi;-6ic';;
       aoomonal lnsureds tn such liability insurance policies. Additionally, Grantor shall maintaih -such olher
       insurance,-in.c[uding !.u! not limited to hazaro-, business interri]'otidn*'hnd'6o1irir iiririrdnEei'ii't-6-niiir-mliv
       requtre.. . rro[ctes snail be written by such insurance companiei and in such form as mav be reasonabli,
       accepaDle to Lenc,er. Glantor shall deliver to Lender certiflcates of coveraoe lrom each insdrdi containino
       stlpulation that coverage will not be cancelled or diminished without a minirilum ot ten ttOi OaG' -oiiol;wiitien
                                                                                                                                          I
       notlce t0 Lender and not containing any disclaimer of the insurer's liability for failure to o'ive suiti nbtice. gricn
       lnsur.anqq policy also shall includ-e ad enoorsement-pio,iidirid t-nat-crivbiiq;il'r;v6fdiG;d'd fiiti-'noj*5ii
       impaired in any way by any act, omission or default of'Grantoior anv oth-ei 6erCon. Strouto ne tfieal.piir-olertv
       qr any time become locaied in an area designated by the Dlrectof of the'Federal Emeroencv, Manaoeinenl
       flg.ency as. a special flood hazard area, Gtantdr agrees to obtain and ma'ntain-FeOeial fio&-lnSirianCeloi IhA
       ruil unpaE pflnctpat batance oI lhe loan anc, an, prior liens on the Drooertv. securino the loan. uo lo the
        !}qLTq!],P9.licy-limits set under the National. Florid'lnsurance
       and to maintain-such insurance for the term ol the loan.              -
                                                                          - -- Prograni, oi aSoitierwisE iequiidO'Oi-t-inOiir,
       Application of Proceeds.        Grantor rshall promptly notify Lender of anv loss or damaoe to the prooertv. Lender
                         P-roceeds. -Glantor
       may make proqt
       fnay.m.aKe     oroof ol       if Grantor
                            of loss i,  Grantor rails to do so wiihin fifteen (151 davs ol the Easuatty.     -io         Whetfier or not
       J-_end.qrq  sticuritv is impaired,
       Lender's security         imnaired.Lendqr
                                             I er     rnay, at its election, apblv thd proceeOs                   itiU reOua-icn oi ihE
       tnoeDreoness, payment ot any lien affecting the proDerty, or the r-estoration and reoair 0f the prooertv. lf
                           6pply g'q
       Lender elects tb qPpry     thq ploceeds
                                       piriceeds to re.sloration
                                                     rbiitdra'iion antl
                                                                   anil-id'D'af;   oiini6i'siririidii;
                                                                         reifir, Grantor                      'replace tne darhaged or
                                                                                                           difildce'ih-a'daffi;i-IiJ
                                                                                              shall repair or                            d;
       .19!g9l.Sle[s_tq
       oe$royeo rrnprovements in a m nner satislactory-proceeds    lo LeniCer. Lender shall. uoon      -costsatiifactorv    oroof of, such
       expenotture, p?y gt reirnburse Grantor ,rom the
       expenditure,                                                           for
                                                                              lor the reasonable
                                                                                         reasonatile bost of
                                                                                         reasonatil          oi reoair
                                                                                                                 ieoaii br'restoration
                                                                                                                         br-iestoration-iiif
       G-rantor is not in default under this Mortgage. Any     AnV proceeds
                                                                    Droceedss which have not     not been                iittrln 180
                                                                                                           disbur'sed within
                                                                                                      been OisOur'seO            ig0- davs
       after. their receipr and which Lender ha5 i'ot conimltteo-to the               reoair or restoration
                                                                               ttrii-ie-dd,ii    res          of the Prooertv shall be         ot
       useo.flrst t9-
       used.tirst   tg- pay any amount owins                                  Mortgdqe, tiieiitii'i
                                                      Lender under thisi ti,tortb-iori.
                                            owing to Lendei-undtiiitris       Mortodoe.
                                                                              Mortgdge,                pav
                                                                                                    t pay accrued inttiresf,
                                                                                              then to                  inttiresf. and the      CD
       remainoer, if any, s.hail be applied to the principal balance o, thelnalebt{ness.'
                                                                                 thelnilebtedness.' lf Lender holds' any'proceeds
       aner payment in tufi ot the Indebtedness, buch i:roceeds shall be paid to Grantor.                                                      tn
       Unexpired lnsurance at
       unexpired                  al Sale.
                                     Sale. Any unexpired insurance shall inure to the benefit of. and, oass to. the
                                                                                                                                               ,m
       purcnaser oJ .tf e- property covered by thiS Mortgage at any trustee's sale or other sale hetit unOei the                               CD
       provtstons oI mis Mortgage, or at any foreclosure saldof such property                                                                  F
       $rarltprls .Repgrt on lnsurance. Upon request of Lender, however not more than once a vear. Grantor shall                               .F{
       rurntsn ro Lenoer a report on each existing policy of insurance showino: (a) the name of t6e irisurer: lb) the
     risks insured; (c) the'amount of the potic-y;' (o)itie prbpertv-indirr6d;-thdlhdn-iir?ib-nt'ie'otailiiniii'vdlje'iit
     sucn property, and the manner of determining that valud: and (e) the exDiration date of the oolicv. Grantor
     _slrEl! lpon request-of Lender, have an indeper-ndent appriiser saii5tacioryiolenOeiOaermine'the basn vaiiri
     replacement cost of the Property.
$(PENDffiJBES BY LENDEB. lf Grantor fails to comply with anv orovision of this Mortoaoe. or if anv acrion or
procecding is commenced rhar woutd marerialri a-neci LenaerE'inliiriiii.'ih ine'Fidi,iT;:i.'dild;;ri Gia;iorb
oehatt may, but. shall n-.ol be required to, take any action that Lender Oeems aoorooriaiE. Ahv amouniihat Lenaei
expenos ln sq 00ing will bear interest at the rate-provided for in the Note from'the date incurrbd or oaid bv Lender
to the date oI. repaymenl by Grantor. All such eipenses, at Lender,s ootion. will (al be bCvaOle oh-aEmhna- mt
De asqeo.ro rne Datance of the Note and be appoitioned amono and be oavable witli anv in'stallment oavmerits'tri
9Qqome oue ouring either (i) the term of any iidplicable insuranice oolicv'of fiil the remainino term of ihd Ncne. or
(c) De trealed as a-balloon payment which will bd due and payable'at th'e Notb's maturitv. TFis Mortoaoe also will
s.eg9re payment of .these dm6unts. The rishts provided 6i'in rhis-riararirriotr straiiU6-in'iEditi6ri"iiianiottE;
ngnrs or any remedies t0 which Lender may be entitled on account of th'e tlefault. Anv such action bv Lender
snal not De construed as curing the defaulf so as to bar Lender lrom any remedy that'it otherwise wbtld have
had,
WARFANTY; DEFENSE oF TITLE. The following provisions retating to ownership of the Property are a part ot this
Mongage.
   Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 205 of 240 PageID #:205

  06-09t2001                                            MORTGAGE                                                         Page 5
  Loan No 6517312741                                     (Continued)

      T.iuer Grantor warrants- that: (a) Grantor holds good. and marketable title
                                                                                                             the prooertv in lee
     simple, free.and clear of alt iiend-6no eiiiiimtiigntetiirdi thinlh;#ser rorthofinrecord to pr,;*h"v'[i):ld[d;;
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     connection with this Mor{gagti,'and (tii Granioi [hi'][e [iii';ighi,                                          b'y:ffiiiHjii
     this Mortgage to Lender.                                                 ffi'#,       irio'diniriiviilEiecute and detiver
     Delenee of TiUe. gyqi"ct to th€.exception in the pqragraph above,. Grantor lvarrants
     the title to the Pr(                                            -in                   and will forever defend
     commenced $.t q?fg[^ts6l;;HiHg,i,.{frg,fft?:ifl'#iBffii
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    excepted in the'ehvironmentaL agieement i                                 *flt3t'6fl#$g,ffi H:[]#iX
 coNDEMNAnoN. The following provisions relating to condemnation of the property are part
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     proceeding and to be represGn[eo'in ine o
     cause to be delivered to-Lender sueh instr
     participation.
 lMPOSlrloN oF TAXES, FEES- AND CHARGES BY GOVERNMENTAL AUTI{OB|TIES. The foltowihg provistons
 relating to governmentaf iaxes,-te-es End'ihalges airi a-pin riiiiiii-iriiritgage:
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    Lender's lien on the                                                                      lii'$:,,.Is-[:q!3'?sx,'n,
    with all exoenses irr
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    T.axes' The following shall constitute taxes to which this section i
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    Grahtor.
    Subseouent raxes.. lf any tax to which lfris seaion-appties !s enacted subsequent to the date o, this
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   to Lender.                                                                                                                      [fl
SECURIIY AGREEMENT; FINANCING STATEMENIS. The following provisions retating to this Mortgage                                       Q
security agreement are a barr dfihls tvtnngjgii.                                             as a                                  T\
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    f,t"$flhf,qrif.ffiHelli#?jJffiHffiuH{ilrqff;i:f,T,y''ierri,3i,,,y'I3fi,sTru,,1?,,,'#[?f,i',p,3:y
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    Personal   Prooertu.
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   at a place reasonably convenient to Granroi riha r-eno'ei'ii'i;A-G'it a;;ridbi;-6'Ghd;?ti{rriii
   aft er'recei pt of writrefr oemanaliirm
                                                                                                              [irl.'d!'f(iio[yE
                                     lEnotii.
   Addresses. . The mailing addresses or Grantor (debtor) and Len
   BgrfiFrsfl,il,9tu's,:#y,tg,'ie,,';p#,?e$itjf.'i$iflJ#ffi:Ei]S[,$f;3H'E"8ryJ',lf'i]"t['f,ii]'",ir,?Ii'#
FURTHEH ASSUBANCE$;                                  The lollowing provisions retaring to further assurances and
attorney-in-fac.t are a part btATTOf,NEY-IN-FAGT.
                                                  --
                                this I'Aortgade-,
   Further.Assuranqes.
                          {t,a3Ylime, and lrom time to time, upon request of Lender, Grantor will make, execute
   and deliver, or will cause iti 6e niati, aiecdiAii oi iieiir,eiSi,'tiileni'ei o? to-tiindb7steiib,i[Elli1[Tj#;
  Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 206 of 240 PageID #:206

 08-09-200r
 Loan No 6517312741
                                                      MORTGAGE                                                         Page      I
                                                       (Continued)


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    assurance' cefilllcales, anO otner
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                                                  ?s         the sole opinion of Lender, be necessarv or desiiafte
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       order to effectuate.
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                                 -sre,jenect, conttnue,.or preserve   (a) the obligations of Grantor under the Note,
                                 so ugcuments,
    Hi,|lrryss,i,ildilln$Hlr#sft'ffi          e,;fl{,'rp'*fli+tili.*'{$#l?;'ff            ql*:.ffi}i$ii$i;f Hi
                                                 and. (b) the liens and securiw interests created bv this Mortoaod
                                 me. Propefly, wnether now owned or hereafter acouired by Giantor. uilteEs
    ptoli?ile{ly-l1g
    plolnLoreo oy taw or agree0  toihe
                                 to the C6nii#y5i
                          asleed to     contrary by Lender in writing, Grantor shall reiinburseLender
                                                                                       rei              ior atiCosii
    ano expenses incurred in conneclion with the matters referred td'in this paragraph,
                                                                                  the.pr-ec€dino psqs-rapcl], LendBL[EU
    t$"{3"I#i-If"'',i llro'ilH: B[il#fl.i?n8':f i?l],,n3,ftgl#;.,%in
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                                                       ft,-i$;;li+ffi
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FULL PERFORUIANCE. lf.Grantor pays allthe lndebtedness when due, and otherwise oerlorms allthe oblioations
igpopg!^upon Grantor.undei ihis tfoitgase, Leiioii-inaii-diediril'airiibeiineiio GiintSru;ijiia6['thi;ii&itii'oi
(nrs Mongage ano sutlable statements of termination of any linancing $atement
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ii;wru',',6i{,f!,,'L",[,%ffiil,?6ii1i3^fJffi,,#?i',',#]ii.?.,[i;?',TIffi;1{lirg[tt'fi,'Ey#

                                                          over Lender or ariv of L
                                                          by Lender with dnv c
                           i snatr oe consEereo unparod fortor the purpose of en
                                                                               enforcement of this Mortoaoe and this
                           t0 be -etfective or shall be e reinstated, as the caser     mav be. notnviin-sia-noino anv
                           le or of any note or other instrument oi Csreenient evio-eniin'q rirC lnitlsbiidlie'C5 iia tii6
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                               e-$_el,-11!_9lqlql   sfall be bound by aniJuogmeni;
                                      and Graniot shall                   any judgment, oecieii,
                                                                                          de       iroii,-"slitiidrirlni'rii
                     to the lndebtedness or to this Mortgage.
DEFAU.LI..Each of the following, at the option of Lender, shallconstitute an event o, defautt ("Event of Default')
under this Mortgage:
   Default on lndebtedneee. Faiture of Grantor to make any payment when due on the lndebtedness.
   Delault o-n Other Payments. Failure of Grantor within the time reouired bv thls Mortoaoe to make any
   qlyql9lt,0r taxes or lnsurance, or any other paymenf neciis-sariio pr]v'iriiti-tinsi'iiiriirii"eTfect'oidb'n-iise dr
   any ilen.
   Environmental Default. Failure ol any party to comply with or oerform when due anv term, oblioation.
   covenant or condition contained in any ehvironhentat ag?&ment eieiuteo in conneaion wiih fie prolidrfy.-- '
                             Failure gt Grantor to comply_with aly other term, obtigation, covenant or condition
   containec, in ^p,qtgytt
   -C-otlttltllqg this Mortgage, the Note or in any ol tlie Related documentii.
   Default In Favor of Thlrd Parties. Should Grantor delault und-er any lqan, extension of credit, securlty qtl
   lgLqen_ell!#rc_hase or sales agreement, or any otner agreement,-in trvtir oIZiiv-tiii6it-ieOi-tbibi o-drsori tiili rg*
                                                                                                    or Grantor's aoititv ,o
   f"?{ofl'El#!,',,{3ff,ffi[ff] fiAB'i,,1tr1i3fr'r'yr.'1,?31'3'','n"'B'gi1.S 6'&lht3.e,Jl*e                                           F
   false Statements, 4ny warranty, representation or statement r.o" oi trir"rtJi, Lender bv or on oetrar or l|fl
   biajrioi'iiioili'ih-i's ra{1rgase, ihe Npte il-ti'd R'.ehEil"bdd#ia-riiiis ftiffi';r'mGieJoihdvir"l#i'f;ffilili
   respect, eithernoworatihdtiinemadebriurniCtreO-.----                                                                           ,flJ
                                                                           ,:^:-^-: - ^^:_:
   D-qfective.Goltateralization. This Mortgage or any of the Related Documents ceases to be in fult force and                         ?
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                                                     to iieatri a i,dlid fid'&&irniii-ctilirI]"r6#iib?iiEniii
   :ffiil*g.JX$[i,fly!?fJ"Xlv'i'oltdibiilEBbumentE
   Death or lnsolvency. The lqath of Grantor or the dissolution or termination of Granlor's existence as a oolno
   business, the insoh
   l::,gi'ffrlletllliBlJ',"Jr3,sl'Ti'lii,r"',fo'd'lP3'&j1,"-'f,?3uf',1%3%#f,{:,'J"f,'5{ltgt''#;'#g6rili
   under any bankruptcy or insolvency ta'ivs dy 6i against Giantoi.----
                                                     or rorecrosu* o'Jfll:lHlirp6?:fiHtni, whether bv iudicrar
   iiJS€18,.'J:dffiHii+r?tss.'SrTilii"*
   qgenqy.     any of the Property, Hofu
           Fgalnsl
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   rolereiture Proceedins,prffylg{.,,,H.?J,?8tgX#,idioei          viiinen-n-oiiiri.,ii sirlii'Erdrii'inE riiinibiiei'iti,#rves
   or a surety'bond for
   Breach of Other Agreement. Any breach by Grantor under the terms of anv other aoreement betvyeen
  Grantor and Lenderlhat is not remedied wiihin'anv oi:#e-piiri-oo'olov"ioiiiltfibrEiii. iitii'aitE'ilTii'iri ri'iii'riiili
  pqy agreement concerning any indebtedness or otheioblightion of Grantor io Lendei,-wtiettriei 6iisiihdnovi'ni
  later,

  f,'&81?Jl[i3.[}%FfH,.ilSfii.-iiiegldiEJ.'.",i83'?f.3h'J[il3i'#?et[JSH',3[f',,*"B3tffi1iJ                    31ll]I,8liiili
  under, any Guaranti oi the-lride6ieonrjss, -'
    Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 207 of 240 PageID #:207

  ou-rr-r*,                                              MORTGAGE
  Loan No 6517312741                                                                                                    Page 7
                                                           (Contlnued)

                                                                                            condition, or uenoer berieves the
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  FlGl.lTS AND REMEDIE-S oN DE-FAUIT. Upon the oc-currence ot any Event of Defaulr and a
  Lender, at its option, rn          *'onU'Ji niiiietiililibiffiint'liriirts'initi 7r-,i,??irtl"inolJ[Iti;'flr1!#l,t3fitJt
  rrshrs or remedies ,,"r!At*iigiir,


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      required to pay.
                                                                                 propertv, Lender shau have
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      collecl Fenls. Lender shail have the right, without notice to Grantor




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      collect the Rents. incl


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      rrug${1ru1#ftiii'lffifffur,qffi*,rr,{B*:r,n,.:di*r:.,%,*s,nr,urr.l:,#sti#'"r#'j;
     !!g!g$gg In, Poseesston. Lender shail have rhe right to be pticed i
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                                                                       rty, with the power to protect and oreserve
                                                                                   and to collect the Redts from the Prooertv
                                                                                   rership, against the lndebtedness. --ttr-6
                                                                                   permitted by- la!v. Lender's right to the
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     lndebtedness bv a substantial amouni.-empiiii-rireii tiileiiiier-5rl'iiiiiit
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     other Remedlec. Lender shall have all other rights anct rernedies provided in this Mortgage
     availabte at law or in equity.                                                              or the Note or

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     constitute a waiver
     or any o,n., o,o,ij#j'rl?A,J1.,. f,.ijeii'i3trti,Y"fll,,3Jl3urund tr;iiiHiidiiaiiice witrlhai prwisio-ntr

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    Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 208 of 240 PageID #:208

  08-09-2001                                           MORTGAGE                                                       Page 8
  Loan No 651n1n41
                                                        {Conlinued)


  MlscELUtNEoUs PRovlsl0NS. The following miscellaneous provisions
                                                                                  are a part of this Mortgager
                                                        y, R.glqted_ Doggments, constitutes the entire understandino
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                y the  alteration or amendrndnt.                                                    sought to be charged
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      ,.rrrruut Rglqrte,
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                              me Hropeenlls is used for purposes other
      rutlrgll                                                   olher than Grantor's residence, Grantolshall furnish. to
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                                                                 oi
      the Property.




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     consent of Lendei.




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    lndebtedness,
    Time ls of the Eseence. Time is of the essence in the performance ol this Mortgage,
    Waiver of Homeetead Erempuon. Grantor. hereby
                                                                                                                               sr
                                                          .reteases and waives all rights and benelits of the,                 cb
    homestead exemption laws of the State oiiitlirois    ii t6'atiliide-o'rioieis'ieirlfto'iiv'iHis'-rvrffUase.                [n
    tH3"AT,:,3i'D30".ffi 8XE,i''!S8'rilfl '#*1,3,"'3"*edtohavewaivedi
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    part ol Lender in exerc
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    il!_qi&r1'f,,fl,t1"J,!',lflJi'3ll_3'-i{fiHAfl?,*,?llrot
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                                                                                             ;e lhe party's right othenvise
                                                                                             'warver bv Lender. nor anv
                                                                     of Lender's rights br any o1
    ams,Hxt'$,'*#li#i,ir8t:$ra!pr-3lfl il?'.r.r:ii{'#}fl tvr#sfl,id  is.required in this Mortgdge,
    ne,lli;{,tr$$tin$n*,uft45;[f:i*i,*'*ftt'*i$
    instances w-here such consent i's requiieci.                     lutng consent t0 subsequent


THE.LOAN SECURED BY TTIIS LIEN
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q)- Wlen SBA is the holrler.of
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construed in accordance wirh federal tiiw. --


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Loan.
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                                 requiring arbitration is not enforceable when sBA is rhe holder of rhe Note secured
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       Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 209 of 240 PageID #:209
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   0E-0$.2001                                         MORTGAGE
   Loan No 6517312741                                                                                            Page 9
                                                       (Conunued)

   GRANTOR ACKNOWLEDGES HAVING READ ALT TTIE PROVISIONS
                                                        OF TTIIS MORTGAGE, AND GRANTOR
   AGBEES TO ITS TERTilS.

   GBANTOR:




   _<€   aasn




                                       INDIVIDUAL ACKNOWLEDGMENT


  STATE OF

                                                               )ss


  on this day before me, the undersigned Notary Public, personally appeared Bashir
                                                                                          M. Chaudry, to me known to
  be the individual described in and who executed the Mortgage, airir acknowledged
                                                                                            ttrat rre or she signed the
  Mortgage as his or her rree
                         ,, ss and yururra,y aut
                               aru votuntary     and qeBqr     tri,J-ri",
                                             act anu deed, Ior
                                                           for Ine        a,,o purposesiherein
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  By                                                         Residing at /7/ ,0, (lrlrtX


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  Notsry Pubttc in and for the State
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  My commlesion expires

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!$E!-PBO, Reg' U'S. Pat' & T.M, Off,, Ver. 3.29a (C) Concentrex 4001 Ail righrs reserved.
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ICA-GO3 E3.26c Fg.Z9 CHOUDHAR.LN Sl.OVLI                                                                                  @
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                                                                                                                          .r-{
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 210 of 240 PageID #:210




        EXHIBIT S
        Bashir Goes on Deliberate Default
        And Had the Property "sold" to his
        Sister in Law Naseer for fi206,000.00
         Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 211 of 240 PageID #:211




     I   llinois Anti-Predatory                                     :lr   .
                                                                                     tmffinf,fitilfrililtil
     Lending Database
     Program                                                                         P,*;'J"1?ffi"ll"ol'f.fi "111,0'3o
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                                                                                     Dat6: l0/1Bi2oi2 o1 r57 PM Pg:
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         Certifi cate of Exemption




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           Repoil Hor{age Fnrud
               80G532{785

    The propelty ldentlled        as:     Pll{; 1$B$S0E{47-0000
    Addross:
    Sbeet            3636 W. Armlhga Arranue

    Stroct llne 2:
    Glty:    Chlcago                     State:   tL                      Zlp Gods: 60647


    Lenden Uttan Parhschlp Bank

    Bonowen Sandal, lnci




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    Loan I llor{age Amounft $206,250.00

     Thk property ie locded Wrln Ure program arq and ls exemfl fom the mqulremenb of 765 ILCS 77lf0 d ceq. because
I
     It le cornmorclal Eoperty.




                                                                                                         S
    Certllcatenumber: 2448F63C{1EC4BFB-AOEF-37FA3D81$}F7                         Executlondets: 10oU2012 P


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                                           1229226141 Page:2 of 29
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24   Page 212 of 240 PageID #:212

                                                                                                     {


   Lorn No.665;!t


   THIS DOCUMENT PREPARED BY:

   H, Jeffrey McCown
   McCown Law Offices
   22837 S. Wirth
   Frankfort, lllinois 60423

   AFTER RECORDING RETURN TO:

   Urban Partnership Bank
   Attn : Loan Administration
   Asset Custody i Loan Operations
   7936 S. Cottage Grove Avenue
   Chicago, Illinois 606 I 9

   PERMANENT INDEX NUMBER:

   13,35-305-M7-0000

   PROPERTY ADDRESS:

  3635 W. Armitage Avenue
  Chicago, Illinois 60647




                     MORTGAGE, SECURITY AGREEMENT, ASSIGNMENT
                       OF RENTS AIYD LEASES AND FIXTURE FILING

          This MORTGACE, SECURITY ACREEMENT, ASSIGNMENT OF RENTS AND
  LEASES AND FIXTURE FILING, dated as of October 3, Z0l2 (the "Mortgage"), is exccuted by
  SANDAL, INC., an lllinois limited liability company (the "Mortgagoi'), having an address of 3673
  W. North Shorc Avenue. Lincolnwood, Illinois 60712. to and for the benefit of URBAN
  PARTNERSHIP BANK, an lllinois banking association, its successors and assigns (the "Lender").
  having an address of 7936 S. Cottage Crrve, Chicago, lllinois 60619.


                                         EECIIATS:
          A.    Pursuant to the terms and conditions contained in that certain Loan Agreement of
  even date herewith by and between the Mortgagor and the Lender (the "Loan Agreement"). the
  Lender has agreed to make a loan to the Mortgagor in the principal amount of Two Hundred Six
  Thousand Two Hundred Fifty Dollars ($206,250.00) (the "L,oan").

          B.    The Loan is evidenced by that certain Mortgage Note of even date herewith in the
  principal amount of Two Hundred Six Thousand Two Hundred Fifty Dollars ($206.250.00), which
                                           1229226141 Page: 3 of 29
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24   Page 213 of 240 PageID #:213




   Mortgage Note bears interest at the rate of 6% percent per annum and has a maturity date of October
   3.2017:

   (such Mortgage Note, as amended, restated or replaced from time to time. is hereinafter referred to
   as the "Note") (collectively. the Note, the Loan Agreement, this Mortgage and all other documents
   securing or othenvise relating to the Loan, as amended, restated or replaced from time to time. arc
   refened to herein as the "Loan Documenls").

          NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of
   which are hereby acknowledged, the Mortgagor agrees as follows:


                                            AGEEEMENIS:
          The Mortgagor hereby mortgages, grants, assigns, remises. rcleases, warrants and conveys to
  the Lender. its successors and assigns. and grants a security interest in. the following described
  property, rights and intensts (refened to collectively herein as the "Premises"), all of which
  property, rights and inter€sts are hereby pledged primarily and on a parity with the Real Estate (as
  defined below) and not secondarily:

                  (a) The real eskte located in the County of Coolq State of lllinois and legally
          described on Exhibit A attached hercto and made a part hereof (the "Real Estate");

                  (b)     All improvements of every nature whatsoever now or hereafter situated on
          the Real Estate. and all fixtures and personal pmperty of every nature whatsoever now or
          hereafter owned by the Mortgagor and located on. or used in connection with the Real Estate
          or thc improvements thereon, or in connection with any construction thercon, including all
          extensions. additions, improvements, betterments, renewals, substitutions and replacements
          to any of the foregoing and allof the right, title and interestof the Mortgagor in and to any
          such personal property or fixtures together with the benefit of any deposits or payments now
          or hereafter made on such personal property or fixtures by the Mortgagor or on its behalf (the
          "lmprovements");

                  (c)      AII easements. righs of way, gores of rcal estate. streets, ways. alleys.
          passages. sewer rights, waters, water courses, water rights and powers, and all estates, rights,
          titles. interests, priviteges, liberties, tenements, hereditaments and appurtenances whatsoever.
          in any way now or hereafter belonging, relating or appertaining to the Real Estate. and the
          reversions. remainders, rents, issues and profits thereofl, and all the estate. right, title, interest
          property, possession. claim and demand whatsoever, at law as well as in equity. of the
          Mortgagor of, in and to the same;

                  (d)    AII rents, revenues, issues, profits, proceeds, income, royalties, Letter of
          Credit Rights (as defined in the Uniform Commercial Code of the State of lllinois (the
          "Code") in effect fmm time to time), escrows, security deposits, impounds. reserves. tax
          refunds and other rights to monies from the Premises and/or the businesses and operations
          conducted by thc Mortgagor thereon, to be applied against the lndebtedness (as hereinafter
          defined); provided. however, that the Mortgagor, so long as no Event of Default (as
                                                          1229226141
                                                    Page: 4 of 29
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page  214 of 240 PageID #:214




         hercinafter defined) has occuned hereunder, may collect rtnt as it becomes
                                                                                    due. but not mort
         than one ( l) month in advance thereofi


                 (e)     All interest of the Mortgagor in atl leases now or hercafter on the premises,
         whether written or oral (each, a "Lease". and collectively. the "Leases").
                                                                                      together with all
         security therefor and all monies payable thereunder, rubj..t. however. to
                                                                                        the conditional
         permission hereinabove given to the Mortgagor to collect the
                                                                       rentals under any such Lease;

                 (0      All fixtures, inv€ntory, equipment and other articles of pmsonal property now
        or hercafter owned by the Mortgagor, including without limitation. any'and alt air
        conditioners, antennae, appliances. apparatus. atnnings, basins, bathtubs. bidrtr.
                                                                                               boilers.
        bookcaseq cabinets. carpets, computer hardware and software used in the operation
                                                                                                of the
        Prcmises. coolcrs. curtains, dehumidifiers. disposals. doors. drapcs. dryers.
                                                                                      ducts. dynamos.
        elevators. el8ine1. equipment. escalatorc, exercise equipment. fans. finings, floor
                                                                'humidifiers,               coverings.
        furnaces. fumishings, fumiture, hardware, heaters.                       inci-nerators. lightiig.
        machinery. motors. ovens, pipes. plumbing, pumps, radiators. ranges. recreational
                                                                                               AJititiei,
        refrigenatots' scltens, security systems, shades, ihelring, sinks.
                                                                             $rinklers, stokers. stov$,
        toilets' ventilators, wall coverings, washerc, windows. t"indo* coverings, wiring. and all
        rcnewals or nrplacements thereof or articles in substitution therefor. whether or noithe same
        arc or shall be attached to the Real Estate or the Improvements in any manner; it being
        mutually agreed that all of the aforesaid property owned by the Mortpgor and placed on thl
        Real Estate or the lmprovcments, so far as permitted by law. shall be deemed to be fixtu6s.
                                                                                                       a
       pan of the realty' and security for tlrc lndebtedness; norwithstanding the agrcement
       hereinabove expressed that certain articles ofproperty form a part ofthe iealty co-vercd by
       this Mortgage and be appropriated to its use and deemed to be iealty, to the exient that sucir
       agroement and declaration may not be effective and that any of said arricles may constitute
       Goods (as defined in the Code), this instrument slrall constitute a security agrcement.
       crBaling a security interest in such goods, as collateral, in the Lender, as a Secured Farty. and
       thc Mortgagor, as Debtor. all in accordance with the Code;

               (g)      All of the Mortgagor's interests in General Intangibles. including Payment
       lntangibles and Software (each as defined in the Code) now o*n"d or hercafter acquired and
       related to the Premises. incltding. without limitation, all of the Mortgagor's right. title
                                                                                                    and
       interest in and to: (i) all agreements. licenses. permits and contracts to- *rri.t thi Mortgagor
       is or may become a party and which relate to the Prernises; (ii) all obligations- a-nd
       indebtedness owed to the Mortgagor thereunder; (iii) alt intellectual properry related
                                                                                              to the
       Premises; and (iv) all choses in action and causes of action relating to ihe premises;

               (h)      All of the Mofigagor's accounts now owned or hereafter created or acquired
       as relate to the Premises and/or the businesses and operations conducted thercon.
                                                                                             including.
       without limitation. all of the following now owned or hercaftcr created or acquired Uy tlr-u
       Mortgagor: (i) Accounts (as defined in the Code). contracr rights book debts. notes. drafts.
       and other obligations or indebtedness owing to the Mortgagor arising from the sale.
                                                                                             lease or
       exchange of goods or other property and/or the performanci of se rvilesl (ii) the Mortgagor's
       rights in. to and under all purchase orders foi goods, services or other property;
                                                                                            iiii-l tfr.
       Mortgagor's rights to any goods, services o. Jther             represented   uy uny'of the
                                                              Foperty
       forcgoing; (iv) monies due or to become due to the Morigagor unO"i.tt confi"cts
                                                                                       forthe     sale.
                                                               1229226141 page; 5 of 29
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 215 of 240 PageID #:215




              lease or exchange of goods or other ptoperty and/or
                                                                    the performance of services including the
              right to payment of any intercst or fillnce charges in respect
                                                                              thereto (whether or not yet
              earned by performance on the pan        the Mortgagor); (v) Securities. Investment property.
                                                   9f
              Financial Assets and Securities Entitlements
                                                                   J.in.a in the Code); (vi) pioceeds of
                                                           (eac-h-as
              any of the foregoing and all collateral security and guaranties
              pcrson or entity with respect to any- of the foregoing;
                                                                                  of any klna   gir*by any
                                                                       and (vii) all wanantiesl guarantees.
              permits and licenses in favor of the Mortgagor with
                                                                  reipect to the premises; and

                     (i)   All proceeds of the forcgoing, including, without limitation. all judgments,
             awards of damages and settlements hereafter made resuiiing
                                                                          from condemn.iion pro...as o,
             the taking of the Prcmises or any portion thereof under
                                                                      thl power of eminenr domain. any
             proceeds of any plicies of insurance,maintained
                                                              with respect to the prcrnises or proceeds of
             any sale. option or contract to sell tho premises or uny po.tion
                                                                                thercof.

             To HAVE   AND To H0LD the Pnemises. unto the Lender, its successors and assigns.
  forever. forlhe purposes and upon the uses herein set
                                                        forth together with all right to possession ofthe
  Prcmises after the ocournenoe of any Event of Default;
                                                             itr."ft4ortgrgor hereby RELEASINC AND
  wAlvlNc all rights under and by virtue of the homestr.a .*"*ptiIn'u*, of
                                                                                  the Statc of lllinois.

            FoR THE PURPOSE oF SECURING: (i) the payment of the Loan
                                                                                        and all inrercst, tate
   ch3rges' prBpayment prcmium, if any. exit fee, if any. intercst
                                                                     rate swap or hedge expenses (if any).
   reimburcement obligations, fees and expenses for htters
                                                             of credit issuedby the L-ender for the benefit
  of the Mortgagor, if any, and other indebtedness evidenced by or owing
                                                                                 under the Note. any of thc
  other Loan Documents' and any application for letters ofcrcdiiand
                                                                          master letter of credit agreement,
  t9q9the1 with any extensions, modifications, r€newals
                                                          or refinancings of any ofthe foregoirig: (ii) the
  obligations and liabilitics of the Mortgagor to the Lender under ind pursuant
                                                                                        to any-inteiist rare.
  cumency or commodity swap agreement, cap agrecment or
                                                                      collar agrcement, executed by and
  h.1*:", thejVlortgagor and the Lender from time Io time                     Jintcrest
                                                                                         Ratc Agreements'.).
                                                              lcoltectively.
  (iii) the pcrformance and observance of the covenants,
                                                                conditioni agEemen$, representations.
  waranties and other liabilities and obligations of the Mortgagor
                                                                      or any other obtigor to or bcnefiting
 the Lender which are evidenced or securcd by or othenvis-e -provided
                                                                             in the Noti rhis [aortg.g, or
 any of the other Loan Documents; and (iv) the reimbursement
                                                                       to the [.ender of any and ait sums
 incurrcd, expended or advanced by the Lender pursuant to any
                                                                      term or provision ofor constituting
 additional indebtedness under or securcd by this Mortgage,
                                                                ani of the other Loan Documents or any
 l{9r9st Rate Agrcements or any application for letters ofiediiand masrer
                                                                                 letter of medit agreement.
 with interest thercon as provided herrin or therein (collectively, the *lidebtedness..).

 IT IS FURTHER UNDERSTOOD AND ACREED THAT:

         l'        I!!9. Thc Mortgagor represents, warants and covenants that (a) the Mortgagor
                                                                                                      is
 the holder of the fee simple titte to thc Primises. ftre
                                                          and clear of all liens and cncumbranceiexcepr
 those liens and encumbrances in favor of the Lrnder
                                                               and as otherwise described on Exhibit B
 attached herero and made a part hercof(the "permitted gx."ptionr;i;
 power and authority to mortgage and convey the
                                                                           il i;);i; il;ng"g;rTas bgat
                                                     Premises, free'from any lien...Iuiity intercst.
 encumhrance or other right' title or interest o?"ny
                                                     other person or cntity oiher than in favor of the
 Lender, and has the legal power and authority to iirect the
                                                              Mortgagor to mortgage and convey the
 Premises.
                                                           1229226141 Page: 6 of29
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 216 of 240 PageID #:216




    .    2.                                    Mortgagor covenants         . Thc
   that.solongasanyportionofthelndebtedni@gorwitl:
                 (a)   promptly repair, rcstore or rebuild any Improvcments now or hereafter
                                                                                             on the
         Premiscs which may become damaged or be destroyed
                                                             trra condition substantially similar to
         the condition immediately prior to such damage oi destruction, whether
                                                                                     or not iroceeds of
         insurance are available or sufficient for the purporr;

                 (b)    keep the Premises in good condition and rcpair. wirhout waste. and
                                                                                                free fiom
         mechanics'. materialmen's or like liens or claims or other ii.n,
                                                                           o, claims for lien (subject to
         the Mortgagor's right to contest liens as permitted by the terms
                                                                          of Section 27 hereof);

         .    .
                (c)    pay when due the Indebtednes in accordance with the terms
                                                                                 of the Note and
        the other Loan Documents and duty perform and observe all of the teffns,
                                                                                  covenants and
        conditions to be ob-served and performed by the Mortgagor
                                                                  under the Note. this Mortgage
        and the other Loan Documents;


         .      (d)     pay when due any indebtedness which may be securcd by a permitted lien
                                                                                                     or
        charge on the Premises on a parity with, superior to or inferior
                                                                           to rhe ltn hereof and upon
        request exhibit satisfactory evidence of the discharge of
                                                                    such tien to the Lender (subject to
        the Mortgagor's right to cont€st liens as permitted by the terms of Section             -
                                                                                    27 hercof[

                (e)     complete within a reasonable time any tmprovements now or at any
                                                                                         time in
        the process of ercction upon the premises;


                (0     comply with all requirements of law, municipal ordinances or restrictions and
        covenants of record with respect to the premises and the use thereof;

               (g) obtain and maintain in full force and effect, and abide by and satisfy thc
       material terms and conditions of. alt material permits. licenses. rcgistrations
                                                                                       and tther
       authorizations with or granted by any governmental authorities that
                                                                           riay be rcquired from
       time to time with respect to the performance of its obligations under this ft4ongrg.,

               (h)     make no material alteruions in the Prtmises or demolish any portion of
                                                                                                    thc
       Premises without the Lender's prior written consen! except as required
                                                                                  by law or municipal
       ordinance;

               (i)    suffer or
                                 ry*it no change in the use or generat nature of the occupancy of
       the Premises. without the Lender's prior writtcn consent;


              U)       pay when due all operating costs of the premises:

              (k)      not.initiate or acquiesce in any zoning rcclassification with rcspect to the
       Premises, without the Lender's prior written consent;
                                           1229226141 Page: 7 of 29
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24   Page 217 of 240 PageID #:217




                  (l)     provide and thereafter maintain adequate parking arcas within the Premises
          as may be required by law, ordinance or regulation (whichever may be greater). together with
          any sidewalks. aisles, streets, driveways and sidewalk cuts and sufficient paved areas for
          ingrcss. egress and right-of-way to and from the adjacent pubtic thoroughfares nec€ssary or
          desirable for the use thereof; and

                  (m) shall comply, and shall cause the Premises at all times to be operated in
           compliance, with all applicable federal, state. local and municipal environmental. health and
           safety laws. statutes, ordinances, rules and regutations, including. without limiation.
           Mortgagor shall (i) ensure, and cause each of its subsidiaries to ensure. that no person who
          owns twenty percent (20o/o) or more of the equity interests in the Mortgagor. or otherwise
          controls the Mortgagor or any of its subsidiaries is or shall be listed on the Specially
          Designated Nationals and Blocked Person List or other similar lists maintained by the Office
          of Foreign Assets Control ("OFAC'), the Department of the Treasury or included in any
          Executive Orders, (ii) not use or permit the use of the procecds of the Loan to violate any of
          the foreign asset control regulations of OFAC or any enabling statute or Executive Order
          relating thereto, and (iii) comply. and cause each of its subsidiaries to comply. with all
          applicable Bank Secrecy Act ("BSA") Iaws and regulations, as amended.

          3,      Pavmgnt of Taxes and Assessments. The Mortgagor will pay when due and before
  any penalty attaches. all general and special taxes, assessments, water charges, sewer charges, and
  other fees. taxes, charges and assessments ofevery kind and naturc whatsoever (atl herein generatty
  called "Taxcs"). whether or not ass€ss€d against the Mortgagor. if applicable to the Premises or any
  interest therein. or the lndebtedness, or any obligation or agrcement secured hereby, subject to the
  Mortgagor's right to contest the same, as provided by the terms hereof; and the Mortgagor witl, upon
  written request, furnish to the Lender duplicate rcccipts therefor within ten (10) days after the
  Lender's request.

         4.      Tax Deposits. .Mortgagor shall deposit with the lender. on a monthly basis until the
  lndebtedness is fully paid, a sum equal to one-twelfth ( l/l2th) of the annual Taxes on the premises.
  as estimated by Lender fmm time to time and including a two (2) month rescrve for Taxes at all
  times. Such deposits are to be held without any allowance of interest and are to be used for the
  payment of Taxes next due and payable when they become due. So tong as no Event of Defautt shall
  exist, the Lender shall, at its option, either pay such Taxes when due and payable upon receipt of
 appropriate bills therefor from Mortgagor or release sufficient funds to the Mortgagor for the
 payment thereof' Mortgagor hereby authorizes the lrnder to automatically deduci from the
 Mortgagor's ctecking account at the Lender's office the amount of such tax escrow payments due
 hereunder. lf the funds are insufficient to cover any payment, Lender shall not be ;bligated to
 advance funds to cover the payments. tf the funds so deposited are insuflicient to pay a-ny such
 Taxes for any year (or installments thereof, as applicable) when the same shall become due and
 payable. Mortgagor shall, within ten (10) days after receipt of written demand therefor,
                                                                                                 deposit
 additional funds as may be necessary to pay such Taxes in full. lf the funds so deposited exceed the
 amount required to pay such Taxes for any year, the excess shall be applied ioward subsequent
 deposits- Such deposits need not be kept separate and apart from any otirer funds of the Lender.
 Lender is authorized to pay any bill, statement or estimate of Taxes piocured from the appropriate
 public oflice without inquiry into the accuracy of such bilt, statement or estimate or
                                                                                        into thi validity
 of any tax. assessment. sale. forfeiture, tax lien or title or claim thereof. Upon an Event of Default.
                                           1229226141
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24     Page: 218
                                                    Page    8 of 29
                                                                  of 240 PageID #:218




   the Lender may. at its option, apply any monies at the time on deposit to cure an Event of Defautt or
   to pay any of the lndcbtedness in such order and manner as the Lrnder may elect. lf such deposits
   are used to cure an Event of Default or pay any of such indebtedness, the Mortgagor shall
   immediately, upon demand by the Lender, deposit with the Lender an amount equal to the amount
   expendcd by the Lender from the deposits. When the indebtedness owed by Mortgagor to Lender
   has been fully paid, any rcmaining deposits shall be retumed to the Mortgagor. Such deposits art
   hereby pledged as additional security for the indebtedness and shall not be subject to the direction or
   conhol of the Mortgagor. Lender shall not be liable for any failure to apply to the paymenr of Taxes
   any amount so deposited unless the Mortgagor, prior to an Event of [hfault. shall have rcquested the
   Lender in writing to make application of such funds to the payment of such amounts. accompanied
   by thc bills for such Taxes. The Lender shall not be liable for any act or omission taken in good faith
   or pursuant to the instruction of any party.

          5.       Lender's lnterest ln and-Use of Deposits. Upon an Event of Default. the Lcnder may.
  at its option. apply any monies at the time on deposit pursuant to Section 4 hereof to cure an Event of
  Default or to pay any of the lndebtedness in such order and manner as the L,ender may elect. lf such
  deposits arc used to curc an Event of Default or pay any of the lndebtedness. the Mortgagor shall
  immediately. upon demand by the Lender. deposit with the Lender an amount equal to the amount
  expended by the Mortgagor from the deposits. When the lndebtedness has been fully paid, any
  remaining deposits shall be retumed to the Mortgagor. Such deposi* an herrby pledged as
  additional security for the lndebtedness and shall not be subject to the direction or control of the
  Mortgagor. The Lender shall not be liable for any failure to apply to the payment of Taxes any
  amount so deposited unless the Mortgagor, prior to an Event of Default, shall have requested the
  Lender in writing to make application of such funds to the payment of such amounts. accompanied
  by the bills for such Taxes. The Lender shall not be liable for any act or omission taken in good faith
  or pursuant to the instruction of any party.

       . 6,       Insurance. (a) The Mortgagor shall at all times keep all buildings. improvements.
  fixtures and articles of personal property now or hereafter situated on the Prcmises insured against
  loss or damage by fire and such other hazands as may reasonably be required by the Lender, in
  accordance with the terms. coverages and provisions described on Exhibit C attachcd hereto and
  made a part hereof. and such other insurance as the Lender may from time to time reasonably
  require. Unless the Mortgagor provides the Lender evidence of the insurance coverages required
  hereunder, the Lender may purchase insurance at the Mortgagor's expense to cover the Lender's
  interest in the Prcmises. The insurance may, but need not, protect the Mortgagor's interest. The
  coverages that the Lender purchases may not pay any claim that the Mortgagor makes or any claim
  that is made against the Mortgagor in connection with the Premises. The Mortgagor may tater
  cancel any insurance purchased by the Lender. but only after providing the Lender with evidence thot
  the Mortgagor has obtained insurance as rcquircd by this Mortgage. If the Lender purchases
  insurance for the Prcmises. the Mortgagor will be responsible for the costs of such insurance.
  including, without limitation, interest and any other charges which the Lender may impose in
  connection with the placement of the insurance, until the effective date of the cancetlation or
  expiration ofthe insurance, The costs ofthe insurance may be added to the lndebtedness. The cost
  of the insurance may be more than the cost of insurance the Mortgagor may be able to obtain on its
  own.
                                           1229226141 Page: 9 of 29
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24   Page 219 of 240 PageID #:219




          (b)      The Mortgagor shall not take out separate insurance concunent in form or
   contributing in the event of loss with that required to be maintained hereunder unless the Lender is
   included thereon as the loss payee or an additional insured as applicable. under a standard mortgage
   clause acceptable to the Lender and such separate insurance is otherwise acceptable to the Lender.

          (c)      In case of loss or damage by fire or other casualty, Lender is authorized (i) to senle
   and adjust any claim under insurance policies which insure against such risks, or (ii) to altow
   Mortgagor to agrcc with the insurance company or companies on the amount to be paid in regard to
   such loss. In either case, Lender is authorized, to collect and issue a receipt for any such insurance
   money. At the option of Lender, such insumnce proceeds shall be applied either to reducc the
   lndebtedness or to reimburse Mortgagor for the cost of rebuilding and restoration. lnespective of
  whether such insurance proceeds ane uscd to reimburse Mortgagor for the cost of such rebuilding or
  restoration or not. and ircspective of whether such insurance proceeds arc or are not adequate for
  such purpose, the buildings and improvements shall be so restored or rebuilt so as to be of at least
  equal value and substantially the same character as prior to such damage or destruction. Lender, at
  its option, shall have the right to approve plans and specifications before commencement of any
  rebuilding or restoration work. In any case wherc the insurancc proceeds are used for rcbuilding and
  restoration, such proceeds shall be disbursed in the mannerand underthe conditions that the Lender
  may require and upon Lender being fumished with satisfactory evidence of the estimated cost of
  completion thereof and with architect's certificates, waivers of lien, contractor's and subcontractors'
  sworn statements and other evidence ofcost and payments so that Lender can verifo that the amounts
  disbursed from time to time are r€presented by completed and in place work and that such work is
  free and clear of rnechanics' lien claims. lf the estimated cost of completion exceeds the amount of
  the insurance proceeds available, Mortgagor immediately shall, on written demand of Lender.
  deposit with Lender in cash the amount of such estimated excess cost. No payment made prior to tlrc
  final completion of the work shall exceed ninety percent (90%) of the value of the work perlbrmed
  from time to time, and at all times the undisbursed balance of such proceeds remaining in the hands
  of the disbursing party shall be at least suflicient to pay for the cost of completion of the work free
  and clear of liens. Any surplus which may remain out of such insurance proceeds after payment of
  such cost of building or restoration shall, at the option of the Lender, be applied on account of the
  Indebtedness or be paid to any party entitled thereto without intercst.

          7.      Condemnation. If all or any part of the Premises are damaged, taken or acquired.
  either temporarily or p€rmanently, in any condemnation proceeding, or by exercise of the right of
  eminent domain, the amount of any award or other payment for such taking or damages made in
  consideration thereof, to the extent of the full amounl of the remaining unpaid lndebtedness. is
  hereby assigned to the Lender, who is empowered to collect and receive the same and to give proper
  receipts thercfor in the name of the Mortgagor and the same shall be paid forthwith to the Lender.
  Such award or monies shall be applied on account of the Indebtcdness, inespective of whether such
  lndebtedness is then due and payable and, at any time from and after the taking the Lender rnay
  declare the whole of thc balance of the Indebtedness to be due and payable. Notwithstanding the
  provisions of this section to the contrary. if any condemnation or taking of less than the entire
  Premises occurs and provided that no Event of Default and no event or circumstance which with the
  passage of time, the giving of notice or both would constitute an Event of Default then exists. and if
  such partial condemnation, in the reasonable discretion of the Lender, has no material adverse effect
  on the operation or value of the Premises, then the award or payment for such taking or consideration
  for damages resulting therefrom may be collected and received by the Mortgagor. and the Lender
                                           1229226141 Page: 10 of 29
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24   Page 220 of 240 PageID #:220




   hereby agrces that in such event it shall not dectare the lndebtedness to be due and payable. if it is
   not othcrwise then due and payable.


           8. Stamp Tax. If,, by the laws of the United States of America. or of any state or
   political suMivision having jurisdiction over the Mortgagor. any tax is due or becomls due in
   respect of the execution and delivery of this Mortgage, the Note or any of the other Loan Documents.
   the Mortgagor shall pay such tax in the manner required by any suih law. The Moftgagor further
   agrces to reimburse the Lender for any sums which the Lender may expend by riason of the
  imposition of any such tax. Notwithstandingthe foregoing. the Mortgagoritratt not be required to
  pay any income or franchise taxes ofthe Lender.


          9.   Lease Assisnment. The Mortgagor acknowledges that. concur€ntly herewith, the
  Mongagor has cxecutcd and delivered to the Lender. as addhional security for the rcpaymcnt of thc
  Loan, an Assignment of Rents and Leases (the "Assignment") pursuant to which the Mortgagor has
  assigned to the Lender interests in thc leases of thc Premises and the rents and income from the
  Premises. All of the provisions of the Assignment arc hereby incorporated herein as if fully ser forth
  at length in the text of this Mortgage. The Mortgagor agrees to abide by allof the provisions of the
  Assignment.

           10. Effect of Extensions of'Time and OtherChanges. If the payment of the lndebtedness
  or any part thereof is extended or varied, if any part of any security for the payment of the
  Indebtedness is released. if the rate of interest charged under the Note is changed or if the time for
  payment thereof is extended or varied, all persons now or at any tirne hereafter liable therefor. or
  interested in the Premises or having an interest in the Mortgagor. shall be held to assent to such
  extension. variation. release or change and their liability and the lien and all of the provisions hereof
  shall continue in full force. any right ofrecourse against atl such persons being expressty reserved by
  the Lender, notwithstanding such extension, variation, release or change.

          I l.    Effect of Chanees in Laws Regarding Taxation. If any law is enacted after the date
  hereof requiring (a) the deduction of any lien on the Premises from the value thereof for the purpose
  of taxation or (b) the imposition upon the Lender of the payment of the whole or any part of the
  Taxes, chargcs or liens herein required to be paid by the Mortgagor. or (c) a change in the method of
  taxstion of mortgages or debts secured by mortgages or the Lender's interest in the Premises. or the
  manner of collection of taxes, so as to affect this Mortgage or the lndebtedness or the holders
  thereof" then the Moftgagor, upon demand by the Lender, shall pay such Taxes or charges, or
  rcimburse the Lender thercfor; provided, however, that the Mortgagor shall not be deemed to be
  required to pay any income or franchise taxes of the Lender. Notwithstanding the foregoing, if in the
  opinion of counsel for the Lender it is or may be untawful !o require the Mortgagor to make such
  payment or the making of such payment might result in the imposition of interest beyond the
  maximum amount permitted by law. then the Lender may declare all of the Indebtedness to be
  immediately due and payable,

          12.     Lender's Performance of [hfaulted Acts and Expenses lncurred by Lender. tf an
  Event ofDefault has occuned. the lender may, but need not, make any payment or perform any act
  herein required of the Mortgagor in any form and manner deemed expedient by the Lender. and may.
  but nced not, make full or partial payments of principat or interest on prior encumbrances. if any, and
  purchase. discharge. compromise or settle any tD( Iien or other prior lien or title or claim thereof, or
                                           1229226141 Page: 1 of 29           'l
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24   Page 221 of 240 PageID #:221




   redeem fmm any tax sale or forfeiture affecting the Premises or consent to any tax or assessment or
   cure any default of the Mortgagor in any lease of the Premises. All monies paid for any of the
   puryoses herein authorized and all expenses paid or incurred in connection therewith, including
   reasonable attorneys' foes, and any other monics advanced by the Lendcr in regard lo any tax
   refened to in Section 8 above or to protect the Premises or the lien hereof, shafi Ue so much
   additional Indebtedness, and shall hcome immediately due and payable by the Mortgagor to the
   Lender, upon demand, and with interest thereon accruing from the date of such demand until paid at
   the rate of eleven percent per annum (the "Default Rate'). tn addition to the fonegoing. any costa
  expenses and fees, including reasonable attomeys' fees, incurrcd by the Lender in connection with
  (a) sustaining the lien of this Mortgage or its priority. (b) protecting or enforcing any of the
                                                                                                   Lender's
  rights hereunder. (c) ttcovering any lndebtedness. (d) any litigation or proceidings affecting the
  Note, this Mortgage, any of the other Loan DocumEnts or the Primises, including wiihout limitation.
  bankruptcy and probate proceedings, or (e) preparing for the commencement. defense or
  participation in any threatened litigation or proceedings affecting the Note, this Mortgage, any of the
  other Loan Documents or the Prcmiscs, shall be so much additional lndebtedness. unO statt becomc
  immediately due and payable by the Mortgagor to the Lrnder, upon demand. and with intercst
  thereon accruing from the date of such demand until paid at the Default Rate. The inrcrest accruing
  under this section shall be immediately due and payable by the Mortgagor to the Lnnder. and shall be
  additional lndebtedness evidenced by the Note and secured by this trtortgag". The Lender's failure
  to act shall never be considered as a waiver ofany right accruing to the Lenderon account ofany
  Event of Default. Should any amount paid out or advanced by the Lender hercunder. or pursuant to
  any agreement executed by the Mortgagor in connection with the Loan. be used directly or indirectly
  to Pay olf. discharge or satisfr, in whole or in part, any lien or encumbrance upon the premises or
  any part thereof, then the Lender shall be subrogated to any and atl rights, equal or superior tittes.
  liens and equities, owned or claimed by any owner or holder of said outst nding liens. charges and
  indebtedness, regardless ofwhether said liens, charges and indebtedness arc acquired by assignment
  or have been released ofrecord by the holder thereofupon paymcnt.

          13'      Security Agreement. The Mortgagorand the Lender agree that this Mortgage shall
 constilute a Security Agreement within the meaning of the Code with respect to (a) all rurr * uny
 time on deposit for the benefit of the Mortgagor or held by the Lender (whether deposited by or on
 behalf of the Mortgagor or anyone else) pursuant to any of the provisions of this Mortgage or the
 other Loan Documents, and (b) with respect to any pcrsonal property included in the grantln! clauses
 of this Mortgage, which personal property may not be deemed to be affixed to the premir", o. ,uy
 not constitute a "Fixture" (within the meaning of Section 9-102(41) of the Code and which property
 is hereinafter referred to as "Personal Property"), and all replacernents of, substitutions for. additioni
 to. and the proceeds thereof. and the "supporting Obligations" (as defined in the Code) (all of said
 Personal Property and the replacements, substitutions and additions thereto and the proceeds thereof
 being sometimes hereinafter collectively rcferred to as "Collaleral"). and that a security interest in
 and to the Collateral is hereby granted to the Lender. and the Collateral and allof the illortgagor's
 right. title and interest therein are hereby assigned to the Lender, all to secune payment'oi the
 Indebtedness' All of the provisions contained in this Mortgage pertain and apply ro ttr. Cott.terat as
 fully and to the same extenr as to any other pmperty .ompiiring the prcmiies; and the following
 provisions of this section shall not limit the applicability of any other provision
                                                                                     of this Morrgage bui
 shall be in addition thereto:




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                                           1229226141 Page: 12 of 29
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24   Page 222 of 240 PageID #:222




                (a) The Mortgagor (being the Debtor as that term is used in the Code) is and will
        be the true and lawful owner of the Collateral. subject to no liens, charges or encumbrances
        other than the lien hercof, other liens and encumbrances benefiting the Lender and no other
        party. and liens and encumbrances. if any. expressly permitted by the other Loan Documents.

                (b) The Collateral is to be used by the Mortgagor solely for business purposes.
                (c)     The Collateral will be kept at the Real Estate and. except for Obsotete
        Collateral (as hereinafter defined), will not be removed thercfrom without the consent of thc
        Lender (being the Secured Party as that term is used in the Code). The Collateral may be
        affixed to the Real Estate but will not be affixed to any other real estiate.

               (d) The only p€rsons having any interest in the Premises are the Mortgagor, the
        Lender and holders of intercsts. ifany, expressly permitted hereby.

               (e)     No Financing Statement (other than Financing Statements showing the
        Lender as the solc securcd party, or with respect to liens or cncumbmnces. if any. cxprcssly
        permitted hereby) covering any of the Collateral or any proceeds thereof is on file in any
        public oflice except pursuant hereto; and the Mortgagor, at its own cost and r*p"n*. ,pon
        demand. will furnish to the Lender such further information and will execute and deliver to
        the Lender such financing statements and other documents in form satisfactory to the Lender
        and will do all such acts as the Lcnder may request at any time or from time to time or as
        may be necessary or appropriate to establish and maintain a perfected security interest in the
        Collateral as security for the lndebtedness, subject to no other liens or encumbrances. other
       than liens or encumbrances benefiting the Lender and no other party. and liens and
       encumbrances (if any) exprcssly permitted hereby; and the Mortgagor will pay the cost of
       filing or recording such financing statements or other documents" and this instrument. in all
       public offices wherever filing or recording is deemed by the Lender to be desirable. The
       Mortgagor hereby inevocably authorizes the Lender at any time, and frorn time to time, to
       file in any jurisdiction any initial financing statements and amendments thereto. without the
       signature of the Mortgagor that (i) indicate the Collateral (A) is comprised of atl assets of the
       Mortgagor or words of simitar effect, regardless of whether any particular asset comprising a
       part of the Collateral falls within the scope of Article 9 of the Uniform Commercial Code of
       the jurisdiction wherein such financing statement or amendment is filed, or (B) as being of an
       equal or lesser scope or within greater detail as the grant of the security interest set forth
       herein. and (ii) contain any other information required by Section 5 of Article 9 of the
       Uniform Commercial Code of the jurisdiction wherein such financing statement or
       amendment is filed regarding the sufficiency or filing office acceptance of any financing
       statement or amendment, including (A) whether the Mortgagor is an organization, the type of
       organization and any organizational identification number issued to the Mortgagor, and
                                                                                                    181
       in the case of a financing statement filed as a fixture filing or indicating Colliteral as as-
       extracted collateral or timber to be cut, a sufficient description of the real property to which
       the Collateral relates. The Mortgagor agrecs to fumish any such information to the Lender
       promptly upon request. The Mortgagor further ratifies and affirms its authorization for any
       financing statements and/or amendments thereto, executed and filed by the Lender in any
       jurisdiction prior to the date of this Mortgage. tn addirion. the Mortgagor shalt rnaki




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                                           1229226141 Page: 3 of 29
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24   Page 223 of 240 PageID #:223
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         appropriate entries on its books and rccords disclosing the Lender's security interests in the
         Collateral.

                 (0     Upon an Event of Default hereunder. the Lender shall have the rcmedies of a
        secured party under the Code, including, without timitation. the right to take immediate
                                                                                                    and
        cxclusive possession ofthe Collateral. or any part thereofi and forihat purpose. so far as the
        Mortgagor can give authority therefor, with or without judicial process. may enter (if this can
        be donc without breach of the peace) upon any ptace which the-Collateral or any part
                                                                                                thereof
        may  h  situated and remove the same therefrom (pnovided that if the Cottaterai ii affixed to
        real estate. such removal shall be subject to the conditions stated in the code); and
                                                                                                   the
        Lender shall bc entitled to hold, maintain, pr€serve and prepare the Collateral for sate. untit
        disposed of, or may propose to retain the Collateral subject ro th6 Mortgagor's right of
        redemption in satisfaction of thc Mortgagor's obligations, as pmvided in itri CoOe. me
        Lender may render the Collateral unusable without remoral and may dispose of the
        Collateral on the Premises. The Lender may require the Mortgagor to assemble the
        Collateral and make it available to the Lender for its possession at a piace lo be designated
        by the Lender which is reasonably convenient to both parties. The Lender will giie the
        Mortgagor at least ten (10) days notice of the time and place of any public sale of the
        Collateral or of the time aftcr which any private sale or any other intended disposition thereof
        is mlde' The requirements of rcasonable notice shall be mer if such noticl is mailed, by
        certified United States mail or equivalen! postage prepaid, to the address of the Mortgagor
        hereinafter set forth at least ten (10) days beforr the time of the sale or disposirion.-ih.
        Lender may buy at any public sale. The Lender may buy at private sale if the Collateral is of
        a type customarily sold in a rccognized market or is of a type which is the subject of wide ly
        diskibuted standard price quotations. Any such sale may be held in conjunction with any
        foreclosurc sale of the Prcmises. lf the Lcnder so elects, the Premises and ihe Coltateral may
        be sold as one lot. The net proceeds realized upon any such disposition, after deduction for
        the expenses of rctaking, holding, preparing for sate, selling and the rcasonable attomeys'
        fees and legal expenses incuned by the Lender, shall be appiied against the lndebtedn.sr in
        such order or manner as the Lender shall select. The Lender will account to the Mortgagor
        for any surplus realized on such disposition.

               (g) The terms and provisions contained in this section. unless the context
       otherwise requires. shall have the meanings and be construed as provided in the Code.

               (h)    This Mortgage is intended to be a financing statement within the purview of
       Section 9-502(b) of the Code with respect to the Coltateral and the goods described hercin,
       which goods are or may become fixturcs relating to the Premises. The addresses of the
       Mortgagor (Debtor) and the Lender (Secured Party) are hereinbelow set forth. This Mortgage
       is to be filed for recording with the Recorder of Deeds of the county or counties wtrere fie
       Premises are located. The Mortgagor is the rccord owner of the premlses.

               (i)      To the extent permitted by applicable taw. the security interesr created hereby
       is specifically intended to cover all Lrases betneen the Mortgagor or its agents, as lessor. ani
       various tenants named therein, as tessee, inctuding all extended terms and atl extensions and
       rcnewals of the terms thereof. as well as any amendments to or replacement of said Leases.
       together with all of the right, title and interest of the Mortgagor. as lessor thereunder.




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                                           1229226141 Page: 14 of29
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24   Page 224 of 240 PageID #:224




                  0) The Mortgagor hereby agrees thau (i) where Collateral is in possession of a
           third party' the Mortgagor will join with the Lpnder in notifing the third party of the
           Lender's interest and obtaining an acknowledgmenr from the third party that it is hoiding
                                                                                                      the
           Collateral for the benefit of the Lender; (ii) the Mortgagor will cooperate with the Lender in
           obtaining control with respect to Collatcral consisting of: depoiit accounts. investment
           property. leffer ofcredit rights and electronic chattel paper; and (iii) until the lndebtedness
                                                                                                            is
           paid in full, the Mortgagor will not change the state when it is located or change
                                                                                                  its name or
           form of organization without giving the Lender at least thirty (30) days prior *ritt"n notice
                                                                                                           in
          each instance.


           14. Restrictions on Transfer.
          (a)      The Mortgagot without the prior written consent of the Lender. shall not effect.
  suffer or permit &ny conveyance, sale, assignmenl transfer, tien, pledge, mortgage, security intere$
  or other encumbrance or alienation (or any agrcement to do any of the forcgoirUfuf prcmises
                                                                                                    or any
  part thereof or intercst therein, whether any such conveyance. sale. assignmint.
                                                                                   iiansfer. lien. pledge.
  mortgage. security intercst, encumbrance or alienation is effected directly. indirectly (including
                                                                                                       the
   nomince agrcement), voluntarily or involuntarily. by operation of law or otherwise (each. a
  -Prohibited Transfer"); provided. however,
                                                 that the forcgoing provisions of this section shall not
  apply (i)to liens securing the lndebtedness, (ii)to the lien of current taxes and assessmcnts not in
  default' (iii) to any transfers of the Premis€s! or part thereof. or interest therein, or any beneficial
  interests. or shares of stock or partnership or joint v€nturc interests, as the case may be. by
                                                                                                    or on
  behalf of an owner thereof who is deceased or declared judicially incompetent, to such owner's
  heirs, legatccs, devisees. exscutors, administrators, estate or personal reprerntatives. (iv) to leases
  permitted by the terms of the Loan Documents. if any, or (v) sales or othir dispositions ofCoflateral
  ("Obsolete Collateral") no longer useful in connection with the operation of tirc premises. provided
  that prior to the sale or oth6r disposition thercot such Obsoleti Collateral has been repiaced by
  Collateral of at least equalvalue and utility which is subject to the lien hereof with the same priority
  as with rcspect to the Obsolete Collateral.


          (b)     In determining whether or not to make the Loan" the Lender evaluated the
  background and experience of the Mortgagor in owning and operating property such as the prcmises,
  found it scceptable and relied and continues to rely upon sami as the-means oi maintaining the value
 of thc Prcmises which is the Lender's security for the Note. The Mortgagor is well expJrienccd in
 borrowing money and owning and operating property such as the Premises, were ably represented
                                                                                                      by
 a licensed attorney at law in the negotiation anddocumentation of the Loan and baigained
                                                                                               at arm's
 length and without duress of any kind for all of the terms and conditions of the Loanl inctuding
                                                                                                    this
 provision. The Mortgagor recognizes that the Lrnder is entitled to keep its loan portfolio at cunent
 intercst rates by eithcr making new loans at such rates or coltecting assumption fees and/or
 increasing the intercst rate on a loan, the security for which is purchased by a party other
                                                                                               than the
 original Mortgagor. The Mortgagor further recognizes that any secondary junior financing placed
 upon the Premises (i)may divert funds which would otherwisebe used to p"y the Note;
                                                                                              dijcould
 rcsult in acceleration and foreclosure by any such junior encumbrancer which would force the
 Lender to take mfiNur€s and incur expenses to p.oteci its security; (iii) would detract from the value
 of the Premises should the Lender come into possession thereof with the intention of selling same;
 and (iv) would impair the Lender's right to accept a deed in lieu of foreclosure. as a forecloiure
                                                                                                     by



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                                           1229226141 Page:'l 5 of 29
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24   Page 225 of 240 PageID #:225




   the Lender would be necessary to clear the title to the Prcmises. ln accordance
                                                                                     with the foregoing
   and for the purposes of(a) protecting the Lender's security, both ofrepayment
                                                                                    and ofvalue ofthe
   Premises: (b) giving the lender the full hnefit of its bargain and
                                                                         contract with the Mortgagor;
   (c) allowing the Lender to raise the interest rate and collect assumption
                                                                             fees: and (d1 keepinglhe
   Prcmises free of subordinate financing liens, the Mortgagor agroes inat if this
                                                                                   section is deemed a
   restrainl on alienation, that it is a reasonable one.

           l5'     Events of Default: Acceleratlon. Each of the following shall constitute an ..Event of
   Default" for purposes of this Mortgage:

                  (a)   The Mortgagor or any guarantor of the Note (each, an "Obligoi') fails to pay
          when due (i) any installment of principal or intercst payable pursuant to ihe terms
                                                                                                     of the
          Note. or (ii) any other amount payable to Lender under the Note, this Mortgage or any
                                                                                                of the
          other Loan Documents;

                  (b)  Any Obligor fails to perform or cause to be performed any other obligation or
          observe any other condition, covenant, term. agr€€ment or provision requirci to be
          performed or observed under the Note, this Mortgage or any of the other Loan
                                                                                           Documents;

                  (c)     the existence of any inaccuracy or untruth in any material respect in any
          representation or wananty contained in this Mortgage or any of the other Loan Documents
                                                                                                         or
          of any statement or certification as to facts delivered to the Lnder by any Obligor;

                 (d)   Any Obligor files a voluntary petition in bankruptcy or is adjudicated a
          bankrupt or insolvent or fites any petition or answer seeking any ,=oiganization.
          alrangement, composition, r€adjustment, liquidation, dissolution or sirnilar retief under the
          present or any future federal. state, or other statute or law. or seeks or consents
                                                                                                     to or
         acquiesces in the appointment of any trustee, rcceiver or simitar oflicer of any Obligor or of
         all or any substantial part of the pmperty of any Obligor, the Premises or all or a su-bstantial
         part of the assets of any Obligor are attached, seized, subjected to a writ or distress
                                                                                                 w&rrant or
         are levied upon;

                 (e) the commencement of any involuntary petition in bankruptcy against any
         Obligor, or the institution against any Obligor of any rcorganization. -aningement,
         composition. rcadjustment. dissotution, tiquidation or simitar pror.idings under any-present
         or future federal, state or other statute or law. or the appoiniment of a receiver. t.urt"e or
         similar oflicer for all or any substantiar part of the property of any obligor;

                 (0      the dissolution, tetmination or merger of the Mortgagor or the occunence of
         the death or declaration of legal incompetency of any Obligor;

                 (g) the occurence of a Mortgagor Pnrhibited Transfer (as defined above);
                 (h)     the occurrence of an Event of Defautt under the Note, the Loan Agreement or
         any ofthe other Loan Documents; or




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                                           1229226141 Page: 16 of29
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24   Page 226 of 240 PageID #:226




                   (i)    the occunence of any defautt or event of default under any document or
           agreement now existing or hereafter entered into between Lender and any Obligor.

   lf the Mortgagor is compriscd of more than ons person or entity, the term "Mortgagor" for purposes
   of this provision shall mean any one of such persons or entities.

   lf an Event of Default occurs, the Irnder may. Bt its option. declare the whole of the lndebtedness to
   be immcdiately due and payable without further notice to the Mortgagor. with interest thereon
  accruing from the date of such Event of Default until paid at the Default Rate.

           16.   Foreclosure: Ettpense of Litigation. (a) When all or any part of the lndebtedness
  shall become due, whether by acceleration or othenvise, the Lender shalliave the right to foreclose
  the lien hereof for such lndebrcdness or part thereof and/or excrcise any right. po*e, or rcmedy
  provided in this Mortgage or any of the other Loan Documents in accordance with
                                                                                          the lltinois
  Mortgage Foreclosure Act (Chapter 735, Sections 5/15-ll0l ct seo., ltlinois Compilcd Staturcs) (as
  may be amended from time to time, the "Act"). ln the event of a foreclosurc sale. the Lender is
  hcreby authorized, without the consent of the Mortgagor, to assign any and atl insurance policics
                                                                                                    to
  the purchaser at such sale or to take such other steps as the Lendir may deem advisable to cause
                                                                                                      the
  interest ofsuch purchaser to be protected by any ofsuch insurance policies

          (b)     ln any suit to foreclose the lien hereof, there shall be allowed and included as
  additional indebtedness in the decrce for salc all expenditures and expensss which may be paid or
  incurred by or on behalf of the Lender for rcasonable attomeys' fces. appraisers' fees. outlays for
  documentary and expert evidence, stenographers' charges, pu6lication costs, and costs (whicli may
  be estimated as to items to be expended after entry of the decrce) of procuring all such abstracts of
  title, title searches and examinations. title insurance poticies, and similar data and assurances with
  respect to the title as the Lender may deem reasonably necessary either to pros€cute
                                                                                          such suit or to
  cvidence to bidders at any sale which may be had pursuant to such decrre the true condition
                                                                                                  of the
  title to or the valuc of the Premises. All expenditurcs and expenses of the nature mcntioned in this
  section and such other expenses and fees as may be incuned in the enforcement of the Mortgagor's
  obligations hereunder, the protection of said Premises and the maintenance of the lien of this
  Mortgag€, including the reasonable fees of any attorney employed by the Lender in any litigation
                                                                                                   or
  proceeding affecting this Mortgage, the Note, or the Premises, including probate
                                                                                    uni Uuikrpt y
  proceedings. or in preparations for the commencernent or defense of any proceeding
                                                                                      or ttrrcadneO
  suit-or proceeding shall be immediately due and payabte by the Mortgagor, with intercst thereon
  until paid at the Default Rate and shall be secured by this Mortgage.

          17. Applicatipn of Pmceeds of Forcclosure Sate. The proceeds of any foreelosure sale of
 the Prcmises shall be distributed and applied in accordanc. *itt the Act and. unless otherwise
 specified therein. in such order as the lrnder may determine in its sole and absolute discretion.

         18.     Aopointrnpnt of Bgceiver. Upon or at any time after the filing of a complairu to
 foreclose this Mortgage. the court in which such complaint is filed shall, upon peiition
                                                                                          by the Lender.
 appoint a receiver for the Premises in accondance with the Act. Such appointment may be made
 either before or after sale. without notice, without rcgard to the solveniy or insolvency of
                                                                                              the
 Mortgagor at the time of application for such receivJr and without regard to the value
                                                                                           of the
 Premises or whether the same shall be then occupied as a homestead
                                                                       or not and the Lender hereunder



                                                   I5
                                           1229226141 Page: 17 of29
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24   Page 227 of 240 PageID #:227




  or any other holder of the Note may be appointed as such nceiver. Such receiver
                                                                                          shall have power
  to collect the rents, issues and profits of the Pnmises (i) during the pendency of
                                                                                           such foreclosurt
  suit. (ii) in case of a sale and a deficiency, during the fuil starutry period of
                                                                                      redemption. whether
  there be redemption or not. and (iii) during any funher times when the Mortgagor.
                                                                                                uut for the
  intervention of such receiver, would be entitled to cotlect such rcnts. issres
                                                                                        a-nJ profits. Such
  receiver also shall have all other powers and rights that may be necessary
                                                                                 o, are usrai in such cases
  for.the.protection, possession, control, management and operation of
                                                                                the premises during said
  pcriod. including. to the extent permitted by law, the right to Lur.
                                                                        all or any portion of the prcmises
  for a term that extends beyond the time of such rcceivir's possession wlthout
                                                                                      obtaining prior court
  appmval of such lease. The court from time to time may auihorize the application
                                                                                         of thJ net income
  received by the receiver in payment of (a) the Indebtedness,
                                                                     or by any decree forcclosing this
  Mortgagc, or any tax, special assessment or other lien which may be Lr become
                                                                                       superior to the tien
  hercof or of such decrce, qro_vided such application is made prior to
                                                                             foreclosure sale. and (b) any
  deficiency upon a salc and deficiency.

           19.    Lender's Right of Possession in Case of Default. At any time after an Event of
  Default has occurrcd' the Mortgagor shall. upon d.rand of ttte Lender. sunender to
                                                                                            the Lender
  possession of the Premises. The [.ender, in its discretion.
                                                              may, with process of law. entcr upon and
  takeand maintain possession of allorany partof the Premises, togetirerwith alldocuments,
                                                                                                books"
  records, papers and accounts retating thereto, and may exctude tf,e
                                                                             Mortgagor and its employees.
  agents or servants therefrom, and the Lender may then hold, operarc,
                                                                                    ,"nag" and conirol the
  Premises, either personally or by its agents. The Lender shall have
                                                                          firlt po*.r to use such measures,
  legal or equitable, as in its discretion may be deemed prop€r or necessary
                                                                                  to enforce the payment or
  security of the avails. rents, issues, and profits of the Fremises. including actions
                                                                                          for the recovery of
  rent. actions in forcible detainer and actions in distrrss for rent. Without
                                                                                   limiting rhe generality of
  the forcgoing. the Lender shalt have fuil power to:


                   (a) cancel or terminate any lease.or subleasc for any cause or on any gmund
          which would entitle the Mortgagor to cancel the same;

                   (b) elect to disaflirm any lease or sublease which is then subordinate to the lien
         hereof;

                   (c)    extend or modift any then existing leases and to enter into new leases. which
         extensions. modifications and leases may provide for terms to expire.
                                                                                       or for options to
         lessees to extend or reneY terms to expire. beyond the maturity date
                                                                                of the Loan and beyond
         the date ofthe issuance ofa deed or deeds to a purchaser or pu.chasers at a foreclosure
                                                                                                      sale.
         it being understood and agreed that any such leases, and the options or other such provisions
         to be contained therein, shall bc binding upon the Mortgagor and all peneons whose
                                                                                                 interests
         in the Premises are subject to the lien hereof and upon ihe purchaser or purchasers
                                                                                                   ar any
         foreclosure sale, noiwithstanding any rcdemption from sale, discharge
                                                                                    of ihe lndebtedness,
         satisfaction of any forcclosure judgment, or issuance of any certificate
                                                                                  of sale or deed to any
         purchaser;


                   (d)make any repairc. renewats. replacements, alterations. additions. betterments
         and improvements to the prcmises as the Lendir deems are necessary:




                                                     l6
                                           1229226141 Page: 18 of29
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24   Page 228 of 240 PageID #:228




                   (e)     insure and rcinsure the Premises and all risks incidental to the Lender's
           possession. operation and management thereof; and


                   (f)    receive all ofsuch avails. rents, issues and profits.


           20.   App-lication of lncome Received bv Lender. The Lender. in the exercise of the rights
   and powers hereinabove confened upon it. shall have full power to use and apply the avaits,     rcnts.
   issues and profits of the Prcmiscs to the payment of or on account of the followinl. i, such ordcr
                                                                                                       as
   the Lender may determine:

                  (a) to the payment of the operating expenses of the Premises. including cosr of
          managcmenl and leasing thereof (which shall include compensation to the Lender and its
          agent or agents. if management be delegated to an agent or agents, and shall also include
          lease commissions and other compensation and expenses of seiking and procuring tenants
          and entering into lcases), established claims for damages. if any. and premiums on i-nruran.e
          hereinabove authorized;

                  (b)    to the payment of taxes and special assessments now due or which may
          hereafter become due on the premises; and

                  (c)     to.the payment of any Indebtedness, including any deficiency which may
          result from any foreclosure sale.

          21.  Compliance with lllinois Mortgage Foreclosure [aw. lf any provision in this
  Mortgage shall be inconsistent with any provision of the Act. provisions ol the Act shalt take
  precedence over tht pmvisions of this Mortgage, but shall not invalidate or render
                                                                                      unenforceable any
  other provision of this Mortgage that can be construed in a manner consistent with the Act. lf any
  provision of this Mortgage shall grant to the trnder (including the L,ender acting as a mortgagee-in-
  possession) or a receiver appointed pursuant to the provisions of this Mortgage
                                                                                   any po*.rciights or
  remedies prior to, upon or following the occunence of an Event of Default *tticfi are *o.. limited
  than the powerc. rights or remedies that would otherwise be vested in the Lender or in such receiver
  under the Act in the absence of said provision, the Lender and such receiver shall be vested with
                                                                                                    the
  pow*s. rights and remedies granted in the Act to the fult extent permitted by law. Wirhout limiting
  the generality of the foregoing, all expens€s incurred by the Lender which are of the type refened to
  in Section 5/15'1510 or 5/15-t512 of the Act, whether incuned before or after lny decrce or
 judgment of foreclosure. and whether or not specifically enumerated
                                                                     in this Mortgage. shall be added
  to the lndebtedness and/or by the judgment of foreclosure.

         22. Riehts Cumulative. Each right, power and remedy herein confened upon the Lender
  is cumulative and in addition to every other righi, power or remedy, exprcss
                                                                             or impliei. given now or
 hereafter existing under any of the Loan Documents or &t law o. in .quity. and each anjevery
                                                                                                  right.
 power and remedy herein set forth or othemise so existing may be ixercised ftom
                                                                                      tirne to iime as
 often and in such order as may be deemed expedient by theLndir, and the exercise or the beginning
 of the exercise of one right. power or remedy shall not be a waiver of the right to exercisJ at the
 same time or thereafter any other right. power or remedy, and no delay or omission
                                                                                     of the Lender in
 the exercise of any right, power or remedy accruing hereunder or arising otherwise shall impair
                                                                                                    any




                                                    l7
                                           1229226141 Page. 19 of29
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24   Page 229 of 240 PageID #:229




   such right' power or remedy, or be construed to be a waiver of any
                                                                            Event of Default or acquiescencc
   therein.

              23.  Lender'.s Rieht of lnsoection. The Lender and its represenratives shall
                                                                                           have the right
   to inspect the Premises and the books and records with respect thereto at all
                                                                                       reasonable times upon
  not less than twenty four (24) hours prior notice to the Mortgagor, and access
                                                                                       rherelo. subject to the
  rights of tenants in possession, shalt be permitted for that pur[oir.

              24.                                                                        . The Lendershall
  re lease this Mortgage and the lien hercof    ry p*p"i inrt**ffiffi           payment ano discharge of all
  Indebtedness' including payment of all reasonabie expenses incuned'by
                                                                                   the Lender in coinection
  with the execution of such release.

          25,     Notices. Any notices. comrnunications and waivers under this Mortgage shall be in
  writing and shall be (a)delivered in person, (b)mailed, posmge prepaid.
                                                                               either iy-regisrered or
  certified mail, return receipt requested, or (c) sent by overnight-expness canier. addrcssed
                                                                                               in each
  case os follows:


          To the Lender:                         Urban Partnership Bank
                                                 7936 S. Cottage Grove
                                                 Chicago, Illinois 6061 9
                                                 Aftention: Real Estate Department

          With a copy to:                        Urban Partnership Bank
                                                 55 East Jackson, l6th Floor
                                                Chicago, lllinois 60604
                                                Attention: Legal Department

          To the Mortgagor:                     Sandal,lnc.
                                                3673 W. North Shore Avenue
                                                Lincolnwood, Illinois 607 I 2

 or to any other address as to any of the parties hercto, as such party shall designate
                                                                                          in a written notice
 to the other party hereto. All notices sent puNuant to the terms of this section
                                                                                          shall be deemed
 received (i) if personally delivered, then on the date of delivcry, (ii) if
                                                                               sent by overnight. express
 canier' then on the next fedgral banking day immediarely followlng the Auy
                                                                                    sent. or 1ii'iy if senr Uy
 registered or certified mail, then on the earlier of the third federal
                                                                        baiking day following tire day sent
 or when actually received.

         26.     Waiver of RigblE, The Mortgagor hereby covenants and agrees that it will not ar
                                                                                                 any
 time insist upon or plead, or in any manner.taim or t [. any advantage
                                                                        of, ,ny stay, exemption or
 extensjon.law or any so-called "Moratorium Law" now or at any
                                                               time hireafter in force provibing for
 the valuation or appraisement of the Premises, or any part ttrerelC prior
                                                                           to any sale or sates thereof to
 be made purcuant to any provisions herein contained, or to          judgment
                                                                decree,            or order of any court of
 competent jurisdiction; or. after such sale or sales. claim or exercise
                                                                        ariy rights under any ,tutrt. ,o*
 or hereafter in force to redeem the property so sotd, or any part thereofl
                                                                            or retating to the marshaling
 thereot upon foreclosure sale or other enforcement hereoi; lnd without
                                                                            limiting tf,e foregoing:



                                                     t8
                                           12292261 41 Page: 20 of 29
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24    Page 230 of 240 PageID #:230




                 (a) The Mortgagor hereby expressly waives any and all rights of reinstatement
         and redemption. if any. under any order or decree of foreclosure of this Mortgage. on its own
         behalfand on bchalfofeach and every person, it being the intent hereofthat any and all such
         rights of reinstatement and redemption of the Mortgagor and of all other persons are and
         shall be deemed to be hereby waived to the full extenr permitted by the provisions of lllinois
         Compiled Statutes 735 ILCS 5/15-1601 or other applicable law or replacement sratures;

                 (b) The Mortgagor will not invoke or utilize any such law or laws or othenvise
         hinder. delay or impede the execution of any right, power remedy herein or otherwise
         granted or delegated to the Lender but will suffer and permit the execution of every such
         right, power and remedy as though no such law or laws had been made or enacted.

         27. Contests. Notwithstanding anyhing to the contrary herein contained" the Mortgagor
  shall have the right to contest by appropriate legal proceedings diligently prosecuted any Taxes
                                                                              I
  imposcd or assessed upon the Prcmises or which may be oi become iien thereon and any
  mechanics'. materialmen's or other liens or claims for tien upon the Premises (each. a "Contested
  Liens"), and no Contested Lien shall constitute an Event of Default helrundcr, if, but only if,

                 (a) The Mortgagor shall forthwith give notice of any Contested Lien to the
         Lender at the time the same shall be asserted;

                 (b) The Mortgagor shall either pay under protest or deposit with the Lender the
         full amount (the *Lien Amount*) of such Contested Lien, together with such amount as the
         Lender may reasonably estimate as interest or penalties which might arise during the period
         of contest; provided thal in lieu of such payment the Mortgagor may furnish to the Lender a
         bond or title indemnity in such amount and form, and issued by a bond or title insuring
         company, as may be satisfactory to the knder;

                (c)     The Mortgagor shall diligently pros€cute the contest of any Contested Lien
         by appropriate legal proceedings having the effect of staying the foreclosuie or forfciturc of
         the Premises, and shall permit the Lender to be rcprcsented in any such contest and shalt pay
        all expenses incuned, in so doing, including fees and expenses ofthe Lender's counsel (ali of
        which shall constitute so much additional lndebtedness bearing interest at the Default Rate
        until paid, and payable upon demand);

                (d)     The Mortgagor shall pay each such Contested Lien and all Lien Amounts
        together with interest and penalties thereon (i) if and to the extent that any such Contested
        Lien shal! be determined adverse to the Mortgagor. or (ii) forthwith upon demand by the
        Lender if. in the opinion of the Lender, and notwithstanding any such contest. the premises
        shall be in jeopardy or in danger of being forfeited or foreclosed; provided rhat if the
        Mortgagor shall fail so to do, the Lender may. but shall not be required to. pay all such
        Contested Liens and Lien Amounts and interest and penatties thereon and such other sums as
        may be necessary in the judgment of the Lender to obtain the release and discharge of such
        liens; and any amount expended by the Lender in so doing shalt be so much additional
        lndebtedness bearing interest at the Default Rate until paid, and payable upon demandl and
        provided further that the Lender may in such case use and apply monies deposited as



                                                   t9
                                           12292261 41 Page: 21 ol 29
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24   Page 231 of 240 PageID #:231




           provided in subsection (b) above and may demand payment upon any bond
                                                                                          or title indemnhy
           furnished as aforesaid.

           28. Expenses Relatine to Note and Mortgage.
           (a)    The Mortgagor will pay all expensei charges. costs and fees relating to the Loan or
   necessitated by the terms of the Note, this Mortgage or any of the other Loan Docuients.
                                                                                                 including
   without limitation. the L,ender's reasonable aftomeys' fees in connection with the preparation.
   negotiation' documentation. administration, servicing and enforcement of the Note. this
                                                                                                 Mortgage
   and the other Loan Documents. all filing, registration and recording fees. all other
                                                                                        expenses incident
   to the execution and acknowledgment of this Mortgage (including, without limitation. title insurance
   expenses) and all federal, state. county and municipal 0axes. and other taxes (provided
                                                                                           the Mortgagor
   shall not be required to pay any income or franchise taxes of the Lender). duties. imposts.
   assessments and charges arising out of or in connection with the execution and
                                                                                     delivery of the Notc
   and this Mortgagc. The Mortgagor recognizes that, during the term of this Mortgage, th; Lendcr:

                  (i)    May be involved in court or administrative proceedings, including. without
          restricting the foregoing, foreclosure, pnrbate, bankruptcy, creditors' utr.ngrr.nt
                                                                                                   ,
          insolvency, housing authority and pollution control proceeaings of any kind. to *-hi.h tht
          Lender shall be a party by reason of the Loan Documonts or in which thi Loan Documents or
          the Prernises arc involved directly or indirectly;

                  (ii)    May make preparations following the occurrencc of an Evcnt of Default
          hereunder for the commencement of any suit for the forcctosurr hereof" which may or may
          not be actually commenced;

                  (iii)  May make preparations following the occunence of an Event of Defautt
          hereunder for, and do work in connection with, the Lender's taking possession of and
          managing the Premises, which event may or may not actually occur;

                  (iv) May make preparations for and commence other private or public actions to
          rcmedy an Evenl of Default hereunder, which other actions may or may not be actually
          commenced;

                  (v)     May enter into negotiations with the Mortgagor or any of its agents.
          employees or attomeys in connection with the existence or curing of any Event of Default
          hereunder, the sale of the Premises, the assumption of liability for any of ihe tndebtedness or
          the transfer of the Premises in lieu of forcclosure; or

                 (vi)    May enter into negotiations with the Mortgagor or any of its agents.
          employees or attorneys pertaining to the Lender's approval ofaitions taken or proposed to be
          taken by the Mortgagor which approval is required by the terms of this Mortgage.

         (b)      All expenses, charges. costs and fees described in this section shalt be so much
  additional lndebtedness. shall bear intercst fmm the date so incuned untit paid at the Default Rate
  and shall be paid, together with said interest. by the Mortgagor forthwith upon demand.




                                                   20
                                           1229226141 Page:22 of 29
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24  Page 232 of 240 PageID #:232




            29.     Statemqnt of lndebtednes!. The Mortgagor. within seven days
                                                                                            after hing so
   requested by the Lender. shall furnish a duly acknowledged
                                                                       written statemeni setting forth the
   amount of the debt secured by this Mortgage. the date to *t i.tt interest                    -and
                                                                                 has becn paid       stating
   either that no offsets or defenses exist against such debt or, ifsuch
                                                                         offsets or defenses are alleged to
   exist. the nature thereof.

           30'       Furthqr Instruments. Upon request of the Lender, the Mortgagor shal
                                                                                                 execute,
   acknowledge and deliver all such additional insiruments and further
                                                                         assurances of title and shall do
   or cause to be done all such further acts and thinp as may reasonabty
                                                                         h necessary fully to effectuate
   the intcnt of this Mortgage and of the other Loan Documints.

           31.     Additional.lndebtedness Secured. All persons and enrities with any
                                                                                         interest in the
  Prtmises or about to acquire any such interest should be aware
  the stated principal amount of the Note and interest thereon; this
                                                                    that this Mortgage    *.r*,
                                                                                              more than
                                                                      Mortgage secunes any and all other
  amounts which may become due under the Note, any of the other Loan
                                                                                Documents or any other
  document or instrument evidencing, securing or othinrise affecting the Indebtedness.
                                                                                              including.
  withofi limitation, any and alt amounts expended by the Lender to operate, manage or
                                                                                           rnaintain the
  Premises or to otherwise protect the premises or the lien of this Mortgage.


           32.    Indeqrnity. The Mortgagor hereby covenants and agrees that no liability shalt
                                                                                                be
  asserted or enforced against the Lender in the exercise ofthe rights and powers
                                                                                      granted to the Lender
   in this Mortgage, and the_Mortgagor hereby expressly waives and rrleases
                                                                                 any such liability, except
   to the extent resulting from the gross negligence or willful misconduct of the Lendir.
                                                                                                         The
   Mortgagor shall indemnify and save the Lrnder harmless from and against any
                                                                                         and all tiabilities.
   obligations. losses. damages, claims, costs and expenses, including reasonable
                                                                                       attorneys' fees and
   court costs (collectively, "Claims"), of whatever kind or nature which
                                                                            may be imposed Ln. incuned
   by.or assertcd against the Lender at any time by any third party which relate to or
                                                                                        arise from: (a) any
   suit or proceeding (inctuding probate and bankruptcy proceedings), or the threat
                                                                                          thereof, in or to
   which the Lelder may or does-become a party, eitherisplaintiff o'r as a
                                                                              defendant. by reason of this
   Mortgage or for the purpose of protecting the lien of this Mortgrge; (b) the
                                                                                offer for sale or sate of all
  or any portion of the Premises; and (c) the ownership, teasing. use. operation or maintenance
                                                                                                      of the
  Premises' if such Claims relate to or arise frorn actions takeriprior to
                                                                           the sunender of possession of
  the Premises to the Lender in accordance with the terms of this Mortgage; provided.
                                                                                             however, that
  the l\4ortgagor shall not be obligated to indemnify or hold the Lender tru,irl.s
                                                                                     from and against any
  Claims dircctly arising from the gross negligence or willful misconduct                        -Alt
                                                                                of the Lender.         costs
  provided for herein and paid for by the Lender shall be so much
                                                                      additional Indebtedness and shall
 become immediately due and payable upon demard by the Lender
                                                              and with interest thereon from the
 date incuned by the Lender until paid at the Default Rate.

         33'     Subordinatipn of Pmperty Manaqer's Lien. Any property management agreement
                                                                                                    for
 the Premises entered into hereafter with a property manager shall contain a provision
                                                                                          whercby the
 property manager agrees that any and all mechanics' lien rights
                                                                 that the property manager or anyone
 claiming by, through or under the property manager may have in the Prcmises
                                                                                   shall # subject and
 subordinate to the lien of this Mortgage and shatl provide that
                                                                     the Lender may terminite such
 agreement, without penalty or cost, at any time ailer the occurrence
                                                                             of an Event of Default
 hereunder. Such property rnanagement agrcement or a short form thereof.
                                                                              at the Lender's request.
 shall be recorded with the Recorder of Deeds of the county where
                                                                        the premises are located. ln



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                                           1229226141
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24   Page    23 of29
                                                      Page:233   of 240 PageID #:233




   addition. if the property management agreement in existence as of
                                                                       the date hereof does not contain a
   subordination provision, the Mortgagor shatl cause the property
                                                                     manager under such agreement to
   enter into a subordination of the management agrcement wiih the Lender. in recordable
                                                                                                   form,
   $:t:by such property manager subordinates present and future lien rights and those of any party
   claiming by, through or under such property manager to the lien of this Mortgage

           34.     Miscellaneous,

           (a)     Successors and AssiBns. This
   upon and enforceable                              lortgage and all provisions hereof shall be binding
                                  the Mortgagor and its uirignr and otirer successors, This Mortgage and
   all provisions hereof "goi5t
                         shatl inure to the benefit of theLnder. its successom and assigns           and any
   holder or holders. from time to time, of the Note.

          (b)      lnvalidity gf Provisions: Coveming Law. tn the event that any provision of this
  Mortgage is deemed to be invalid by reason of the operation of law, or by
                                                                            reason of ihe interpreation
  placed thercon by any administrative agency or any cour! the
                                                                     Mortgagor and the Lender shall
  negotiate an equitable adiustment in the provisions oithe same in
                                                                      ordei ro effect, ro rhe maximum
  extent permiued by law, the purpose of this Mortgage and the validity and
                                                                                  enforceability of the
  rcmaining provisions. or portions or applications thereofi, shall not be affected
                                                                                     thereby uid,tutt
  remain in full force and effect..This Mortgage is lo be construed in
                                                                        accordance with and govemed
  by the laws of the Statc of lllinois.

          (c)    MuniciDal Reouirements. The Mortgagor shall not by act or omission permit any
  building or other improvement on premises not subject to the lien oi this Mortgage
                                                                                     to rely on the
  Prsmises or any part thercof or any interest thcrrin to fulfitl
                                                                   any municiprl 6, gon"*mcntat
  requirement'  and the Mortgagor hereby assigns to ttre Lendcr any and .lt ,igttr io give
                                                                                           ionsent for alt
  or any portion of the Premises or any intercst thcrein to be so used. Similarly.
                                                                                     ni building or other
  improvement on the Prgmlses shall rely on sny premises not subject
                                                                        to the lien of this MJrtgage or
  any interest therein to fulfill any governmental or municipal req-uirement. Any
                                                                                      act or omission by
  the Mortgagor which would result in a violation of any oithe pmvisions
                                                                              of this subsection shall be
  void.


     . (dl        Rights of Tenars. The Lcnder shall have the right and option to commence a
 action to foreclose this Mortgage and to obtain a dccrce of foreJlosure
                                                                                                        civil
                                                                             and sale subject ro th€ rights
 of any tenant or tenants of the Premiscs having an intercst in the Premises prior
                                                                                      to that of the Lender.
  The failure to join any such tenant or tenants of the Premises as party
                                                                           defendant or defendants in any
 such civilaction or the failure of any decree of forectosun and sale io
                                                                            forcctose their rights shall not
 be asserted by the Mortgagor as a defense in any civil action instituted
                                                                            to collect the lndebtedness, or
 any part thercof or any deficiency remaining unpaid after foreclosure and
                                                                                 sale of the premises. any
 statute or rule of law at any tim€ existing to the contrary notwithstanding.

          (e)    Option of tender
                           Lender to Subordinate.
                                     Subordinate. At the option of the Lender. this Morrgage shalt
 become subject and subordinate, in whole or in part (but noi with
                                                                   rcspect to priority of entitlement to
 insurance proceeds or any condemnation or eminent domain
                                                              award) to any and all leases of all or any
 part of the. Premises upon the execution by the Lender
                                                         of a unilateral diclaration to that effect and
 the recording thercof in the office of thi Recorder of Deeds in and for
                                                                              the county wherein the
 Premises are situated.




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Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24  Page 234 of 240 PageID #:234




                          (0    Mortsaeec'in-Possession. Nothing hercin contained shall b€ construed as
    constituting the Lender a mortgagee-in-possession in the absence ofthe actual taking ofpossession
   of the Prcmises by the Lender pursuant to this Mortgage.

                          (g)
                  Relationship of Lender and Mortgagor. The Irnder shall in no event bc construed
   for any purpose to be a partner,joint venturer. agent or associate ofthe Mortgagor or ofany lessee.
   operator. concessionairc or licensee of the Mortgagor in the conduct of their reipective buiinesses.
   and, without limiting the forcgoing, the Lender shall not be deemed to be iuch partner. joint
   Yenturer. agent or associate on account of the Lender becoming a mortgagee-in-possession
                                                                                                   or
   exercising any rights pumuant to this Mortgage, any of the other Loan Documints, or oiherwise.
                                                                                                  The
   relationship of the Mortgagor and the Lender hereunder is solely that of dsbtor/oreditor.

                          (h)
               Ilme of the Essence. Time is of the essence of the payment by the Mortgagor of alt
  amounts due and owing to the Lender under the Note and the other Loan DocumentJand the
  performance and observance by the Mortgagor of allterms, conditions. obtigations
                                                                                   and agreements
  contained in this Mortgagc and the other Loan Documents.

                          (i)
                 No Mereer. The parties hereto intend that the Mortgage and the lien hercof shall not
  merge in fee simplc title to the Premises, and if the Lender acquires any additional or other interest
  in or to the Premises or the ownership thercofi, then. unless a-contrary intent is manifested by the
         as evidenced by an exprcss statement to that effect in un upprop.i"t document duly recorded.
  [3---------------nder


  this Mortgage and the lien hereof shall not merge in the fee simpte iitle and this Mortg;ge may be
  foreclosed as if owned by a stranger to the fee simple title.


                          0)    Maximum Indebtedness. Notwithstanding anything contained herein to the conrrary,
  in no event shall the lndebtedness securcd by this Mortgage rxceid an amount equal five hundred
  percent of the face amount of the Note; provided, however, that Lender shalt noi be
                                                                                                    obligated to
  advance funds in excess ofthe face amount ofthe Note.

                          (K)
              CONSENT TO JURISDICTION. TO INDUCE THE LENDER TO ACCEPT THE
  NOTE, THE MORTGAGOR IRREVOCABLY ACREES THAT. SUBJECT TO THE LENDER'S
  SOLE AND ABSOLUTE ELECTION, ALL ACTIONS OR PROCEEDINGS IN ANY WAY
  ARISINC OUT OF OR RELATED TO THE NOTE AND THIS MORTCAGE WILL BE
  LITIGATED IN COURTS HAVING SITUS IN WILL COUNTY OR COOK COUNTY. ILLINOIS.
  THE MORTGAGOR HEREBY CONSENTS AND SUBMITS TO THE JURISDTCTION OF ANY
  COURT LOCATED WITHIN WILL COI'NTY OR COOK COUNTY, ILLINOIS. WAIVES
  PERSONAL SERVICE OF PROCESS UPON THE MORTCAGOR. AND AGREES THAT
                                                                     ALL
  SUCH SERVICE OF PROCESS MAY BE MADE BY REGISTERED MAIL DIRECTED TO
                                                                     THE
  MORTCAGOR AT THE ADDRESS STATED HEREIN AND SERVTCE SO MADE WILL BE
  DEEMED TO BE COMPLETED UPON ACTUAL RECEIPT.

       (I) WAIVER OF JURY TRIAL. THE MORTGACOR AND THE LENDER (BY
  ACCEPTANCE HEREOF), HAVING BEEN REPRESENTED BY COUNSEL EACH
  KNOWINCLY AND VOLUNTARILY WAIVES ANY RIGHT TO A TRIAL BY JURY IN ANY
  ACTION OR PROCEEDING TO ENFORCE OR DEFEND ANY RIGHTS (A) UNDER THIS
  MORTGAGE OR ANY RELATED ACREEMENT OR TJNDER ANY AMENDMENT,



                                                              23
                                           1229226141 Page: 25 of29
Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24   Page 235 of 240 PageID #:235




   INSTRUMENT. DOCUMENT OR ACREEMENT DELIVERED OR WHICH MAY tN THE
   FUTURE BE DELIVERED IN CONNECTTON WrrH THIS MORTGACE OR (B) ARISINO
   FROM ANY BANKTNG RELATIONSHIP EXISTING IN CONNECTION WITH THIS
   MORTGAGE. AND ACREES THAT ANY SUCH ACTION OR PROCEEDINC WILL BE TRIED
   BEFORE A COURT AND NOT BEFORE A JURY. THE MORTGAGOR AGREES THAT IT
   WILL NOT ASSERT ANY CLAIM AGAINST THE LENDER OR ANY OTHER PERSON
   INDEMNIFIED TINDER THIS MORTGACE ON ANY THEORY OF LIABILITY FOR SPECIAL.
   INDIRECT, CONSEQUENTIAL" INCIDENTAL OR PUNITIVE DAMACES.

             (m)  Complete Agreement. This Mortgage. the Note and the other Loan Documents
  constitute the complete agreement between the parties with respect to the subject matter hercof and
  the Loan Documents may not be modified, altered or amended except by an agrcement in writing
  signed by both the Mortgagor and the Lender.


          IN WITNESS WHEREOF. the Mortgagor has executed and delivered this Mortgage.
  Security Agrcement, Assignment of Rents and Leases and Fixturc Filing the day and year first above
  written.

                                                          SANDAL,INC.


                                                          gy, e3urhr,'q        N.J o1-or-...
                                                               Bushra Naseer, President



  STATE OF ILLINOIS                 )
                                    )SS
  COUNTY OP OPEK                    )

         The undersigned. a Notary Public in and for the said County. in the State aforesaid. does
  hercby certify that BUSHM NASEER. as the President of Sandal. Inc., who is personally known ro
  me to be the same person whose name is subscribed to the foregoing instrument, appeared beforc me
  this day in person and acknowledged that as such oflicer. she signed and dilivered the said
  instrument as her free and voluntary act and as the free and voluntary act of said entity. for the uses
  and purposes therein set forth.

          GMN undermy hand and norarial sealthis 1rb aay or           AlfolEA .zatz



                                                     .OFFICIAL SEAL'
                                                        Karen P Pohnd
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           Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 236 of 240 PageID #:236

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             THIS INDENTURE, madc this 20m day of
             AUGUST 2fi)l betwoen BANCO POPULAR
             NORTII AMERICA" AS SUCCESSOR
             TR.USTEE TO PIONEEN. BANK AND
             TRUST, a corporation of Ncw york duly
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     a       oryanized and exirting as ao Ncw york
             corporadon under tlre laws of the Unitcd States of
      N AmfficC and duly audrorizcd to accspt and
      \ cxccutE trusts within the Statc of Ncw york, not
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            dcscriH rcal estate, situated in COOK County, fliinois, to-wit
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            common Address: 3635 wEsr ARM|TAGE AvENUq cHIcAGo, tLLINoIs c06tz                                                                  {
            PIN: I llJS-30tt047{Dfit

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  Case: 1:24-cv-00658 Document #: 1 Filed: 01/25/24 Page 240 of 240 PageID #:240

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